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Deposition of Lisa Barbounis                                          Lisa Barbounis v. Middle Eastern Forum, et. al.


   1        IN THE UNITED STATES DISTRICT FOR THE EASTERN
                         DISTRICT OF PENNSYLVANIA
   2

   3

   4

   5      LISA BARBOUNIS,
                                                                  )
   6                                     Plaintiff                ) 2:19-cv-05030-JDW
                                                                  )
   7                              vs.                             )
                                                                  )
   8      MEF, et al,                                             )
                                                                  )
   9                                       Defendant              )
 10

 11                                                         --oOo--
 12

 13       DEPONENT:               LISA BARBOUNIS
 14       TAKEN BY:               Defendant
 15       DATE/TIME:              Tuesday, February 9, 2021
 16
          PLACE:                  Zoom Videoconference
 17
          REPORTER:               Joyce A. Wise, RMR
 18                               Notary Public
 19

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 1
              THE VIDEOGRAPHER: We are now on. 1 instructions that we talked about last time
 2
        the record.                                   2
                                                        before we start.
 3
              Today's date is February 9, 2021,       3
                                                                   You remember last time I told you
 4
        and the time is 10:13 a.m. Eastern.           4
                                                        that if you need to take a break at any point in
 5
              This is the recorded video              5
                                                        time today, you should feel absolutely free to do
 6
        deposition of Lisa Barbounis in the           6
                                                        so.
 7
        matter of Lisa Barbounis versus MEF, et       7
                                                                   The only thing I would ask is if
 8
        al, in the United States District Court       8
                                                        there is a question pending, that we complete the
 9
        of the Eastern District of Pennsylvania,      9
                                                        answer to that question before we break.
10
        Civil Action Number 2:19-CV-05030-JDW.       10
                                                                   I will tell you today that I am
11
              My name is Paul D'Ambria from          11
                                                        somewhat under the weather myself, so I'm going
12
        Everest Court Reporting. I'm the video       12
                                                        to need to ask you for the same courtesy.
13
        specialist.                                  13
                                                                   I can tell you that I'm certainly
14
              The court reporter today is Joyce      14
                                                        going to need to take my own share of breaks
15
        Wise, also with Everest Court Reporting.     15
                                                        today.
16
              All counsel appearing today will       16
                                                                   So I will -- I'll try to keep them
17
        be noted on the stenographic record.         17
                                                        as short, but hopefully, you know, I would ask
18
              Will the court reporter please         18
                                                        you for the same consideration in terms of when
19
        swear in the witness?                        19
                                                        and how we need to break.
20
             LISA REYNOLDS BARBOUNIS,                20
                                                                   So as I said before, your first
21
   called upon by Defendant to give testimony, being 21 deposition in this case was November 4th.
22
   duly sworn or affirmed by me, testified as        22
                                                                   Do you recall that deposition?
23
   follows:                                          23
                                                              A. Yes.
24
               * * * * *                             24
                                                              Q. Did you -- have you read your
                                               Page 5                                                         Page 7
 1
              MR. CAVALIER: Seth, are you ready         1
                                                           deposition transcript?
 2
         to go?                                          2
                                                                 A. No.
 3
              MR. CARSON: Yes.                           3
                                                                 Q. Any particular reason why not?
 4
               EXAMINATION                               4
                                                                 A. I mean, I know what happened, so
 5
   BY MR. CAVALIER:                                      5
                                                           there's no reason to.
 6
         Q. Good morning, Ms. Barbounis.                 6
                                                                     Plus, I don't want to re-live
 7
              It's good to see you again.                7
                                                           that.
 8
         A. Hello.                                       8
                                                                 Q. Okay. So, again, like we talked
 9
         Q. As you recall, my name is John               9
                                                           about last time, let's try not to talk over each
10
   Caviler. I'm a lawyer with Cozen O'Connor and I      10
                                                           other today since we're on video as opposed to
11
   represent the Middle East Forum and Greg Roman.      11
                                                           sitting down at a conference table.
12
              We're here today to re-open your          12
                                                                     The court reporter's life is hard
13
   deposition. It seems every time you and I sit        13
                                                           enough trying to do this when we're all in the
14
   down to talk, there's some big political news        14
                                                           same room, it's doubly hard over Zoom.
15
   going on.                                            15
                                                                     So for her sake, and for all of
16
              The last as I seem to recall, it          16
                                                           our sanities, I'll do my very best not to cut you
17
   was the election. Today it's impeachment.            17
                                                           off or interrupt your answers.
18
              It's been, I guess, what, three           18
                                                                     And I'd ask you to try to wait for
19
   months or so since your last deposition?             19
                                                           me to state my question before you begin your
20
              It was on November 4th. And I             20
                                                           answer, just so there's a clear record.
21
   know that you've given other testimony in this       21
                                                                     You're represented today by Mr.
22
   case.                                                22
                                                           Carson again.
23
              But just for the sake of the              23
                                                                     Is that correct?
24
   record, I'll run you through some of the same        24
                                                                 A. Yes.
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 1
         Q. Okay. Did you prepare at all for         1
                                                       testimony that you gave in that case, have you
 2
   today?                                            2
                                                       given any other sworn testimony with respect to
 3
         A. No.                                      3
                                                       the Middle East Forum in any way?
 4
         Q. Did you speak to Mr. Carson at any       4
                                                            A. Yes, I have.
 5
   point in the last several days about your         5
                                                            Q. Can you tell me about that?
 6
   deposition?                                       6
                                                            A. What would you like to know about
 7
         A. Not about my deposition, except          7
                                                       it?
 8
   for what time it was and a Zoom and to make sure 8       Q. When did it occur?
 9
   that I was on time.                               9
                                                            A. Oh, I do know when it occurred,
10
              But I talk to him all the time.       10
                                                       the day after the attack on my work -- attack on
11
         Q. Okay. So did you review any             11
                                                       the Capitol.
12
   documents for today?                             12
                                                            Q. Okay. And was that a deposition?
13
         A. No.                                     13
                                                            A. I believe so, yes.
14
         Q. Did you review any of your prior        14
                                                            Q. Okay. Do you remember who took
15
   testimony -- well, let me back up and ask you    15
                                                       your deposition on that day?
16
   about your prior testimony.                      16
                                                            A. A woman.
17
              So we've established that you were    17
                                                            Q. Was that Molly DiBianca?
18
   deposed by me on November 4th in this matter.    18
                                                            A. Yes, that's her name.
19
              It's my understanding you've also     19
                                                            Q. Have you reviewed that transcript
20
   given testimony in what I will refer to as the   20
                                                       since you gave that deposition?
21
   trade secrets action, which I'm about to define. 21
                                                            A. No, I have not. It's been pretty
22
              We talked a little bit about this     22
                                                       hectic since the attack on the Capitol.
23
   last time.                                       23
                                                            Q. Okay. Okay. So, again, just
24
              Do you know what I'm referring to     24
                                                       going back to the instructions, you're
                                                Page 9                                                        Page 11
 1
   if I refer to the trade secrets action?               1
                                                            represented here today by Seth Carson.
 2
          A. Yes. One of the many frivolous               2
                                                                       As you'll remember from the last
 3
   lawsuits that have been filed against me.              3
                                                            time and from your various experience giving
 4
          Q. Okay. So we'll talk about that in            4
                                                            testimony and doing these depositions, there'll
 5
   a second.                                              5
                                                            be some objections today.
 6
               But that's the case before Judge           6
                                                                       To the extent Mr. Carson has an
 7
   Sanchez in which the Middle East Forum has             7
                                                            objection, we'll both try to allow him to
 8
   brought claims against you alleging that you           8
                                                            verbalize the objection for the record.
 9
   misappropriated trade secrets and the like.            9
                                                                       But as always, unless he instructs
10
               Correct?                                  10
                                                            you not to answer, you're still expected to
11
          A. That they did bring that case               11
                                                            answer the question, subject to his objection.
12
   against me? That's correct.                           12
                                                                       Is that fair?
13
          Q. Okay. And so when we refer to the           13
                                                                  A. Yes.
14
   trade secrets action, we're all in agreement that     14
                                                                  Q. Okay. Any particular reason why
15
   we're referring to that particular action before      15
                                                            you're unable to tell me the truth today?
16
   Judge Sanchez.                                        16
                                                                  A. No, I can always tell the truth
17
          A. Yes, we're all on the same page.            17
                                                            and I always do.
18
          Q. Okay. My understanding is you               18
                                                                  Q. Any medication that would prevent
19
   gave testimony in that case, is that correct?         19
                                                            you from telling the truth or affect your
20
          A. I believe so.                               20
                                                            recollection?
21
               They're all blurring together now,        21
                                                                  A. No, sir.
22
   but, yes, I believe so.                               22
                                                                  Q. Okay. So since we touched on it
23
          Q. Okay. Other than the deposition             23
                                                            earlier, let me ask you a little bit about this
24
   that we did together on November 4th and the          24
                                                            trade secrets action.
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 1
              You said it was a frivolous case?      1
                                                            discrimination that was filed.
 2
         A. Correct.                                 2
                                                       BY MR. CAVALIER:
 3
         Q. What do you mean by that?                3
                                                            Q. Are you familiar with the
 4
         A. It's a case that was brought only        4
                                                       complaint   that you filed in this case?
 5
   in retaliation against me for filing this claim   5
                                                            A. I'm familiar with them, yes.
 6
   against Greg Roman.                               6
                                                            Q. Have you read it?
 7
              But it would have never happened       7
                                                            A. Which one?
 8
   if they didn't do that. And a lot of what is      8
                                                            Q. The latest amended complaint that
 9
   accused of me in there is not only fabricated,    9
                                                       you filed.
10
   but twisted into something nefarious.            10
                                                            A. Yeah -- I discussed them with Seth
11
         Q. And you're aware, correct, that as      11
                                                       on the phone and then I signed them.
12
   part of the hearing in that case -- let's strike 12
                                                            Q. Okay. Have you read it though?
13
   that.                                            13
                                                                 MR. CARSON: Asked and answered.
14
              You gave testimony in the hearing     14
                                                                 THE DEPONENT: I don't know.
15
   before Judge Sanchez where he considered the     15
                                                            Maybe. There's so many papers. I am
16
   Middle East Forum's motion for a preliminary     16
                                                            honestly so busy.
17
   injunction, correct?                             17
                                                                 You have no idea how busy I am --
18
         A. Correct.                                18
                                                       BY MR. CAVALIER:
19
         Q. And are you aware that he issued        19
                                                            Q. I didn't get the last part of your
20
   an opinion after that hearing making certain     20
                                                       answer. I'm sorry.
21
   rulings in that case?                            21
                                                            A. I have so many -- there's so many
22
         A. I heard about it, but I haven't         22
                                                       things, like I have no idea what I read, what I
23
   read it.                                         23
                                                       didn't. There's claims coming in that I, you
24
         Q. Okay. So I want to ask you some         24
                                                       know -- there's all kinds of stuff happening in.
                                              Page 13                                                        Page 15
 1
   questions about that opinion and to see if it      1
                                                                   And like I said, I have two little
 2
   affects your view that the case that the Middle    2
                                                        kids and an exhausting job. And I don't have
 3
   East Forum filed was frivolous.                    3
                                                        time to, you know, go over -- go over everything
 4
              But before I do that, you               4
                                                        with a fine toothed comb, so...
 5
   mentioned that it was brought only -- and I don't  5
                                                              Q. Okay. So you talked about the
 6
   want to put words in your mouth, Seth will         6
                                                        complaint with Seth, but you don't know if you
 7
   correct me, you said earlier that it was brought   7
                                                        read it?
 8
   only because of your action against the Forum?     8
                                                              A. I might have. I might not. I
 9
         A. Correct.                                  9
                                                        don't remember honestly.
10
         Q. So just to clarify that, it's your       10
                                                              Q. Okay. Do you know whether part of
11
   belief -- I'll ask the question.                  11
                                                        your claim for retaliations against the Middle
12
              Is part of your retaliation claim      12
                                                        East Forum is derived from the fact that they
13
   in this case the fact that the Forum filed that   13
                                                        filed that trade secrets action against you?
14
   lawsuit against you?                              14
                                                                   MR. CARSON: Objection. Calls for
15
              MR. CARSON: Objection.                 15
                                                              a legal conclusion. The complaint, the
16
              THE DEPONENT: I don't understand 16             charge of discrimination speak for
17
         the question. Say that again?               17
                                                              themselves.
18
              MR. CARSON: Can you guys here me?      18
                                                                   She can answer to the extent she
19
              THE DEPONENT: Yeah, we can hear        19
                                                              understands the questions, understands
20
         you, Seth.                                  20
                                                              the law.
21
              MR. CARSON: I'm going to object,       21
                                                                   THE DEPONENT: I don't know about
22
         because it calls for a legal conclusion.    22
                                                              the law. But I know that they are
23
         The civil action complaint speaks for       23
                                                              ongoing harassing me.
24
         itself. So does the second charge of        24
                                                                   I mean, we have a private
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 1
         detective following me around from the         1
                                                                     THE DEPONENT: Sky and a couple
 2
         Middle East Forum that has identified           2
                                                                other people. I can't remember their
 3
         themself as such to multiple people that        3
                                                                names exactly.
 4
         I know.                                         4
                                                                     But there was another guy that
 5
              So they are continuing to harass           5
                                                                said that he was contacted.
 6
         me over and over and over again.                6
                                                           BY MR. CAVALIER:
 7
   BY MR. CAVALIER:                                      7
                                                                Q. Who's Steve?
 8
         Q. Well, let's talk about that then             8
                                                                A. A friend of mine.
 9
   for a second.                                         9
                                                                Q. Did he tell you that directly?
10
              You said that you have a private          10
                                                                A. Yes.
11
   detective following you around, but talking to       11
                                                                Q. Sky tell you that directly?
12
   other people about you?                              12
                                                                A. Yeah.
13
         A. Correct.                                    13
                                                                Q. And what did Sky say the private
14
         Q. Let me break that down.                     14
                                                           detective said to her?
15
              How is there a private detective          15
                                                                     MR. CARSON: Objection. Asked and
16
   following you around? What do you mean by that?      16
                                                                answered.
17
              MR. CARSON: Object to form. How           17
                                                                     THE DEPONENT: I already told you
18
         is a private detective following you           18
                                                                what she said.
19
         around, you can answer if you understand       19
                                                                     She said, have you -- I'm calling
20
         the question.                                  20
                                                                on behalf of -- I'm a private
21
              THE DEPONENT: So people that,             21
                                                                investigator. Has Lisa Reynolds
22
         like, I don't -- that I hardly interact        22
                                                                Barbounis ever harassed you?
23
         with at all -- you know, you guys have         23
                                                           BY MR. CAVALIER:
24
         asked me in deposition about other people      24
                                                                Q. And that's all she said to you?
                                              Page 17                                                        Page 19
 1
         and, you know, like, there's somebody        1
                                                                   MR. CARSON: Objection. Asked and
 2
         that I barely interact with, so how you      2
                                                             answered.
 3
         guys would even know that is one.            3
                                                                   THE DEPONENT: Yeah. Her and I --
 4
              But they've called, say, my             4
                                                             like, we don't really, like, get along.
 5
         husband's assistant, Sky, and they said      5
                                                             So, yeah.
 6
         to her -- they said to her, we're here --    6
                                                        BY MR. CAVALIER:
 7
         I'm a private investigator, has Lisa         7
                                                             Q. Okay. Did you say anything to
 8
         Reynolds Barbounis ever harassed you or      8
                                                        her?
 9
         whatever.                                    9
                                                             A. No. Thanks for letting me know.
10
              They called multiple people and        10
                                                             Q. How about Steve, what did he say
11
         then it's gotten back to me that they       11
                                                        to you?
12
         were a private investigator and that they   12
                                                             A. That was so long ago I don't even
13
         are investigating me on behalf of Greg      13
                                                        remember. He said that, like, he does that kind
14
         Roman and the Middle East Forum.            14
                                                        of stuff for a living.
15
   BY MR. CAVALIER:                                  15
                                                                   He said, you can tell people are
16
         Q. Have you ever been contacted by a        16
                                                        following me and stuff. I said, I don't even
17
   private investigator?                             17
                                                        know how you're brought into this. I talked to
18
         A. I have not been contacted. Isn't         18
                                                        you like three times last year.
19
   that the point, they're supposed to do            19
                                                             Q. Did he say the private detective
20
   behind-the-scene surveillance on me and then just 20 actually spoke to him?
21
   reach out to other people?                        21
                                                             A. I believe so.
22
         Q. So who has told you that they've         22
                                                             Q. Okay. Did he say what the private
23
   been contacted by a private investigator?         23
                                                        detective said to him?
24
              MR. CARSON: Objection.                 24
                                                                   MR. CARSON: Objection. Asked and
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 1
         answered.                                       1
                                                                 now to all the harassment from Middle
 2
              THE DEPONENT: Honestly, this was            2
                                                                 Eastern Forum from day one?
 3
         like in October.                                 3
                                                                      MR. CAVALIER: I wasn't finished
 4
              There's so many things going on             4
                                                                 my question.
 5
         with this case, it's just exhausting. I          5
                                                                      MR. CARSON: Okay.
 6
         don't remember every word that they said,        6
                                                            BY MR. CAVALIER:
 7
         but, yeah, it's been brought to my               7
                                                                 Q. My question is, are there any
 8
         attention on numerous occasions.                 8
                                                            other instances of what you call harassment in
 9
   BY MR. CAVALIER:                                       9
                                                            your words that you can think of that the Middle
10
         Q. Are there any other people that              10
                                                            East Forum engaged enduring this same time
11
   you can recall sitting here today that have told      11
                                                            period?
12
   you they've been contacted by a private               12
                                                                      MR. CARSON: What time frame are
13
   detective?                                            13
                                                                 we talking about?
14
         A. There was one other person, but I            14
                                                                      MR. CAVALIER: The time frame that
15
   can't remember who it was. I'm trying to think.       15
                                                                 she says that people were telling her
16
   I'm sitting here trying to think.                     16
                                                                 they were contacted by a private
17
         Q. Okay.                                        17
                                                                 detective.
18
         A. If I remember, I'll let you know.            18
                                                                      MR. CARSON: She didn't identify a
19
         Q. You said earlier that you don't              19
                                                                 time frame, so I think we need to
20
   get along with Sky.                                   20
                                                                 identify a time frame.
21
         A. Yes.                                         21
                                                                      MR. CAVALIER: I asked her. She
22
         Q. Why not?                                     22
                                                                 said this was like October.
23
         A. Because -- I have a rule in my --            23
                                                                      MR. CARSON: So your question --
24
   in our home that when me and Vasille were, you        24
                                                                 in October of 2021 -- or I'm sorry,
                                               Page 21                                                        Page 23
 1
   know, on our break or whatever we were doing,         1
                                                                 strike that.
 2
   that you don't bring other people that you're          2
                                                                      In October of 2020 -- was there --
 3
   seeing around your children.                           3
                                                                 is the question in October of 2020 are
 4
               And so I let her know that and she         4
                                                                 there any other examples of harassment by
 5
   violated that and he did, too. But now that            5
                                                                 the Middle East Forum? Is that your
 6
   has -- we're all under a mutual agreement. Plus,       6
                                                                 question?
 7
   I don't even think he's dating her -- I know he's      7
                                                            BY MR. CAVALIER:
 8
   not dating her anymore.                                8
                                                                 Q. No.
 9
               But she's still his assistant. So          9
                                                                      The question is, in or about this
10
   I just don't want somebody who my husband had a       10
                                                            same time frame that you referenced, that you
11
   relationship around my kids. I wouldn't do that       11
                                                            said people were contacting you, saying that they
12
   to him, so -- or my kids.                             12
                                                            were contacted by a private detective of the
13
               I wouldn't put them in that               13
                                                            Middle East Forum, are there any other examples
14
   position, so...                                       14
                                                            of the harassments that you mentioned that
15
         Q. Okay. Are there any other things             15
                                                            occurred?
16
   that you can consider harassment by the Forum         16
                                                                 A. You mean the private investigator?
17
   that have occurred?                                   17
                                                                      MR. CARSON: I'm going to object.
18
               MR. CARSON: Objection. Calls for          18
                                                                 It calls for a legal conclusion. The
19
         a legal conclusion. Answering that              19
                                                                 word harassment is a legal concept.
20
         question would take her about six hours.        20
                                                                      To the extent that she understands
21
               Do you want her to go through it          21
                                                                 the question, understands what you mean,
22
         all from beginning to end?                      22
                                                                 she can answer.
23
               Is that your question?                    23
                                                            BY MR. CAVALIER:
24
               Do you want her to justify right          24
                                                                 Q. For the record, I'm using the
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                                             Page 24                                                        Page 26
 1
   witness' words.                                    1
                                                              A. He laughed. He said, I can't
 2
             MR. CARSON: The word has a legal         2
                                                        believe they're going this far. This is crazy.
 3
        connotation, what is and what isn't           3
                                                              Q. Did you discuss any of the
 4
        harassment is defined by courts.              4
                                                        contents of the lawsuit with Grayson Levy?
 5
             But to the extent she understands        5
                                                              A. No. He just said, go read it and
 6
        the question, she can certainly answer to     6
                                                        he sent me the link, I believe. But I haven't
 7
        what she feels is harassment in or around     7
                                                        read it because I don't have time.
 8
        October of 2020.                              8
                                                              Q. You said you haven't been served
 9
             THE DEPONENT: As far as the              9
                                                        with that lawsuit yet?
10
        harassment regarding the private             10
                                                              A. Correct. I have not.
11
        investigator, I don't remember any more      11
                                                              Q. Is it correct then that you don't
12
        of that.                                     12
                                                        have counsel representing --
13
   BY MR. CAVALIER:                                  13
                                                              A. I do not have counsel for that
14
        Q. Okay. Since you filed your                14
                                                        because I have not been served.
15
   amended complaint, can you name any other         15
                                                              Q. Okay. What's your reaction to
16
   instances of harassment that you claim the Middle 16
                                                        that?
17
   East Forum has engaged in?                        17
                                                                  MR. CARSON: Objection. Object to
18
        A. Yes.                                      18
                                                              form.
19
             MR. CARSON: Objection. Same             19
                                                                  What do you mean by what's her
20
        objection as before.                         20
                                                              reaction? What does that even mean?
21
             You can answer.                         21
                                                                  MR. CAVALIER: You can answer.
22
             THE DEPONENT: There's plenty,           22
                                                                  MR. CARSON: You can answer, if
23
        but, yes, they -- Daniel Pipes, when he      23
                                                              you know.
24
        asked me to meet with him at 30th Street     24
                                                                  THE DEPONENT: I'm going to ask
                                             Page 25                                                        Page 27
 1
         Station told me that if I didn't drop my      1
                                                               you a follow-up question. Was -- do you
 2
         claims, that he was going to file a RICO       2
                                                               want to know how that makes me feel? Is
 3
         case against me.                               3
                                                               that what you want to know?
 4
              It is my understanding that it has        4
                                                          BY MR. CAVALIER:
 5
         been filed because an employee -- or a         5
                                                               Q. I want to know what your reaction
 6
         contractor of MEF told -- was the one          6
                                                          was to Grayson Levy calling you and telling you
 7
         that brought it to my attention.               7
                                                          that Middle East Forum had filed a RICO lawsuit?
 8
              So not my lawyer. I haven't been          8
                                                                    MR. CARSON: Objection. She
 9
         served. But other people have been             9
                                                               already testified to what her and Grayson
10
         coming to me saying, the Middle East          10
                                                               Levy said.
11
         Forum filed a RICO case on you.               11
                                                                    THE DEPONENT: I thought you were
12
              I think that was, like, last week.       12
                                                               done, Seth.
13
   BY MR. CAVALIER:                                    13
                                                                    MR. CARSON: Yes. I'm basically
14
         Q. Who told you about that?                   14
                                                               done. If you understand the question,
15
         A. Grayson Levy.                              15
                                                               you can answer.
16
         Q. Do you know how he found out about         16
                                                                    THE DEPONENT: Sorry. The
17
   that?                                               17
                                                               question was how -- what was my reaction,
18
         A. That it was on the court docket or         18
                                                               is that what the question was?
19
   something.                                          19
                                                          BY MR. CAVALIER:
20
         Q. Okay. Did you have a conversation          20
                                                               Q. What was your reaction to Grayson
21
   about the RICO lawsuit?                             21
                                                          Levy calling you and telling you that the Middle
22
         A. I just said they're just                   22
                                                          East Forum filed a RICO lawsuit?
23
   unbelievable.                                       23
                                                               A. I thought, more of the same. Here
24
         Q. What did he say about the lawsuit?         24
                                                          we go. Just more crap from them.
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                                              Page 28                                                        Page 30
 1
             Just another thing to pile on top      1
                                                               acts.
 2
   of my plate. They're trying to break me. That's  2
                                                                    So everything she just said is
 3
   what I thought.                                  3
                                                               entirely accurate. And your question
 4
        Q. Does it concern you at all?              4
                                                               demonstrates a misunderstanding of what a
 5
             MR. CARSON: Objection. Object to       5
                                                               civil RICO case is.
 6
        form. Go ahead. You can answer.             6
                                                                    But to the extent that it calls
 7
             THE DEPONENT: Of course. Because 7                for a legal conclusion, you can answer
 8
        it damages my reputation. Anytime I have    8
                                                               the question.
 9
        to go -- like if I need to find another     9
                                                                    THE DEPONENT: I am not concerned
10
        job or I'm gonna go speak on a panel,      10
                                                               about winning that case. I believe that
11
        anybody that Googles me sees all these     11
                                                               I would.
12
        ridiculous claims about me.                12
                                                                    I am concerned that it's in the
13
   BY MR. CAVALIER:                                13
                                                               public sphere and a tarnish to my name.
14
        Q. Well, if you haven't read it, how       14
                                                                    And even if the case -- even if we
15
   do you know they're ridiculous claims?          15
                                                               do win it, you Google it, that's what
16
             MR. CARSON: Objection.                16
                                                               will come up when you do my name.
17
             THE DEPONENT: Because I have          17
                                                                    So that is forever on the
18
        never done anything, misappropriated any   18
                                                               internet. Forever. Even if I win,
19
        funds, got any money from anywhere extra, 19           they're gonna say, oh, she was involved
20
        anywhere, and have never pertake in        20
                                                               in that.
21
        conspiratorial things.                     21
                                                                    There's always gonna be
22
             I know what a RICO lawsuit is, a      22
                                                               speculation around that no matter what
23
        civil one.                                 23
                                                               happens.
24
             It's criminal racketeering. I         24
                                                                    And I think that that is
                                              Page 29                                                        Page 31
 1
        mean, I'm a mother of two, who's never          1
                                                                disgusting. And I will -- and I will win
 2
        gotten in trouble in her entire life.            2
                                                                that case, but it's gonna harm me for the
 3
             No, I'm not a criminal                      3
                                                                rest of my life.
 4
        conspiratorial person.                           4
                                                           BY MR. CAVALIER:
 5
   BY MR. CAVALIER:                                      5
                                                                Q. Just to be clear for the record,
 6
        Q. I'm sorry. I didn't mean to                   6
                                                           and I don't mean to ask this in a flippant way.
 7
   interrupt you.                                        7
                                                                      But you're confident that you're
 8
        A. No, I just -- I know that I've                8
                                                           going to win a case that you haven't been served
 9
   never done anything wrong or illegal.                 9
                                                           with or read?
10
             MR. CARSON: Are these even -- is           10
                                                                      MR. CARSON: Objection.
11
        this why we're here today?                      11
                                                                Objection. You don't have to answer
12
             I mean, if you're gonna waste your         12
                                                                that.
13
        time on this, feel free.                        13
                                                           BY MR. CAVALIER:
14
             You guys have seven hours. If              14
                                                                Q. That's your testimony?
15
        this is how you want to spend it, please        15
                                                                      MR. CARSON: Lisa, I'm directing
16
        proceed.                                        16
                                                                her not to answer that question. It's
17
   BY MR. CAVALIER:                                     17
                                                                designed to embarrass and harass her.
18
        Q. Do you understand that a civil               18
                                                                      It's a ridiculous question --
19
   complaint filed against you is not the same as a     19
                                                                      MR. CAVALIER: I'm trying to find
20
   criminal charge, correct?                            20
                                                                out why she knows so much about the
21
             MR. CARSON: Objection. Calls for           21
                                                                lawsuit if she says she had a 30-second
22
        a legal conclusion.                             22
                                                                conversation --
23
             A civil RICO case action does              23
                                                                      MR. CARSON: Lisa, Lisa, there's
24
        include criminal -- requires criminal           24
                                                                no question pending. And she doesn't
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 1
       have to answer the last question.                1
                                                                attorney about.
 2
             Please continue with the next               2
                                                                     MR. CAVALIER: I specifically said
 3
       question.                                         3
                                                                I'm not asking her what she talked about.
 4
   BY MR. CAVALIER:                                      4
                                                                     MR. CARSON: The question is, did
 5
       Q. Have you talked with anyone else               5
                                                                you talk to her about the RICO case.
 6
   about this lawsuit?                                   6
                                                                That is asking her what the conversation
 7
             MR. CARSON: Objection. Calls for            7
                                                                was about.
 8
       attorney/client privilege. You don't              8
                                                                     She's not gonna answer that
 9
       have to answer.                                   9
                                                                question.
10
             THE DEPONENT: Only my mother,              10
                                                                     MR. CAVALIER: That's absolutely
11
       that they filed a new one. That's it.            11
                                                                not true.
12
   BY MR. CAVALIER:                                     12
                                                                     MR. CARSON: Okay. She is not
13
       Q. I don't want to know anything                 13
                                                                answering. I'm instructing her not to
14
   about the substance of your conversation.            14
                                                                answer.
15
             Have you talked to Seth about that         15
                                                                     MR. CAVALIER: All right. We'll
16
   lawsuit?                                             16
                                                                come back to that.
17
             MR. CARSON: Object. Objection.             17
                                                           BY MR. CAVALIER:
18
       She's not going to answer that question.         18
                                                                Q. Who else have you talked to about
19
             What are you asking her right now?         19
                                                           the RICO lawsuit?
20
             MR. CAVALIER: I'm asking her               20
                                                                     MR. CARSON: Objection to the
21
       whether she's ever spoken to an attorney         21
                                                                extent it calls for her to answer,
22
       about the lawsuit.                               22
                                                                whether or not she had a conversation
23
             MR. CARSON: Objection. She just            23
                                                                with an attorney, I'm directing her not
24
       absolutely, positively does not have to          24
                                                                to answer.
                                              Page 33                                                        Page 35
 1
        answer that question based on              1
                                                                 If she talked to any other
 2
        attorney/client privilege.                 2
                                                           non-attorneys about the lawsuit, she can
 3
   BY MR. CAVALIER:                                3
                                                           answer that.
 4
        Q. I'll ask the question again.            4
                                                                 THE DEPONENT: I just told my
 5
              I don't want to know what you        5
                                                           mother and she said, don't worry about
 6
   talked about. I don't want to know any details  6
                                                           it, the truth is on your side. And I
 7
   about of the conversation.                      7
                                                           said okay. But I still worry about it.
 8
              The question is simply, have you     8
                                                     BY MR. CAVALIER:
 9
   spoken to an attorney about that?               9
                                                           Q. And you worry about it because, as
10
              MR. CARSON: Objection. Do not       10
                                                     you said before, it's on the public record,
11
        answer the question.                      11
                                                     correct?
12
              MR. CAVALIER: That's an improper 12                MR. CARSON: Objection. Asked and
13
        instruction.                              13
                                                           answered. You can answer again.
14
              MR. CARSON: Well, I'm instructing   14
                                                                 THE DEPONENT: Yes.
15
        her not to answer the question. You want 15 BY MR. CAVALIER:
16
        to call Judge Wilson and have a ruling,   16
                                                           Q. Because having a lawsuit filed
17
        we can do it.                             17
                                                     against you that contains things that you believe
18
              MR. CAVALIER: We're gonna get       18
                                                     are not true can be harmful to you, correct?
19
        close to that today.                      19
                                                                 MR. CARSON: Objection. Asked and
20
              MR. CARSON: That's fine. Well,      20
                                                           answered. You can answer.
21
        let's do it now, if you want.             21
                                                                 THE DEPONENT: Yes.
22
              You can tell Judge Wilson you're    22
                                                     BY MR. CAVALIER:
23
        asking her whether she talked to an       23
                                                           Q. Like, for example, if someone were
24
        attorney and what she talked to the       24
                                                     to file a lawsuit falsely claiming that they were
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 1
   sexually assaulted by someone, that could harm       1
                                                                named as the person who committed the
 2
   that person's reputation?                             2
                                                                sexual assault, if you're asking that
 3
               MR. CARSON: Objection. I'm                3
                                                                hypothetical, where the person made
 4
         instructing her not to answer the               4
                                                                everything up, if that would cause the
 5
         question. That's designed to embarrass          5
                                                                person harm, she can answer that yes or
 6
         and harass.                                     6
                                                                no.
 7
               Don't answer.                             7
                                                                     MR. CAVALIER: That's exactly what
 8
               MR. CAVALIER: Explain how that's          8
                                                                I'm asking.
 9
         intended to embarrass and harass.               9
                                                                     MR. CARSON: Good question, John.
10
               MR. CARSON: You're suggesting            10
                                                                     You can answer it, Lisa, yes or
11
         that her -- that a lawsuit she filed in        11
                                                                no.
12
         which is supported by how many witnesses,      12
                                                                     THE DEPONENT: I take anything
13
         is somehow predicated on things that           13
                                                                that is filed publicly to -- I think
14
         didn't happen.                                 14
                                                                there's a responsibility for whoever
15
               My client was sexually assaulted         15
                                                                files a lawsuit to be honest and truthful
16
         twice by your client. And your question        16
                                                                at all times.
17
         indicates that she made that up.               17
                                                                     And I think that people who make
18
               It's designed to embarrass her.          18
                                                                false accusations are terrible people.
19
         It's designed to harass her. It's              19
                                                           BY MR. CAVALIER:
20
         designed to belittle her. It's designed        20
                                                                Q. And a person -- a terrible person,
21
         to subject her to further verbal abuse.        21
                                                           to use your words, making those false allegations
22
               And I'm not going to allow her to        22
                                                           would do great harm to the subject of those false
23
         answer that question.                          23
                                                           allegations, correct?
24
               MR. CAVALIER: Having now heard           24
                                                                     MR. CARSON: Objection.
                                              Page 37                                                        Page 39
 1
         your attorney's speech, I'll let you know   1
                                                               Objection.
 2
         and I'll represent that I'm not even        2
                                                                    Are we still talking about the
 3
         talking about your lawsuit that you --      3
                                                               hypothetical person who filed -- who made
 4
              MR. CARSON: Yeah, you are.             4
                                                               up a sexual assault claim? Is that what
 5
              MR. CAVALIER: No, I'm not.             5
                                                               we're still talking about?
 6
              MR. CARSON: So generally -- so         6
                                                                    MR. CAVALIER: Yes.
 7
         ask the question again and I'll listen to   7
                                                                    MR. CARSON: So to the extent this
 8
         it and respond.                             8
                                                               is about a hypothetical person who made
 9
   BY MR. CAVALIER:                                  9
                                                               up sexual assault claim and then filed it
10
         Q. This question is based on what you 10              online and it never really happened, you
11
   just told me about the harm that it could bring 11          can answer that.
12
   to you being accused in a public lawsuit.        12
                                                                    MR. CAVALIER: That is precisely
13
              Isn't it then fair to say, for        13
                                                               what we are talking about.
14
   example, that someone, not you, but someone 14                   MR. CARSON: John, let's just take
15
   accusing someone falsely of sexual assault in a 15          a minute and think about what we're doing
16
   public lawsuit could bring harm to that person's 16         right now.
17
   reputation?                                      17
                                                                    Are you ever going to be able to
18
              MR. CARSON: Objection.                18
                                                               use any of this in a courtroom?
19
         Objection.                                 19
                                                                    Or is this just a complete waste
20
              If you're asking her if some other    20
                                                               of time right now?
21
         person made a false allegation of sexual   21
                                                                    Why don't we move on and try to
22
         assault and filed a lawsuit based on that  22
                                                               get this done. I have other things I can
23
         false allegation, if that would cause the  23
                                                               do today.
24
         person to whom -- to whom the lawsuit      24
                                                                    I don't need to waste my time with
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 1
         this nonsense.                                 1
                                                                 the seventh time you said it. I think
 2
              MR. GOLD: For the record, this is          2
                                                                 seven is enough.
 3
         Sid Gold.                                       3
                                                                      MR. CARSON: I'm going to say it
 4
              You've got to let John finish the          4
                                                                 for every question that's asked.
 5
         question. Let her just answer it.               5
                                                                      MR. GOLD: Well, if you do, we'll
 6
              Otherwise, we got to call the              6
                                                                 have to go to the Judge.
 7
         Judge.                                          7
                                                                      MR. CARSON: I would love to.
 8
              MR. CARSON: That's fine. We can            8
                                                                      MR. GOLD: You would love to.
 9
         call the Judge.                                 9
                                                                      Well, you may have your dream come
10
              MR. GOLD: These objections are            10
                                                                 true in a few minutes.
11
         speaking objections. You're arguing with       11
                                                                      MR. CARSON: Like I just said, I
12
         counsel.                                       12
                                                                 think that's a great idea.
13
              Just let her answer the question          13
                                                                      MR. CAVALIER: I'm gonna repeat
14
         and we'll move on.                             14
                                                                 the question.
15
              MR. CARSON: No. No. I'm not               15
                                                           BY MR. CAVALIER:
16
         just going to allow her to answer the          16
                                                                 Q. With the acknowledgment that I am
17
         question.                                      17
                                                           in now way, shape or form speaking about your
18
              MR. GOLD: But you're                      18
                                                           particular claim, the question is, again, having
19
         just speaking -- you're making speaking        19
                                                           now heard that long soliloquy from your counsel,
20
         objections and it's just not --                20
                                                           if someone, not you, but someone were to include
21
              MR. CARSON: Mr. Gold, I'm                 21
                                                           in a publicly-filed complaint a false allegation
22
         pointing out the absurdity of the              22
                                                           of sexual assault, that would do great harm to
23
         question.                                      23
                                                           the subject of that allegation, correct?
24
              MR. GOLD: But absurdity is not a          24
                                                                      MR. CARSON: I'm going to object
                                              Page 41                                                        Page 43
 1
         proper objection.                              1
                                                               to the form. This is a hypothetical
 2
              MR. CARSON: No. But form is.               2
                                                               question. It never happened.
 3
              And I'm making sure the record is          3
                                                                     And subject to that objection, you
 4
         clear, but we're not talking about Lisa,        4
                                                               can answer his question.
 5
         that we're not talking about anything           5
                                                                     The question is, would it do great
 6
         that actually ever happened --                  6
                                                               harm to the person?
 7
              MR. GOLD: Well, I think you are            7
                                                                     THE DEPONENT: Hypothetically
 8
         speaking -- I think --                          8
                                                               speaking, yes.
 9
              MR. CARSON: -- in the universe in          9
                                                           BY MR. CAVALIER:
10
         which we live in.                              10
                                                               Q. And in that same hypothetical, the
11
              MR. GOLD: You know what?                  11
                                                           same would be true for an allegation relating to
12
              Again, if you can refrain, the            12
                                                           sexual trafficking, correct?
13
         best you can, that would be helpful.           13
                                                                     MR. CARSON: Objection. Calls for
14
         Otherwise we're going to be here all day       14
                                                               a legal conclusion.
15
         again, you know.                               15
                                                                     To the extent that there was
16
              MR. CARSON: Yeah. I mean, like I          16
                                                               sexual trafficking claims ever in this
17
         said, you guys want to waste your time         17
                                                               case, which were removed pursuant to an
18
         inventing things that never happened in        18
                                                               agreement by the parties, she can answer
19
         the universe we live in, and if that's         19
                                                               if she knows what those claims are.
20
         the deposition you want to take today,         20
                                                                     I would suggest that they were
21
         I'm just going to make sure that the           21
                                                               entirely justified and they could have
22
         record is very clear that that's what          22
                                                               easily stayed in the case.
23
         we're doing.                                   23
                                                                     But to the extent that she
24
              MR. GOLD: You've made -- that's           24
                                                               understands what the sexual trafficking
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 1
        laws are, she can answer.                  1
                                                              You don't have to answer that
 2
             The hypothetical question that        2
                                                          question.
 3
        never happened in this universe.           3
                                                              MR. CAVALIER: All right. I'll
 4
             Go ahead, Lisa. We can't hear         4
                                                          withdraw    the question. Let's look at the
 5
        you.                                       5
                                                          order.
 6
             THE DEPONENT: I can't even            6
                                                              MR. CARSON: I mean, this is how
 7
        remember what the question was.            7
                                                          you want to spend the next 20 minutes?
 8
   BY MR. CAVALIER:                                8
                                                              We're about to go off the record
 9
        Q. You know, I can understand that.        9
                                                          guys.  It's almost 11, just to keep an
10
             The question is, under the same      10
                                                          eye on the clock.
11
   hypothetical, not talking about your lawsuit or BY MR. CAVALIER:
                                                  11
12
   your claims or anything that you said, just in 12      Q. Can you see that document?
13
   general, if someone were falsely accused in a  13
                                                          A. Uh-huh.
14
   complaint of sexual trafficking, that would do 14
                                                          Q. Have you seen this document
15
   great harm to that person, correct?            15
                                                     before?
16
             MR. CARSON: I'm going to object      16
                                                          A. Huh-uh. No.
17
        based on the fact that it calls for a     17
                                                          Q. Do you see where it says the Court
18
        legal conclusion.                         18
                                                     issued valid orders in this case, including ECF
19
             MR. CAVALIER: You've already         19
                                                     Number 6974?
20
        stated your objection.                    20
                                                              MR. CARSON: Objection. You just
21
             THE DEPONENT: Forget it, guys.       21
                                                          want to take a minute and just have her
22
             MR. CARSON: The sexual               22
                                                          read the whole thing?
23
        trafficking laws are-- require a legal    23
                                                              MR. CAVALIER: Sure. She can read
24
        analysis with elements.                   24
                                                          the whole    thing.
                                               Page 45                                                        Page 47
 1
             To the extent she understands what          1
                                                                      MR. CARSON: Lisa, why don't you
 2
         those are and to the extent that it's a          2
                                                                 just take a minute and read the whole
 3
         hypothetical, she can answer the                 3
                                                                 thing.
 4
         question.                                        4
                                                                      THE DEPONENT: Can I take a break
 5
             THE DEPONENT: Okay. So --                    5
                                                                 and read it? Or do I have to read it,
 6
   BY MR. CAVALIER:                                       6
                                                                 like, right now?
 7
         Q. Just answer the question.                     7
                                                                      MR. CARSON: No, read it on the
 8
         A. A, it would depend on the context.            8
                                                                 record.
 9
   It would depend on the context.                        9
                                                                      THE DEPONENT: It's hard to read
10
             But if there -- everything aside,           10
                                                                 on the tiny screen here.
11
   in this hypothetical world of yours, everything       11
                                                                      Okay. I read it. I read it.
12
   aside, and somebody just did an international         12
                                                                 Sorry.
13
   lawsuit, whatever, sure.                              13
                                                                      MR. CARSON: It's five pages.
14
         Q. And by the way, since your counsel           14
                                                                 Just read the whole thing.
15
   decided to give multiple speeches there asking        15
                                                                      THE DEPONENT: You just went too
16
   whether we're going to be here all day and            16
                                                                 far --
17
   whether he -- you know, I think he said he had        17
                                                            BY MR. CAVALIER:
18
   better things to do.                                  18
                                                                 Q. I don't want you to -- you can
19
             You realize that we're only here            19
                                                            read the whole thing --
20
   today because you and your counsel violated court     20
                                                                      MR. CARSON: No. No. If she is
21
   orders, correct?                                      21
                                                                 going to answer a question about the
22
             MR. CARSON: Objection. The                  22
                                                                 document, I want her to read it all.
23
         question's designed to embarrass and            23
                                                                      MR. CAVALIER: All right. Fair
24
         harass her.                                     24
                                                                 enough.
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                                          Everest Court Reporting LLC                                Page: 14 (44 - 47)
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                                             Page 48                                                        Page 50
 1
              THE DEPONENT: I would like to        1
                                                                 Secondly, as long as you
 2
        know what it says -- I mean, now that I'm  2
                                                     understand why we're here, we can be done with
 3
        here, I guess.                             3
                                                     this document.
 4
              MR. CAVALIER: Go ahead.              4
                                                           A. Yeah. I mean, I understand why
 5
              THE DEPONENT: I read quickly, so     5
                                                     you guys have made it that we are here. But I
 6
        we'll be okay.                             6
                                                     don't think that the reason is justified.
 7
              MR. CAVALIER: I know you do.         7
                                                                 But that's not for me to decide.
 8
        Take your time -- as much time as you      8
                                                                 MR. CAVALIER: Okay. Seth, this
 9
        need.                                      9
                                                           is a natural break point, if you want to
10
              Let me know when you want me to     10
                                                           take your 11:00?
11
        scroll. Or the court reporter or the      11
                                                                 MR. CARSON: It's 10:50. We can
12
        video tech can give me control of the     12
                                                           go for another five minutes, if you want.
13
        document.                                 13
                                                           It's up to you.
14
              THE DEPONENT: It's fine. I'll be    14
                                                                 THE DEPONENT: Unless you need
15
        quick. I'll just tell you next. Okay.     15
                                                           that break because you're not feeling
16
        Hold on.                                  16
                                                           well, Mr. Caviler.
17
              Okay. You can scroll up.            17
                                                                 MR. CAVALIER: I mean, I'm never
18
              MR. CARSON: I think you went past   18
                                                           feeling well today, but if you want to
19
        the top.                                  19
                                                           keep going, we'll keep going.
20
              THE DEPONENT: I got it. Okay.       20
                                                                 MR. CARSON: I just -- because I'm
21
   BY MR. CAVALIER:                               21
                                                           probably going to be -- unless you want
22
        Q. So the question is then -- do you      22
                                                           it to be, like, a 20-minute break, I'm
23
   see this line here?                            23
                                                           cool to keep going for another --
24
              Actually just read paragraph six.   24
                                                                 THE DEPONENT: Do you have the
                                             Page 49                                                        Page 51
 1
   That's the question.                            1
                                                           Corona Virus?
 2
              You see here where the Court says    2
                                                               MR. CAVALIER: That's fine.
 3
   that defendants shall notify the plaintiff's    3
                                                               I hope not.
 4
   counsel if there's good cause to re-open the    4
                                                     BY MR. CAVALIER:
 5
   deposition?                                     5
                                                           Q. So then I'll just -- I'll use this
 6
        A. If they believe good cause.             6
                                                     time to ask you a couple questions about the
 7
              MR. CARSON: Also, I think -- I'm     7
                                                     order in the Sanchez case.
 8
        gonna object. Maybe if you're gonna ask    8
                                                               Do you remember that we were
 9
        her questions about this document, you     9
                                                     talking earlier about the trade secrets case?
10
        should explain how we got here.           10
                                                           A. Yes.
11
              Because we didn't get here because  11
                                                           Q. And I think we got to the point
12
        the Court found good cause to re-open any 12 where either you or your counsel acknowledged
13
        depositions.                              13
                                                     that it was part of your retaliation from this
14
              THE DEPONENT: I remember how we     14
                                                     lawsuit, correct?
15
        got here. I mean, I know -- I didn't --   15
                                                           A. Yes.
16
        never saw this document. But I have an    16
                                                           Q. And you believe that claim, that
17
        idea of what is going on here, because I  17
                                                     the trade secret's case is frivolous, I think you
18
        remember from the $50 per day fine thing, 18 said?
19
        so...                                     19
                                                           A. Yes.
20
   BY MR. CAVALIER:                               20
                                                           Q. Okay. Have you ever read the
21
        Q. That was my question.                  21
                                                     opinion in -- that Judge Sanchez issued on
22
              My first question is, have you      22
                                                     January 11 in the trade secrets case?
23
   ever read this document before today. You said 23
                                                           A. No.
24
   no.                                            24
                                                           Q. Are you aware that in that
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                                               Page 52                                                        Page 54
 1
   opinion, Judge Sanchez said that there is a        1
                                                           just wrong.
 2
   reasonable likelihood that the Forum will succeed 2          MR. CAVALIER: Seth, how -- I'm
 3
   on the merits of its breach of contract and        3
                                                           asking her if she has awareness of
 4
   misappropriation of trade secrets claims against   4
                                                           something.
 5
   you?                                               5
                                                                MR. CARSON: All right. Why don't
 6
              MR. CARSON: I'm going to object         6
                                                           we explain that --
 7
        to the question in that it --                 7
                                                                MR. CAVALIER: If the answer's no,
 8
              THE DEPONENT: Yeah, I don't even        8
                                                           the answer's no.
 9
        understand --                                 9
                                                                MR. CARSON: Why don't you show
10
              MR. CARSON: Lisa, let me finish        10
                                                           her the order? Show her the order.
11
        the objection.                               11
                                                                MR. CAVALIER: All right.
12
              THE DEPONENT: Oh, sorry. I want 12                MR. CARSON: The order speaks for
13
        to --                                        13
                                                           itself, where defendant's motion was
14
              MR. CARSON: I want to object to        14
                                                           denied -- or plaintiff's motion was
15
        the form of the question, to the extent      15
                                                           denied.
16
        that she understands it and to the extent    16
                                                                THE DEPONENT: Can I just say
17
        that it calls for a representation of        17
                                                           something? I just want to finish what I
18
        facts that are false.                        18
                                                           was going to say.
19
              But to the extent that you             19
                                                                MR. CAVALIER: Sure.
20
        understand the question, you can answer.     20
                                                                MR. CARSON: Well, there's no
21
              THE DEPONENT: So you were talking      21
                                                           question pending, Lisa. So wait. Just
22
        about Judge Sanchez's ruling, that it may    22
                                                           wait.
23
        be or something on the merits, is that       23
                                                        BY MR. CAVALIER:
24
        what you said?                               24
                                                           Q. What were you gonna say?
                                               Page 53                                                        Page 55
 1
   BY MR. CAVALIER:                                      1
                                                                       MR. CARSON: No. No. No. Wait.
 2
         Q. Yeah. I'm asking you whether you              2
                                                                  wait for the question.
 3
   are aware of the fact that Judge Sanchez held          3
                                                                       THE DEPONENT: I want you to
 4
   that the Forum had established a reasonable            4
                                                                  repeat back what the question was.
 5
   likelihood of success on the merits of its claims      5
                                                                       MR. CARSON: Yes. Thank you.
 6
   against you in the trade secrets?                      6
                                                            BY MR. CAVALIER:
 7
              MR. CARSON: I'm going to object             7
                                                                  Q. The question is, are you aware of
 8
         one more time.                                   8
                                                            the fact that Judge Sanchez issued an order in
 9
              Mr. Caviler, we didn't even argue           9
                                                            which he determined that the Middle East Forum
10
         that point.                                     10
                                                            established a reasonable likelihood of success on
11
              We won the motion based the                11
                                                            its trade secrets claim?
12
         irreparable harm argument. That's the           12
                                                                  A. Reasonable and likelihood --
13
         only argument we made.                          13
                                                                       MR. CARSON: Lisa, wait.
14
              So you're asking her questions             14
                                                                       You've got to wait for the
15
         about an argument that -- we just               15
                                                                  objections.
16
         conceded, because we knew we could win on       16
                                                                       THE DEPONENT: You already
17
         irrepairable harm.                              17
                                                                  objected to this --
18
              So to the extent that she                  18
                                                                       THE REPORTER: Excuse me.
19
         understands the question, she can answer.       19
                                                                       THE DEPONENT: I'm taking a break.
20
              MR. CAVALIER: Seth, I'm going to           20
                                                                  I'm taking a break.
21
         ask you to stop with the speeches,              21
                                                                       MR. CAVALIER: You're blaming me
22
         because we are going to be here all day.        22
                                                                  for this, Seth?
23
              MR. CARSON: You're trying to               23
                                                                       MR. CARSON: No, I'm not. But I
24
         trick her into saying things that are           24
                                                                  guess we're going to go off the record.
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                                               Page 56                                                        Page 58
 1
         I'll take my call.                         1
                                                                     MR. CAVALIER: Well, I will ask
 2
               MR. CAVALIER: How long do we         2
                                                                you, in accordance with the rules, to
 3
         need?                                      3
                                                                simply state your objection concisely and
 4
               MR. CARSON: Probably about until 4               to allow the witness to answer the
 5
         11:10.                                     5
                                                                question, unless you're instructing her
 6
               MR. CAVALIER: All right. We'll       6
                                                                otherwise.
 7
         go back on at 11:10.                       7
                                                                     MR. CARSON: I would suggest that
 8
               THE VIDEOGRAPHER: The time is 8                  there's -- this doesn't even need to be a
 9
         10:54 a.m.                                 9
                                                                seven-hour deposition, since you've
10
               We are off the record.              10
                                                                already done about eight-and-a-half hours
11
               (Recess taken.)                     11
                                                                with her.
12
               THE VIDEOGRAPHER: The time is 12                      You've also done, I think, another
13
         11:20 a.m.                                13
                                                                seven hours with her.
14
               We are back on the record.          14
                                                                     I think she's probably testified
15
               MR. CAVALIER: Before I start, I'm 15             in all -- to everything you've asked
16
         gonna pick up on what you just said there 16           today, I think she probably already
17
         and I think it's only fair to caution you 17
                                                                testify about. And that you're just
18
         that you need to control your speaking    18
                                                                going through the same stuff again, which
19
         objections.                               19
                                                                is not the reason why Judge Wilson
20
               You need to give the witness a      20
                                                                ordered that depositions should be
21
         chance to answer the questions. And more 21            opened.
22
         importantly, you need to give me a chance 22                And so if you guys want to get
23
         to get my questions out.                  23
                                                                down to business and ask questions
24
               MR. CARSON: If I'm not giving you 24             related to why we're actually here today
                                               Page 57                                                        Page 59
 1
          an opportunity to finish your question, I       1
                                                                and not about MEF's cinematics' universe
 2
          will definitely keep that in mind. I'm          2
                                                                and hypothetical situations that never
 3
          not trying to cut you off at all.               3
                                                                happened, then we can probably get
 4
               I'm gonna put the objections on            4
                                                                wrapped up pretty quickly.
 5
          the record that I think are appropriate.        5
                                                                     MR. CAVALIER: Well, it's my
 6
          And then after that, my client will             6
                                                                deposition. So I'll take it where I want
 7
          answer, unless I instruct her not to.           7
                                                                to go.
 8
               MR. CAVALIER: I appreciate that            8
                                                                     Secondly, the reason it's taking
 9
          but at the same time, I think you spoke         9
                                                                so long is because of the speaking
10
          to me or the witness during the first          10
                                                                objections that you're giving.
11
          hour of this deposition.                       11
                                                                     And third, we covered two major
12
               And I'm just letting you know that        12
                                                                topics during the first hour. One of
13
          we're not going to tolerate the speaking       13
                                                                which was a December 4th order. One of
14
          objections all day.                            14
                                                                which was a January 11th order.
15
               MR. CARSON: Maybe you should              15
                                                                     Neither of which were in existence
16
          consider the questions that are being          16
                                                                the last time we sat down for this
17
          asked in the first hour then.                  17
                                                                deposition.
18
               MR. CAVALIER: It doesn't matter           18
                                                                     So I disagree with your
19
          how bad my questions are. Speaking             19
                                                                characterization of the questions and the
20
          objections are improper regardless.            20
                                                                time frame.
21
               MR. CARSON: It does matter,               21
                                                                     But regardless, it's my
22
          though.                                        22
                                                                prerogative, I'll take the deposition
23
               It matters a lot what the                 23
                                                                where I want to go.
24
          questions are, so...                           24
                                                                     I was just letting you know that
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                                               Page 60                                                          Page 62
 1
         we're not going to do the speaking              1 file that lawsuit.
 2
         objections for the remainder of our time        2      Q.    So he told you that this lawsuit
 3
         here.                                           3 was going to be filed, correct?
 4
             And hopefully, if we don't, we can          4      A.      Oh, yeah. Yeah.
 5
         make the court reporter's life easier and       5            Well, he threatened me with it.
 6
         we can move this along.                          6       Q. Well, he told you it was going to
 7
             MR. CARSON: I absolutely do not              7 be filed?
 8
         know what you mean by it's my deposition.        8       A. No, he said -- he said, if you
 9
             This is not a deposition that                9 drop your cases, I'll scuttle it. I will not --
10
         belongs to you. It is not your                  10 that was his word, scuttle. Because, you know, I
11
         deposition. It's Lisa Barbounis'                11 don't use that word.
12
         deposition and I am her counsel.                12           He said he would scuttle the case
13
             So, first, I don't agree that it's          13 if I dropped mine. He said, however, if not,
14
         your deposition.                                14 we're gonna keep coming and we're gonna drop more
15
             And second, one of the orders that          15 cases on you.
16
         you asked questions about isn't even an         16       Q. Okay. Did you record that meeting
17
         order that was -- is in this case.              17 with Daniel Pipes?
18
             So, you know, I think that if you           18       A. Nope. He had my phone as a matter
19
         want to ask questions about the reason          19 of fact. I turned my phone off in front of him.
20
         why we're here today, then we can get           20           And I will tell you this, the
21
         through this quicker.                           21 agreement was, he asked me to -- that we meet in
22
             So with that in mind, I would ask           22 a secret place, that nobody else would be there
23
         you to proceed.                                 23 and that -- that both our phones would be turned
24
             MR. CAVALIER: Well, it's in this            24 off.
                                               Page 61                                                          Page 63
 1
         case because your client put it in this      1
                                                                  I turned my phone off and handed
 2
         case.                                        2
                                                        it to him in front of him. And he couldn't get
 3
   BY MR. CAVALIER:                                   3
                                                        his phone to magically turn off.
 4
         Q. But, regardless, Ms. Barbounis,           4
                                                                  So I don't know what he did. But
 5
   were you surprised to hear that you had been sued  5
                                                        I certainly did not record that meeting, because
 6
   under RICO by the Forum?                           6
                                                        it would, A, be a violation of law and I don't
 7
         A. Yes. I mean, yes and no. Yes,             7
                                                        break laws.
 8
   because I really didn't -- I know, like, I never   8
                                                              Q. But you do record people?
 9
   did anything to constitute that.                   9
                                                              A. I have recorded people, yes.
10
              But, no, because they are always,      10
                                                              Q. Without their consent?
11
   you know, trying to push on and Daniel Pipes made 11
                                                              A. In the states where it's legal to
12
   it clear in our meeting -- yeah, they're always   12
                                                        do that, yes, sir.
13
   trying to, like, keep putting pressure on me to   13
                                                              Q. And without their knowledge?
14
   get rid of this case.                             14
                                                              A. Correct, where it's legal to do
15
              And Daniel Pipes made that clear       15
                                                        so.
16
   in my meeting with him at 30th Street Station.    16
                                                              Q. Did you ever record Marnie Meyer
17
              He said, you know, -- what did he      17
                                                        without her knowledge?
18
   say?                                              18
                                                              A. Yes. But I made her aware after
19
              He said that he was gonna put this     19
                                                        the fact.
20
   case on me and that this could all go away. And   20
                                                              Q. After the fact?
21
   that I'm a nice person. But, like, it's out of    21
                                                              A. Correct.
22
   principle and out of this and his reputation.     22
                                                              Q. Where --
23
              And they are gonna -- if I don't       23
                                                              A. That was at the direction of
24
   drop the cases, that he is going to -- going to   24
                                                        Matthew Bennett anyway.
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                                              Page 64                                                        Page 66
 1
        Q. Where were you when you recorded          1
                                                             faith and confidence in him and so what
 2
   Marnie Meyer?                                     2
                                                             we discuss is not -- I have a very busy
 3
        A. At work.                                  3
                                                             lifestyle. Two little kids. I work many
 4
        Q. In Pennsylvania?                          4
                                                             hours.
 5
        A. Correct.                                  5
                                                                  And honestly, since the
 6
        Q. And how did you record Marnie             6
                                                             beginning -- since -- especially since
 7
   Meyer?                                            7
                                                             this order, but we've had a crazy work
 8
        A. We were in the office and she was         8
                                                             situation with the insurrection of the
 9
   on a speaker phone.                               9
                                                             Capitol and Officer Sitnick dying, who I
10
        Q. How long after you recorded her          10
                                                             knew.
11
   did you let her know that you had made the       11
                                                                  And like it's been a very -- very
12
   recording?                                       12
                                                             complicated and busy time, especially now
13
        A. Not very long after, I don't             13
                                                             with the impeachment trial beginning.
14
   believe. I don't remember. But I did -- we       14
                                                       BY MR. CAVALIER:
15
   talked about it. Probably right when we made up. 15       Q. Are you involved in the
16
   That's how me and Marnie were. We had that       16
                                                       impeachment trial at all?
17
   love/hate relationship.                          17
                                                             A. No. But my boss, I have to make
18
        Q. But before you made up, you had          18
                                                       statements and follow it and pay attention.
19
   recorded her without her knowledge or consent, 19              And there's constituents calling
20
   correct?                                         20
                                                       all the time that need a response.
21
        A. Uh-huh. Yes. I'm sorry. The              21
                                                             Q. Okay. We'll talk a little bit
22
   court reporter needs a yes. Yes.                 22
                                                       about that later.
23
        Q. Did you ever record any other MEF        23
                                                                  Just to be clear here, I want to
24
   employees without their knowledge or consent? 24 show you this sentence.
                                              Page 65                                                        Page 67
 1
        A. Not without their knowledge or             1
                                                                   And to the extent you want to read
 2
   consent, no.                                       2
                                                        all or part of this order, just let me know and
 3
        Q. I want to talk to you about the            3
                                                        you're welcome to do that.
 4
   Sanchez order that we were talking about before    4
                                                                   MR. CARSON: Yeah, I would direct
 5
   the break.                                         5
                                                              her to just take your time and just go
 6
            Can you see that document?                6
                                                              through the entire order before you
 7
        A. Yes.                                       7
                                                              answer any questions and not read the one
 8
        Q. Have you ever seen that document           8
                                                              sentence that was highlighted for you.
 9
   before?                                            9
                                                                   THE DEPONENT: I read pretty
10
        A. You showed it to me right before          10
                                                              quickly. I can get through this.
11
   the break.                                        11
                                                                   MR. CAVALIER: I was trying to
12
        Q. Before today?                             12
                                                              give your counsel the benefit of the
13
        A. No. I knew it existed.                    13
                                                              doubt here by highlighting the sentence
14
        Q. What do you mean you knew it              14
                                                              that he gave a nice long speaking
15
   existed?                                          15
                                                              objection about earlier that says that
16
        A. My lawyer told me that Judge              16
                                                              the Middle East Forum's motion was
17
   Sanchez ruled on the hearing that I testified in. 17       denied.
18
        Q. Okay. But you never -- you                18
                                                                   But if you want to read more than
19
   decided that you didn't find it necessary to      19
                                                              that, you're welcome to.
20
   review the order?                                 20
                                                                   MR. CARSON: Again, I'll recommend
21
            MR. CARSON: Objection.                   21
                                                              that you just review the document.
22
        Argumentative.                               22
                                                                   THE DEPONENT: I'm just going to
23
            THE DEPONENT: My lawyer and I            23
                                                              review it. Thank you. If everybody will
24
        speak routinely and so -- and I have full    24
                                                              just give me a minute.
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                                              Page 68                                                        Page 70
 1
   BY MR. CAVALIER:                                      1
                                                                     You can answer.
 2
        Q. Let me know when you want to                  2
                                                                     THE DEPONENT: Okay. My -- my --
 3
   scroll.                                               3
                                                                my understanding of this document is that
 4
        A. Thank you, sir.                               4
                                                                a preliminary injunction would be so that
 5
             Okay. I'm good.                             5
                                                                you could take everything off, like
 6
             How long is this document, just             6
                                                                delete everything from my phone that,
 7
   out of curiosity?                                     7
                                                                like, came up in your search match, which
 8
        Q. Thirteen pages long -- it's not               8
                                                                also included random things, like
 9
   quite 13 pages. I think it's 11 pages long with       9
                                                                pictures of my family and things like
10
   actual text on it.                                   10
                                                                that, and other things that I use for
11
        A. Okay. Yeah, I know all this. You             11
                                                                work.
12
   can just keep scrolling. Okay. I'm -- go ahead.      12
                                                                     But that, you know, there wasn't
13
             You can scroll up, please. Okay.           13
                                                                shown to be immediate harm. Like, it
14
   Keep going, sir.                                     14
                                                                wasn't me having these things on my phone
15
        Q. I'd ask you to pay special                   15
                                                                would not -- or wherever I had it would
16
   attention to this section, because this is what      16
                                                                not have -- does not cause MEF immediate
17
   we're going to be talking about.                     17
                                                                harm; so therefore, you guys don't get to
18
        A. I understand. I can figure out               18
                                                                delete everything in my phone.
19
   what the important parts are.                        19
                                                           BY MR. CAVALIER:
20
             You can go ahead, sir.                     20
                                                                Q. Would you agree with me that
21
             Okay. Keep going. Okay.                    21
                                                           according to this order, Judge Sanchez found that
22
             Oh, wait. Can you scroll up just           22
                                                           the Middle East Forum had established a
23
   one moment, please?                                  23
                                                           reasonable likelihood of success on its trade
24
             Okay. Keep going, please.                  24
                                                           secrets claims against you?
                                              Page 69                                                        Page 71
 1
             That's funny. Okay.                         1
                                                                    MR. CARSON: Objection. Calls for
 2
             Okay.                                       2
                                                               a legal conclusion.
 3
             Okay.                                       3
                                                                    You can answer if you understand
 4
             Okay.                                       4
                                                               the question.
 5
             Keep going.                                 5
                                                                    THE DEPONENT: So it's my
 6
             MR. CARSON: I think there's a way           6
                                                               understanding that he -- that a
 7
        to just give her --                              7
                                                               likelihood is not guaranteed, number one.
 8
             THE DEPONENT: That's fine. I'm              8
                                                                    And number two, there were times
 9
        almost done. It's fine. I read very              9
                                                               in that deposition where, you know, he --
10
        quickly. I'm almost done.                       10
                                                               there were things that were evidence in
11
             Okay, sir. Keep going.                     11
                                                               that case that wasn't, like, presented
12
             All right.                                 12
                                                               so -- in the thing -- like I just -- the
13
             Stop.                                      13
                                                               part where I said, oh, that's funny, he
14
             Sorry about that.                          14
                                                               said that Amy Meckenberg, where her
15
             Okay.                                      15
                                                               proposal that she submitted to MEF
16
             Okay.                                      16
                                                               themselves, said she wasn't a competitor
17
             That's fine. Thank you.                    17
                                                               and was there to highlight the voices
18
   BY MR. CAVALIER:                                     18
                                                               like organizations like MEF.
19
        Q. Okay. So having now read the                 19
                                                                    And I was their communications
20
   January 8th, 2021, order, issued by Judge            20
                                                               director and that was my job.
21
   Sanchez, what is your understanding of what this     21
                                                                    So when we have those things, like
22
   order means?                                         22
                                                               this doesn't -- this doesn't -- to me a
23
             MR. CARSON: Objection. Calls for           23
                                                               likelihood is not guaranteed and so, you
24
        a legal conclusion.                             24
                                                               know, just because he ruled that given on
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                                              Page 72                                                        Page 74
 1
         the short testimony that was given that        1
                                                                      MR. CARSON: Objection. You can
 2
         day, I do not believe that it was there.        2
                                                                 answer.
 3
               And you're innocent until proven          3
                                                                      THE DEPONENT: Correct.
 4
         guilty. So this does not, you know,             4
                                                                      However, when I started to speak
 5
         guarantee MEF that they -- that they            5
                                                                 about certain things, Judge Sanchez and
 6
         do -- that, like, I did anything wrong,         6
                                                                 the other lawyer made -- like limited me
 7
         so...                                           7
                                                                 on those responses.
 8
   BY MR. CAVALIER:                                      8
                                                                      There was one time where Judge
 9
         Q. And listen, as it happens, we                9
                                                                 Sanchez said, we're not going to go here,
10
   agree on that.                                       10
                                                                 we're not doing this, we're not doing
11
               I'm certainly not insinuating that       11
                                                                 that. And then he just continued.
12
   this is a final determination on the merits of       12
                                                                      So, I mean, he's the boss, so
13
   that case.                                           13
                                                                 that's fine. But there was definitely a
14
               But it is fair to say, I think --        14
                                                                 point in there where I was trying to
15
   you gave a rather long answer there, and I don't     15
                                                                 address this specific part and I wasn't
16
   mean to make you repeat yourself.                    16
                                                                 able to testify about it.
17
               But quoting from the Judge's             17
                                                           BY MR. CAVALIER:
18
   order, it's fair to say that he found a              18
                                                                 Q. Did you argue before Judge Sanchez
19
   reasonable likelihood of success, right?             19
                                                           that this case was frivolous and filed only
20
               MR. CARSON: Objection. Asked and         20
                                                           because the Middle East Forum was trying to
21
         answered. That was the exact question          21
                                                           retaliate against you?
22
         you just asked.                                22
                                                                      MR. CARSON: I'm going to object.
23
               Lisa, if you want to repeat the          23
                                                                 Lisa didn't make any arguments. Her
24
         answer, go ahead.                              24
                                                                 counsel did.
                                              Page 73                                                        Page 75
 1
              THE DEPONENT: The answer is           1
                                                                 MR. CAVALIER: She's the party,
 2
         that's what he wrote. That doesn't mean    2
                                                           Seth.
 3
         that given the evidence that this isn't    3
                                                                 MR. CARSON: And so it calls for a
 4
         frivolous or ridiculous, because it still  4
                                                           legal conclusion.
 5
         is.                                        5
                                                                 And to the extent she understands
 6
   BY MR. CAVALIER:                                 6
                                                           the question -- I object to the form,
 7
         Q. So -- but Judge Sanchez didn't          7
                                                           too -- you can answer.
 8
   rule that it was frivolous, correct?             8
                                                                 THE DEPONENT: I honestly don't
 9
         A. I don't know what his defini --         9
                                                           remember.
10
              MR. CARSON: Objection. Wait. I       10
                                                                 I mean, I do remember that part,
11
         object. Argumentative. Object to form.    11
                                                           but I don't remember what I -- what we --
12
         You can answer.                           12
                                                           I just was remembering answering the
13
              THE DEPONENT: Judge Sanchez does     13
                                                           questions that were asked of me.
14
         not have -- did not have, in this         14
                                                      BY MR. CAVALIER:
15
         hearing, a clear picture of everything,   15
                                                           Q. Would you agree with me that if
16
         because I was limited to what people      16
                                                      the Middle East Forum ultimately prevails on his
17
         asked me and what was presented.          17
                                                      trade secrets claims, then they are, by
18
              So that's why this needs to --       18
                                                      definition, not frivolous?
19
         that's why this is proceeding.            19
                                                                 MR. CARSON: I'm going to object
20
   BY MR. CAVALIER:                                20
                                                           to that. It calls for a legal
21
         Q. When you say you were limited to       21
                                                           conclusion. It's also a hypothetical.
22
   what people asked you, you gave a direct        22
                                                           I'll object to the form. You can answer.
23
   examination conducted by your counsel in that   23
                                                                 THE DEPONENT: I forget the
24
   case, correct?                                  24
                                                           question.
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                                             Page 76                                                        Page 78
 1
   BY MR. CAVALIER:                                   1
                                                          a donor list is considered a trade
 2
        Q. The question is, do you agree with         2
                                                          secret. Personally I would agree with
 3
   me that if the Middle East Forum ultimately        3
                                                          that.
 4
   prevails on its trade secrets claims against you, 4 BY MR. CAVALIER:
 5
   then they are by definition not frivolous?         5
                                                          Q. And Judge Sanchez agrees with that
 6
             MR. CARSON: Same objection. You as well, correct?
                                                      6
 7
        can answer.                                   7
                                                                MR. CARSON: Objection. The order
 8
             THE DEPONENT: I don't know if            8
                                                          speaks for itself.
 9
        that's the legal standard for frivolous       9
                                                                THE DEPONENT: I don't know what
10
        or not.                                      10
                                                          he agrees with. I just know what he
11
             What I do know is that there have       11
                                                          wrote.
12
        been -- in the history of the court          12
                                                                MR. CARSON: Just for the court
13
        system, there have been many cases that      13
                                                          reporter, if there's an objection, you
14
        have been found wrong or -- you know,        14
                                                          got to slow this thing down a little.
15
        there's even people sentenced to death       15
                                                                THE DEPONENT: I keep forgetting
16
        that were wrongfully convicted.              16
                                                          you're objecting. It's hard to hear you
17
             And so I still think that no            17
                                                          sometimes.
18
        matter what the outcome of this case is,     18
                                                                MR. CARSON: I'm sorry. Same
19
        that this is a frivolous and wrong and       19
                                                          objection as last time.
20
        harassing lawsuit.                           20
                                                                Calls for legal conclusion asking
21
   BY MR. CAVALIER:                                  21
                                                          what the Judge thinks. Object to form.
22
        Q. Is it fair to say that Judge              22
                                                                You can answer.
23
   Sanchez disagrees with that statement?            23
                                                                THE DEPONENT: Like I said, he
24
             MR. CARSON: Objection. You want 24           said from what he had so far, that it
                                             Page 77                                                        Page 79
 1
        her to testify -- wait. Wait. Wait.           1
                                                             was.
 2
              You're asking her to testify to         2
                                                                   However, I never gave a donor
 3
        what a judge thinks?                          3
                                                             list -- a complete donor list to anyone,
 4
              To the extent you know what Judge       4
                                                             nor do I have access to it, nor did I
 5
        Sanchez thinks, you can answer the            5
                                                             ever have access to it.
 6
        question.                                     6
                                                                   So the list that I gave was stuff
 7
              THE DEPONENT: Well, that was            7
                                                             that you could get from the internet.
 8
        gonna be my answer. I don't know what         8
                                                             And we established that.
 9
        Sanchez thinks.                               9
                                                        BY MR. CAVALIER:
10
              All I know is what he wrote. And       10
                                                             Q. But Judge --
11
        this case has not been decided. And when     11
                                                             A. As a matter of fact, I think it
12
        it is decided, maybe we can make an          12
                                                        said in the ruling there --
13
        accurate decision on what Judge Sanchez      13
                                                                   MR. CARSON: Wait for a question.
14
        thinks.                                      14
                                                                   THE DEPONENT: I'll wait for a
15
   BY MR. CAVALIER:                                  15
                                                             question.
16
        Q. Having now read Judge Sanchez's           16
                                                        BY MR. CAVALIER:
17
   order, do you agree that Judge Sanchez found that 17      Q. But Judge Sanchez said in his
18
   the Middle East Forum's donor lists and           18
                                                        order that the donor information sent to Amy
19
   prospective donors constitutes trade secrets?     19
                                                        Meckenberg on April 11, 2019, was not public
20
              MR. CARSON: Objection. The order 20 information, correct?
21
        speaks for itself. It calls for a legal      21
                                                             A. Negative. It says right under
22
        conclusion. Object to the form.              22
                                                        there, further discovery may shed light on
23
              You can answer.                        23
                                                        whether -- hold on -- stop scrolling.
24
              THE DEPONENT: I would agree that       24
                                                                   Further discovery may shed light
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                                              Page 80                                                        Page 82
 1
   on whether all the information contained in the      1
                                                           is frivolous?
 2
   donor list was, in fact, publicly and readily         2
                                                                 A. He could have --
 3
   available to Meckenberg.                              3
                                                                      MR. CARSON: Wait. Wait.
 4
              So, therefore, the Judge -- the            4
                                                                 Objection.
 5
   Judge ruled that there's further investigation        5
                                                                      I think we're back into the MEF
 6
   needed.                                               6
                                                                 cinematic universe where we're going on
 7
              So it still may very well be, in           7
                                                                 hypothetical? So I object to the form.
 8
   the Court's eyes, frivolous.                          8
                                                                      You can answer.
 9
         Q. Where do you go from what you just           9
                                                                      THE DEPONENT: And that's where I
10
   said to frivolous?                                   10
                                                                 was going to go. Could have, should
11
              MR. CARSON: Objection.                    11
                                                                 have. I don't know what he could have
12
         Argumentive.                                   12
                                                                 done, what he may have done.
13
              You can answer.                           13
                                                                      I'm not a legal expert. I don't
14
              THE DEPONENT: Because I didn't do         14
                                                                 know what the technicalities are. I
15
         anything wrong. And this lawsuit is            15
                                                                 don't know what he is supposed to write.
16
         trying to twist an innocuous thing that I      16
                                                                 I'm not a judge.
17
         actually did to help the Middle East           17
                                                                      All I know is that I never did
18
         Forum into something nefarious.                18
                                                                 anything nefarious ever to the Middle
19
   BY MR. CAVALIER:                                     19
                                                                 East Forum. And they are making me out
20
         Q. Still you would agree with me,              20
                                                                 to be something that isn't true.
21
   would you not, that Judge Sanchez wrote that the     21
                                                           BY MR. CAVALIER:
22
   forum has presented sufficient evidence to           22
                                                                 Q. What is your understanding of what
23
   demonstrate a likelihood of success on its claim     23
                                                           the Forum is demanding in its effort to obtain a
24
   that the donor information was a trade secret,       24
                                                           preliminary injunction against you?
                                              Page 81                                                        Page 83
 1
     correct?                                           1
                                                                    MR. CARSON: Objection. Calls for
 2
             MR. CARSON: Objection. The               2
                                                               a legal conclusion. Calls for
 3
        document speaks for itself. You can           3
                                                               speculation. Object to the form.
 4
        answer whether or not the sentence            4
                                                                    You can answer.
 5
        says --                                       5
                                                                    THE DEPONENT: So they --
 6
             THE DEPONENT: Answered this a            6
                                                               they're -- what they say their intent is
 7
        whole million times.                          7
                                                               is for me to get rid of any information
 8
             That is -- that statement is just        8
                                                               that I have pertaining to MEF on my
 9
        saying that they have a likelihood to         9
                                                               phone.
10
        proceed. Right?                              10
                                                                    However, in that -- in their
11
             But it still needs further              11
                                                               request, they wanted to get rid of all of
12
        investigation.                               12
                                                               the things that hit on search terms.
13
             I mean, it's very clear. The            13
                                                                    However, there was many things
14
        document is very clear. And I don't know     14
                                                               that hit under the search terms given
15
        why I have to keep answering the same        15
                                                               that were unrelated to this case. Many.
16
        question over and over again.                16
                                                                    And we're talking about, like,
17
             You're not going to get, yes, I         17
                                                               thousands and thousands of things that
18
        agree with you out of it, because I          18
                                                               were unrelated to this case.
19
        don't.                                       19
                                                                    Just because they hit because it
20
   BY MR. CAVALIER:                                  20
                                                               had the letters M-E in it or something
21
        Q. But Judge Sanchez could have              21
                                                               else, doesn't mean that it's relevant to
22
   written, for example, the Middle East Forum has 22          MEF.
23
   presented no evidence to demonstrate a likelihood 23             So you can't just go in my
24
   of success on its claim, and therefore, its claim 24
                                                               documents and erase half my life because
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                                               Page 84                                                        Page 86
 1
        it came up on some erroneous search term. 1             they have -- the hits were anything --
 2
   BY MR. CAVALIER:                                2
                                                                the agreement was to erase anything that
 3
        Q. You, at least, agree then that          3
                                                                came up on the hits for the search terms.
 4
   they have the right to have you remove the      4
                                                                And the search terms included far more
 5
   documents that are actually MEF documents?      5
                                                                than what was MEF documents.
 6
               MR. CARSON: Objection. Calls for 6                    And we've tried to work with your
 7
        a legal conclusion. Object to the form.    7
                                                                side to have this corrected. And -- and
 8
        This document speaks for itself.           8
                                                                I've done my -- we've done our share.
 9
               You can answer if you understand    9
                                                                     You guys want to go into my phone
10
        what he's asking you.                     10
                                                                and delete everything. You have
11
               THE DEPONENT: I understand that I 11             passwords to everything in my phone. You
12
        am -- what I do understand about this is  12
                                                                have all of my personal information
13
        that I am willing to delete or            13
                                                                dating back to further than this case
14
        whatever -- I happily will delete any MEF 14            starts. Further back from my employment
15
        documents or anything that I have. I do   15
                                                                with MEF. You have everything.
16
        not want them. I do not need them.        16
                                                                     And the funny thing is, it only
17
               But you do not get to go into my   17
                                                                turned up one -- this whole thing is on
18
        entire phone and erase half my life. And 18             the Judge's order is on one e-mail sent
19
        so if -- you know, that's it. Like that   19
                                                                in 2019 while I still worked for the
20
        is it.                                    20
                                                                Middle East Forum.
21
               Like I don't -- there is no        21
                                                                     We're not talking about -- the
22
        circumstance where you get to, you know, 22             Judge ruled on one. I was in there on
23
        erase pictures of my kids from when they 23             that hearing. And he said the only thing
24
        were three weeks old.                     24
                                                                that MEF showed is that she sent one
                                               Page 85                                                        Page 87
 1
   BY MR. CAVALIER:                                      1
                                                                 e-mail that was -- that could qualify as
 2
        Q. Right.                                         2
                                                                 this.
 3
             But if -- for example, a third               3
                                                                       That's what he said, one e-mail
 4
   party was hired to go through your information         4
                                                                 that could qualify as this.
 5
   and delete only that which was MEF's and not your      5
                                                                       And -- and honestly, it was during
 6
   personal information, you wouldn't have a problem      6
                                                                 my time of employment to help the Middle
 7
   with that then, right?                                 7
                                                                 East Forum.
 8
             MR. CARSON: I'm gonna object to              8
                                                                       And so this is all boiling down to
 9
        the form.                                         9
                                                                 one e-mail while I was still employed in
10
             THE DEPONENT: Hypothetically                10
                                                                 April, or whatever month it was, of 2019.
11
        speaking --                                      11
                                                                       One document. One e-mail.
12
             MR. CARSON: Let me put the                  12
                                                            BY MR. CAVALIER:
13
        objection on.                                    13
                                                                 Q. Regardless of your views on what
14
             THE DEPONENT: Hurry up.                     14
                                                            evidence showed and didn't show in front of Judge
15
             MR. CARSON: I will object to the            15
                                                            Sanchez --
16
        form of the question. It's hypothetical          16
                                                                 A. I'm going by what Judge Sanchez
17
        again.                                           17
                                                            said. Were you in that hearing? I don't
18
             You can answer.                             18
                                                            remember.
19
             THE DEPONENT: But anyway, like I            19
                                                                       MR. CARSON: Let him get the
20
        said, hypothetically speaking, if it was         20
                                                                 question out.
21
        easy, then, yeah, there would be no              21
                                                            BY MR. CAVALIER:
22
        problem with that.                               22
                                                                 Q. You would agree with me, though,
23
             However, we have been told                  23
                                                            would you not, that separate and apart from your
24
        numerous times that that is not -- that          24
                                                            personal information, whatever mechanism is
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                                                     Page 88                                                       Page 90
 1 agreed to to remove the information, that the                1
                                                                       objection.
 2 Forum does have a right to have you remove Middle            2
                                                                            MR. CAVALIER: I don't need you to
 3 East Forum information from your personal                    3
                                                                       explain it.
 4 devices, correct?                                            4
                                                                            THE DEPONENT: I heard your side
 5            MR. CARSON: I'm gonna object                      5
                                                                       do that, too. Sorry, sir.
 6       again. Asked and answered. Object to                   6
                                                                            MR. CARSON: Yeah. Look --
 7       the form. Calls for a legal conclusion.                7
                                                                            MR. CAVALIER: You never heard me
 8            There's also a litigation hold on                 8
                                                                       make a form objection in a deposition.
 9       this case, which would preclude her from               9
                                                                            MR. CARSON: I will put the
10       doing what you're talking about.                      10
                                                                       objections on the record that I feel are
11            To the extent that she can answer,               11
                                                                       appropriate.
12       she can. Lisa, you can answer the                     12
                                                                            So the objection is noted.
13       question.                                             13
                                                                            To the extent that you understand
14            THE DEPONENT: I don't want -- I                  14
                                                                       the question, you can answer.
15       don't know how to answer this question,               15
                                                                  BY MR. CAVALIER:
16       because I don't want MEF information on               16
                                                                       Q. After your counsel's soliloquy,
17       my phone. I don't want it. I want                     17
                                                                  did you even remember the question?
18       nothing to do with them.                              18
                                                                       A. Something about instructing
19            So if I could do it where I don't                19
                                                                  Patricia McNulty to do something.
20       have to get my -- like that my stuff                  20
                                                                       Q. Did you ever instruct Tricia
21       wouldn't be touched, then I would                     21
                                                                  McNulty to wipe an MEF iPad?
22       happily, happily, happily sit in a room               22
                                                                            MR. CARSON: Same objection. You
23       with whatever third party you want and go             23
                                                                       can answer.
24       over the documents.                                   24
                                                                            THE DEPONENT: Marnie Meyer told
                                                     Page 89                                                       Page 91
 1
             No. Like, you know, they can have                  1
                                                                     us to wipe and get all our personal
 2
        whatever they want. I don't want it.                    2
                                                                     information off of our devices, to
 3
        Don't want it.                                          3
                                                                     restore them to factory settings so that
 4
   BY MR. CAVALIER:                                             4
                                                                     people could use them.
 5
        Q. Okay. Did you ever instruct                          5
                                                                           When I logged into -- when I
 6
   Patricia McNulty to wipe her MEF notepad?                    6
                                                                     logged into my iPad. Right? Or the MEF
 7
             MR. CARSON: Objection. Assuming                    7
                                                                     iPad, I did so with my personal iCloud,
 8
        facts not in evidence.                                  8
                                                                     which you guys have complete access to.
 9
             MR. CAVALIER: Assuming facts not                   9
                                                                     Okay?
10
        in evidence is not a proper objection.                 10
                                                                           So I did that. But to save -- to
11
             MR. CARSON: Yeah, it is. It's a                   11
                                                                     keep me protected from Greg Roman knowing
12
        form objection. It totally is. Assuming                12
                                                                     all my passwords and all my stuff, I had
13
        facts not in evidence. Lack of                         13
                                                                     to take my personal information off of
14
        foundation. Object to the form.                        14
                                                                     the iPad.
15
             MR. CAVALIER: Foundation is not a                 15
                                                                           And since I was not there to do
16
        proper objection in a deposition.                      16
                                                                     it, I asked her to do it for me, because
17
             MR. CARSON: It actually is. It's                  17
                                                                     that is what you're supposed to do.
18
        a form objection. Foundation and                       18
                                                                           My personal information. Taking
19
        assuming facts not in evidence, those are              19
                                                                     me off the iCloud thing so that they
20
        the two types of form.                                 20
                                                                     don't have access to my personal
21
             MR. CAVALIER: Then say object to                  21
                                                                     pictures, my personal e-mail, my personal
22
        form.                                                  22
                                                                     passwords to my bank accounts.
23
             MR. CARSON: No, I'm gonna tell ya                 23
                                                                           All that stuff is saved on your
24
        -- I'm gonna explain the basis for my                  24
                                                                     iCloud and, no, MEF is not entitled to
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                                               Page 92                                                        Page 94
 1
        that.                                            1
                                                                      THE DEPONENT: The question was --
 2
   BY MR. CAVALIER:                                       2
                                                                  court reporter, can repeat the question
 3
        Q. When did you give her that                     3
                                                                  for me, please?
 4
   instruction?                                           4
                                                            BY MR. CAVALIER:
 5
        A. I don't remember.                              5
                                                                  Q. The question is, at the time you
 6
        Q. Was it before or after you left                6
                                                            gave Patricia McNulty the instruction to delete
 7
   the Forum?                                             7
                                                            your personal information from the MEF corporate
 8
        A. It was probably after I left the               8
                                                            iPad, did you tell anyone else at MEF that you
 9
   Forum.                                                 9
                                                            were giving her that instruction?
10
        Q. Did you think it was proper for               10
                                                                  A. Okay. So, A, I didn't speak to
11
   you to be storing personal information of the MEF     11
                                                            anybody other than Tricia McNulty after -- I
12
   corporate iCloud?                                     12
                                                            really didn't -- well, regularly, didn't speak to
13
        A. We were told to.                              13
                                                            anybody after the -- after that.
14
              MR. CARSON: I'm going to object            14
                                                                      And it was Tricia McNulty who
15
        to the question as argumentative. Object         15
                                                            alerted me that my personal information was still
16
        to form.                                         16
                                                            on the iPad.
17
              THE DEPONENT: It's not storing --          17
                                                                      So she's the reason -- and I said
18
        it's not storing personal information.           18
                                                            oh, can you please take it off.
19
              There were times where I needed to         19
                                                                      I mean, she alerted me that my
20
        purchase things, like equipment, for work        20
                                                            personal info was still on that iPad, because I
21
        and things like that.                            21
                                                            didn't remember. And she brought it to my
22
              And we did so out of our Amazon            22
                                                            attention.
23
        accounts. And so for us to -- for me to          23
                                                                      And so I said, oh, thanks. Take
24
        do that and order it on the iPad and to          24
                                                            it off. Yes. I don't want Greg Roman having my
                                               Page 93                                                        Page 95
 1
        do other things and to use an iPad, you    1
                                                     personal information.
 2
        have to log in with your iCloud. That's    2
                                                                He's already knee deep in all my
 3
        how it works.                              3
                                                     whole life.
 4
              And that is what we were             4
                                                            Q. Well, I mean, if it was already on
 5
        instructed to do. When he handed me the    5
                                                     the corporate iPad, he already had access to it,
 6
        iPad, set it up, log into your iCloud,     6
                                                     didn't he?
 7
        it's yours, blah, blah, blah.              7
                                                            A. Right. But when -- you don't
 8
              So, yes. Yes, I do think it's        8
                                                     understand what a tyrant Greg is.
 9
        proper, because that's what I was told to  9
                                                                Okay?
10
        do. That was in answer to your question. 10             So when -- you do anything wrong,
11
   BY MR. CAVALIER:                               11
                                                     like quit or, you know, -- or whatever, do
12
        Q. Did you tell anybody other than        12
                                                     something Greg doesn't like -- and he didn't have
13
   Patricia McNulty that you were issuing that    13
                                                     access to it while it was in my possession.
14
   instruction?                                   14
                                                                So, like, that was given to me as
15
              MR. CARSON: Objection. What         15
                                                     my iPad. And it was at my desk and I always had
16
        instruction are we talking about?         16
                                                     it, like, when I worked there.
17
   BY MR. CAVALIER:                               17
                                                                When I left, I forgot to take my
18
        Q. The instruction to clear the           18
                                                     personal information off of it. So they were
19
   information from the corporate iPad.           19
                                                     going to use it, the MEF iPad, which was when
20
              MR. CARSON: Objection. You keep 20 they gave it to me, just like they gave me a
21
        using words like clear and wipe. That's   21
                                                     computer.
22
        not what she testified to. So I'll        22
                                                                So when I took my information
23
        object to the form.                       23
                                                     off -- so when I had it, Greg didn't have access
24
              You can answer.                     24
                                                     to the MEF iPad. We put our stuff -- all the
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 1
   stuff, though, that was on that iPad is now in     1
                                                              removed the log-in credentials so that
 2
   your hands.                                        2
                                                              you couldn't access her iCloud from a
 3
             It was my iCloud, because you            3
                                                              certain device that she didn't have
 4
   can't save things to it particularly. It was in    4
                                                              access to it anymore.
 5
   my iCloud or it was on the MEF One Drive.          5
                                                                   THE DEPONENT: Right.
 6
             So, no, like, you guys have              6
                                                                   MR. CARSON: Her testimony was
 7
   anything that would be in there. All that was      7
                                                              pretty clear, and the record will
 8
   doing in that moment was protecting me from        8
                                                              demonstrate that. So I think that we've
 9
   having Greg have my personal credit card,          9
                                                              covered this subject.
10
   banking, family, e-mail, all that.                10
                                                                   And I think any more questions
11
             There's nothing wrong with that.        11
                                                              about this are in improper. But you can
12
         Q. So you deleted your iCloud account 12             ask her and I'll just put the objection
13
   because you didn't want MEF --                    13
                                                              on the record.
14
         A. I didn't delete an iCloud account.       14
                                                        BY MR. CAVALIER:
15
   I deleted -- I took my iCloud account off of that 15       Q. Are you aware of the fact that
16
   device.                                           16
                                                        when you sign in into an iCloud account on an
17
             Well, I didn't. I asked Tricia to       17
                                                        iPad, the iPad will download information from
18
   do it.                                            18
                                                        that iCloud account and store it locally until
19
             But I took it off that device.          19
                                                        iCloud account is removed?
20
   All iCloud stuff is still -- you have it. You     20
                                                                   MR. CARSON: Objection. Assuming
21
   guys have all the log-ins and passwords to it.    21
                                                              facts not in evidence. You can answer.
22
   You have it all. It's still there.                22
                                                                   THE DEPONENT: I am not aware of
23
             The iCloud exists.                      23
                                                              that.
24
             All I did was remove my personal        24
                                                                   I thought that it's all
                                               Page 97                                                        Page 99
 1
   information, my log-in credentials and all that       1       cloud-based and it's in the cloud and it
 2
   stuff off of that device.                              2      accesses the cloud. It doesn't download
 3
              MR. CARSON: Yeah. I also don't              3      any information to the machine itself.
 4
         appreciate questions where you totally           4      And that's how you save on storage.
 5
         mischaracterize her prior testimony.             5           So I think that your
 6
              So I'm just going to object to the          6      characterization of that is incorrect.
 7
         whole question that you just asked.              7 BY MR. CAVALIER:
 8
   BY MR. CAVALIER:                                       8      Q. Did you review the contents of the
 9
         Q. You didn't review the information             9 iCloud account before you instructed Patricia
10
   before you instructed Patricia McNulty to take it     10 McNulty to remove the iCloud account from the MEF
11
   off the iPad, correct?                                11 laptop?
12
              MR. CARSON: I'll object to the             12      A. It's e-mail and password.
13
         form.                                           13           MR. CARSON: I objected. And
14
              What information are you talking           14      Lisa, go ahead.
15
         about? Review what?                             15           THE DEPONENT: It's an e-mail and
16
              MR. CAVALIER: The information in           16      password.
17
         your iCloud.                                    17           What is there to review?
18
              MR. CARSON: What do you mean --            18 BY MR. CAVALIER:
19
         John, what -- your question demonstrates        19      Q. It's a simple yes or no question.
20
         an utter lack of understanding, which           20           Did you review the contents of
21
         seems purposeful for the testimony of my        21 your iCloud account before you instructed
22
         client just said. There was no                  22 Patricia McNulty to remove access to that account
23
         information.                                    23 from the MEF corporate iPad?
24
              She testified that she just                24           MR. CARSON: I'm gonna object to
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 1
        the question. Object to the form. You             1
                                                                Q.     Do you think --
 2
        can answer.                                       2
                                                                      MR. CARSON: Guys, finish this
 3
             THE DEPONENT: Yes, I removed -- I            3
                                                                question, then I need to use the
 4
        knew my -- I reviewed my e-mail and               4
                                                                restroom.
 5
        password, yes.                                    5
                                                                      THE DEPONENT: Sir, if that was
 6
   BY MR. CAVALIER:                                       6
                                                                the case -- if that was the case -- let
 7
        Q. Did you review the contents of                 7
                                                                me finish.
 8
   your iCloud account before instructing Patricia        8
                                                                      If that was the case, that it
 9
   McNulty to remove that account from the MEF            9
                                                                stored the information locally, then I
10
   corporate iPad?                                       10
                                                                would have no storage space in my phone
11
             MR. CARSON: Objection. That's               11
                                                                whatsoever, because I have 30,000
12
        the same question you just asked twice.          12
                                                                pictures on my phone.
13
        Asked and answered.                              13
                                                                      You only get 168 gigabytes of
14
             Lisa, go ahead.                             14
                                                                storage on an iPhone. So if it stored it
15
             THE DEPONENT: Did I -- sorry.               15
                                                                locally, my phone would not be able to
16
             So I'm understanding your question          16
                                                                operate, given the capacity -- its memory
17
        to be, did I scour through every single          17
                                                                capacity.
18
        thing on my iCloud, including all of my          18
                                                                      MR. CARSON: Hold on. With that,
19
        20,000 pictures and my 20,000 messages           19
                                                                let's take a five-minute break or
20
        and my 20,000 e-mails and my 20,000,             20
                                                                bathroom break.
21
        whatever, Google drive documents? Did I          21
                                                                      MR. CAVALIER: Yeah, I'm good with
22
        do that?                                         22
                                                                that, as long as you make it 10. You
23
             No, I'm sorry.                              23
                                                                know I don't like five-minute breaks.
24                                                       24
                                                                      THE VIDEOGRAPHER: The time is
                                              Page 101                                                       Page 103
 1
   BY MR. CAVALIER:                                       1
                                                                  12:02 p.m.
 2
         Q. Now, you brought up Google Drive.             2
                                                                       We're off the record
 3
   Google Drive is not part of iCloud, correct?           3
                                                                       The time is 12:16 p.m.
 4
         A. Yes, actually it is.                          4
                                                                       (Recess taken.)
 5
              What happens is, when you log               5
                                                                       THE VIDEOGRAPHER: We are back on
 6
   into -- when you log into your iCloud, it stores       6
                                                                  the record.
 7
   all your apps. Okay?                                   7
                                                            BY MR. CAVALIER:
 8
              And when your apps are stored               8
                                                                  Q. Ms. Barbounis, did you instruct
 9
   there -- okay. When your apps are stored in the        9
                                                            Patricia McNulty to, quote, delete my pictures,
10
   thing, when it re-populates -- so say I take my       10
                                                            end quote, from the MEF corporate backup?
11
   device right now, right? My phone. And I have         11
                                                                  A. I mean, you seem to be quoting me,
12
   an app on there, which is Google Drive. Right?        12
                                                            so I guess so.
13
              When I take that app and I log in          13
                                                                  Q. Okay.
14
   with my user name and password for iCloud, and I      14
                                                                       MR. CARSON: Well, Lisa, don't
15
   put it on another device, say I get a new phone,      15
                                                                  guess.
16
   say I get whatever, okay, that information from       16
                                                                       If you remember doing it, then say
17
   there, it will bring the app and all the contents     17
                                                                  you remember. If not, then just say and
18
   of the app back onto my phone.                        18
                                                                  let them know that. Don't guess.
19
         Q. Locally?                                     19
                                                                       THE DEPONENT: I'm sorry. I don't
20
         A. No. From the cloud.                          20
                                                                  remember. I shouldn't be guessing. I
21
         Q. Right.                                       21
                                                                  don't actually remember.
22
              It comes from the cloud and is             22
                                                            BY MR. CAVALIER:
23
   stored on your phone --                               23
                                                                  Q. That's all right. That's always a
24
         A. It is not stored on your phone.              24
                                                            fair answer.
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 1
              At the time -- well, let me ask                Q. Did you produce information from
                                                             1
 2
   you this.                                          2
                                                        your Facebook account in this case?
 3
               Does August, September 2019 strike     3
                                                             A. Yes.
 4
   you as an accurate time frame as to when you gave 4       Q. Are you certain of that?
 5
   Patricia McNulty this instruction?                 5
                                                             A. Yes.
 6
          A. I got my job at the end of August.       6
                                                             Q. My understanding is that you are
 7
   So probably.                                       7
                                                        going to be making a production of your Facebook
 8
          Q. Okay. At that point in time had          8
                                                        information in the trade secrets case at some
 9
   you and Patricia McNulty discussed your claims     9
                                                        point today, is that correct?
10
   against the Middle East Forum that you brought in 10
                                                                  MR. CARSON: Objection.
11
   this case?                                        11
                                                                  THE DEPONENT: I guess so. I
12
          A. I don't know.                           12
                                                             don't know.
13
          Q. Do you know whether or not at that      13
                                                        BY MR. CAVALIER:
14
   time Patricia McNulty was contemplating an action 14      Q. If I represent to you that you
15
   against the Middle East Forum?                    15
                                                        have not -- or we have never received any
16
          A. I think we already filed in court.      16
                                                        Facebook information in this case, will you agree
17
   I don't know.                                     17
                                                        to produce to us the Facebook information that
18
          Q. So I'll represent to you -- well,       18
                                                        you're producing in the trade secrets case?
19
   I'll ask it to you this way.                      19
                                                                  MR. CARSON: I'm going to object.
20
               If Patricia McNulty had already       20
                                                             I'm gonna instruct her not to answer that
21
   filed in court, did you think it was appropriate  21
                                                             question. It's something she has to talk
22
   to be giving a plaintiff in an action against MEF 22
                                                             to me about.
23
   an instruction to delete information from an MEF  23
                                                                  THE DEPONENT: I just want to make
24
   device?                                           24
                                                             it clear for the record that I gave Kep
                                                  Page 105                                                       Page 107
 1
              MR. CARSON: I'm gonna object.         1
                                                            Secum or whoever it is the people that is
 2
         She already testified that the             2
                                                            doing this.
 3
         information wasn't deleted.                3
                                                                 I gave them all of my Facebook
 4
              Go ahead, Lisa.                       4
                                                            data and log in information not once, not
 5
              THE DEPONENT: You asked me            5
                                                            twice, but threes times. They have
 6
         whether I think it's proper.               6
                                                            everything. They have access to my full
 7
              I think it is proper when it was      7
                                                            Facebook.
 8
         the policy to remove our personal iCloud   8
                                                      BY MR. CAVALIER:
 9
         information from the devices, that that    9
                                                            Q. When did you give them that
10
         is what I asked -- I didn't instruct her, 10
                                                      information?
11
         I asked her to do it.                     11
                                                            A. Multiple times. I gave it to him
12
              So, I mean, I didn't instruct --     12
                                                      then  when   the first request for discovery came
13
         like, I have no -- you know, supervisory  13
                                                      in. And then the guy, Kevin or Kyle or whatever
14
         anything over Tricia McNulty.             14
                                                      his name is, called me and said, hey, we didn't
15
              If I asked her to do something, I    15
                                                      get to pull this one part, because, you know,
16
         asked her to do it. And she has the full  16
                                                      it's connected with Congressman Weber's account
17
         wherewithal to make that decision on her  17
                                                      or whatever.
18
         own.                                      18
                                                                 And then he was, like, can you
19
   BY MR. CAVALIER:                                19
                                                      give me the log in again. And do two factor
20
         Q. Do you know whether or not she         20
                                                      authentication again and I did.
21
   did, in fact, carry out your request?           21
                                                                 And then he called me back and
22
         A. I believe that she did. I don't        22
                                                      asked  me   to do it a third time. That has to
23
   know for a fact, because I never had access to  23
                                                      be -- the last time that happened was months ago.
24
   anything after that.                            24
                                                      My brother got married in the beginning of
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 1
   December and I remember it being around that       1
                                                                  Greg was always the boss and he
 2
   time, because I was, like, -- like doing stuff     2
                                                        still is.
 3
   from my brother's wedding.                         3
                                                               Q. Well, let's be accurate and not
 4
         Q. Beginning of December 2020?               4
                                                        exaggerate or engage in hyperbole here.
 5
         A. That was the last time that I did         5
                                                                  You said Greg made all the
 6
   it.                                                6
                                                        decisions. You don't know that to be the case,
 7
              But originally before that it had       7
                                                        correct?
 8
   to have been six, seven, eight months before       8
                                                               A. Okay. That's fair.
 9
   that. Like -- yeah.                                9
                                                                  I do not know that he made every
10
              I mean, I've given them the log-in     10
                                                        single, solitary decision.
11
   credentials on numerous occasions.                11
                                                                  But I can tell you, that for all
12
         Q. Okay. So as far as you know, it's        12
                                                        the big decisions that I witnessed in that place
13
   your belief sitting here today in the deposition  13
                                                        from working there for two years, that Greg made
14
   that you have produced the information from your 14 the ultimate decision.
15
   Facebook page to us in this case?                 15
                                                                  And if Daniel disagreed with him
16
         A. Hundred percent. Yes, sir.               16
                                                        even, that they would argue it out or whatever
17
         Q. Okay. Can you describe for me            17
                                                        and Greg would always triumph.
18
   the -- if you need to define these terms, that's  18
                                                               Q. Okay. And so, again, just so
19
   fine -- but the hierarchy or the chain of command 19 we're all clear for the record, you know that
20
   at MEF in 2018 and 2019?                          20
                                                        about those decisions because you -- that Greg
21
         A. The chain of command?                    21
                                                        made, because you were either a part of those
22
         Q. Yes.                                     22
                                                        decisions or you were present when Greg was
23
         A. It was a very weird kind of thing.       23
                                                        making them, correct?
24
   Marnie at one point laid out with -- Greg and     24
                                                               A. Yes. And I was -- well, not -- I
                                              Page 109                                                       Page 111
 1
   Marnie laid out an organizational chart.           1
                                                        was not a part of them. So that's not -- that's
 2
              And it was Greg at the top, then        2
                                                        an improper characterization.
 3
   like -- like, Marnie, me -- like, Marnie -- well,  3
                                                                   I witnessed them, yes. And
 4
   kind of -- I had my own, like, box over to the     4
                                                        then -- and then I also was instructed not to go
 5
   side, because I was Greg's assistant.              5
                                                        to Daniel.
 6
              And then, like, -- so they were         6
                                                                   I actually got in trouble via
 7
   kind of, like, -- like all on the same level, but  7
                                                        e-mail once for going to Daniel -- or copying him
 8
   it was, like, I was over to the side.              8
                                                        on an e-mail when it was Greg was supposed to be
 9
              And then, like, it went down and        9
                                                        there. We were very -- Greg isolated us from
10
   it was Marnie, Matt, and then the people that are 10
                                                        Daniel very much.
11
   underneath them.                                  11
                                                              Q. How much interaction did you have
12
         Q. Okay. So let's talk about those          12
                                                        with Daniel Pipes while you were at the Forum?
13
   people.                                           13
                                                              A. Probably -- I mean, over e-mail?
14
              So you said Greg Roman at the top      14
                                                        A lot.
15
   for all intents and purposes, it's actually       15
                                                                   But he was in and out of the
16
   Daniel Pipes at the top of the chain, right?      16
                                                        office. Hardly there at all. Because Greg was
17
         A. For all intents and purposes, Greg       17
                                                        like, you know, ran the show.
18
   Roman made all the decisions and even kept Daniel 18
                                                                   Daniel Pipes specifically said
19
   Pipes out of a lot of those decisions, including  19
                                                        that he likes to do -- you know, speak and write
20
   the website and how much money he was spending 20 and read and research. And that he is not
21
   and all that kind of stuff.                       21
                                                        interested in anything administrative whatsoever.
22
              He didn't inform Greg Roman about      22
                                                              Q. Still, it's fair to say, is it
23
   our benefit -- or Greg Roman didn't inform Daniel 23
                                                        not, that to the extent that Daniel Pipes is
24
   Pipes about other benefit packages.               24
                                                        making decisions that you did not observe, you
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 1
   wouldn't know that he was making them, correct? 1              And so then he retracted our
 2
         A. Let's say this again.                     2
                                                        benefits to only paying a third and then was
 3
             I have watched Greg Roman make           3
                                                        going to phase them out. He did not know that.
 4
   major huge, huge, decisions for MEF without the 4              He also did not know, and he put
 5
   input of Daniel Pipes whatsoever on multiple       5
                                                        this in an e-mail as well, that Greg Roman spent
 6
   occasions.                                         6
                                                        $400,000 on an e-mail -- I mean, on a new website
 7
             So Greg Roman ran the show.              7
                                                        platform.
 8
         Q. I understand what you're saying           8
                                                                  Now, he knew we were upgrading the
 9
   with respect to what you observed.                 9
                                                        website. He didn't know how much was spent.
10
             But if you didn't observe --            10
                                                        When he found out, not only was he horrified, he
11
         A. I don't know what I don't know.          11
                                                        told us all about it, that he did not know that
12
         Q. Right.                                   12
                                                        that was there.
13
             So you don't know whether Daniel        13
                                                                  He has admitted to numerous things
14
   Pipes was making decisions that did or did not    14
                                                        that Greg has done that he knew nothing about.
15
   involve Greg Roman, unless you were there to      15
                                                              Q. Okay. So that's -- that-- I just
16
   observe it, correct?                              16
                                                        heard  you talk about two decisions that Greg made
17
         A. Correct.                                 17
                                                        without Daniel's knowledge.
18
             However, I have witnessed on            18
                                                              A. There were so many of them. I
19
   multiple occasions Greg Roman making decisions 19 couldn't sit here and list them all day. We
20
   that Daniel Pipes had no knowledge of and still   20
                                                        would be here forever.
21
   to this day Dr. Pipes has confirmed he had no     21
                                                              Q. But my question to you is more
22
   knowledge of those decisions.                     22
                                                        broad than that.
23
         Q. You say that in a way -- and I           23
                                                                  You talked earlier about many
24
   don't mean to read into your tone here, so if I'm 24
                                                        decisions, lots of things that Greg Roman was
                                              Page 113                                                       Page 115
 1
   misreading you, then forgive me.                      1
                                                            doing without Daniel Pipes' knowledge, major
 2
             But you say that -- you give that            2
                                                            decisions, huge things.
 3
   answer in a way that makes me think that you are       3
                                                                      You've now named two that,
 4
   of the belief that Greg doing so, making those         4
                                                            according to you, based on what you heard from
 5
   decisions without input from Daniel Pipes, was         5
                                                            Daniel Pipes, you believe that Daniel Pipes was
 6
   somehow wrong or improper.                             6
                                                            not aware of or disagreed with.
 7
             Am I correct on that?                        7
                                                                      Are there any other major
 8
         A. I'm just stating the facts.                   8
                                                            decisions that are of the type that you're
 9
         Q. Okay. So for all you know then,               9
                                                            referencing that Greg made without the approval,
10
   sitting here today, Greg Roman making those           10
                                                            authorization or input from Daniel Pipes?
11
   decisions without Daniel Pipe's input may have        11
                                                                      MR. CARSON: Object to form.
12
   been entirely in accordance with Daniel Pipes'        12
                                                                      THE DEPONENT: I mean, there were
13
   wishes?                                               13
                                                                 others. You know, getting rid of
14
         A. Not true. Because Daniel Pipes               14
                                                                 employees comes to mind.
15
   had written an e-mail and said to us that he did      15
                                                                      I can't give you specifics,
16
   not know about our health insurance, that Greg        16
                                                                 because I don't remember all the details.
17
   was doing -- that Greg was paying half of it.         17
                                                                 But those were the two that I remember,
18
             And he wrote an e-mail to all               18
                                                                 like, because Daniel Pipes had such a
19
   staff saying that he was unaware of this. He          19
                                                                 negative reaction to it. Like they're
20
   does not believe that -- he doesn't believe in        20
                                                                 the two that stick out in my mind.
21
   giving anybody benefits.                              21
                                                                      But, you know, like, I can't
22
             He thinks we are all adults --              22
                                                                 recall all of them honestly. There's so
23
   these are his words. We are all adults. We can        23
                                                                 many.
24
   make our financial decisions on our own.              24
                                                                      It's like how many times have I
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 1
         eaten at McDonald's?                        1
                                                       Goodrob.
 2
   BY MR. CAVALIER:                                  2
                                                                  I mean, there's a whole list of
 3
         Q. So --                                    3
                                                       people.
 4
         A. I don't know. So many.                   4
                                                             Q. Okay. So from your perspective,
 5
         Q. Okay. So if I go back to the             5
                                                       those people you just named, the project
 6
   chain of command of the hierarchy that we were directors, they are -- they are your, for lack of
                                                     6
 7
   talking about before, from an organizational      7
                                                       a better word, equals in the hierarchy at the
 8
   standpoint, Daniel Pipes is the president of the  8
                                                       Middle East Forum?
 9
   Middle East Forum, correct?                       9
                                                             A. No, they're not.
10
         A. Correct.                                10
                                                             Q. Okay. Then I thought my question
11
         Q. And regardless of what you              11
                                                       to you was, tell me the people, other than you,
12
   observed with respect to the decision-making     12
                                                       who are at that tier of the hierarchy at the
13
   progress, Daniel Pipes was Greg Roman's boss,    13
                                                       Middle East Forum?
14
   correct?                                         14
                                                             A. I wasn't under that tier.
15
         A. Correct. Kind of.                       15
                                                                  I was in a separate category all
16
         Q. Greg Roman reported to Daniel           16
                                                       of my own, as I described to you before. I was
17
   Pipes?                                           17
                                                       Greg's assistant and so I reported -- and so this
18
         A. They were more like equals, but         18
                                                       was a reporting hierarchy.
19
   yes.                                             19
                                                             Q. Okay.
20
         Q. Can Greg Roman fire Daniel Pipes        20
                                                             A. So I was his assistant; therefore,
21
   if he wanted to?                                 21
                                                       like -- like, the project directors have people
22
         A. No. You're right there. That's          22
                                                       who report to them. Okay?
23
   fair.                                            23
                                                                  I didn't have anybody to report to
24
         Q. Could Daniel Pipes fire Greg Roman 24 me. I was -- Greg Roman was my direct
                                              Page 117                                                       Page 119
 1 if he wanted to?
                                                        supervisor, because I was his secretary. I was
                                                         1
 2       A. If he wanted to, he should have.          2
                                                        his assistant.
 3       Q. Did he have that power?                   3
                                                               Q. Okay.
 4       A. Yes.                                      4
                                                               A. So nobody was, like, -- I was in a
 5       Q. So then they're not really equals,        5
                                                        little category floating over there by myself.
 6 correct?                                           6
                                                               Q. Okay. But you reported directly
 7       A. That's fair. Yes.                         7
                                                        to Greg, correct?
 8       Q. So below Daniel Pipes is Greg             8
                                                               A. Correct. Because he was my boss.
 9 Roman, correct?                                    9
                                                        Correct.
10       A. Yes.                                     10
                                                               Q. And the project directors that you
11       Q. Okay. Is there anyone else at            11
                                                        just listed for me, they also reported to Greg?
12 Greg Roman's level below Daniel Pipes on that     12
                                                               A. Correct. But they could give me
13 tier of the hierarchy?                            13
                                                        work.
14       A. No.                                      14
                                                               Q. Sure.
15       Q. Okay. So tell me the names of the        15
                                                               A. And, like, they assigned me things
16 people who were below Greg Roman in the corporate 16
                                                        and I was responsible to them, too.
17 hierarchy at MEF while you were there?            17
                                                                   So, like, -- so to say that, like,
18       A. Marnie Meyer, Mark Fink, Matthew         18
                                                        if I did something wrong to, like, or whatever
19 Bennett, Sam Westrout, Oren Litman -- Oren.       19
                                                        with the project directors, then, you know, like,
20            Who else? I'm trying to think of       20
                                                        they would have the ability to reprimand me. And
21 everybody's name.                                 21
                                                        then take it to Greg or whomever to whatever,
22            Winfield Meyers. I'm trying to         22
                                                        like to implement disciplinary action.
23 think of all the project directors. I mean,       23
                                                                   So they were above me.
24 there was a host of people. Thelma Prosser,       24
                                                               Q. Did you consider them your
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 1
   superiors?                                            1
                                                            do, right?
 2
         A. I didn't consider them my equals.             2
                                                                  A. Correct.
 3
         Q. Did you consider them your                    3
                                                                  Q. And if she did a poor job or
 4
   superiors?                                             4
                                                            refused to do them or what have you, did you have
 5
         A. Yes.                                          5
                                                            the authority to reprimand her?
 6
         Q. Okay. Was Marnie Meyer considered             6
                                                                  A. I only had the authority to tell
 7
   a project director?                                    7
                                                            Greg and then he would reprimand her.
 8
         A. Oh, no. She was Human Resources               8
                                                                  Q. Okay. And generally speaking, had
 9
   and Chief Financial Officer.                           9
                                                            you done so, would he take that instruction and
10
         Q. Okay. And was she Director of                10
                                                            act on it?
11
   Human Resources?                                      11
                                                                  A. I don't know what he would have
12
         A. Correct, yes.                                12
                                                            done, because Delaney was a very good person. So
13
         Q. So even though Human Resources               13
                                                            I never had that thing. So I don't know.
14
   isn't a project, so to speak, she was still, at       14
                                                                  Q. Okay. Who else, other than --
15
   least in your view, co-equal to the other project     15
                                                            well, I'll ask the question this way.
16
   directors in the hierarchy?                           16
                                                                       What was Delaney's role at the
17
         A. Correct. And she was above me.               17
                                                            Forum when she was reporting -- I don't want to
18
   That's very much accurate, yeah.                      18
                                                            put words in your mouth.
19
         Q. Okay. Okay. Did you ever have                19
                                                                       When Delaney was doing work for
20
   anyone reporting to you during your time at the       20
                                                            you, who -- what was her role?
21
   Middle East Forum?                                    21
                                                                  A. Well, we were always trying to
22
         A. Not until later. And reporting is            22
                                                            kind of, like, figure that out, because she was
23
   like -- yeah. So Delany Yoncheck, Marnie and I        23
                                                            doing checks and things for Marnie and she was
24
   had, like, split her for some time. Like, you         24
                                                            helping with, like, the donation side of things.
                                              Page 121                                                       Page 123
 1
   know, Marnie would get her for some financial    1
                                                                And she was helping with the radio
 2
   things. And I would -- she would do some         2
                                                      show and helping get articles placed and all that
 3
   communicationy things and website, like, tasks   3
                                                      stuff.
 4
   for us.                                          4
                                                            Q. Okay. Did she start as an intern?
 5
              And so, yeah, she reported to me      5
                                                            A. Yes, she did.
 6
   so that, like, she didn't have to interact with  6
                                                            Q. Was she ultimately hired for
 7
   Greg. But I wasn't technically her boss. Was     7
                                                      full-time work?
 8
   just who was, like, somebody who was giving her 8        A. I think that she got hired -- I
 9
   guidance and using her, you know, -- using her   9
                                                      don't really remember the specifics, but I think
10
   work product to further whatever we were doing. 10 she got hired hourly.
11
   Whatever directive, like, Greg needed.          11
                                                            Q. Okay.
12
              Greg would be, like, tell Delaney    12
                                                            A. I don't know if that's full-time,
13
   to do this and so I would tell Delaney to do    13
                                                      but hourly.
14
   that. I'm like the middleman.                   14
                                                            Q. Okay. Fair enough.
15
          Q. Okay. So help me understand a         15
                                                                Is it fair to say that Delaney
16
   little bit more about that relationship.        16
                                                      Yonchek was the lowest level of employee at the
17
              You said you weren't like her        17
                                                      Middle East Forum?
18
   boss.                                           18
                                                            A. I guess, yeah.
19
              I mean, were you her superior        19
                                                            Q. She didn't have anybody reporting
20
   within the organization?                        20
                                                      to her, correct?
21
          A. I guess I was -- yeah, like, if       21
                                                            A. No, she did not.
22
   you look at things like seniority, I guess I'm  22
                                                            Q. Okay. Can you tell me the names
23
   higher than her.                                23
                                                      of the other people at the Forum during your time
24
          Q. And you could give her tasks to       24
                                                      there who were at Delaney's level, the lowest
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 1
   level?                                                1 would mess up on things or she would do something
 2
         A. I mean, it's, like, such a weird             2 silly or here or there.
 3
   set up, because it's not really -- so it would be     3           Delaney always tried hard, wanted
 4
   only really Katrina and Delaney, because, like,       4 to do the right thing, wanted to learn and be
 5
   Thelma only reported to Daniel Pipes, but she         5 better.  And she had great ideas sometimes.
 6
   didn't have the same authority as the project         6            And there were times where she
 7
   directors.                                             7 would -- she would read every single article and
 8
         Q. Okay.                                         8 she was just really, like, devoted. Like she
 9
         A. She didn't really report to anyone            9 wanted to do a good job.
10
   else.                                                 10           Granted, it was her first job
11
              So, like, it's kind of like a              11 ever. So, of course, she's going to make
12
   strange thing. Like Judy Goodrob was, like, she       12 mistakes and not be perfect. She was a good
13
   does the Middle East Quarterly. And she doesn't       13 employee. She had a good heart. She was a good
14
   really report to anybody but Daniel Pipes and         14 kid.
15
   Greg Roman.                                           15       Q. Okay. By the way, just to be
16
              But, like, she doesn't -- but              16 clear, we're all talking about these reporting
17
   she's certainly not higher then, you know, --         17 relationships.
18
   like she's not --                                     18           There's a distinction between who
19
         Q. She's not equal to Marnie Myers,             19 was reporting to Greg pre November 1, 2018, and
20
   for example?                                          20 post November 1, 2018, correct?
21
         A. Yeah. Yes. Yeah.                             21       A. We were all still reporting to
22
         Q. Even though she reports directly             22 Greg.
23
   to Daniel Pipes?                                      23       Q. Well, tell me what you mean by
24
         A. Right.                                       24 that.
                                              Page 125                                                         Page 127
 1
         Q. Okay. So from what I gather from             1
                                                                   A. So, for example, I was told that I
 2
   you, what you're telling me is the hierarchy at        2
                                                            wasn't to have communication with Greg and he
 3
   the Middle East Forum was not a neat, ordinary         3
                                                            wasn't my direct supervisor; however, I was
 4
   pyramid, with lines drawn from each level to the       4
                                                            mandated to be on these project directors calls
 5
   bottom.                                                5
                                                            where he would assign me tasks and, you know,
 6
             It was a little bit more                     6
                                                            still have to communicate with me. And
 7
   scattered, so to speak, the reporting                  7
                                                            everything really still flowed through Greg.
 8
   relationships?                                         8
                                                                       There was a point where I even
 9
         A. I guess.                                      9
                                                            called Daniel Pipes and I said, the staff is
10
         Q. Okay.                                        10
                                                            concerned. I remember where I was standing. I
11
         A. I don't know. I don't know.                  11
                                                            was standing by that white marble thing in the
12
   Like, I don't know how to answer that. I don't        12
                                                            lobby. And I was talking to Daniel Pipes on the
13
   know. I can't conceptualize it, so...                 13
                                                            phone.
14
         Q. There's no right answer.                     14
                                                                       I said, the staff is concerned
15
             Again, I'm just --                          15
                                                            that you're still making all your decisions and
16
         A. I'm not trying to give you a right           16
                                                            Greg's still running the show.
17
   answer. Like, I guess.                                17
                                                                       And he admitted on the phone that,
18
         Q. Okay. You said Delaney was a good            18
                                                            yes, I still take advice from Greg. I trust and
19
   employee?                                             19
                                                            value his opinions and we need Greg.
20
         A. Yes.                                         20
                                                                       I mean, he was always there and
21
         Q. What are -- so give me a sense of            21
                                                            involved and Daniel -- Daniel admitted that to
22
   that. Why was she a good employee?                    22
                                                            me.
23
         A. There was things that Delaney did            23
                                                                   Q. Well, of course. I mean, he was
24
   as a young thing that were, like, you know, she       24
                                                            still an employee of the Forum, correct?
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 1
         A. No, it was more than that.                   1
                                                            terrible human.
 2
   Like -- it was more than that.                         2
                                                                       And he continued to harass -- he
 3
              He was able to give directives and          3
                                                            tried to get me fired on things. He would say,
 4
   if those directives were not followed through or       4
                                                            Daniel Pipes, this isn't happening, blah, blah,
 5
   people complained about those directives or            5
                                                            blah.
 6
   anything like that, it would not be Greg that was      6
                                                                       And then like on a -- we would
 7
   in trouble for us. It would always be us getting       7
                                                            discuss one.
 8
   in trouble, because Greg gave us directives, even      8
                                                                       Here's the example. We would
 9
   though he wasn't supposed to be supervising us.        9
                                                            discuss something on the project directors' call,
10
         Q. Was he giving them to you                    10
                                                            one of them was why the IW articles or
11
   directly?                                             11
                                                            newsletters or something weren't going out. I
12
         A. Yes.                                         12
                                                            don't remember what the specific thing was. But
13
         Q. How?                                         13
                                                            it was with IW.
14
         A. On the project directors' calls,             14
                                                                       And so I said -- and so Greg's,
15
   over e-mail.                                          15
                                                            like, yeah, it's fine, blah, blah, blah, blah.
16
         Q. Did you consider yourself to be              16
                                                            We'll make whatever decision.
17
   reporting to Greg during this time?                   17
                                                                       And then Daniel Pipes was not on
18
         A. I mean, for all intents and                  18
                                                            that phone call. And I had been on the phone
19
   purposes, Daniel -- like, there was plenty of         19
                                                            with Sam right afterwards, who runs IW.
20
   times where I started reporting to Daniel Pipes       20
                                                                       And so then I get an e-mail from
21
   for sure.                                             21
                                                            Daniel Pipes saying, how come the IW articles
22
              But I was still actually actively          22
                                                            haven't gone out, blah, blah, blah, since you
23
   reporting to Greg Roman as well. I mean, he           23
                                                            started, like, being in charge of putting them
24
   would say, Lisa, what's going on with the radio       24
                                                            out.
                                              Page 129                                                       Page 131
 1
   show and blah, blah, blah. And like give me           1
                                                                        And I said, it was -- and so I
 2
   directives.                                            2
                                                            said, nobody did it before me. Four people have
 3
             Or, Lisa, I need to you do this.             3
                                                            done this before me, never did, blah, blah, blah.
 4
   Or, Lisa, how come the IW articles aren't going        4
                                                                        So I went to the person who got
 5
   out. Whatever.                                         5
                                                            rehired, that who was in the office who did that.
 6
             And it turns out, he was trying to           6
                                                            And he pulled up the e-mail and said, no, three
 7
   trap me in that. And he gave a directive three         7
                                                            months ago they said we're not doing this
 8
   months before that they weren't to go out.             8
                                                            anymore.
 9
             So, yes, he was still very much              9
                                                                        So Greg -- and he was, like, --
10
   actively involved and actively supervising.           10
                                                            and Daniel and Greg were both on the e-mail
11
        Q. Did you have a problem with that?             11
                                                            thread.
12
        A. Yes.                                          12
                                                                        And so when Daniel pressured me on
13
        Q. Why?                                          13
                                                            it, I said, it's on the e-mail thread that we
14
        A. Because -- because Greg would, you            14
                                                            weren't doing this. The whole thing was Greg is
15
   know, continue his -- the same harassing, awful       15
                                                            doing this retaliation.
16
   behavior.                                             16
                                                                        He knew that Daniel wouldn't
17
             Like I just gave you an example.            17
                                                            remember. And so he's like, Lisa's not doing her
18
   He was completely retaliatory and disgusting.         18
                                                            job, to get me fired -- even though that there
19
   And even then, like, I had to go to a radio show      19
                                                            was a directive not to -- there was a directive
20
   with him, right?                                      20
                                                            not to do what he was accusing me of doing.
21
             And he called us all usurpers. Or           21
                                                                        And Daniel Pipes wouldn't have
22
   used the usurper thing, gave like this eye. And       22
                                                            known about that. He said Greg came to him and
23
   then he would still look me and be gross with me      23
                                                            said, it's come to -- Greg brought to my
24
   whenever I did see him. He's gross. He's a            24
                                                            attention that you're not putting out the IW
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 1
     articles.                                           1
                                                                   To the extent you know the answer,
 2
              And I was, like, there was a            2
                                                              you can answer the question.
 3
   directive from three months ago for us not to.     3
                                                                   THE DEPONENT: Listen, I am not --
 4
   And then Daniel Pipes left it alone and never      4
                                                              I'm not gonna hear, like, take -- presume
 5
   contacted me about it again, because he knew that 5        Greg -- Greg Roman's, you know, reasons
 6
   that was true.                                     6
                                                              for not firing me or firing me.
 7
              So, yes, Greg Roman was still           7
                                                                   I do know that he engaged in
 8
   making decisions. Still trying to get me fired.    8
                                                              retaliatory behavior to me non-stop and I
 9
   Still leering at me when he did see me. He was     9
                                                              know this because I experienced it.
10
   still always inappropriate.                       10
                                                        BY MR. CAVALIER:
11
          Q. You told me earlier that in your        11
                                                              Q. Is every instance of disagreement
12
   view, Greg Roman was the one really in charge in  12
                                                        that you've had with Greg Roman post November 1,
13
   the Forum, correct?                               13
                                                        2018, an instance of retaliation?
14
          A. Correct. There's a perfect              14
                                                                   MR. CARSON: I'm gonna object to
15
   example of that.                                  15
                                                              the extent that that question is
16
          Q. If he wanted you fired, couldn't        16
                                                              argumentative and it's also misstating
17
   he have just fired you?                           17
                                                              prior testimony.
18
              MR. CARSON: Object to form.            18
                                                                   Do you really want her to answer
19
              THE DEPONENT: I don't know what 19              that question? Do you want to rephrase
20
          Greg Roman's motives were for not firing   20
                                                              it?
21
          me but there has to be cause and I was a   21
                                                                   MR. CAVALIER: I'd like -- if you
22
          very good employee.                        22
                                                              could answer, I'd like to hear your
23
   BY MR. CAVALIER:                                  23
                                                              answer.
24
          Q. What do you mean there has to be        24
                                                                   MR. CARSON: I think the question
                                              Page 133                                                       Page 135
 1
     cause?                                              is, is every time you disagreed with Greg
                                                         1
 2
             MR. CARSON: I'm just gonna             2
                                                         Roman an example of harassment or
 3
        object. It calls for a legal conclusion,    3
                                                         retaliation?
 4
        speculation. It's hypothetical.             4
                                                               THE DEPONENT: Of course not. But
 5
        Objection. You can answer.                  5
                                                         this isn't the case of disagreements.
 6
             THE DEPONENT: What would he fire       6
                                                               He can say, hey, I don't think
 7
        me for if I'm good at my job? There's       7
                                                         that this should be worded that way and
 8
        never been a performance issue. What        8
                                                         that's fine. That's not what he was
 9
        would be the grounds for firing me?         9
                                                         doing.
10
   BY MR. CAVALIER:                                10
                                                               He was engaged in a campaign of
11
        Q. In Pennsylvania, you don't need         11
                                                         putting me -- like I said, in this
12
   grounds for firing somebody. You can fire       12
                                                         particular example, with the project
13
   somebody if you don't like the color of the tie 13
                                                         directors' call, on the call everything
14
   they're wearing.                                14
                                                         was fine. We had the conversation.
15
             MR. CARSON: Objection.                15
                                                               Then he went to Daniel, said
16
             THE DEPONENT: Again --                16
                                                         something different. Didn't give him all
17
             MR. CARSON: Wait. Wait. Wait.         17
                                                         the information and with the intention of
18
             THE DEPONENT: Go ahead, Seth.         18
                                                         making me look bad.
19
        Sorry.                                     19
                                                               And then when I had the evidence
20
             MR. CARSON: I'm gonna object          20
                                                         to back it up, Daniel Pipes let it go.
21
        based on form.                             21
                                                               That is an instance of
22
             It calls for a legal conclusion       22
                                                         retaliation.
23
        to what is and what is not an employee at  23
                                                      BY MR. CAVALIER:
24
        will and the exceptions to that.           24
                                                         Q. Well, you said Daniel Pipes let it
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 1
   go. I mean, he agreed with you that you didn't  1
                                                          answer that question.
 2
   do anything wrong, correct?                     2
                                                                THE DEPONENT: Yes.
 3
             MR. CARSON: I'm gonna object.         3
                                                                MR. CARSON: Was Greg doing that
 4
        Argumentative.                             4
                                                          to get you fired?
 5
             THE DEPONENT: Actually, I don't       5
                                                     BY MR. CAVALIER:
 6
        know what he agreed to or didn't agree     6
                                                          Q. Okay. But you weren't fired?
 7
        to, because after I wrote that, he never   7
                                                          A. (No audible response.)
 8
        responded to me at all.                    8
                                                                MR. CARSON: We can't hear you,
 9
   BY MR. CAVALIER:                                9
                                                          Lisa. Say that again.
10
        Q. But the issue went away, right?        10
                                                                THE DEPONENT: Yes.
11
   You weren't disciplined or anything?           11
                                                     BY MR. CAVALIER:
12
             MR. CARSON: Objection. You can       12
                                                          Q. You weren't fired for this,
13
        answer.                                   13
                                                     correct?
14
             THE DEPONENT: What are you gonna 14                MR. CARSON: Or were you fired?
15
        discipline me for if there's proof that I 15
                                                                THE DEPONENT: I was not fired.
16
        didn't do anything wrong?                 16
                                                          Actually, kind of.
17
   BY MR. CAVALIER:                               17
                                                                I, mean they gave me -- the
18
        Q. Well, so I agree with you.             18
                                                          conditions were so terrible and so long,
19
             But it sounds like you had a         19
                                                          I, like, had to quit. I didn't want to
20
   disagreement with Greg Roman. You brought the  20
                                                          quit.
21
   evidence to his boss and the issue went away.  21
                                                                I loved the mission. I'm a
22
             MR. CARSON: Object to form.          22
                                                          mission-oriented person. It was in
23
        Argumentative. Assuming facts not in      23
                                                          Philly. It was near my kids.
24
        evidence. Misstating prior testimony.     24
                                                                I didn't want to have to go find a
                                            Page 137                                                       Page 139
 1
             You can answer.                           1
                                                                new job. Do you know how hard it is for
 2
             THE DEPONENT: That's what I was            2
                                                                conservative people to find a
 3
        just saying. You mischaracterized what I        3
                                                                conservative job in Philadelphia? Like
 4
        said. It was not a disagreement.                4
                                                                almost impossible. I didn't want to
 5
             It was, was this being done, how           5
                                                                quit, I had to, because they were so
 6
        comes it wasn't being done. Sam said,           6
                                                                freaking awful.
 7
        we're not going to do this. We decided          7
                                                          BY MR. CAVALIER:
 8
        we're not gonna do this.                        8
                                                                Q. We're talking about the issue
 9
             Then he went and said something            9
                                                          about the radio show here.
10
        completely different to Daniel Pipes.          10
                                                                A. This was ongoing. This happened
11
        There was not a disagreement. We didn't        11
                                                          all the time. And it wasn't about the radio
12
        disagree about anything. If he wanted me       12
                                                          show. You just mischaracterized it again. It
13
        to put the articles out, I would have put      13
                                                          was about the IW articles.
14
        the articles out. That's not what              14
                                                                Q. Okay. So let's talk about the IW
15
        happened.                                      15
                                                          articles. You brought it to Daniel Pipes's
16
             You mischaracterized that whole           16
                                                          attention.
17
        story.                                         17
                                                                     You thought Greg was doing it,
18
   BY MR. CAVALIER:                                    18
                                                          because he was trying to get you fired, correct?
19
        Q. Well, I understand all of that.             19
                                                                A. Correct.
20
             But your testimony was that you           20
                                                                Q. But you were not fired for that,
21
   thought Greg was doing that to try to get you       21
                                                          correct?
22
   fired.                                              22
                                                                     MR. CARSON: Objection. Asked and
23
             Correct?                                  23
                                                                answered. Go ahead.
24
             MR. CARSON: Go ahead. You can             24
                                                                     THE DEPONENT: Correct.
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 1
   BY MR. CAVALIER:                                     1
                                                                mischaracterizing it.
 2
        Q. So the issue was then resolved                2
                                                           BY MR. CAVALIER:
 3
   favorably from your perspective, correct?             3
                                                                Q. I'm not mischaracterizing anything
 4
             MR. CARSON: Objection.                      4
                                                           you just told me. I'm asking you a general
 5
             THE DEPONENT: You're                        5
                                                           question.
 6
        mischaracterizing what I'm saying.               6
                                                                     MR. CARSON: So I'm gonna object
 7
        Trying to get someone fired and it not           7
                                                                based on form, hypothetical.
 8
        happening is still harassment.                   8
                                                                     You can answer whether or not in
 9
   BY MR. CAVALIER:                                      9
                                                                any normal employee/employer relationship
10
        Q. I'm not talking about harassment.            10
                                                                there with be disagreements.
11
        A. Well, what are you talking about?            11
                                                                     THE DEPONENT: Yes. There are --
12
        Q. I'm just asking you whether the              12
                                                                hypothetically or whatever you guys want
13
   issue was resolved favorably to you.                 13
                                                                to say, there can be -- there's often
14
        A. It wasn't resolved because nobody            14
                                                                disagreements between employees and
15
   addressed it. Daniel Pipes didn't say, oh, I'm       15
                                                                employers, yes.
16
   sorry, Lisa, that, like, -- you know, I got poor     16
                                                           BY MR. CAVALIER:
17
   information. He just ignored me like I was           17
                                                                Q. Do you think Greg -- do you think
18
   nothing. That's how he treated everyone.             18
                                                           Greg Roman was a difficult boss?
19
             MR. CARSON: I also didn't say              19
                                                                A. I think Greg was a terrible boss.
20
        objection. Argumentative.                       20
                                                                Q. Okay. So with that said, can you
21
             THE DEPONENT: Sorry, Seth.                 21
                                                           give me one instance where you had a disagreement
22
   BY MR. CAVALIER:                                     22
                                                           over work with Greg that you would not categorize
23
        Q. How do you know he just ignored              23
                                                           as harassment or retaliation?
24
   you? How do you know what he did?                    24
                                                                A. There's plenty. We disagreed
                                             Page 141                                                        Page 143
 1
         A. Because he ignored me. He never             1 on -- okay.    So there was -- Greg and Daniel had
 2
   brought it up again.                                  2 wanted Tommy Robinson to come over in November.
 3
         Q. How do you know he didn't bring it           3 I think it was 2018 or '19. I think it was '19.
 4
   up to other people and solve the problem?             4 No, '18. '18. 2018.
 5
         A. He ignored me.                               5            November 2018 they wanted Tommy
 6
              Then he should have said to me as          6 Robinson to come over and do a panel at Congress
 7
   a good leader, Lisa, I am sorry that this was         7 and they asked me to help with his Visa.
 8
   brought to my attention in this way. You are          8            And I had requested that Greg keep
 9
   correct. And I'll resolve it.                         9 it under wraps so that we -- so that we wouldn't
10
              That's what a normal manager does.        10 publicize it while I'm working on the back end to
11
   But they don't think that of you.                    11 try to, like, work the back channels to help with
12
              Like women there are beneath them         12 this Visa application, you know, that -- that it
13
   and so they don't need to give you any               13 not be public, because then both governments
14
   explanation. They don't need to let you know         14 would get pressure from external people.
15
   that it's been taken care of.                        15            And we had a disagreement about
16
              And I said to him, I said, he's           16 that. And he decided to put the press release
17
   lying about me. And -- or what's gonna happen        17 out anyway, that we were working on this Visa and
18
   about that? And Daniel Pipes never responded.        18 that Tommy Robinson was supposed to come to this
19
   Never responded.                                     19 event in November.
20
         Q. Do you agree with me that in a              20            We disagreed on that. That wasn't
21
   typical employee/employer relationship there are     21 retaliation. That was structure. That was what,
22
   disagreements between employers and supervisors?     22 he, as the director, wanted to do. That wasn't
23
              MR. CARSON: Objection.                    23 retaliation. That was a different way of --
24
              THE DEPONENT: You are                     24 that's a disagreement, a different way of wanting

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 1
   it to happen.                                         1
                                                                  Q. And these two events, based on
 2
         Q. Okay. So what makes one -- let's              2
                                                            what you told me, happened around the same time
 3
   just talk specifically about the issue you just        3
                                                            as one another?
 4
   described for me and the issue we just talked          4
                                                                  A. No.
 5
   about a few minutes ago.                               5
                                                                  Q. I thought you told me that the --
 6
              Okay?                                       6
                                                                  A. November 2018 was the Tommy
 7
              MR. CARSON: So is there a                   7
                                                            Robinson thing. And I think -- I can't remember
 8
         question?                                        8
                                                            exactly, but it was sometime before Greg Roman
 9
   BY MR. CAVALIER:                                       9
                                                            came back, you know, like -- not came back, but,
10
         Q. Yeah.                                        10
                                                            like, was allowed to have his official title of
11
              The question is, what makes one            11
                                                            director, although nothing changed before then.
12
   retaliation and harassment and one not?               12
                                                                      So I would say it was probably
13
              MR. CARSON: I'm gonna object to            13
                                                            between January -- because I didn't start doing
14
         the form of the question. Calls for a           14
                                                            the output of those articles until January.
15
         legal conclusion.                               15
                                                                      So it had to be between January
16
              To the extent you understand what          16
                                                            and March or April.
17
         the legal definition of harassment and          17
                                                                  Q. Okay. Did it upset that he lied
18
         retaliation is, you can answer.                 18
                                                            to Daniel Pipes about you?
19
              THE DEPONENT: One, it's having a           19
                                                                      MR. CARSON: Objection. You can
20
         disagreement. And two is reporting              20
                                                                  answer.
21
         untruths to me to the president of the          21
                                                                      THE DEPONENT: Yes.
22
         organization, untruths about my work.           22
                                                            BY MR. CAVALIER:
23
              That's the difference.                     23
                                                                  Q. Did you think about quitting?
24                                                       24
                                                                      MR. CARSON: Objection. You can
                                              Page 145                                                       Page 147
 1
   BY MR. CAVALIER:                                      1
                                                                  answer.
 2
         Q. Okay. So the fact that he told                2
                                                                       THE DEPONENT: I thought about
 3
   Daniel something you believe is untrue about your      3
                                                                  quitting multiple times over the course
 4
   work makes -- makes --                                 4
                                                                  of working at the Middle East Forum.
 5
         A. Not that I believe it was untrue.             5
                                                                       However, the reason that I stayed
 6
   It was untrue.                                         6
                                                                  was because, like I said, there are not
 7
         Q. I understand that. But that's the             7
                                                                  very many job opportunities for
 8
   distinction. That's what makes it retaliation          8
                                                                  conservative people in Philadelphia.
 9
   from your --                                           9
                                                                       It was close to my family. Close
10
              MR. CARSON: Objection. Again, it           10
                                                                  to my children.
11
         calls for a legal conclusion to the             11
                                                                       And now that I was forced to
12
         extent she understands the legal                12
                                                                  leave, I have -- I live two-and-a-half
13
         definition of retaliation.                      13
                                                                  hours away from my children so that I
14
   BY MR. CAVALIER:                                      14
                                                                  could get a job here, so that I could
15
         Q. You can answer.                              15
                                                                  work.
16
         A. That is the difference. He lied              16
                                                            BY MR. CAVALIER:
17
   about me.                                             17
                                                                  Q. Did you tell Daniel Pipes that you
18
              What intention -- what intention           18
                                                            believe that Greg's actions in this respect were
19
   did he have to lie about me to his boss, when he      19
                                                            retaliation?
20
   clearly understood the whole thing, because we        20
                                                                  A. Yes.
21
   had talked about it earlier that day on the           21
                                                                  Q. Did you tell Daniel Pipes that you
22
   project directors' call?                              22
                                                            believed that his actions were retaliation that
23
              What was the purpose of lying              23
                                                            was a result of the complaints that you lodged
24
   about it to Daniel Pipes?                             24
                                                            against him in November of 2018?
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 1
         A. I told Daniel Pipes on multiple             1
                                                                that there were many more, because I
 2
   occasions that I believed that Greg to be             2
                                                                remember writing e-mails. I just don't
 3
   retaliating against me and he never responded.        3
                                                                remember the specifics of exactly what
 4
         Q. Other than this incident that                4
                                                                they were. Honestly, I don't.
 5
   we're discussing, were there any other instances      5
                                                                     I remember writing multiple
 6
   of retaliation that Greg Roman directed toward        6
                                                                e-mails to Daniel in that time period and
 7
   you between November of 2018 and May of 2019?         7
                                                                I don't remember the specifics.
 8
         A. Yes, there were so, so many.                 8
                                                                     If I had copies of the e-mails in
 9
              MR. CARSON: Same objection as              9
                                                                front of me, I'm sure it would jog my
10
         before. Calls for a legal conclusion.          10
                                                                memory.
11
              You can answer.                           11
                                                           BY MR. CAVALIER:
12
              THE DEPONENT: There's so much.            12
                                                                Q. Is there anything else as we sit
13
   BY MR. CAVALIER:                                     13
                                                           here right now that stands out in your head as
14
         Q. Tell me about them.                         14
                                                           being as of a severe level as that other incident
15
         A. I mean, I'll be here all day.               15
                                                           that we talked about?
16
              We'll be here into next week if I         16
                                                                     MR. CARSON: Objection. Wait.
17
   could, you know, clearly remember the specifics      17
                                                                Wait. Object to form.
18
   of all of them. I'm trying to remember another       18
                                                                     THE DEPONENT: I actually remember
19
   one.                                                 19
                                                                there being a worse one than that and for
20
              But I had written to Daniel on            20
                                                                some reason, like, it's escaping me now.
21
   multiple occasions about it via e-mail.              21
                                                                I don't know why I can't remember.
22
              I remember one time, and I don't          22
                                                                     But there was one that was worse
23
   remember the cause of it, but I said to him, I       23
                                                                and I was, like, I cannot believe this is
24
   feel like that you guys are trying to, you know,     24
                                                                happening.
                                             Page 149                                                       Page 151
 1
   like, -- like have a list of things that you can     1
                                                                       And I, for the life of me --
 2
   put on to, like, fire me about and none of them       2
                                                                  listen -- and I remember being, like,
 3
   are true. And I keep coming back to you and           3
                                                                  angered by it. And I don't remember -- I
 4
   telling you that, like, they aren't true. And I       4
                                                                  can't tell you right now for some reason.
 5
   prove it. And then I don't hear anything.             5
                                                                       Maybe it will come to me in a
 6
               And he didn't respond to that             6
                                                                  couple minutes. You know how you, like,
 7
   either. I mean, I went to Daniel, like, a bunch       7
                                                                  forget stuff like that once in a while?
 8
   of times. Nothing ever happened.                      8
                                                                       There is one that I remember is
 9
         Q. I understand you're saying you               9
                                                                  worse and I'm trying to remember what it
10
   went to Daniel a bunch of times.                     10
                                                                  was.
11
               My question to you is, you talked        11
                                                           BY MR. CAVALIER:
12
   about one instance where Greg, according to you,     12
                                                                  Q. That's fair. And if you think of
13
   gave Daniel incorrect or false information about     13
                                                           it, I'd ask you to let me know and we can talk
14
   you in your view in order to retaliate against       14
                                                           about it.
15
   you and try to get you fired.                        15
                                                                  A. Yeah, if it comes in, I'll be,
16
         A. Correct.                                    16
                                                           like, oh, yeah, I remember. I promise.
17
         Q. Okay. Can you tell me about                 17
                                                                       Again, there was another one that
18
   another incident that occurred during this same      18
                                                           I remember being worse than that one. I don't
19
   time window, between November of 2018 and May        19
                                                           know if that one is the one that's coming into my
20
   2019, that Greg was retaliating against you?         20
                                                           head.
21
               MR. CARSON: Objection to the             21
                                                                  Q. Do you remember whether there were
22
         extent it calls for a legal conclusion.        22
                                                           disagreements that you had with Greg during this
23
               You can answer.                          23
                                                           same time period that you would not consider to
24
               THE DEPONENT: Yeah, I believe            24
                                                           be retaliation, other than the one that we
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 1
   discussed before?                                     1
                                                            gave her a position that they knew she couldn't
 2
             MR. CARSON: Objection to the                 2
                                                            do, so that she would go herself. And they were
 3
        extent that, like the previous question,          3
                                                            doing the same thing to me.
 4
        calls for a legal conclusion.                     4
                                                                      And I expressed that to Daniel
 5
             If you understand what retaliation           5
                                                            Pipes. And he said to me, he goes, well, I knew
 6
        is, you can answer.                               6
                                                            about that situation with Ahman and that's not
 7
             THE DEPONENT: I believe so. I                7
                                                            what we're doing to you. I signed off on doing
 8
        mean, like, you know, we would -- I would         8
                                                            that to Ahman.
 9
        write drafts of things that would go out          9
                                                                      But why would you admit to
10
        and then Greg would correct them. I              10
                                                            somebody that that's what you're doing to them?
11
        wouldn't totally love it. I'd write              11
                                                            And really that's what it felt like.
12
        back. Like those types of things. And            12
                                                                      They knew I didn't -- there was
13
        they're normal.                                  13
                                                            one point where, you know, where Greg was telling
14
   BY MR. CAVALIER:                                      14
                                                            me -- I mean, this was right away, this was in
15
        Q. Okay. How would you describe                  15
                                                            January, that I should take a coding class and I
16
   generally your job -- well, strike that.              16
                                                            needed to do this and this. And he would
17
             How were you feeling in general             17
                                                            instruct me on what to do on the back end of the
18
   about your job at MEF during this time period?        18
                                                            website. Sometimes it would be right and
19
        A. You know, it's hard to have                   19
                                                            sometimes it would be wrong.
20
   confidence in your job when people keep lying         20
                                                                      Daniel Pipes would say, well, why
21
   about your performance. And, you know, you start      21
                                                            did this format look like this? I'm like, that's
22
   to feel really negative about, you know, being        22
                                                            how Greg told me to do it. And then, you know,
23
   good at something when every thing is a freaking      23
                                                            Greg would change his mind -- or change his mind
24
   uphill battle.                                        24
                                                            or maybe he wasn't telling me directly.
                                              Page 153                                                       Page 155
 1
             And, you know, they put me --               1
                                                                       Like, they were purposefully
 2
   because they didn't want me, quote, being Greg's       2
                                                            trying to set me up for a job that I couldn't do.
 3
   assistant, they put me into a position, like,          3
                                                            Of course it made me feel terrible.
 4
   there's nothing really here else for you to do.        4
                                                                  Q. Okay. You just said earlier they
 5
             So if Greg's not gonna be the,               5
                                                            said to you that, you know, if Greg wasn't around
 6
   quote, director and you can't report to him,           6
                                                            and you were Greg's assistant and there was
 7
   we're either going to have to let you go or we're      7
                                                            nothing else you could do, they would have to let
 8
   going to have to make you do something we have a       8
                                                            you go. Right? That's what you said?
 9
   need for, which was, you know, back end of the         9
                                                                  A. Well, because they didn't want to
10
   website.                                              10
                                                            fire me -- he said this. He said, I don't want
11
             I mean, I am not a technical                11
                                                            to fire you because you complained about Greg.
12
   person. I don't have experience in coding. I          12
                                                                  Q. But couldn't they have just easily
13
   don't have experience on posting to back ends of      13
                                                            fired you by saying, Greg's not around anymore,
14
   websites -- or I didn't at the time.                  14
                                                            sorry, you're Greg's assistant, you don't have a
15
             And so it made me feel -- it made           15
                                                            job?
16
   me feel, like, not great, you know. And I pride       16
                                                                       MR. CARSON: Objection.
17
   myself on being a really good employee. But I         17
                                                                  Argumentative.
18
   was learning as I go. And I was trying my             18
                                                                       You can answer.
19
   hardest. But, you know, but the expectations          19
                                                                       THE DEPONENT: Daniel Pipes said
20
   versus reality.                                       20
                                                                  to me, you reported -- you reported Greg
21
             And it's the same thing that                21
                                                                  Roman for sexual harassment. We can't
22
   Daniel Pipes had said to me with Ahman. They          22
                                                                  just fire you.
23
   gave her -- they said, Ahman Patel -- and Daniel      23
                                                            BY MR. CAVALIER:
24
   Pipes said this to myself directly -- that they       24
                                                                  Q. Hold on a second. Hold on a
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 1
     second.                                            not. And if you're not, you know, willing -- of
                                                         1
 2
              Your testimony is that Daniel           2
                                                        course I was willing to be a hundred percent on
 3
   Pipes said to you, you complained about Greg       3
                                                        it. But, like, it's something brand new to me.
 4
   Roman for sexual harassment, we can't just fire    4
                                                                    And this was a repeated pattern.
 5
   you?                                               5
                                                        Like this is all the time.
 6
         A. In other words, yeah. I don't             6
                                                                    And, like, that's another example
 7
   remember what they were, but that was the intent   7
                                                        of him trying to get me fired.
 8
   of his statement, yeah.                            8
                                                                    Like, you know, -- he took what I
 9
              And it was, like -- it was, like,       9
                                                        said, it's all Greek to me out of context and
10
   when we were trying to figure out a job for me.   10
                                                        then reported to Daniel that I was being -- what
11
         Q. Are you layering your                    11
                                                        do you call it? I was being, like, insubordinate
12
   interpretation onto what Daniel Pipes actually    12
                                                        or I was being, like, not a team player. He was
13
   said to you there?                                13
                                                        using it in negative connotation when it was like
14
         A. I don't know what that means.            14
                                                        I'm gonna wait for the people to train me.
15
              MR. CARSON: Objection.                 15
                                                                    Because, A, I didn't want to also
16
         Argumentative.                              16
                                                        have  interaction   with Greg Roman when I was told
17
   BY MR. CAVALIER:                                  17
                                                        I wouldn't have to.
18
         Q. Do you remember what Daniel Pipes        18
                                                        BY MR. CAVALIER:
19
   actually said to you at that point in time?       19
                                                              Q. Okay. Well, I'm gonna come back
20
         A. It was along those lines. I don't        20
                                                        to that.
21
   remember verbatim.                                21
                                                                    But you just said -- you just said
22
              But we were trying to figure out       22
                                                        that you were told you wouldn't have to have
23
   what to do and I said to him, I don't know how to 23
                                                        interaction with Greg Roman, because you didn't
24
   do this. And then Greg said, Lisa seems           24
                                                        want to.
                                              Page 157                                                       Page 159
 1
   resistent because in one text I said to him -- we 1             It's true, though, that you then
 2
   were trying to figure out what for me -- like to   2
                                                        truly thereafter asked for him to be brought
 3
   do -- like what there was for me to do. And this 3 back, correct?
 4
   was right -- this was, like, in January. Right     4
                                                                   MR. CARSON: Objection. You can
 5
   after, like, Greg was removed.                     5
                                                             answer.
 6
              And they decided to do the back         6
                                                                   THE DEPONENT: I asked for Greg
 7
   end of the website. Well, Greg had to teach me 7          Roman to come back months later. And the
 8
   the back end of the website.                       8
                                                             reason that I asked for Greg Roman to
 9
              And I remember him being, like,         9
                                                             come back is because Daniel Pipes was
10
   very argumentative to me. And maybe I should 10           floundering with -- he's not an
11
   take a computer class in my own time.             11
                                                             administrative person. He's not
12
              And then I said, Greg, I don't         12
                                                             whatever.
13
   know. This is all Greek to me. I'm just gonna     13
                                                                   And Matt Bennett had talked to me
14
   wait for the instructional stuff from whoever I   14
                                                             and he's like, Greg learned his lesson.
15
   was taking the training with.                     15
                                                             I still talk to Greg.
16
              And then -- and then he reported       16
                                                                   You know, if, like -- we're
17
   to Daniel, because I said that it was all Greek   17
                                                             looking for a director. Nobody seems to
18
   to me. My husband's Greek, right?                 18
                                                             meet Daniel's qualifications. We're kind
19
              But it's, like, all Greek to me.       19
                                                             of spinning out of control here.
20
   That I was going to wait for that, that I -- he   20
                                                                   Daniel feels more secure with him.
21
   didn't think that I was -- he told Daniel I       21
                                                             You know, maybe we should bring him back
22
   wasn't fully invested in this transition.         22
                                                             and let -- or you should make the --
23
              And Daniel wrote me a reprimanding     23
                                                             inquire to bring him back.
24
   e-mail, like, are you? Because Greg says you're   24
                                                                   And Greg will be appreciative,
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 1
        learn his lesson and not subject you to          1
                                                                  but what would be the point of constantly
 2
        the same crap over and over again.                2
                                                                  telling the boss false things -- like,
 3
             And I was like that seems                    3
                                                                  you know, the president false things and
 4
        reasonable. If I did something wrong and          4
                                                                  taking them out of context over and over
 5
        I had a conscious and I knew I did                5
                                                                  again?
 6
        something wrong, I would feel sorry and           6
                                                                       Was that to, like, make me feel
 7
        change my behavior.                               7
                                                                  good? Was it to -- was it to harass me?
 8
             But that's not what happened. He             8
                                                                  Was it to get my fired?
 9
        brought Greg back and he got worse.               9
                                                                       It certainly wasn't for anything
10
   BY MR. CAVALIER:                                      10
                                                                  positive.
11
        Q. I don't mean to be flippant here,             11
                                                            BY MR. CAVALIER:
12
   but based on what you're describing to me it          12
                                                                  Q. Maybe he's just a bad boss, no?
13
   seems like for a company that's trying every          13
                                                                       MR. CARSON: Objection.
14
   which way to fire you, they're really bending         14
                                                                  Argumentative. You can answer.
15
   over backwards to not fire you.                       15
                                                                       THE DEPONENT: No, sir.
16
             MR. CARSON: I'm gonna object.               16
                                                            BY MR. CAVALIER:
17
        You're mischaracterizing her prior               17
                                                                  Q. So, again, I'll ask the question
18
        testimony. She never said the company            18
                                                            in a different way that maybe will help you
19
        was trying to fire her.                          19
                                                            answer it.
20
             I'll object to the form.                    20
                                                                       So we have Greg, all powerful,
21
   BY MR. CAVALIER:                                      21
                                                            within MEF, you know, the guy, the decision
22
        Q. I'll expound on it.                           22
                                                            maker, master manipulator, as you called him,
23
             You said with respect to this               23
                                                            brilliant with respect to playing people off of
24
   website project that Greg went to Daniel and told     24
                                                            one another and getting his way. And all of
                                              Page 161                                                       Page 163
 1
   him that you weren't fully invested in the            1
                                                            these things that you've testified to in the
 2
   project in an effort to get you fired.                 2
                                                            past.
 3
              Is that an accurate description of          3
                                                                        Why do you think he would have
 4
   your testimony?                                        4
                                                            gone through so much trouble to try and get you
 5
        A. Well, this wasn't, like, a -- this             5
                                                            fired instead of just firing you?
 6
   wasn't, like, a one-time thing that, like, -- if       6
                                                                  A. Okay. Wait a minute.
 7
   you tell somebody, like, they don't seem               7
                                                                        MR. CARSON: Look, I'm gonna
 8
   whatever, but it was -- he was -- Greg was doing       8
                                                                  object to the form of the question.
 9
   these things over and over again to build up in        9
                                                                        Calls for speculation. You're
10
   Daniel's mind here that I was a terrible person,      10
                                                                  asking her to testify about what was in
11
   get what he ultimately wanted, was me out.            11
                                                                  Greg Roman's head.
12
        Q. Why do you believe that Greg would            12
                                                                        To the extent she knows, she can
13
   have had to engage in this kind of a campaign         13
                                                                  answer.
14
   against you for something as simple as having you     14
                                                                        THE DEPONENT: Greg did not start
15
   fired if he had so much power?                        15
                                                                  that telling Daniel Pipes things about me
16
              MR. CARSON: Objection.                     16
                                                                  at all until -- until we reported Greg.
17
        Speculative. Form.                               17
                                                                        So that was a change in his
18
              You can answer.                            18
                                                                  behavior. That was retaliatory.
19
              THE DEPONENT: Because Daniel               19
                                                                        He did not -- he was not that bad
20
        Pipes is -- I don't know honestly.               20
                                                                  boss that you want to claim -- that
21
              I don't know. But that's what was          21
                                                                  you're trying to insinuate here before
22
        happening.                                       22
                                                                  that.
23
              Okay. So even if he wasn't trying          23
                                                                        He never -- he would only say good
24
        to get me fired, which I believe he was,         24
                                                                  things to Daniel Pipes prior to -- to us
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 1
         reporting him.                                  1
                                                            certain times and you talked about it, correct?
 2
              Then -- excuse me. I'm not                  2
                                                            Is that accurate?
 3
         finished.                                        3
                                                                      MR. CARSON: Objection. Object to
 4
   BY MR. CAVALIER:                                       4
                                                                  form.
 5
         Q. Go ahead.                                     5
                                                                      THE DEPONENT: You are, again,
 6
         A. Then when -- then when we reported            6
                                                                  mischaracterizing my testimony.
 7
   Greg and Greg was supposed to be not there or not      7
                                                                      He said things that were untrue
 8
   reporting to us, that's when these instances kept      8
                                                                  and twisted things that I said and sent
 9
   coming in and coming in, coming in.                    9
                                                                  them to somebody else.
10
              That didn't happen before.                 10
                                                                      When there were ever questions
11
              Before that, Greg was hitting on           11
                                                                  about my work --
12
   me and being inappropriate with me and whatever.      12
                                                            BY MR. CAVALIER:
13
              That new behavior, okay, that              13
                                                                  Q. Before --
14
   retaliatory behavior began after we reported Greg     14
                                                                  A. I'm not finished. You're talking
15
   Roman.                                                15
                                                            about the wrong time period here.
16
         Q. Before the meeting in early                  16
                                                                  Q. No, I'm not talking about any time
17
   November of 2015, whenever Greg -- or 2018, I'm       17
                                                            period.
18
   sorry, whenever Greg had an issue with your work      18
                                                                  A. Can I just finish my answer?
19
   performance, he would come to you about it,           19
                                                                  Q. Sure.
20
   right?                                                20
                                                                      As long as you're answering the
21
         A. No, actually. No. No. As a                   21
                                                            question I asked.
22
   matter of fact, if he had any issue with what I       22
                                                                  A. I am trying to answer the question
23
   was doing, he would usually tell Marnie to tell       23
                                                            that you asked.
24
   me, because he didn't want me to, like, not like      24
                                                                      The question that you asked was --
                                              Page 165                                                       Page 167
 1 him or whatever.
                                                       do you want to repeat it?
                                                         1
 2          I don't know what his reasoning          2
                                                             Q. The question was, prior to the
 3 was. That was an assumption. But, like, no,       3
                                                       November 1st meeting, isn't it fair to say that
 4 because I remember saying to Marnie, are you the  4
                                                       like any normal employer/employee,
 5 Human Resources Director or are you my boss?      5
                                                       supervisor/supervisee, you had discussions about
 6          Because if Greg has a problem with       6
                                                       your work?
 7 my work, maybe he should discuss it with me.      7
                                                                  MR. CARSON: Object to form.
 8      Q. Is it your testimony that prior to        8
                                                             Mischaracterization of prior testimony.
 9 November 1st, 2018, Greg Roman never came to you  9
                                                                  THE DEPONENT: And, again, I will
10 with a problem?                                  10
                                                             say that the -- we are talk -- you are
11          MR. CARSON: Objection. Not what         11
                                                             talking about two different things.
12      she said. You can answer.                   12
                                                                  If he was unhappy with my work and
13          THE DEPONENT: There were times          13
                                                             he would say something to Marnie, it was
14      where, like you characterized before, we    14
                                                             something legitimate.
15      had disagreements about things.             15
                                                                  It was, I didn't do something fast
16          But I was always pretty good at my      16
                                                             enough. And it was legitimate.
17      job. And there wasn't really any            17
                                                                  What happened after
18      complaints. And I have no documentation     18
                                                             November 2019 --
19      in my personnel file of anything that I     19
                                                       BY MR. CAVALIER:
20      ever did wrong.                             20
                                                             Q. That's not my question.
21 BY MR. CAVALIER:                                 21
                                                             A. Excuse me. I'm not finished.
22      Q. Okay. But just like in any normal        22
                                                             Q. You're answering a question I
23 employor/employee supervisory relationship, you  23
                                                       didn't answer.
24 had issues about the work that was being done at 24
                                                             A. It doesn't matter. This is part
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 1
   of my answer. And you know that that's okay and 1 constitutes retaliation in your mind?
 2
   you're not allowed to cut me off.                 2
                                                                MR. CARSON: Objection. Object to
 3
              MR. CARSON: Why don't you finish       3
                                                          form. You can answer.
 4
         this question and we'll take like a         4
                                                                THE DEPONENT: Yes.
 5
         five-minute little breather.                5
                                                       BY MR. CAVALIER:
 6
              MR. CAVALIER: That's fine, Seth.       6
                                                          Q. Okay.
 7
   BY MR. CAVALIER:                                  7
                                                                MR. CAVALIER: Do you want to take
 8
         Q. The question was only about -- I'm       8
                                                          a break, Seth?
 9
   going to ask you the question that you want to    9
                                                                MR. CARSON: Yeah, I think just a
10
   answer. But I'm trying to keep the record clean. 10
                                                          little breather would help.
11
              So, again, you talked about what      11
                                                                THE DEPONENT: Yeah, I have to go
12
   Greg said to Marnie at certain points. That's    12
                                                          to the bathroom anyway.
13
   not what I'm asking you.                         13
                                                                MR. CAVALIER: Do you want to take
14
              It's a very simple question. And,     14
                                                          10?
15
   I mean, you seem to be thinking I'm trying to    15
                                                                MR. CARSON: Yeah, 10 minutes is
16
   trick you here.                                  16
                                                          good.
17
              It's a very basic question.           17
                                                                THE VIDEOGRAPHER: The time is
18
              Did you and Greg Roman, prior to      18
                                                          1:13 p.m.
19
   November 1st, 2018, ever have discussions about 19           We are off the record.
20
   your work for the Middle East Forum?             20
                                                                The time is 1:34 p.m.
21
         A. Of course. He's my boss.                21
                                                                (Recess taken.)
22
         Q. Of course. He's your boss.              22
                                                                THE VIDEOGRAPHER: We are back on
23
              After November 1st, 2018, he was      23
                                                          the record.
24
   not allowed to have those discussions with you, 24
                                              Page 169                                                       Page 171
 1 correct?                                              1
                                                            BY MR. CAVALIER:
 2       A. He did anyway.                                2
                                                                 Q. Okay. When we left off,
 3       Q. When?                                         3
                                                            Ms. Barbounis, we were talking about the period
 4       A. Via e-mail. For the normal                    4
                                                            of time between November 1st, 2018, and May of
 5 discussions about my work, okay, that was done         5
                                                            2019.
 6 on -- he was allowed to contact us during normal       6
                                                                      During that time period, were you
 7 business hours and via e-mail.                         7
                                                            ever disciplined by the Middle East Forum?
 8            So if he didn't like something              8
                                                                 A. What do you mean by disciplined?
 9 that I did or he was unhappy with some of my work      9
                                                                 Q. Were you ever issued a written
10 product he would tell me.                             10
                                                            reprimand, for example, by the Middle East Forum
11       Q. Right.                                       11
                                                            for your employment?
12       A. He would tell me. Okay.                      12
                                                                 A. I was actually written a couple
13            However, what he did that was              13
                                                            and then when I responded to them -- when I
14 different was make things up and tell Daniel          14
                                                            responded to them, they seemed to disappear,
15 instead of coming to me. That's what he did. He       15
                                                            because I countered what they said, so...
16 did both things.                                      16
                                                                 Q. Okay. So when I asked you if you
17            The only thing that was new, the           17
                                                            had been reprimanded, you said that you received
18 new behavior, was that he was lying to Daniel         18
                                                            them and responded to them.
19 Pipes about stuff about me.                           19
                                                                      What exactly are you talking
20       Q. Good. Then this is useful. This              20
                                                            about?
21 is why I am asking the questions. Now I               21
                                                                 A. Like, for example, Mark Fink wrote
22 understand where you're coming from.                  22
                                                            me a reprimand about attending the National
23            So it's that lying to Daniel Pipes         23
                                                            Conservative -- the National Conservative
24 between November 1st, 2018, and May of 2019, that     24
                                                            Conference in Washington, D.C.
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 1
             And he wrote this huge, whole long          1
                                                            Gary, who got the work, was more accomplished in
 2
   four paragraph e-mail to me about how I was told       2
                                                            this area and so that they were -- they were
 3
   that I had to convey my political -- my political      3
                                                            giving him, like -- honestly, he been doing --
 4
   dealings or things like that with them, with the       4
                                                            that's who did our website for, like, 10 years,
 5
   Middle East Forum, and I didn't do that.               5
                                                            uploading the things as the MEF online editor.
 6
             And it had been brought to his               6
                                                                       He had been doing it for a very
 7
   attention by Daniel Pipes that I was -- attended       7
                                                            long time and so that he said that, you know, he
 8
   this conference.                                       8
                                                            has been doing this and we're gonna take it away.
 9
             And so then I responded to that              9
                                                                       And so then there were times where
10
   e-mail by saying, Daniel Pipes gave me                10
                                                            I said, Daniel, then, like, what I am going to be
11
   permission. And I gave him the screenshots of         11
                                                            doing if Gary is doing all my work?
12
   the permission that Daniel Pipes gave to me.          12
                                                                       So, yes, my job and my
13
             And then he never replied to me             13
                                                            responsibilities were diminished, correct. Yes.
14
   either.                                               14
                                                                  Q. This is the same -- the same
15
             So that was a written reprimand,            15
                                                            website responsibilities you were telling me
16
   but when I showed him that I had already received     16
                                                            about earlier?
17
   permission from Daniel Pipes, nobody said             17
                                                                  A. Correct.
18
   anything after that again.                            18
                                                                  Q. Did you have a problem with the
19
         Q. Okay.                                        19
                                                            fact that they were taking the website
20
         A. So yes and no.                               20
                                                            responsibilities and giving them back to Gary?
21
         Q. Okay. So you call that a                     21
                                                                  A. Yeah. I mean, I was starting to,
22
   reprimand, that sounds like it was an e-mail          22
                                                            like, understand it and enjoy it. And I always
23
   questioning your employment performance in a          23
                                                            knew and I told Daniel in the beginning when he
24
   certain area.                                         24
                                                            asked me if I was all in, I was all in.
                                              Page 173                                                       Page 175
 1
        A. That's why I said, what do you                1
                                                                       And I thought I was doing a pretty
 2
   mean by reprimand? What do you mean by --              2
                                                            good job. Granted, there was a learning curve.
 3
        Q. Was there ever a written reprimand             3
                                                            But I wanted to forward the mission of MEF, so
 4
   placed in your file regarding any of your              4
                                                            yeah.
 5
   employment activities?                                 5
                                                                  Q. Is it fair to say then that Gary
 6
        A. No.                                            6
                                                            was more experienced in that area than you were?
 7
        Q. Okay. Was your salary ever                     7
                                                                  A. Gary was more experienced, yes.
 8
   reduced?                                               8
                                                            That's fair.
 9
        A. No.                                            9
                                                                  Q. Is it fair to say that he had more
10
        Q. Were you ever placed on probation?            10
                                                            skills in that area than you did?
11
        A. No.                                           11
                                                                  A. Yes, he did.
12
        Q. Were you ever put on a performance            12
                                                                  Q. And despite the fact that they
13
   improvement plan?                                     13
                                                            took this responsibility away from you, again,
14
        A. No.                                           14
                                                            your salary wasn't reduced as a result, correct?
15
        Q. Were your responsibilities ever               15
                                                                  A. This was in a very short time
16
   reduced?                                              16
                                                            frame before I left, but yeah.
17
        A. Yes.                                          17
                                                                  Q. Okay. So that's a great point.
18
        Q. In what way?                                  18
                                                                       When did this occur? Because,
19
        A. When -- so they had an employee               19
                                                            again, remember we're talking about November 1
20
   that had quit and come back. And Daniel hired         20
                                                            through May 8th of 2019.
21
   him. And then they started reducing -- giving         21
                                                                  A. I don't remember when Gary got
22
   him most of my work and reducing my work.             22
                                                            hired.
23
             And I had said something to Daniel          23
                                                                       Remember, I left in, like, August.
24
   Pipes about it. And he just said that -- that         24
                                                                       But I don't remember when Gary got
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 1
   hired, but it was a slow progression. Like they       1
                                                                  A. That doesn't mean necessarily just
 2
   would give him a little and they would give him a      2
                                                            because he's been doing it a long time doesn't
 3
   little more, give him a little more.                   3
                                                            mean it's better, he's better at it. But I'm
 4
          Q. Okay.                                        4
                                                            just saying, like, Gary had been doing it. And
 5
          A. And, you know, --                            5
                                                            that's the excuse that they used. But like I
 6
          Q. Okay. And then just to be clear,             6
                                                            said, that's subjective.
 7
   at no time during your employment at the Middle        7
                                                                  Q. Well --
 8
   East Forum were you ever fired, correct?               8
                                                                  A. By that time, I was getting pretty
 9
          A. Was I asked to leave? No. Never.             9
                                                            good at it.
10
          Q. Okay. And you were never forced             10
                                                                  Q. You're saying, it's subjective as
11
   to leave?                                             11
                                                            to whether he was better at it than you, but it's
12
          A. I was forced to leave.                      12
                                                            not subjective as to whether he had more
13
          Q. Well, you were never told to                13
                                                            experience and more skills, correct?
14
   leave?                                                14
                                                                  A. Skills is relative, but more
15
          A. That's exactly what I said, I was           15
                                                            experience is accurate.
16
   never asked to leave or told to leave.                16
                                                                  Q. Okay. And to be clear, this is
17
          Q. Right.                                      17
                                                            what he was doing for the Forum before he left,
18
              Did you feel like you were doing a         18
                                                            correct?
19
   good job with the website at MEF?                     19
                                                                  A. Part of it, yes. Yes. I will add
20
          A. Like anybody else, there were               20
                                                            he left because of Greg.
21
   times where I had doubt and I was upset with some     21
                                                                  Q. Why did he leave?
22
   things, like, sometimes, you know, -- like            22
                                                                  A. He saw how everybody was being
23
   anything that you're trying to learn and be good      23
                                                            treated.
24
   at, there are times where you're, like, I suck at     24
                                                                  Q. Was Gary being treated poorly?
                                              Page 177                                                       Page 179
 1
   this, I need to get better.                           1
                                                                 A. No. Gary and Greg just constantly
 2
              And honestly there were times               2
                                                            had -- I don't think Gary was treated poorly at
 3
   where I needed -- it was new. All new to me. I         3
                                                            all.
 4
   never did anything like this in my entire life.        4
                                                                      Gary and Greg just had differences
 5
              So, yeah, of course, there were             5
                                                            in opinions of how things should run. And so
 6
   plenty of times where I was frustrated and it was      6
                                                            Gary said, I like my way and so I'm going to
 7
   harder than expected or there was websites -- it       7
                                                            leave.
 8
   got easier after we moved from one platform to         8
                                                                 Q. Okay. Can you give me an example
 9
   another, but yeah.                                     9
                                                            of what you mean by that?
10
         Q. Do you think that the Forum had a            10
                                                                 A. That's all I really remember.
11
   legitimate reason for transferring those              11
                                                                 Q. Okay. And yet he then decided to
12
   responsibilities to Gary?                             12
                                                            come back?
13
         A. No, at that point -- by the time             13
                                                                 A. Yeah. He said he came back
14
   Gary got there, I was getting pretty good at          14
                                                            because he liked the mission and liked Daniel.
15
   that.                                                 15
                                                                      Everybody that does this work is
16
         Q. But not as good as Gary?                     16
                                                            mission driven. That's the kind of industry it
17
         A. I mean, that's subjective.                   17
                                                            is.
18
         Q. Right.                                       18
                                                                 Q. Does Gary have a Master's in
19
              But you just told me earlier that          19
                                                            Middle East studies?
20
   Gary had more skills in that area and more            20
                                                                 A. I don't know.
21
   experience.                                           21
                                                                 Q. Do you know where he went to
22
         A. Well, Gary had been doing it for a           22
                                                            school?
23
   long time.                                            23
                                                                 A. I do not know.
24
         Q. Right.                                       24
                                                                 Q. Do you know how long Gary has been
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 1
   engaged in the --                                     1
                                                                       I cannot -- I can see it. I can't
 2
         A. I don't know much about Gary, to              2
                                                            read the writing on it.
 3
   be honest.                                             3
                                                                   Q. I can blow it up for you.
 4
         Q. Okay. How long did the Gary work              4
                                                                       But I just want to identify it
 5
   for the Forum before he resigned the first time?       5
                                                            first.
 6
         A. I don't know.                                 6
                                                                       MR. CAVALIER: Can I have this
 7
         Q. Okay. Do you think that the                   7
                                                                   marked as Exhibit A?
 8
   Middle East Forum giving Gary the                      8
                                                                     (Deposition Exhibit A marked.)
 9
   responsibilities of the website back was               9
                                                                       THE DEPONENT: I can't see what
10
   retaliation against you?                              10
                                                                   any of that is.
11
              MR. CARSON: Objection. Calls for           11
                                                            BY MR. CAVALIER:
12
         a legal conclusion.                             12
                                                                   Q. Yeah, I'll blow it up for you. I
13
              THE DEPONENT: I wasn't -- that             13
                                                            know you can't.
14
         was a Daniel Pipes decision. And I              14
                                                                       Let's just identify the document
15
         don't -- I didn't -- I don't know -- I          15
                                                            and figure out what it is.
16
         don't know the motives behind that, so I        16
                                                                       So this is a text message change.
17
         can't -- I can't say what is or isn't.          17
                                                                       Do you know what I mean when I say
18
              At the time there were -- there            18
                                                            a text message chain?
19
         were instances where it felt like that          19
                                                                   A. Yes, I do. Yeah.
20
         and there were times that it didn't. So         20
                                                                   Q. And let's just identify it for the
21
         I don't know. The answer to that is I           21
                                                            record. See this number up top? See my cursor
22
         don't know.                                     22
                                                            --
23
   BY MR. CAVALIER:                                      23
                                                                   A. That's me. I see it. That's me
24
         Q. Do you have any reason to believe            24
                                                            and Delaney. I'm very. I understand?
                                              Page 181                                                       Page 183
 1
   or any factual information that would indicate        1
                                                                Q.     No, I know you get it.
 2
   that the decision made by Daniel Pipes to give         2
                                                                      But it's important for the record
 3
   those responsibilities to Gary was related to          3
                                                            that we identify the document so it's clear what
 4
   your complaints about Greg Roman?                      4
                                                            we're talking about.
 5
         A. I don't -- I don't know.                      5
                                                                      Okay?
 6
         Q. Well, the question is whether you             6
                                                                 A. Uh-huh.
 7
   have any information?                                  7
                                                                 Q. So then it's fair to say this is a
 8
         A. I don't know. Maybe if I scoured              8
                                                            text message chain between you and Delaney,
 9
   through my old MEF e-mails, I would remember.          9
                                                            right?
10
   But I don't know. I don't remember.                   10
                                                                 A. Yes.
11
         Q. So sitting here today, you're not            11
                                                                 Q. Starts, it appears, on May 29,
12
   aware that you have any information that would        12
                                                            2019, and runs through June 2nd, 2019, correct?
13
   indicate that that decision by Daniel Pipes was       13
                                                                 A. Uh-huh.
14
   tied in any way to your complaint about Greg          14
                                                                 Q. Okay. To be fair, we'll start at
15
   Roman --                                              15
                                                            the top.
16
         A. Again, I don't know.                         16
                                                                      This is dated 5/30/2019, from
17
         Q. Did that transfer of                         17
                                                            Delaney to you. You're talking about what, I
18
   responsibilities to Gary have anything to do with     18
                                                            don't know. Doesn't really matter, because I
19
   your decision to quit Middle East Forum?              19
                                                            want to go down to this text message and talk
20
         A. No.                                          20
                                                            about it.
21
         Q. Okay. Just pulling up a document.            21
                                                                      Can you see that or do you need me
22
   Give me one second.                                   22
                                                            to make it big?
23
             Can you see that document?                  23
                                                                 A. I see it. It's a picture.
24
         A. Can I see the document?                      24
                                                                 Q. Yes. So I'm gonna blow it up.
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 1
   We'll identify the picture.                          1
                                                           of what they do, they cite that they are -- that
 2
             So it's a picture file here. I'm            2
                                                           they are affiliated with the Middle East Forum.
 3
   gonna bring up --                                     3
                                                                     Whereas, like, -- so, whereas, an
 4
        A. I think it's a picture of Ben                 4
                                                           employee would be subject to, you know, like,
 5
   Baird, if I'm looking right.                          5
                                                           directives and things, like -- so what Benjamin
 6
        Q. So I will either ask you to                   6
                                                           Baird would do is he would write an article on
 7
   confirm or I will represent to you, if you're         7
                                                           his own time about his on topic, as long as it
 8
   more comfortable with it, that picture there          8
                                                           was, like, related to the Middle East studies or
 9
   marked file name IMG_4311.HEIC is this picture,       9
                                                           Islam or Islamism or anything like that.
10
   which mark as Exhibit B.                             10
                                                                     And then he would just say at the
11
        A. Yep.                                         11
                                                           bottom, the requirement is at the bottom for
12
          (Deposition Exhibit Number B                  12
                                                           whatever work he does -- and that work does not
13
           marked.)                                     13
                                                           get checked by Daniel or Greg or anybody.
14
   BY MR. CAVALIER:                                     14
                                                                     But then at the bottom he would
15
        Q. Do we agree that's the same                  15
                                                           say, you know, fellow at the Middle East Forum.
16
   picture?                                             16
                                                                Q. Was he paid by the Middle East
17
        A. Yep.                                         17
                                                           Forum?
18
        Q. We talked a little bit about this            18
                                                                A. I think he -- I don't know his
19
   picture in the last deposition.                      19
                                                           exact agreement. Some fellows were paid. Some
20
             I want to ask you some more                20
                                                           fellows aren't paid.
21
   questions about it.                                  21
                                                                Q. Do you know whether he was subject
22
             Who is that in the picture?                22
                                                           to the Middle East Forum's policies and
23
        A. Benjamin Baird.                              23
                                                           procedures?
24
        Q. When was it taken?                           24
                                                                A. I don't know.
                                             Page 185                                                       Page 187
 1
         A. Whatever that date is -- whatever           1
                                                                 Q. You said you don't know?
 2
   is the date on that -- 5 -- 5/30/2019.                2
                                                                 A. I do not know.
 3
         Q. Okay. I think that's the date the            3
                                                                 Q. Okay.
 4
   message was sent.                                     4
                                                                 A. I'm not involved in his, like --
 5
             But to the best of your                     5
                                                           you know, in his agreements.
 6
   recollection, does that date seem like the date       6
                                                                 Q. Where did he do his work for the
 7
   you would have taken that picture?                    7
                                                           Middle East Forum physically?
 8
         A. Sure, I guess. I don't remember.             8
                                                                 A. At his home.
 9
         Q. Okay.                                        9
                                                                 Q. Where is his home?
10
         A. I mean, I remember that's when I            10
                                                                 A. I believe in Ohio.
11
   was at the -- an event in D.C.                       11
                                                                 Q. Okay.
12
         Q. Okay. And Ben Baird was a Middle            12
                                                                 A. It wasn't work for the Middle East
13
   East Forum employee, correct?                        13
                                                           Forum.
14
         A. No.                                         14
                                                                      It was his work and then he
15
         Q. Was he a Middle East Forum                  15
                                                           would -- he would have done that on his own. So
16
   contractor?                                          16
                                                           he, like, -- I don't know how to explain this to
17
         A. Nope.                                       17
                                                           you, because you don't seem to understand.
18
         Q. Did he do work for the Middle East          18
                                                                      But, like, say he writes an
19
   Forum?                                               19
                                                           article for the Jerusalem Post. Okay? That
20
         A. He was a fellow and a contributor.          20
                                                           would be an article he gets paid for to do by the
21
         Q. Educate me on the distinction               21
                                                           Jerusalem Post.
22
   you're drawing between a fellow and an employee.     22
                                                                      His agreement with MEF is just
23
         A. A fellow is like a grantee. They            23
                                                           that he says that he's affiliated with them.
24
   can do whatever they want, as long as at the end     24
                                                           That's what he did.
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 1
              So it's not work for -- like,           1
                                                        interview. And I don't even think I went in MEF
 2
   Middle East Forum doesn't assign him work.         2
                                                        capacity. I just went.
 3
              They may now, because he's an           3
                                                             Q. I don't understand the distinction
 4
   employee now. But that's not what he was when he 4 you're drawing there.
 5
   was there.                                         5
                                                                  You're saying -- you say you went
 6
              He would produce his own articles       6
                                                        to the interview with him. He's an MEF fellow.
 7
   and just say I'm affiliated with MEF.              7
                                                        You're at this point in time Director of
 8
         Q. Do you know when he applied to            8
                                                        Communications for MEF.
 9
   become an employee at MEF?                         9
                                                             A. He also worked for another
10
         A. I don't.                                 10
                                                        publication. He was an actual employee of
11
         Q. Are you certain that he was not an       11
                                                        another organization at the time.
12
   employee on May 30th, 2019?                       12
                                                                  That's not how this works.
13
         A. I don't believe he was an employee       13
                                                             Q. Right.
14
   until after I left, because I remember him saying 14
                                                                  But the interview that was set up
15
   to me later, oh, I got the job. I believe.        15
                                                        for him, it was set up with your involvement?
16
         Q. Okay. And just to be clear for           16
                                                             A. I don't know that. I don't
17
   the record, this appears to be, what, June, July, 17
                                                        remember that.
18
   August -- three months approximately before you   18
                                                                  But even if it was, there are
19
   left?                                             19
                                                        plenty of other things that, like, for example,
20
         A. It was May.                              20
                                                        my old boss, Congressman Costello, asked me to
21
         Q. Right.                                   21
                                                        set up interviews, too, right?
22
         A. Right.                                   22
                                                                  But he's never talking about
23
              So he was not an employee of MEF       23
                                                        Middle East studies or anything related.
24
   at this time.                                     24
                                                                  I don't remember what the topic
                                              Page 189                                                       Page 191
 1
         Q.    Right. I understand that.                 1
                                                            Ben was talking about either.
 2
             But what I'm saying to you, this             2
                                                                      But, like, if I did -- if I did
 3
   message that you sent was sent approximately           3
                                                            that for somebody else, that's not in an MEF
 4
   three months or so before you left the Forum?          4
                                                            capacity.
 5
        A. Yeah.                                          5
                                                                      Like that would be, like, oh, you
 6
        Q. Okay. Did you ever set up any                  6
                                                            know -- I do that for people now and it's not in
 7
   interviews for Ben Baird?                              7
                                                            the capacity of my current job.
 8
        A. Yes.                                           8
                                                                      It's I have connections. We have
 9
        Q. Where?                                         9
                                                            connections. And if somebody needs assistance,
10
        A. With One American News Network.               10
                                                            like it wouldn't have been in an MEF capacity, I
11
        Q. When?                                         11
                                                            don't believe anyway. Like I said, I don't know
12
        A. I don't remember the date.                    12
                                                            the circumstances about the interview. I don't
13
        Q. What capacity did you set that                13
                                                            remember.
14
   interview up for him in?                              14
                                                                  Q. Were you the Director of
15
        A. I don't remember. I don't                     15
                                                            Communications for the Middle East Forum at this
16
   actually remember if I actually did it.               16
                                                            point?
17
             I know I went with him, but I               17
                                                                  A. First of all, I was only Director
18
   don't know if they asked to speak to him on their     18
                                                            of Communications in name only and there's an
19
   own or they asked me to find them someone to          19
                                                            e-mail to that effect.
20
   speak on the topic.                                   20
                                                                  Q. Was your title the Director of
21
             I don't really remember how all             21
                                                            Communications at the Middle East Forum at this
22
   that worked honestly.                                 22
                                                            point?
23
             He may have gotten that interview           23
                                                                  A. Not internally, only externally.
24
   on his own. But I did go with him there to the        24
                                                                  Q. Externally was your title
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 1 Direction of Communications for Middle East Forum       1
                                                              is, decides he wants to set up his own interview
 2 at this point in time?                                   2
                                                              somewhere else, if he doesn't want to use the MEF
 3       A. Yes.                                            3
                                                              capacity, he doesn't have to.
 4       Q. Did you set up interviews for                   4
                                                                        So this, again, is -- may or may
 5 Middle East Forum fellows as the Director of             5
                                                              not have been in an official capacity.
 6 Communications during this period of time?               6
                                                                        And by the way, the date that
 7       A. Occasionally. But I don't know if               7
                                                              you're talking about, this was for the National
 8 this is one of them.                                     8
                                                              Conservative Conference. And I don't think this
 9       Q. Right.                                          9
                                                              had anything to do with an interview. If I
10           But he -- Ben Baird is an MEF                 10
                                                              remember correctly, which, like I said, it's
11 fellow, correct? Or was during this period of           11
                                                              hazy.
12 time?                                                   12
                                                                    Q. I don't even understand, what
13       A. Is, yes.                                       13
                                                              doesn't have anything to do with an interview?
14       Q. Okay. So then how are you of the               14
                                                                    A. The date of the text messages that
15 belief that this may not have been an interview         15
                                                              you are showing me.
16 that you set up through your capacity as the            16
                                                                    Q. Yeah.
17 communications director for the Middle East             17
                                                                        We're not talking about the text
18 Forum?                                                  18
                                                              messages having anything to did with an
19       A. Because I also set up interviews               19
                                                              interview.
20 for Sidney Watson, who was unaffiliated with the        20
                                                                    A. Then why are they up on the
21 Middle East Forum, at the time. And I didn't do         21
                                                              screen? I thought that's what the line of the
22 it in my capacity as an MEF employee.                   22
                                                              questioning was. I'm confused.
23           I also organized events for Jack              23
                                                                    Q. Well, we're going to get to the
24 Corsovek in another capacity as my Republican           24
                                                              text messages. But we were just asking whether
                                                Page 193                                                       Page 195
 1
   committee woman thing.                                  1
                                                              you set up interviews for Ben Baird as Director
 2
              I mean, there's plenty of ways                2
                                                              of Communications?
 3
   that I do things outside -- advocacy outside that        3
                                                                   A. I don't remember. And my answer
 4
   is unrelated to MEF.                                     4
                                                              again to that is I don't remember if I did it as
 5
         Q. But then there is related to MEF,               5
                                                              Director of Communications.
 6
   correct?                                                 6
                                                                        MR. CARSON: And also, just object
 7
              MR. CARSON: Objection.                        7
                                                                   to calling her Director of Communications
 8
              THE DEPONENT: I just answered                 8
                                                                   when she testified that that was a title
 9
         this. He was an official employee of               9
                                                                   that she was permitted to use externally
10
         another organization.                             10
                                                                   only and she was notified that she was
11
   BY MR. CAVALIER:                                        11
                                                                   never really a Director of
12
         Q. Right.                                         12
                                                                   Communications.
13
              But those other people that you              13
                                                                        THE DEPONENT: Correct.
14
   just mentioned as setting up interviews on your         14
                                                              BY MR. CAVALIER:
15
   own time, unrelated to MEF, they were not MEF           15
                                                                   Q. Why does the distinction matter to
16
   fellows, correct?                                       16
                                                              you as to whether you set this interview up in
17
         A. Rahiem Kasam is. And he's an                   17
                                                              your capacity as Director of Communications --
18
   unpaid fellow. He is.                                   18
                                                                   A. Because the whole point -- because
19
              And there were plenty of things              19
                                                              the whole point is that they're acting like they
20
   that, like, he, you know, he wanted to talk to          20
                                                              did me some big favor and they didn't. Like they
21
   people, even though Rahiem has more connections         21
                                                              didn't do anything.
22
   than I do.                                              22
                                                                        They were actually derogatory
23
              But if Rahiem Kasam, as a fellow,            23
                                                              about the whole thing. So whenever -- you
24
   who doesn't get paid or whatever his situation          24
                                                              have -- in my previous depositions, you guys have
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 1
   said to me, you know, well, didn't you get --              1
                                                                as Delaney Yonchek was doing them, I supervised
 2
   didn't you get a -- what is it? Like, didn't               2
                                                                her.
 3
   you -- weren't you rewarded by getting a higher            3
                                                                           So, yeah, I assisted in that many.
 4
   position? But I wasn't. That's all fake.                   4
                                                                Correct.
 5
         Q. I'm not even talking about your                   5
                                                                      Q. You didn't draw the distinction
 6
   position.                                                  6
                                                                there --
 7
         A. You did, though, before.                          7
                                                                      A. Oh, I did draw the distinction
 8
   Previously. You personally did before. And so              8
                                                                there. I did absolutely draw the distinction
 9
   that's -- that's what I'm thinking about.                  9
                                                                there.
10
              MR. CARSON: Yeah, I also want to               10
                                                                      Q. You didn't say that I set up 90
11
         just object to what -- the distinction              11
                                                                interviews, some of which were in my capacity as
12
         she's making is a factual distinction.              12
                                                                Director of Communications for MEF and some of
13
              So it's important to make sure the             13
                                                                which were in my own personal time, for my own
14
         record is clear.                                    14
                                                                personal need.
15
   BY MR. CAVALIER:                                          15
                                                                      A. For brevity -- oh, no, because
16
         Q. The question is a simple one.                    16
                                                                that's not what I was saying.
17
              It's why -- why does the                       17
                                                                           And in my capacity, I did set up
18
   distinction matter to you as to whether you set           18
                                                                over -- with -- I said I assisted in setting up
19
   this interview up with Ben Baird that we're               19
                                                                90.
20
   talking about in your capacity as an MEF employee         20
                                                                           I did not say on my own time. I
21
   or not?                                                   21
                                                                didn't even reference my own time in that,
22
         A. Because you asked me if I did as                 22
                                                                because this is not an own time thing.
23
   an employee or not and I'm saying I don't know.           23
                                                                           And I still do stuff on my own
24
         Q. Okay.                                            24
                                                                time and my job is aware of it, just like before.
                                                  Page 197                                                       Page 199
 1
       A.      Okay. The distinction is one you               1
                                                                      Q. And so we're clear, though, in
 2
   asked.                                                     2
                                                                that same resume, you listed your title as
 3
              You said, did you set this up as                3
                                                                Director of Communications for MEF?
 4
   an MEF employee. And I said, I don't know. And             4
                                                                      A. That was my outward title.
 5
   you asked me, how do I not know. So I explained            5
                                                                      Q. Right.
 6
   it to you.                                                 6
                                                                           So it wasn't purely in name?
 7
         Q. I didn't ask you how you didn't                   7
                                                                           MR. CARSON: Objection.
 8
   know. But --                                               8
                                                                      Argumentative.
 9
         A. You did.                                          9
                                                                           THE DEPONENT: What was the word
10
         Q. -- you seem to place a great deal                10
                                                                      you used?
11
   of importance on that distinction when I was              11
                                                                           MR. CARSON: We all know what --
12
   just --                                                   12
                                                                      you can answer. Go ahead.
13
         A. I'm just trying to keep the facts                13
                                                                           THE DEPONENT: Go ahead.
14
   straight, because you seem to be -- in my                 14
                                                                BY MR. CAVALIER:
15
   opinion, you seem to be confusing a lot of                15
                                                                      Q. So it wasn't purely in name only
16
   things. And you clearly don't understand how the          16
                                                                if you were using it for your resume.
17
   process of the fellowship works.                          17
                                                                           MR. CARSON: Objection.
18
         Q. You did, however, submit a resume                18
                                                                      Argumentative. Assuming facts not in
19
   to your current employer stating that you                 19
                                                                      evidence.
20
   arranged 90 interviews for MEF personnel in your          20
                                                                           THE DEPONENT: I certainly gained
21
   capacity as Director of Communications, correct?          21
                                                                      the experience of actually being a
22
         A. So I said in there, and if you                   22
                                                                      Director of Communications. And so the
23
   look at those words correctly, assisted.                  23
                                                                      only way to convey that was the title.
24
              Meaning, as I was doing them and               24

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 1
   BY MR. CAVALIER:                                  1
                                                            Argumentative. The record speaks for
 2
        Q. Right.                                    2
                                                            itself.
 3
             And so you believed that you were       3
                                                                  THE DEPONENT: I guess. Whatever
 4
   qualified and entitled to use that title on your  4
                                                            you   want.
 5
   resume, right?                                    5
                                                       BY MR. CAVALIER:
 6
             MR. CARSON: Objection.                  6
                                                            Q. It's a simple question.
 7
             THE DEPONENT: Well, if I put 7                 A. No, not.
 8
        anything else, when the website said it,     8
                                                                  MR. CARSON: She answered the
 9
        even though Daniel Pipes didn't,             9
                                                            question   though.
10
        whatever, it would look inconsistent.       10
                                                                  She explained to you that she was
11
             To the outside world, that's what      11
                                                            not provided any -- anything but the
12
        the title was.                              12
                                                            ability to let people on the outside know
13
   BY MR. CAVALIER:                                 13
                                                            that that's what her title was.
14
        Q. I understand that.                       14
                                                       BY  MR.    CAVALIER:
15
             But you didn't put it on the           15
                                                            Q. Well, so taking your counsel's
16
   website --                                       16
                                                       representation there, that if all it was was a
17
        A. It doesn't seem that way.                17
                                                       fake title that you could let people on the
18
        Q. You didn't put it on the website,        18
                                                       outside know about, don't you think it was
19
   right?                                           19
                                                       misleading for future potential employers if you
20
        A. What?                                    20
                                                       were telling them that you were Director of
21
        Q. Your title as Director of                21
                                                       Communications?
22
   Communications, you didn't --                    22
                                                            A. No. And I'll tell you why it
23
        A. I actually did put it on the             23
                                                       wasn't.
24
   website.                                         24
                                                                  MR. CARSON: Objection. You can
                                             Page 201                                                       Page 203
 1
         Q.    Okay. Fair enough.                   1
                                                              answer though. Object to form.
 2
             So the website, though, is not         2
                                                                    THE DEPONENT: No. Because I did
 3
   something that you send affirmatively to future 3          the work of a Director of Communications.
 4
   potential employers, correct?                    4
                                                                    However, I didn't have the --
 5
        A. Well, when they Google you and you 5               the -- what is it called? The -- how do
 6
   come up --                                       6
                                                              I explain this?
 7
             MR. CARSON: The question is, do        7
                                                                    Like the capability to make
 8
        you send the website to potential           8
                                                              executive decisions. However -- or be --
 9
        employers?                                  9
                                                              or get a salary increase. Whatever.
10
             THE DEPONENT: Sometimes.              10
                                                                    But I did operate in that capacity
11
   BY MR. CAVALIER:                                11
                                                              as the only person in the whole office
12
        Q. Okay. Fair enough.                      12
                                                              who was doing communications.
13
             I'm just going to ask the             13
                                                                    So while -- and here's the other
14
   questions.                                      14
                                                              thing. And it's not misleading, because
15
             Do you believe your resume is an      15
                                                              when it's on the website as that and I
16
   accurate representation of your work history?   16
                                                              would -- what would I have put as my
17
        A. Of my work history and my               17
                                                              title, right?
18
   capability, correct.                            18
                                                                    Because I didn't -- then I had
19
        Q. Correct.                                19
                                                              zero title. So I would just write Middle
20
             So then it's, at least in your        20
                                                              East Forum with no title?
21
   opinion, it's fair and accurate to describe     21
                                                                    Like that was the agreed upon
22
   yourself as the Director of Communications to a 22         title to the outside world, even though I
23
   future employer?                                23
                                                              did not have the authority that a normal
24
             MR. CARSON: Objection.                24
                                                              Director of Communications would have,
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                                              Page 204                                                       Page 206
 1
        yet I was the only one doing                  1
                                                        lack of three employees.
 2
        communications in the office.                 2
                                                              Q. Were you supervising Delaney
 3
   BY MR. CAVALIER:                                   3
                                                        Yonchek in your role doing communications for
 4
        Q. Okay. So if I understand you               4
                                                        Middle East Forum?
 5
   correctly, they gave you the title externally.     5
                                                              A. Part of the time. And then Marnie
 6
   You were doing the work of a communications        6
                                                        was  part of the time.
 7
   director.                                          7
                                                              Q. Just so we're clear, you are the
 8
        A. Uh-huh.                                    8
                                                        Director of Communications in your current role
 9
        Q. You gained the experience of a             9
                                                        now, correct?
10
   communications director.                          10
                                                              A. Correct.
11
        A. Correct.                                  11
                                                              Q. Do you think that listing the fact
12
        Q. You thought you were entitled to          12
                                                        that you were Director of Communications for the
13
   use the title communications director to the      13
                                                        Middle East Forum on your resume helped you get
14
   outside world, including on resumes, and yet your 14 that job?
15
   testimony is that you believed that it was        15
                                                                   MR. CARSON: I'm just going to
16
   nevertheless a fake title?                        16
                                                              object.
17
             MR. CARSON: Objection.                  17
                                                                   I don't even know where you're
18
        Argumentative.                               18
                                                              going with this line of questioning.
19
             THE DEPONENT: You're                    19
                                                                   She can answer your question. I'm
20
        mischaracterizing fake title.                20
                                                              going to object to the form. I'm going
21
             What I'm saying is, I have an           21
                                                              to object based on the fact that it seems
22
        e-mail from Daniel that says, you will,      22
                                                              like all you're trying to do is embarrass
23
        to the outside world, be the Director of     23
                                                              her and ridicule her and suggest that she
24
        Communications, yet internally, we know      24
                                                              lied to her current employer.
                                              Page 205                                                       Page 207
 1
         that that is just -- I forget what his           1
                                                                     I'm considering telling her not to
 2
         exact words were. But it's in an e-mail.         2
                                                                answer the question. She's allowed to
 3
              That was just -- that it's just             3
                                                                answer this one.
 4
         for outside world purposes only. You             4
                                                                     MR. CAVALIER: Actually, she is
 5
         have no authority in this organization.          5
                                                                suggesting the exact opposite. But if
 6
   BY MR. CAVALIER:                                       6
                                                                you can answer the question.
 7
         Q. Did you get a bonus as a result of            7
                                                                     MR. CARSON: You can answer the
 8
   your --                                                8
                                                                question.
 9
         A. I did not get a bonus for being               9
                                                                     THE DEPONENT: The thing that I
10
   the Director of Communication.                        10
                                                                did was, when I interviewed with Car
11
              Everybody there received a bonus           11
                                                                McMichael for the Director of
12
   and the bonus was received after that time I told     12
                                                                Communications position, I explained to
13
   you I talked to Daniel Pipes and I said, the          13
                                                                her exactly all of this. All of this.
14
   staff is concerned that Greg Roman is still           14
                                                                     I explained to her what I did,
15
   influencing all the decisions and making all the      15
                                                                what it was, the authority I had, the
16
   decisions.                                            16
                                                                authority I didn't have.
17
              And with Matt leaving and Stacy            17
                                                                     So they were very aware of what it
18
   gone and Greg nowhere to be found, and you            18
                                                                was. The reason that I actually got that
19
   swimming around in administrative work, I said,       19
                                                                job is because I was very good to my
20
   everybody is taking on extra responsibility and       20
                                                                previous intern that works in Fred
21
   extra workload.                                       21
                                                                Upton's office and she passed along my
22
              And then Daniel Pipes' resolution          22
                                                                resume.
23
   to that was to give everyone a bonus for the          23
                                                                     And they had been interviewing
24
   extra work that they were picking up from the         24
                                                                Communication Directors for like three
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 1
         months. And the boss said he liked my           1
                                                            legitimately the Director of Communications for
 2
         passion.                                         2
                                                            the Middle East Forum?
 3
              So, no, the title had nothing to            3
                                                                       MR. CARSON: Object to form. You
 4
         do with it. My passion did.                      4
                                                                  can answer the question.
 5
   BY MR. CAVALIER:                                       5
                                                                       THE DEPONENT: No.
 6
         Q. Well, you don't know that the                 6
                                                            BY MR. CAVALIER:
 7
   title had nothing to do with it, right?                7
                                                                  Q. No?
 8
              I mean, I'm not just talking                8
                                                                       Despite all that, when you were
 9
   about the title.                                       9
                                                            Director of Communications for Middle East Forum
10
              What I'm saying to you is this.            10
                                                            form, that was a fake title. But now you're
11
   You just said to me, I explained everything about     11
                                                            Director of Communications --
12
   the title and my duties as Director of                12
                                                                       MR. CARSON: How many times are we
13
   Communications for the Middle East Forum,             13
                                                                  going to go through this?
14
   correct, that's what you said?                        14
                                                            BY MR. CAVALIER:
15
         A. I explained that to Car McMichael,           15
                                                                  Q. -- for Congressman Weber and
16
   yes.                                                  16
                                                            that's a real thing?
17
         Q. And yet they hired you, correct?             17
                                                                  A. Correct.
18
         A. Correct. Because I -- because I              18
                                                                       MR. CARSON: Objection. She's
19
   was capable of doing the work. Not because just       19
                                                                  explained to you that the reason for her
20
   because I had --                                      20
                                                                  testimony is because it's an e-mail she
21
              MR. CARSON: The question was, did          21
                                                                  received from Daniel Pipes where he told
22
         they hire you? Yes or no.                       22
                                                                  her you're not really the Director of
23
              THE DEPONENT: Yes. But it had              23
                                                                  Communications.
24
         nothing to do --                                24
                                                                       MR. CAVALIER: Okay. I just want
                                              Page 209                                                       Page 211
 1
              MR. CARSON: That's just it.             1
                                                             to make it clear. I just didn't
 2
         Done. Next question.                         2
                                                             understand why you were --
 3
   BY MR. CAVALIER:                                   3
                                                                  MR. CARSON: Well, it's because of
 4
         Q. Right.                                    4
                                                             the counterclaims   you guys filed.
 5
              They hired you. And they made you       5
                                                        BY MR. CAVALIER:
 6
   Director of Communications, correct?               6
                                                             Q. All right. Back to the exhibit
 7
              MR. CARSON: Yes or no.                  7
                                                        you have on your screen.
 8
              THE DEPONENT: Yes.                      8
                                                                  MR. CARSON: You guys are accusing
 9
   BY MR. CAVALIER:                                   9
                                                             her of a breach of fiduciary duty. She
10
         Q. So why are you so insistent on           10
                                                             never had a fiduciary duty. She was a
11
   calling this a hollow title at the Middle East    11
                                                             secretary.
12
   Forum, if you put it on your resume and you did 12 BY MR. CAVALIER:
13
   the responsibilities, you did the job, and it got 13      Q. Do you believe that you never had
14
   you another job as the Director of                14
                                                        a fiduciary duty to the Middle East Forum?
15
   Communications?                                   15
                                                                  MR. CARSON: Objection. Calls for
16
              MR. CARSON: I'm going to object.       16
                                                             a legal conclusion.
17
         Why don't you read the counterclaims that 17             Do you even know what a fiduciary
18
         you filed against her?                      18
                                                             duty is, Lisa?
19
              I'm going to object based on form,     19
                                                                  THE DEPONENT: Well, I did have a
20
         calls for a legal conclusion. And she       20
                                                             real estate license at one point. So,
21
         can answer the question.                    21
                                                             yes, I do know what a fiduciary duty is.
22
              THE DEPONENT: I don't know.            22
                                                                  And, no, I did not have a
23
   BY MR. CAVALIER:                                  23
                                                             fiduciary duty to the Middle East Forum.
24
         Q. Isn't it fair to say that you were       24
                                                                  However, I will say as an employee
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 1
        of an organization, people have some          1
                                                               the objection on the record.
 2
        moral responsibilities.                       2
                                                        BY MR. CAVALIER:
 3
   BY MR. CAVALIER:                                   3
                                                               Q. Did you have a sexual relationship
 4
        Q. Did you have a duty of loyalty to          4
                                                        with Ben Baird in or around May of 2019?
 5
   the Middle East Forum?                             5
                                                                    MR. CARSON: I'm gonna object.
 6
             MR. CARSON: Objection. Calls for         6
                                                                    Objection based on the question is
 7
        a legal conclusion.                           7
                                                               designed to embarrass and harass.
 8
             Do you know what a duty of loyalty       8
                                                                    There's Federal Rules of Civil
 9
        is?                                           9
                                                               Procedure that provide my client's sexual
10
             THE DEPONENT: I do not what a           10
                                                               proclivities are not admissible and,
11
        duty of loyalty is.                          11
                                                               therefore, this question can only be
12
   BY MR. CAVALIER:                                  12
                                                               embarrassing.
13
        Q. Do you feel like you had an               13
                                                                    Based on that, I'm gonna instruct
14
   obligation to be truthful with the Middle East    14
                                                               her not answer the question. I'm gonna
15
   Forum about things pertaining to your employment? 15        continue these objections. And I'll just
16
        A. I believe I have an obligation to         16
                                                               note the prior objection from here on in.
17
   be truthful at all times, so that would include   17
                                                        BY MR. CAVALIER:
18
   at work.                                          18
                                                               Q. I'm going to read you a quote from
19
        Q. Okay. I'm gonna direct you back           19
                                                        your prior deposition and I want you to tell me
20
   to the exhibit we have up on the screen.          20
                                                        if it's true or false.
21
        A. Uh-huh.                                   21
                                                                    Quote, the only reason that I had
22
        Q. What is this message here that's          22
                                                        sex with anybody was because the Middle East
23
   dated May 30th, 2019?                             23
                                                        Forum damaged my freakin emotional state, end
24
        A. It appears to be a picture.               24
                                                        quote.
                                             Page 213                                                       Page 215
 1
         Q.   Right.                                     1
                                                                   Is that a true statement?
 2
             And as we established it's a                2
                                                                   MR. CARSON: Objection. You can
 3
   picture of Ben Baird sleeping in what appears to      3
                                                              answer whether or not that's true.
 4
   be in a hotel room.                                   4
                                                                   THE DEPONENT: That is something
 5
        A. I don't know if he was sleeping.              5
                                                              that I believed -- yeah, that is
 6
   Probably just relaxing, but yeah.                     6
                                                              something I believed. Yes.
 7
        Q. Okay. And just, again, we don't               7
                                                                   I think that MEF really put my
 8
   have to belabor this point. But you, for a            8
                                                              mental state in a downward spiral. And I
 9
   period of time, in or about May of 2019,              9
                                                              was, you know, unfortunately, looking for
10
   maintained a sexual relationship with Ben Baird,     10
                                                              self-validation and worth through things
11
   correct?                                             11
                                                              that were unhealthy.
12
             MR. CARSON: I'm going to object            12
                                                                   MR. CAVALIER: Counsel, it's
13
        to the question and direct her not to           13
                                                              clearly a relevant question. So I'm
14
        answer it.                                      14
                                                              going to ask it again.
15
             THE DEPONENT: I don't know if I            15
                                                                   MR. CARSON: It does not become
16
        maintained a sexual relationship --             16
                                                              relevant because of that quote.
17
             MR. CARSON: You don't have to              17
                                                                   MR. CAVALIER: It does.
18
        answer the question.                            18
                                                                   MR. CARSON: My client's --
19
             THE DEPONENT: I don't know                 19
                                                                   MR. CAVALIER: I'm going to ask
20
        actually.                                       20
                                                              the question again. And if you instruct
21
   BY MR. CAVALIER:                                     21
                                                              her not to answer, we're going to call
22
        Q. Did you sexual --                            22
                                                              the Judge.
23
             MR. CARSON: You can ask the                23
                                                                   MR. CARSON: Okay. We can do that
24
        question. Ask the question and I'll get         24
                                                              then. Let's call.
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 1
   BY MR. CAVALIER:                                      1
                                                            BY MR. CAVALIER:
 2
         Q. The question is very simply, and              2
                                                                  Q. The circumstances -- this
 3
   again, you've already spoken about this in your        3
                                                            wasn't -- you're not in the office when this
 4
   prior deposition. I just want to make it clear         4
                                                            photograph was taken, right?
 5
   for the transcript.                                    5
                                                                  A. Nor was I probably at work when
 6
              Did you or did you not maintain a           6
                                                            that photograph --
 7
   sexual relationship for some period of time with       7
                                                                  Q. I agree.
 8
   Ben Baird in or around May of 2019?                    8
                                                                       That's all I'm trying to figure
 9
              MR. CARSON: I'm going to                    9
                                                            out is the context in which you took this
10
         object --                                       10
                                                            photograph.
11
              THE DEPONENT: You keep adding a            11
                                                                  A. I don't even know, because there
12
         date to it and I'm telling you, I don't         12
                                                            were times I hung out with Ben Baird in a hotel
13
         know. Because there were times where I          13
                                                            room where I didn't sleep with. So I don't know,
14
         hung out with Ben Baird and I didn't            14
                                                            if that's what you're implying.
15
         sleep with him.                                 15
                                                                       I don't know if I slept with him
16
   BY MR. CAVALIER:                                      16
                                                            that time.
17
         Q. Okay. Then I'm asking, because --            17
                                                                       MR. CARSON: Lisa, listen to the
18
         A. I don't know the dates.                      18
                                                                  question.
19
              If you want to ask me if I've ever         19
                                                            BY MR. CAVALIER:
20
   maintained a sexual relationship with Ben Baird,      20
                                                                  Q. That's fine. I'm not asking you
21
   yes.                                                  21
                                                            that.
22
              MR. CARSON: Lisa, wait. Wait.              22
                                                                       I'm just asking whether you
23
         Let's do this right in the order.               23
                                                            understand or know, as we sit here today, what
24
              We're not just screaming --                24
                                                            prompted this photograph.
                                              Page 217                                                       Page 219
 1
              THE DEPONENT: All right. Go in             1
                                                               A.     And three times I said I don't
 2
         the right order.                                2
                                                           know.
 3
   BY MR. CAVALIER:                                      3
                                                               Q.      Okay.
 4
         Q. Yeah, I didn't ask a question, but           4
                                                                      Did he know you took the
 5
   that's fine.                                           5
                                                            photograph?
 6
              The only reason I care about the            6
                                                                  A. Yes.
 7
   date, is I'm trying to understand the context of       7
                                                                  Q. At the time?
 8
   this photograph.                                       8
                                                                  A. Yes.
 9
              Do you recall what -- what, where           9
                                                                      MR. CARSON: Lisa, don't guess.
10
   or how it came about that you took a photograph       10
                                                                  Do you know whether he --
11
   of Ben Baird in what appears to be the bed of a       11
                                                                      THE DEPONENT: I know that he did.
12
   hotel room on or about May 30th, 2019?                12
                                                            BY MR. CAVALIER:
13
              Well, you can see from --                  13
                                                                  Q. Okay. Did he know --
14
              MR. CARSON: Object to form. What           14
                                                                  A. Because I said, look how cute you
15
         is that -- what are you asking her? How,        15
                                                            look.
16
         where or when, is that three questions?         16
                                                                  Q. Okay. I'm gonna take down Exhibit
17
              MR. CAVALIER: I'm asking her to            17
                                                            B and go back to Exhibit A.
18
         describe the circumstances of this              18
                                                                  A. I think I even sent him a copy of
19
         photograph.                                     19
                                                            the picture.
20
              MR. CARSON: It looks like she              20
                                                                  Q. Well, if you did, you haven't
21
         took a picture.                                 21
                                                            produced that to us, so I will ask you to do
22
              What do you mean the                       22
                                                            that.
23
         circumstances?                                  23
                                                                  A. I said if I did. I might have
24                                                       24
                                                            even is what I said.
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 1
              MR. CARSON: You have every                1
                                                           you can derive the context then.
 2
         message she's ever sent.                        2
                                                                 A. Okay. That will be helpful.
 3
              What are you talking about?                3
                                                                 Q. Why don't you take a minute and
 4
              MR. CAVALIER: I don't have that            4
                                                           I'm going to take you to the top of the 5/30
 5
         one.                                            5
                                                           messages.
 6
              MR. CARSON: Let me put it like             6
                                                                     You can take a look. Let me know
 7
         this. There are no messages Lisa has            7
                                                           when I need to scroll.
 8
         that we haven't sent you.                       8
                                                                 A. Okay.
 9
              MR. CAVALIER: We don't have the            9
                                                                 Q. Just for the record, you're
10
         Facebook messages.                             10
                                                           talking about work here, right? Did you not send
11
              THE DEPONENT: Yes, you do.                11
                                                           Delaney articles?
12
              MR. CARSON: Lisa, stop.                   12
                                                                 A. Correct.
13
              When I would -- when you say --           13
                                                                     I thought that it was tomorrow
14
         you asked us to please send us that, the       14
                                                           that I was telling them. I don't know what that
15
         answer is, we cannot send you anything         15
                                                           means.
16
         else, because there's no other evidence        16
                                                                     Okay.
17
         in existence that we can possibly get our      17
                                                                     No, I'm sorry.
18
         hands on that you -- that we have that         18
                                                                     Okay.
19
         you don't have.                                19
                                                                     Well, good. I didn't realize
20
              MR. CAVALIER: She volunteered             20
                                                           until now.
21
         that she may have even sent it to Ben.         21
                                                                     My bad. I was gonna do them on
22
              All I'm saying is, if she did, we         22
                                                           the flight, but, of course, wifi was out.
23
         didn't get it.                                 23
                                                                     Okay.
24
              So if it exists --                        24
                                                                     Daniel Pipes already hates me and
                                             Page 221                                                       Page 223
 1
             MR. CARSON: If she sent it, you     1
                                                   I'm drunk, so, okay, yeah.
 2
        would have gotten it.                    2
                                                              Oh, boy.
 3
             MR. CAVALIER: Okay.                 3
                                                              Okay.
 4
             MR. CARSON: Never in my life have   4
                                                              Okay.
 5
        I seen such broad discovery.             5
                                                              Okay.
 6
             You guys still complain. It's       6
                                                   BY MR. CAVALIER:
 7
        hilarious.                               7
                                                         Q. She's asking you here, just again
 8
   BY MR. CAVALIER:                              8
                                                   for the record, to bring up her salary to Greg
 9
        Q. Why did you send this photograph      9
                                                   and Daniel Pipes.
10
   to Delaney Yonchek?                          10
                                                              Is she looking for a raise or
11
        A. I don't remember.                    11
                                                   something at that point?
12
        Q. What possible reason could you       12
                                                         A. Probably. I mean, everybody
13
   have had to send this photo Delaney Yonchek? 13
                                                   asked -- everybody there was, like, always afraid
14
        A. I'm not going to speculate on my     14
                                                   to go to Greg and Daniel about everything.
15
   reason from something that happened in 2019. 15            And so I got asked to talk to
16
             I don't know if there was a        16
                                                   people about -- a lot about stuff. All kinds of
17
   context behind it. I don't know if we had a  17
                                                   stuff.
18
   conversation before. I don't remember.       18
                                                         Q. All right. And you were, at least
19
        Q. Was there anything in this text      19
                                                   in part, supervising her at this point, so it
20
   chain that would give you any idea what the  20
                                                   makes sense for her to go to you about her salary
21
   context was?                                 21
                                                   concerns, correct?
22
        A. It says, that was fast. You won't    22
                                                         A. Like I said, everybody went to me
23
   believe where I am.                          23
                                                   to get messages to them.
24
        Q. Scroll up and look at it. See if     24
                                                         Q. Right. I understand that.
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 1
             But at least with respect to                1
                                                                  A. Not normally, but there was no
 2
   Delaney, she was reporting, at least in part, to       2
                                                            implication about sex there.
 3
   you at this point, so it makes sense for her to        3
                                                                      There were times we'd talk about
 4
   say, hey, I got a salary concern?                      4
                                                            her sex life, but --
 5
         A. If you think it makes sense, then             5
                                                                  Q. Pardon me?
 6
   it makes sense.                                        6
                                                                  A. There were times -- I mean,
 7
         Q. Was she, in fact, reporting to you            7
                                                            friends talk about things, all kinds of things
 8
   at this point in time?                                 8
                                                            when they're outside of work but there were
 9
         A. Partially. It could have made                 9
                                                            times.
10
   sense for her to go to Marnie or Greg herself.        10
                                                                      I think there were times where we
11
   He was her supervisor.                                11
                                                            both talked about each other. She had a bad
12
             Technically she reported directly           12
                                                            hinge date where it turned out three dates in
13
   to him, but --                                        13
                                                            that the person was a transvestite and she didn't
14
             Okay.                                       14
                                                            know what to do and how to do anything about it.
15
             Okay.                                       15
                                                                      So, like, you know, things happen
16
             Okay.                                       16
                                                            in life.
17
             Okay.                                       17
                                                                  Q. Okay. Just to be clear though, I
18
         Q. So now we're back to the relevant            18
                                                            mean, you're not denying that this photograph
19
   piece.                                                19
                                                            that you sent to Delaney Yonchek of Ben Baird
20
             I'm assuming here you say, that             20
                                                            appearing to be asleep in a hotel room bed was
21
   was fast, you won't believe where I am, referring     21
                                                            entirely free of any sexual connotation, correct?
22
   to the fact that you're with Ben, correct?            22
                                                                  A. I actually -- if I'm correct, I
23
         A. Correct.                                     23
                                                            think this is from the National Conservative
24
         Q. Okay. And then she says, there               24
                                                            Conference. Because I was off that day. And I
                                              Page 225                                                       Page 227
 1
   were only six of them -- there were only six and      1
                                                            was trying to make sure that the articles were
 2
   two of them were obvious skips, referring to what      2
                                                            going out, if I'm not mistaken.
 3
   you were talking about work-related above,             3
                                                                       And I actually didn't sleep with
 4
   correct?                                               4
                                                            him on this event. Now, did we hang out and was
 5
         A. Correct.                                      5
                                                            I in his hotel room when we went back in between
 6
         Q. And she says, where, answering                6
                                                            things to like relax after we ate and stuff?
 7
   your question about where you are.                     7
                                                            Yeah.
 8
         A. Okay.                                         8
                                                                       But I didn't sleep with him at
 9
         Q. Okay?                                         9
                                                            that conference, number one.
10
              Then you send a picture.                   10
                                                                       Number two, yeah, like -- I think
11
         A. Okay.                                        11
                                                            that's when this was. If I looked up the date of
12
         Q. Okay. So with that added context,            12
                                                            the National Conservative Conference from 2019, I
13
   sitting here today, do you know why you would         13
                                                            think that's what this was.
14
   have sent Delaney Yonchek a picture of Ben Baird      14
                                                                  Q. Okay. But with that said, I mean,
15
   asleep in a hotel room?                               15
                                                            you're sending this to Delaney Yonchek without
16
         A. I clearly said, do you know where            16
                                                            any of the context that you just gave me.
17
   I am, so I clearly wanted her to know that I was      17
                                                                       Do you think it would be fair for
18
   with Ben.                                             18
                                                            Delaney Yonchek to receive it and assume that
19
         Q. Why would you have wanted her to             19
                                                            there was a sexual context to it?
20
   know that you were with Ben?                          20
                                                                  A. Delaney Yonchek would not assume
21
         A. I have no idea. Probably because             21
                                                            stuff like that. I think she would just find it
22
   we're friends and we talk about stuff.                22
                                                            funny that I was hanging out with Ben Baird,
23
         Q. Okay. Do you talk about your sex             23
                                                            because she used to think that Ben Baird was
24
   life at all?                                          24
                                                            attractive.
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 1
        Q. Okay. So, again, I want to be              1
                                                               for the record that I have absolutely no
 2
   very clear about this.                             2
                                                               idea what Rape Shield laws have to do
 3
             Your testimony here is that              3
                                                               with this civil lawsuit, but --
 4
   sending this photograph of Ben Baird asleep or     4
                                                                    MR. CARSON: Well, what they have
 5
   apparently asleep in what appears to be a hotel    5
                                                               to do is read the Federal Rules of Civil
 6
   room bed was just to show Delaney that you were 6           Procedure, which provide that in a civil
 7
   hanging out with a buddy?                          7
                                                               or criminal case, you cannot make the
 8
        A. Correct.                                   8
                                                               witness' sexual proclivities -- you can't
 9
        Q. Who you also happened to have a            9
                                                               use that as evidence. That's what Rape
10
   sexual relationship with at some point in time?   10
                                                               Shield is.
11
             MR. CARSON: I'm gonna object            11
                                                                    MR. CAVALIER: Again, I'll say for
12
        based on before, but you can say yes or      12
                                                               the record that you can't introduce it as
13
        no to it.                                    13
                                                               evidence out of the blue, but when the
14
             THE DEPONENT: Correct. But I'm          14
                                                               witness claims that all of her sexual --
15
        not here to, like, judge what Delaney's      15
                                                                    THE DEPONENT: I didn't say all.
16
        inference was.                               16
                                                                    MR. CAVALIER: -- communications
17
   BY MR. CAVALIER:                                  17
                                                               were directly caused by the defendant in
18
        Q. I'm not asking you to judge what          18
                                                               the lawsuit, they are relevant.
19
   Delaney's inference was.                          19
                                                                    But in any event, I'll withdraw --
20
             I'm asking you to tell me about         20
                                                                    MR. CARSON: You don't get to
21
   the context, or lack thereof, in which this photo 21
                                                               decide thought that legally, do you?
22
   was sent?                                         22
                                                                    MR. CAVALIER: I agree with you
23
        A. Which I just did.                         23
                                                               and neither do you.
24
        Q. So you don't think this text              24
                                                                    MR. CARSON: No, actually we are
                                             Page 229                                                       Page 231
 1
   message to Delaney has any sexual undertones or      1
                                                                the ones that get to decide that. That's
 2
   context or anything?                                  2
                                                                exactly what we get to decide. It's
 3
        A. If somebody sent that to me --                3
                                                                totally within our realm of control what
 4
             MR. CARSON: Wait, wait, Lisa.               4
                                                                we present as evidence.
 5
        Let me just say this.                            5
                                                                     THE DEPONENT: Anyway, can we
 6
             THE DEPONENT: No.                           6
                                                                proceed?
 7
             MR. CARSON: So I'm going to                 7
                                                                     MR. CAVALIER: I'll leave that to
 8
        object based on the fact that that               8
                                                                the Judge to decide.
 9
        question -- I'm going to object based on         9
                                                           BY MR. CAVALIER:
10
        the objection that this question has now        10
                                                                Q. But in any event, do you think
11
        been asked and answered about five times.       11
                                                           Delaney Yonchek could have been uncomfortable
12
             I think we're belaboring the               12
                                                           receiving this photo from you?
13
        point, to say the least, over a totally         13
                                                                A. No.
14
        inconsequential fact that will never see        14
                                                                Q. You don't think that's a
15
        the light of a courtroom, that is totally       15
                                                           possibility? Why not? Why not?
16
        irrelevant, that is protected by Rape           16
                                                                A. Because I don't.
17
        Shield and is just designed to embarrass        17
                                                                Q. You're her supervisor sending her
18
        and harass.                                     18
                                                           a photograph of a sleeping half-dressed man in a
19
             So, you know, I think we should            19
                                                           bed.
20
        probably move from the Benjamin Baird           20
                                                                A. He's not half-dressed.
21
        photo.                                          21
                                                                Q. Okay. He's wearing an undershirt.
22
             But, you know, you can answer the          22
                                                                     MR. CARSON: Well, you can see
23
        last question, I guess.                         23
                                                                he's wearing a shirt. He's wearing
24
             MR. CAVALIER: I'll just only note          24
                                                                pants. That makes him fully dressed.
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 1
             So objection to form, assuming          1
                                                                 THE VIDEOGRAPHER: The time is
 2
        facts not in evidence.                       2
                                                             2:23 p.m. We are off the record.
 3
   BY MR. CAVALIER:                                  3
                                                                 (Lunch recess.)
 4
        Q. Strike the question.                      4
                                                                 THE VIDEOGRAPHER: The time is
 5
             The question is, do you think it        5
                                                             2:58 and we are back on the record.
 6
   was appropriate to send her this photograph?      6
                                                       BY MR. CAVALIER:
 7
        A. I don't think it was                      7
                                                             Q. I'm gonna put Exhibit A back up on
 8
   inappropriate.                                    8
                                                       the screen.
 9
        Q. Okay. Did you know that Delaney           9
                                                                 Can you see that document?
10
   Yonchek was deposed the other day in this case?  10
                                                             A. Yes.
11
        A. Sure.                                    11
                                                             Q. Okay. So I just want to run you
12
        Q. Do you know she testified --             12
                                                       through briefly the rest of these -- the rest of
13
        A. I knew she was being deposed. I          13
                                                       this text message chain with Delaney.
14
   didn't know she was. Like, I knew she was going 14            So you send the picture. She then
15
   to be deposed. But I didn't know when or that it 15
                                                       says, oh my God, that's why you're in D.C. You
16
   happened already.                                16
                                                       say, I had a train home for 3:55. I missed it.
17
        Q. Do you know that she testified           17
                                                       Hence the drinking.
18
   during this deposition?                          18
                                                                 She then asks, ha, ha, is he still
19
        A. No, I did not know that.                 19
                                                       as obsessed with you?
20
             MR. CARSON: I'm going to object.       20
                                                                 Do you know what she meant by
21
        The answer is, did you know?                21
                                                       that?
22
             THE DEPONENT: No, I did not know. 22            A. He had a crush on me.
23
   BY MR. CAVALIER:                                 23
                                                                 MR. CARSON: Object to the form.
24
        Q. Now that you know, do you regret         24
                                                             Opinion testimony.
                                              Page 233                                                       Page 235
 1
   send thing the photo?                                 1
                                                                       THE DEPONENT: I don't know what
 2
         A. Of course. I don't know why she               2
                                                                  she meant. But he had a crush on me, so
 3
   would have thought that though, so I'm a little        3
                                                                  that's what I assumed she meant.
 4
   miffed. But I am -- I'm sorry that she did say         4
                                                            BY MR. CAVALIER:
 5
   that feel way.                                         5
                                                                  Q. Okay. So you had talked about his
 6
         Q. Did you ever send photos of this              6
                                                            crush on you before, correct?
 7
   type -- of this type, I mean of men who you had a      7
                                                                  A. Well, I didn't talk about it
 8
   relationship with to other MEF employees?              8
                                                            before. I mean, he was clear and he told people
 9
         A. Probably not, no. Maybe Tricia.               9
                                                            at the Middle East Forum Gala that he had a crush
10
   Me and Tricia shared -- we talked about a lot.        10
                                                            on me. Multiple people. Not just me. So...
11
   But I don't think so. I don't know. Maybe.            11
                                                                  Q. So sitting here today, before May
12
         Q. Do you think this was a violation            12
                                                            30th of 2019, do you know whether or not you
13
   of MEF policy?                                        13
                                                            discussed Ben Baird's crush on you with Delaney
14
         A. Sending a picture of a man? No.              14
                                                            Yonchek?
15
              MR. CAVALIER: How long have we             15
                                                                  A. I don't know.
16
         been going for, Seth? Want to take five?        16
                                                                  Q. Okay. And you respond yes, wants
17
              MR. CARSON: Yeah, that's fine.             17
                                                            to have babies with me. I'm assuming that's you
18
              MR. CAVALIER: All right. Why               18
                                                            acknowledging the fact that he does, indeed, have
19
         don't we just take five.                        19
                                                            a crush on you?
20
              MR. CARSON: It's 2:30. We                  20
                                                                  A. Correct, he did.
21
         started around 10:10.                           21
                                                                  Q. She says, shut up.
22
              MR. CAVALIER: Do you want to take          22
                                                                       You say, not kidding. It's not
23
         lunch -- do you want to take a legitimate       23
                                                            happening.
24
         lunch break?                                    24
                                                                       I'm assuming the fact that he
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 1
   wanted to have babies with you -- well, Ill ask    1
                                                        then she wouldn't have needed to ask whether it
 2
   the question. Strike all that.                     2
                                                        was just-for-fun-type of deal, correct?
 3
             Wants to have babies with you.           3
                                                                   MR. CARSON: Objection.
 4
   Was that literal?                                  4
                                                              Argumentative. Object to form.
 5
        A. No, I --                                   5
                                                                   THE DEPONENT: Like I don't know
 6
             MR. CARSON: Objection. You can           6
                                                              what her intent of that was. You know
 7
        answer.                                       7
                                                              what I mean?
 8
             THE DEPONENT: It was clearly             8
                                                                   Clearly, you know, like with Ben,
 9
        figurative. That's why I said it's not        9
                                                              it was -- he was falling for me
10
        happening.                                   10
                                                              definitely harder than I was interested
11
   BY MR. CAVALIER:                                  11
                                                              in him at the time.
12
        Q. Okay. But just to be clear, I             12
                                                        BY MR. CAVALIER:
13
   mean, we're talking it was figurative on his part 13       Q. Right.
14
   as well.                                          14
                                                                   And so she's referencing something
15
             I mean, obviously you're being          15
                                                        that she knows about, whether it was a discussion
16
   figurative here, but at least as far as you know, 16
                                                        with you, a discussion --
17
   Ben Baird never actually did want to have         17
                                                              A. That's his assumption. That's not
18
   children with you, correct?                       18
                                                        fact.
19
        A. I mean, he pretty much told me he         19
                                                              Q. Whose assumption?
20
   was in love with me. So I don't know.             20
                                                              A. Yours.
21
        Q. Okay. Delaney says, yikes.                21
                                                              Q. Well, I'm asking you -- okay, so
22
             You say, have a good vacation.          22
                                                        how did you interpret this comment?
23
             And then she asks you, does he          23
                                                              A. I just told you, I don't know.
24
   know this is just a fun-type-of-deal with him,    24
                                                                   MR. CARSON: I'm just going to put
                                             Page 237                                                       Page 239
 1
   correct?                                         1
                                                           the same objection on the record. You're
 2
         A. Yeah.                                   2
                                                           asking her opinion about what someone
 3
         Q. She's referring there to your           3
                                                           else meant.
 4
   sexual relationship with Ben Baird, right?       4
                                                      BY  MR.   CAVALIER:
 5
              MR. CARSON: Objection. Again,         5
                                                           Q. Does it make sense to you that if
 6
         you're asking her opinion on what Delaney  6
                                                      Delaney understood your relationship with Ben
 7
         meant. You can answer if you know.         7
                                                      Baird to be one of friendship, she would ask
 8
              THE DEPONENT: First of all, I         8
                                                      whether it was a just-for-fun-type of deal with
 9
         don't know if she's talking about the      9
                                                      him?
10
         sexual part or friendship or what.        10
                                                                MR. CARSON: Object to the form of
11
              But at that point, I had stopped     11
                                                           the question.
12
         sleeping with him, so it's clear that it  12
                                                                THE DEPONENT: I don't know about
13
         says it's not happening.                  13
                                                           you, but I had fun with my friends.
14
   BY MR. CAVALIER:                                14
                                                      BY MR. CAVALIER:
15
         Q. Well, it says it's not happening       15
                                                           Q. Right.
16
   above, the fact -- the comment about having     16
                                                                But do you have friends that ask
17
   babies with you, it's not happening?            17
                                                      you whether you have fun with your friends?
18
         A. Right. It's not happening.             18
                                                                MR. CARSON: Objection.
19
         Q. But the question is, here -- I         19
                                                                THE DEPONENT: Yeah.
20
   mean --                                         20
                                                      BY MR. CAVALIER:
21
         A. I don't know what she meant by         21
                                                           Q. You have friends that ask you
22
   that. If you want to keep going, we'll see.     22
                                                      whether --
23
         Q. If she was just asking you, is         23
                                                           A. Do you know how guys that are in
24
   this just a buddy-buddy relationship with Ben,  24
                                                      my life that I'm friends with and do want to have
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 1
   a relationship with me and then people say, well,     1      did.
 2
   like, are you just friends with him or does he        2             THE DEPONENT: I thought we just
 3
   know that you're just, like, here to have fun and     3        said that I said in there, I don't know
 4
   not, like, whatever. And I don't sleep with            4       what he knows.
 5
   them.                                                  5            And clearly I wasn't interested,
 6
              There's a ton. That happens quite           6       at that time, in pursuing a full-time
 7
   often actually.                                        7       committed relationship with him.
 8
         Q. Right. But she's not saying --                8 BY MR. CAVALIER:
 9
         A. That's your assumption.                       9       Q. We're not talking about a
10
         Q. Yeah. But she's not saying here,             10 full-time committed relation.
11
   does he know that you're not gonna sleep with         11       A. I don't know what you're talking
12
   him.                                                  12 about, because this is the stupidest text message
13
         A. Do you know that's not what she              13 I've ever read.
14
   was saying? Because I don't.                          14       Q. Well, it's your text message
15
         Q. Well, I know what she said.                  15 thread.
16
              MR. CARSON: The document speaks            16            MR. CARSON: What's the relevance
17
         for itself. So let's move on.                   17       of any of this?
18
              THE DEPONENT: Yeah, what do you            18            THE DEPONENT: I don't know.
19
         want to know? I don't know what her             19 BY MR. CAVALIER:
20
         assumption was. I did not know what she         20       Q. The relevance is I'm trying to ask
21
         meant. I don't know.                            21 you whether or not sitting here today, and under
22
              Go back up to what it said.                22 oath, your testimony is that you're not aware of
23
              Excuse me, you're scrolling too            23 whether Delaney Yonchek knew or did not know you
24
         fast. You want me -- I said I don't know        24 were engaged in a sexual relationship with Ben
                                              Page 241                                                       Page 243
 1
         what he knows, because I don't.                 1
                                                            Baird on or about May of 2019.
 2
   BY MR. CAVALIER:                                       2
                                                                       MR. CARSON: Objection. You're
 3
         Q. Okay.                                         3
                                                                 asking her what Delaney may or may not
 4
         A. There's my answer. I don't know               4
                                                                 know?
 5
   what he knows, because I don't know.                   5
                                                                       MR. CAVALIER: Yes.
 6
         Q. So here you're going back talking             6
                                                                       MR. CARSON: Okay. Well, if she
 7
   about work, right? Forget this hell hole?              7
                                                                 knows what Delaney knows, then she can
 8
         A. Forget this hell hope?                        8
                                                                 answer.
 9
         Q. Down here you correct yourself,               9
                                                                       THE DEPONENT: I'll tell you this.
10
   hell hole.                                            10
                                                                 I will tell you this.
11
         A. Oh, okay.                                    11
                                                                       Whatever day the Middle East Form
12
         Q. You're talking about MEF there,              12
                                                                 Gala was, which was prior to this,
13
   right?                                                13
                                                                 Benjamin Baird had made his interest in
14
         A. Probably. I'm telling her to have            14
                                                                 me known, not just to me, to a bunch of
15
   fun on her vacation, forget this hell hole.           15
                                                                 people that attended the gala.
16
         Q. You go back to telling her about             16
                                                                       It was clearly known that he was
17
   some other casual stuff.                              17
                                                                 romantically interested in me.
18
              Okay. But there's nothing in this          18
                                                                       Does this signify that she thinks
19
   text string where you refer to Ben Baird as just      19
                                                                 it's a sexual nature? Or does she think
20
   a friend, right?                                      20
                                                                 it's a crushy thing? Or that I just like
21
              MR. CARSON: Objection. Do you              21
                                                                 the attention? I don't know.
22
         want her to read the entire thread to           22
                                                                       But clearly I don't know if she
23
         confirm --                                      23
                                                                 thinks that I've had a sexual relation
24
              MR. CAVALIER: I thought we just            24
                                                                 with him. I don't remember what she knew
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 1
         or didn't know.                            1
                                                            that I do not believe from -- from these
 2
   BY MR. CAVALIER:                                 2
                                                            text messages and from my recollection
 3
         Q. Okay. And just to be clear,             3
                                                            that I ever told her that I had sexual --
 4
   having nothing to do with these text messages,   4
                                                            like an actual -- that I had sex with
 5
   just in general, did you ever have a discussion  5
                                                            Benjamin Baird.
 6
   with Delaney Yonchek where you made it known to 6             She knew there was romantic
 7
   her that you were engaged in a sexual            7
                                                            interest there.
 8
   relationship with Ben Baird?                     8
                                                      BY MR. CAVALIER:
 9
         A. I don't think I've ever said to         9
                                                            Q. Okay. Who's Mike Yoder to you?
10
   her I had sex with Ben Baird. I don't think I   10
                                                            A. Mike Yoder, he is a lawyer and he
11
   did. No.                                        11
                                                      is friends with Sidney, my friend, and he's my
12
         Q. That wasn't the question.              12
                                                      friend, kind of.
13
              The question is --                   13
                                                                 I actually don't know Mike much,
14
         A. Well, then how else would it be        14
                                                      but yeah.
15
   clear?                                          15
                                                            Q. Has he ever represented you in a
16
         Q. Did you ever have a                    16
                                                      case?
17
   conversation --                                 17
                                                            A. He has done several legal things
18
         A. I could tell her that I went on        18
                                                      for me.
19
   dates with him.                                 19
                                                            Q. Who's Patrick Sandman?
20
              Does that mean I slept with him?     20
                                                            A. Patrick Sandman is another lawyer
21
         Q. Well, that's what I'm asking you.      21
                                                      friend of mine and he's also given me legal
22
         A. I'm telling you, I do not think        22
                                                      advice.
23
   that I ever told her that I had sex with him    23
                                                            Q. We'll come back to that.
24
   ever.                                           24
                                                            A. On multiple occasions.
                                              Page 245                                                       Page 247
 1
         Q. Did you ever say anything to her             1
                                                                 Q. I have something to share here.
 2
   that would lead her to reasonably believe that         2
                                                            Just a second. I want to go to another document.
 3
   you had sex with him?                                  3
                                                                      Give me one second here to pull up
 4
         A. I don't know what she would                   4
                                                            the document.
 5
   reasonably believe or not. So I don't know.            5
                                                                 A. I'm just curious. I have a
 6
         Q. Okay. Do you think, based on the              6
                                                            question for you, sir.
 7
   conversations that you had with her, it would be       7
                                                                      MR. CARSON: Do you want to go off
 8
   fair for Delaney Yonchek to assume that you were       8
                                                                 the record?
 9
   engaged in a sexual relationship with Ben Baird        9
                                                                      THE DEPONENT: Yeah, I mean, just
10
   at this time?                                         10
                                                                 real quick. I just have a question.
11
              MR. CARSON: I'm just going to              11
                                                                      My understanding is --
12
         object to the form of that question for         12
                                                                      THE VIDEOGRAPHER: Off the record
13
         obvious reasons.                                13
                                                                 3:08 p.m.
14
              THE DEPONENT: No.                          14
                                                                      The time is 3:09 p.m.
15
   BY MR. CAVALIER:                                      15
                                                                      We are back on the record.
16
         Q. That would not be fair if she                16
                                                            BY MR. CAVALIER:
17
   believed that?                                        17
                                                                 Q. I want to wrap this up with you as
18
              MR. CARSON: Objection. Asked and           18
                                                            well here, so I'm going to share this document.
19
         answered.                                       19
                                                                      This is going to be marked as an
20
   BY MR. CAVALIER:                                      20
                                                            exhibit. I guess it's Exhibit C, correct?
21
         Q. Is that your testimony?                      21
                                                                    (Deposition Exhibit C marked.)
22
         A. My testimony is --                           22
                                                            BY MR. CAVALIER:
23
              MR. CARSON: She just said no.              23
                                                                 Q. I don't want to belabor this, so
24
              THE DEPONENT: My testimony is              24
                                                            I'm going to ask you to read -- first of all, can
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 1
   you identify this?                                    1
                                                            applied to Upton's office until after that. So
 2
          A. It looks like the House Resume               2
                                                            there's likely that there were changes to it,
 3
   Bank.                                                  3
                                                            because I got my job in less than a week with
 4
               It looks like the House Resume             4
                                                            interviewing, so...
 5
   Bank.                                                  5
                                                                  Q. I don't follow you there.
 6
          Q. Would it help you if I scroll                6
                                                                       Why would getting your job in less
 7
   through it real briefly?                               7
                                                            than a week with interviewing lead you to believe
 8
          A. It says what it is at the top.               8
                                                            that changes were made to your resume?
 9
   Resume Bank.                                           9
                                                                  A. Because I'm constantly updating my
10
          Q. Okay. So I'm just going to slowly           10
                                                            resume and asking people for input and revisions
11
   scroll this so you can get a sense of what the        11
                                                            and things like that. I mean, I do that all the
12
   document is.                                          12
                                                            time.
13
               If you want to read any of it,            13
                                                                  Q. So looking at this resume here in
14
   which you're probably gonna want to do after I        14
                                                            front of you, can you identify --
15
   ask the question, that's fine.                        15
                                                                  A. If we can go side by side and line
16
               But just for our sake here, this          16
                                                            by line, but it's probably generally the same.
17
   is -- this is, in fact, the resume that you           17
                                                            But I'm not sure that it's completely exactly the
18
   submitted for your current position with the          18
                                                            same.
19
   House of Representatives, correct?                    19
                                                                  Q. What was your hire date for your
20
          A. Incorrect.                                  20
                                                            current job?
21
          Q. Okay. Tell me why I'm incorrect.            21
                                                                  A. August 19.
22
          A. Okay. So there's what's known as            22
                                                                  Q. Okay. Does August 6, 2019, sound
23
   a resume bank within the House of Representatives     23
                                                            familiar?
24
   and members can go pull from there if they're         24
                                                                  A. I did not get hired on that date.
                                              Page 249                                                       Page 251
 1
   having a hard time finding an employee.               1
                                                            I started my job on August 19th.
 2
             My resume was -- for my current              2
                                                                  Q. Okay. You started your job --
 3
   position was never, like, obtained through this        3
                                                            wait. You're saying not August of '19, you're
 4
   or anything like that.                                 4
                                                            say August 19th?
 5
             It was sent from Stephanie                   5
                                                                  A. Yeah. That was the date of my
 6
   DeMarco, who works for Congressman Upton's             6
                                                            hire. I started on August 19th.
 7
   office, directly to Erica Lafave, who then sent        7
                                                                  Q. I understand.
 8
   it on to my chief of staff.                            8
                                                                      Does it sound correct to you that
 9
             So my work doesn't -- my office              9
                                                            then would you have gotten your offer to start
10
   doesn't participate in the resume bank for the        10
                                                            that job on August 6th, 2019?
11
   U.S. House of Representatives and that is not         11
                                                                  A. I don't know about that. I don't
12
   where my resume or application came from my           12
                                                            know. I don't remember.
13
   current job.                                          13
                                                                  Q. Okay. So nevertheless, regardless
14
         Q. Okay. Fair enough.                           14
                                                            of whether you made changes to the resume that
15
             So your current job got your                15
                                                            you submitted to your current position or not,
16
   resume from a different source.                       16
                                                            you submitted this resume to the Resume Bank of
17
             Was it the same resume that you             17
                                                            the House, correct?
18
   submitted to the resume bank?                         18
                                                                  A. Correct.
19
         A. Probably not. I think that I                 19
                                                                  Q. Was it true at the time you
20
   submitted my resume to the resume bank earlier,       20
                                                            submitted it?
21
   but maybe, maybe not. But I think -- can you          21
                                                                  A. Yeah, I guess.
22
   look at the date on that?                             22
                                                                      What do you mean was it true?
23
         Q. Sure.                                        23
                                                                  Q. Was everything in it true?
24
         A. Yeah. I don't think that I even              24
                                                                  A. Yeah.
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 1
         Q. Okay. And, in fact, you certified       1
                                                            Q. It's all correct?
 2
   here that all of the information in your resume  2
                                                            A. Uh-huh.
 3
   is correct and complete and then in capital      3
                                                            Q. Okay. I want to show you one
 4
   letters it says here, I understand that any      4
                                                      other part of it.
 5
   falsification or omission of any information     5
                                                                You probably can't read that.
 6
   constitutes grounds for any House of             6
                                                      It's probably too small.
 7
   Representatives employer to not employ me or to 7        A. I got it. It's my cover letter.
 8
   dismiss me from employment, correct?             8
                                                            Q. Yes.
 9
         A. Correct.                                9
                                                            A. Uh-huh.
10
         Q. So you made an effort to make sure     10
                                                            Q. Can you take a look at that and
11
   your resume was true and complete, correct?     11
                                                      tell me anything that you note that is incorrect?
12
         A. I also just clicked buttons and        12
                                                            A. None of it.
13
   didn't read any of that. But sure.              13
                                                            Q. Well, I'd like you to read it for
14
         Q. You didn't read any of this?           14
                                                      the record to make sure that --
15
               MR. CARSON: Objection.              15
                                                                MR. CARSON: She wrote it, didn't
16
               THE DEPONENT: No, I didn't. Who     16
                                                            she?
17
         reads that? You just sign -- you just     17
                                                      BY MR. CAVALIER:
18
         click the initials in the boxes and then  18
                                                            Q. Take a minute and read it and let
19
         you hit send.                             19
                                                      me know if anything in there is incorrect.
20
   BY MR. CAVALIER:                                20
                                                            A. Nothing's incorrect.
21
         Q. Okay.                                  21
                                                            Q. I'm gonna ask you about this Wall
22
         A. Nobody does that.                      22
                                                      Street Journal reference here.
23
               MR. CARSON: Can you guys hear me? 23             Do you remember what that's in
24
               MR. CAVALIER: Yes.                  24
                                                      reference to?
                                             Page 253                                                       Page 255
 1
             THE DEPONENT: Yes.                         1
                                                               A.       No. But here's how this works.
 2
             MR. CARSON: Please listen for my            2
                                                                      So we have a --
 3
        objections.                                      3
                                                                      MR. CARSON: He didn't ask how it
 4
   BY MR. CAVALIER:                                      4
                                                                 works. He just said, do you remember
 5
        Q. Okay. So we now have your resume              5
                                                                 what it's about.
 6
   up that you submitted to the House bank.              6
                                                                      Yes or no, do you remember?
 7
             I'm going to ask you to take a              7
                                                           BY MR. CAVALIER:
 8
   second to read the summary and experience             8
                                                                 Q. So how do you know it's correct?
 9
   sections here.                                        9
                                                                 A. I know it's correct, because I
10
        A. Uh-huh.                                      10
                                                           don't remember the exact article that we got
11
        Q. And I want you to tell me anything           11
                                                           placed in the Wall Street Journal. However, when
12
   in there that is not correct.                        12
                                                           I -- even when I was not a communications
13
             MR. CARSON: We can't see it.               13
                                                           director in name only, when I was Greg's
14
             Can we make it bigger?                     14
                                                           assistant, we would have requests come in all the
15
             THE DEPONENT: I'm gonna have to            15
                                                           time. And what we do is, we'd have requests come
16
        hold my thing up.                               16
                                                           in all the time but we also have a running
17
             MR. CAVALIER: How's that? Do you           17
                                                           spreadsheet in Monday.com that could be filtered
18
        need it bigger?                                 18
                                                           through by type and organization.
19
             MR. CARSON: A little better.               19
                                                                      And from when I started helping
20
             THE DEPONENT: You can scroll               20
                                                           Delaney with that, back in June of 2019, you can
21
        down, please.                                   21
                                                           sort it and it will tell you -- it will sort it
22
   BY MR. CAVALIER:                                     22
                                                           and tell you every outlet. You can sort it by
23
        Q. Sure.                                        23
                                                           outlet. You can sort it by author. You can sort
24
        A. Correct. It's all right.                     24
                                                           it by whatever.
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 1
              And so I went in and from the          1
                                                             still Greg's assistant. Quote, unquote,
 2
   dates I started helping with that I calculated    2
                                                             assistant, yes.
 3
   them all up.                                      3
                                                       BY MR. CAVALIER:
 4
         Q. So that's how you got to 1128            4
                                                             Q. Okay. But my point is, to the
 5
   articles --                                       5
                                                       extent that Delaney is doing work placing
 6
         A. Yes.                                     6
                                                       articles that you're referencing here, to the
 7
              MR. CARSON: That's a pretty            7
                                                       extent she was working under you, it's fair for
 8
         accurate way of doing that.                 8
                                                       you to state on your resume that you helped place
 9
              THE DEPONENT: That was actually 9 those articles?
10
         from our report that Mark Fink asked me 10          A. Correct.
11
         to write. And those are the numbers that   11
                                                             Q. Okay. Do you have any specific
12
         I also submitted to Mark Fink for our      12
                                                       recollection sitting here today what the two
13
         general operating support.                 13
                                                       articles were that were placed with the Wall
14
              That is correct.                      14
                                                       Street Journal during your time with the forum?
15
   BY MR. CAVALIER:                                 15
                                                                   MR. CARSON: Objection. Asked and
16
         Q. Okay. So that's where you got the       16
                                                             answered. You can answer.
17
   number.                                          17
                                                                   THE DEPONENT: Clearly do not.
18
         A. Uh-huh.                                 18
                                                       BY MR. CAVALIER:
19
         Q. How did you then get the piece you 19            Q. How about same answer for the
20
   wrote here, where it says from D.C.'s Influential Hill?
                                                    20
21
   Hill to the Wall Street Journal from the         21
                                                             A. Yeah, I clearly don't.
22
   Washington Times to Foreign Policy?              22
                                                                   This was from what we wrote from
23
         A. Because they were all on the list.      23
                                                       the GOS report that I submitted to Mark Fink and
24
         Q. Okay. So you went through the           24
                                                       I believe was used, so -- in our general
                                             Page 257                                                       Page 259
 1
   list and you saw that those names were on it?      1
                                                        operating support thing.
 2
         A. Yes. And because, like, I was             2
                                                                  So, you know, it wasn't questioned
 3
   overseeing Delaney as she would ask me how to      3
                                                        at the time and it certainly wasn't questioned
 4
   write things, and so whatever was on the list was  4
                                                        now. It was, like, our standard language.
 5
   going through me or Delaney.                       5
                                                              Q. Okay. But sitting here today, I
 6
         Q. Okay. So whether it went through          6
                                                        mean, I want to ask a very specific, very narrow
 7
   you and Delaney, that, for you, was enough for     7
                                                        question.
 8
   you to list that as part of this 1128 articles?    8
                                                                  Sitting here today, do you -- can
 9
         A. Absolutely. Because not only              9
                                                        you state with any certainty that you, in fact,
10
   that, she would ask me how to pitch things, how   10
                                                        placed or helped to place an article in the Wall
11
   to write things. And I would correct all her      11
                                                        Street Journal?
12
   e-mails.                                          12
                                                              A. Very likely. But I don't remember
13
              I was an integral part in helping      13
                                                        off the top of my head. What is the point of
14
   me and helping Delaney and Middle East Forum get 14 this? I'm confused.
15
   those things done.                                15
                                                              Q. The point is to find out --
16
         Q. And because she was your                 16
                                                                  MR. CARSON: He's trying to call
17
   subordinate, right? I mean, she was doing that    17
                                                              you a liar is the point. And the fact is
18
   work underneath you, correct?                     18
                                                              you used a computerized system that seems
19
              MR. CARSON: Objection. That            19
                                                              to be infallible to come up with the
20
         question has been asked nine times today.   20
                                                              numbers and so now he is looking for a
21
              You can answer the question again.     21
                                                              way to continue calling you a liar.
22
              THE DEPONENT: It was more              22
                                                                  I guess to the extent you
23
         collaborative at that point, because I      23
                                                              understand what he is saying, you can
24
         had started that before -- when I was       24
                                                              answer.
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 1
              MR. CAVALIER: Well, with that           1
                                                              A. I do not remember. That is my
 2
         improper, inappropriate and ridiculous --    2
                                                        answer for the tenth time.
 3
              MR. CARSON: The questions are           3
                                                                   MR. CARSON: It doesn't say -- the
 4
         what's inappropriate. But we can             4
                                                              thing doesn't say she talked to people at
 5
         continue.                                    5
                                                              Fox News. It says she helped with
 6
   BY MR. CAVALIER:                                   6
                                                              those --
 7
         Q. Do you need me to restate the             7
                                                                   MR. CAVALIER: I never said that
 8
   question?                                          8
                                                              it said that. It's just a question.
 9
         A. No. Like I said, it was likely,           9
                                                                   THE DEPONENT: Like I said, I
10
   like I said, how I got the number and the outlets 10
                                                              don't remember.
11
   were sorting it by date in our Monday.com source  11
                                                        BY MR. CAVALIER:
12
   thing.                                            12
                                                              Q. Aside from your counsel's
13
              So those were from Monday.com in       13
                                                        long-winded speaking objections, is there some
14
   between those date ranges.                        14
                                                        reason, sitting here today, that you're finding
15
         Q. Do you remember ever talking to          15
                                                        these questions to be offensive?
16
   Daniel Pipes about any work with the Wall Street  16
                                                              A. No, I'm just tired, Buddy. I
17
   Journal?                                          17
                                                        worked a 10-hour day yesterday and we're here
18
         A. I don't.                                 18
                                                        talking about if I remember something from
19
         Q. Do you remember ever talking to          19
                                                        before, like, and I don't even remember the
20
   anybody at the Wall Street Journal about an       20
                                                        two -- the two people I talked to yesterday.
21
   article for the Middle East Forum?                21
                                                                   There's a guy that was just in my
22
         A. I remember reaching out to their         22
                                                        e-mail just now, Mario Diaz, that was asking for
23
   staff to set up meetings and things like that,    23
                                                        an interview with the Congressman. I can't even
24
   but other than that, I don't recall specifics.    24
                                                        tell you what outlet he's from.
                                             Page 261                                                       Page 263
 1
               We did this all the time, so I           1
                                                                     There's so many of them. So it's
 2
   don't recall every specific time.                     2
                                                           exhausting for you to keep asking me the same
 3
               Like you said, there's 1100 there.        3
                                                           questions over and over again when I tell you I
 4
         Q. Well, I'm only talking about the             4
                                                           don't remember.
 5
   Wall Street Journal.                                  5
                                                                     MR. CARSON: It's even more
 6
         A. I don't remember.                            6
                                                                exhausting when it has zero, literally
 7
         Q. Do you ever remember reaching out            7
                                                                zero, connection why we're here today.
 8
   to them at all?                                       8
                                                                     You're looking at the resume that
 9
         A. I believe I did reach out to them            9
                                                                was posted in a resume bank at the job
10
   but I don't remember when.                           10
                                                                she has now.
11
         Q. Do you remember who you would               11
                                                                     There's no connection with the
12
   reach out to?                                        12
                                                                instant matter. There's no connection
13
         A. No.                                         13
                                                                with the counterclaims.
14
         Q. Do you remember speaking with               14
                                                                     MR. CAVALIER: Fortunately I get
15
   anybody from the Wall Street Journal during your     15
                                                                to determine what I want to ask her.
16
   time at Middle East Forum?                           16
                                                                     MR. CARSON: Go ahead.
17
         A. Likely. I mean, like, I -- I                17
                                                                     THE DEPONENT: I don't know.
18
   speak with people -- like right now, Fox News,       18
                                                                     MR. CARSON: Waste the whole day
19
   the lady just asked me for an interview on Fox       19
                                                                talking about something -- you know, it's
20
   News. I have no idea what her name was. I mean,      20
                                                                just --
21
   I respond to interview requests all the time.        21
                                                                     THE DEPONENT: Keep going.
22
         Q. I understand that you're saying             22
                                                                     MR. CARSON: It's really
23
   that it's likely that you did so, but what I'm       23
                                                                offensive, because everyone here is busy
24
   asking you --                                        24
                                                                and we're wasting the entire day on
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 1
         questions that have nothing to do with       1
                                                               the basis for including this information
 2
         the reason why we're actually here.          2
                                                               was a computer program.
 3
              So I guess we'll continue doing         3
                                                                    That's where you go, all right,
 4
         it.                                          4
                                                               next topic.
 5
              THE DEPONENT: There is a sexual 5                     But instead we're here for another
 6
         harassment case and now you're asking me 6            20 minutes talking about her resume for
 7
         about the Wall Street Journal.               7
                                                               her current job and whether or not she
 8
   BY MR. CAVALIER:                                   8
                                                               ever spoke with someone at the Wall
 9
         Q. Ms. Barbounis, you understand, do         9
                                                               Street Journal.
10
   you not, that it's relevant to your credibility   10
                                                                    MR. CAVALIER: Seth, we're here
11
   when on the one hand you play up your             11
                                                               for 20 minutes, because you keep
12
   experience --                                     12
                                                               launching these soliloquies and
13
         A. So you are trying to call me a           13
                                                               objections.
14
   liar.                                             14
                                                                    MR. CARSON: That's absolutely not
15
              MR. CARSON: Yeah. Exactly. Here 15               why we're here. But go ahead.
16
         we go.                                      16
                                                                    MR. CAVALIER: Not to mention when
17
              THE DEPONENT: I'm ready.               17
                                                               I ask a very simple, straight forward
18
   BY MR. CAVALIER:                                  18
                                                               question, like who did you talk to there
19
         Q. You understand it's relevant to          19
                                                               and I get a speech in response --
20
   your credibility, if you are, in fact, playing up 20             THE DEPONENT: Not an I don't
21
   your responsibilities to a future employer while 21         remember. You kept asking me over and
22
   playing them down to benefit your lawsuit,        22
                                                               over again.
23
   correct?                                          23
                                                                    MR. CARSON: How much more do we
24
              You understand how that is             24
                                                               have on the resume?
                                             Page 265                                                       Page 267
 1
   relevant advance?                                    1            MR. CAVALIER: However much I want
 2
             MR. CARSON: Objection.                      2       to get into.
 3
        Argumentive.                                     3           THE DEPONENT: That's really
 4
             THE DEPONENT: You do                        4       professional, too.
                                                         5 BY MR. CAVALIER:
 5
        understand --
 6
             MR. CARSON: Lisa, wait. Don't               6       Q. Where you say additionally I
                                                         7 arranged for 27 of our experts to be interviewed
 7
        talk over me.
                                                         8 92 times by A-1 media outlets on both radio and
 8
             THE DEPONENT: Sorry. I didn't
                                                         9 television, are any of those 27 experts Middle
 9
        know you weren't done.
                                                        10 East Forum fellows?
10
             MR. CARSON: No. You don't have
11
        to answer that question. It's                   11       A. Yes.
12
        argumentive. It has nothing to do with          12       Q. And where you say the connections
                                                        13 that you have made and maintained with members of
13
        this case. It's just designed to harass
                                                        14 the press over the years may be one of my biggest
14
        you and you don't have to answer it.
                                                        15 contributions to effectively assist in forwarding
15
             MR. CAVALIER: It's designed to
                                                        16 the members' objectives?
16
        respond to your counsel's improper
17
        speaking objection.                             17       A. Correct.
18
   BY MR. CAVALIER:                                     18       Q. Those connections to the press
                                                        19 that you're referencing are connections that you
19
        Q. But you do understand that, do you
                                                        20 made during your work at the Forum, correct?
20
   not?
21
             MR. CARSON: You're not raising             21       A. Guys, you don't live in a bubble.
                                                        22 I mean, I made connections with press. And I'm
22
        credibility issues. You're showing her a
                                                        23 friendly with them.
23
        resume where she said she helped on an
24
        article. She told you the exact way --          24           Like, for example, I made a
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 1
   connection with the press in England and I still     1
                                                                     MR. CARSON: John, one of the
 2
   maintain friendships with those people and I was      2
                                                                Middle East Forum's claims in the trade
 3
   there on my own time. It had nothing to do with       3
                                                                secrets case is that Lisa Barbounis isn't
 4
   MEF. And so that I have maintained over the           4
                                                                allowed to share information about press
 5
   years.                                                5
                                                                contacts with other people.
 6
             When I worked in Congressman                6
                                                                     THE DEPONENT: Correct.
 7
   Costello's office, I made relationships with the      7
                                                                     MR. CARSON: They're literally
 8
   press.                                                8
                                                                claiming that somebody's e-mail address
 9
             MR. CARSON: Lisa, it was a yes or           9
                                                                is a member of the press is a trade
10
        no question. He said the connections            10
                                                                secret. It's ludicrous. It's absurd.
11
        made with the press were things that you        11
                                                                That's the basis for being objectionable.
12
        did when you were at the Forum. The             12
                                                                     MR. CAVALIER: Regardless of
13
        answer is yes.                                  13
                                                                what's going on in the trade secrets
14
             THE DEPONENT: My point is -- my            14
                                                                case, this question has nothing to do
15
        point is --                                     15
                                                                with that. It's a simple,
16
             MR. CARSON: He didn't ask you for          16
                                                                straightforward question.
17
        an explanation though. Just say yes or          17
                                                                     MR. CARSON: Let's just get
18
        no.                                             18
                                                                through this. Yes or no.
19
             THE DEPONENT: I want to get out            19
                                                           BY MR. CAVALIER:
20
        of here, too. I'm sorry. Go ahead, go.          20
                                                                Q. Whether you made connections to
21
             MR. CARSON: I guess MEF is                 21
                                                           the present during your time with the Middle East
22
        insinuating that they own the press now,        22
                                                           Forum?
23
        too.                                            23
                                                                A. Some of my connections were made
24                                                      24
                                                           during my time at Middle East Forum.
                                             Page 269                                                       Page 271
 1
   BY MR. CAVALIER:                                     1
                                                               Q.        Okay.
 2
        Q. I'm not insinuating anything. I'm             2
                                                                       MR. CAVALIER: I think this is
 3
   asking you whether you made connections with the      3
                                                                  Exhibit D.
 4
   press at the Middle East Forum.                       4
                                                                       THE DEPONENT: Okay.
 5
        A. Some of them, yes. Some.                      5
                                                                    (Deposition Exhibit Number D
 6
        Q. Is there something about that                 6
                                                                     marked.)
 7
   question that you find objectionable?                 7
                                                           BY MR. CAVALIER:
 8
        A. Yes.                                          8
                                                                  Q. This is a text message chain. We
 9
             MR. CARSON: I do.                           9
                                                           can identify it. But I'll represent to you that
10
             THE DEPONENT: I do, yes.                   10
                                                           it's a text message chain between you and Tricia
11
             MR. CAVALIER: Why?                         11
                                                           McNulty.
12
             MR. CARSON: Because the question           12
                                                                       Does that look correct to you?
13
        insinuates that the Middle East Forum has       13
                                                                       And you can read through some of
14
        some sort of claim to the connections           14
                                                           it, all of it, if you want to. I don't think you
15
        with the press.                                 15
                                                           want to read all 77 pages.
16
             THE DEPONENT: I agree.                     16
                                                                       But does that seem to be correct
17
             MR. CARSON: What is the point of           17
                                                           to you?
18
        the question?                                   18
                                                                  A. Sure. I mean, I don't see where
19
             MR. CAVALIER: I would love to              19
                                                           it says Tricia's name anywhere. Anywhere at all
20
        understand how the question, did you make       20
                                                           actually.
21
        connections with the press, has any kind        21
                                                                  Q. Well, do you have any reason to
22
        of a connotation --                             22
                                                           doubt my representation to you this is a document
23
             THE DEPONENT: Well, then what was          23
                                                           that we got in the production of this case?
24
        your purpose for asking?                        24
                                                                  A. Yes. You've done nothing but
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 1
   disparage me intentionally over and over again.       1
                                                            reference to?
 2
        Q. All right. So let's identify the               2
                                                                  A. Absolutely no idea.
 3
   document.                                              3
                                                                       MR. CARSON: Look at the date.
 4
             Let me know -- well, I'll tell you           4
                                                                       THE DEPONENT: Oh, the date.
 5
   what.                                                  5
                                                                       I would guess that would be our --
 6
             You can read it and you can let me           6
                                                                  that meeting that we had -- I'm guessing,
 7
   know you feel comfortable identifying it as your       7
                                                                  though, still that that would be a
 8
   text message change with Tricia McNulty.               8
                                                                  meeting that we had about Greg Roman and
 9
        A. Okay. Slow down.                               9
                                                                  all.
10
        Q. I'll note that this was produced              10
                                                            BY MR. CAVALIER:
11
   by your counsel.                                      11
                                                                  Q. Okay. So as you best you know,
12
        A. Now it says McNulty. I said I                 12
                                                            this was in reference to the November of 2018
13
   didn't see her name. Now I see her name. Now I        13
                                                            meeting, the all-hands meeting that's been
14
   know who it's with.                                   14
                                                            referred to in this case, correct?
15
             Okay. Keep going.                           15
                                                                  A. Okay.
16
        Q. Can we now agree that this is a               16
                                                                  Q. Okay. Same day, you ask her --
17
   chain of documents --                                 17
                                                            you send her a link to a D.C. Young Republicans
18
             MR. CARSON: I can represent, too,           18
                                                            event?
19
        that McNulty 207 is a Bates stamp that I         19
                                                                  A. Uh-huh.
20
        put on the document and produced in the          20
                                                                  Q. 2018 Holiday Gala?
21
        Patricia McNulty versus MEF case. And            21
                                                                  A. Uh-huh.
22
        this does look like a thread that I              22
                                                                  Q. And you ask, want to go if we
23
        produced.                                        23
                                                            still have jobs?
24
             THE DEPONENT: Okay. Then, yes, I            24
                                                                  A. Right.
                                              Page 273                                                       Page 275
 1
         agree that that's what this is.                 1
                                                                  Q. What did you mean by that?
 2
   BY MR. CAVALIER:                                       2
                                                                  A. Exactly what it said. Like, if we
 3
         Q. Okay. So you see here it's                    3
                                                            all don't get fired for, you know, ratting on
 4
   dated -- I'm gonna ask you about specific              4
                                                            Greg Roman.
 5
   segments of this text chain.                           5
                                                                  Q. Did you think you were gonna get
 6
             Okay?                                        6
                                                            fired for ratting on Greg Roman?
 7
         A. Yeah.                                         7
                                                                  A. Absolutely.
 8
         Q. This first one is dated                       8
                                                                  Q. Why did you think that?
 9
   November 3rd. I'll make it a little bigger for         9
                                                                  A. Because Daniel Pipes was so
10
   you, so you can see it easier.                        10
                                                            entrenched with Greg Roman, like, you know,
11
             And just so we're clear, on this            11
                                                            nothing -- like anything Greg Roman could do was,
12
   text thread, Patricia is in blue and you're in        12
                                                            like, gold. And so they would, you know, -- he
13
   gray, correct?                                        13
                                                            would always want to keep Greg over us.
14
         A. Okay.                                        14
                                                                  Q. Okay. But just for the record,
15
         Q. Do you agree with that?                      15
                                                            this November of 2018 meeting was the first time
16
         A. Sure.                                        16
                                                            you ever voiced those complaints to Daniel Pipes,
17
         Q. Okay. On 11/3/18 at 10:47 a.m.,              17
                                                            correct?
18
   Tricia says to you, did you see that e-mail about     18
                                                                  A. Listen, you live in that
19
   Monday morning. You say, yes, there's a couple        19
                                                            atmosphere, you know what it's like. That's all
20
   emogis.                                               20
                                                            I'm going to say.
21
             She says, oh, God, I hate it.               21
                                                                  Q. Well, I appreciate that. But
22
             You say, I know. I don't know               22
                                                            that's actually not an answer to the question.
23
   what is happening.                                    23
                                                                  A. It isn't? What was the question
24
             Do you know what that is in                 24
                                                            then?
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 1
         Q. The question is, did you ever             1
                                                        of the way.
 2
   complain to Daniel Pipes about Greg Roman before 2             November 3rd, 2018, you get a
 3
   the November of 2018 meeting?                      3
                                                        message from Tricia that says, Neil just sent me
 4
         A. No.                                       4
                                                        a text that says, hey, T-bone, how's it going.
 5
         Q. So it's fair to say then that you         5
                                                                  Do you have any idea what that
 6
   didn't know how he would react to a complaint      6
                                                        means?
 7
   about Greg Roman prior to that pointed in time?    7
                                                              A. She was probably talking about --
 8
         A. Well, my suspicions were confirmed        8
                                                        like her current fiancee, they were -- they were
 9
   when I did complain.                               9
                                                        in the beginning stages of dating around this
10
         Q. I thought you told us that you           10
                                                        time.
11
   were not fired as a result of your complaint?     11
                                                                  So I'm sure she was unhappy that
12
         A. I wasn't fired. I sat there and          12
                                                        he sent her a text message saying, hey, T-bone.
13
   sobbed after he came in my office and said,       13
                                                              Q. Okay. You said, I hope you didn't
14
   priests have been accused of more and get to keep 14 answer. And then you say, I'm not signing this
15
   their jobs.                                       15
                                                        NDA. I haven't sent it yet, but --
16
              So Greg will be staying. And then      16
                                                              A. And then I sent my response.
17
   I -- he left and I walked into the middle room    17
                                                              Q. You sent your response to Tricia?
18
   and I sobbed like a child uncontrollably where it 18
                                                              A. Correct.
19
   was, like, the -- because I knew that it was only 19
                                                              Q. Okay.
20
   going to get worse from there.                    20
                                                              A. About what I was gonna write to
21
              And that nothing that we said made     21
                                                        Daniel.
22
   a difference with Daniel Pipes, because Greg was  22
                                                              Q. Did you ever end up writing that
23
   his whatever. Meal ticket. Equal. Whatever he     23
                                                        to Daniel?
24
   was. His chosen child. I don't know.              24
                                                              A. I did.
                                             Page 277                                                       Page 279
 1
        Q. Did you tell Daniel Pipes that you       1
                                                           Q. Okay. Can you describe for me
 2
   wanted Greg Roman fired?                         2
                                                      what concern you had with the NDA that he was
 3
        A. Yes, in the office. In my office.        3
                                                      putting in front of you?
 4
        Q. Then come May you wanted him back? 4                 I know it's here on the
 5
             MR. CARSON: Objection.                 5
                                                      screenshot, but I need you to describe it.
 6
             THE DEPONENT: We've already been       6
                                                           A. There was a new clause in there
 7
        over this.                                  7
                                                      that would prohibit us from seeking an attorney
 8
             I didn't want him back. And it         8
                                                      in general.
 9
        was supposed to be a probationary period    9
                                                                And I didn't -- like and at that
10
        anyway. And then when people complained 10 point we didn't even -- I certainly didn't want
11
        to Daniel, he again said it was us         11
                                                      to engage in a lawsuit for a various amount of
12
        mooning.                                   12
                                                      reasons.
13
             Now, come on. Sorry. I didn't         13
                                                                And -- but I didn't like that he
14
        mean to be adversarial. This is the same   14
                                                      was taking the option completely away from us to
15
        stuff over and over again.                 15
                                                      have no recourse. Should I need to have
16
   BY MR. CAVALIER:                                16
                                                      recourse, I didn't have to.
17
        Q. Did you still have your job at the      17
                                                           Q. Okay. So you read the NDA at this
18
   time that the D.C. Young Republican's Gala came 18
                                                      point in time?
19
   around?                                         19
                                                           A. The new one, correct.
20
        A. We ended up not going. It was           20
                                                           Q. Right.
21
   sold out. But probably. Probably in December.   21
                                                                You had a problem with it,
22
        Q. All right. Moving to 11/4.              22
                                                      correct?
23
        A. Uh-huh.                                 23
                                                           A. Correct.
24
        Q. Well, first, let me get this out        24
                                                           Q. And you voiced that problem to
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 1
   Daniel Pipes, correct?                            1
                                                             A. No.
 2
         A. Correct.                                 2
                                                             Q. Okay. So after some discussion
 3
         Q. And he then revised the NDA to           3
                                                       about Ovi, and then I just asked you about this
 4
   account for your issue, correct?                  4
                                                       earlier, but at 11:06 same day, 11/4/18, you say,
 5
         A. Incorrect.                               5
                                                       all good, DP, I'm assuming that means Daniel
 6
         Q. How is that incorrect?                   6
                                                       Pipes, amended the NDA. I'm signing.
 7
         A. He said he agreed and I didn't           7
                                                             A. So -- correct. So apparently he
 8
   have to sign it.                                  8
                                                       said he took out that clause or whatever.
 9
         Q. So here a little further down, you       9
                                                                 But then he also told me in an
10
   say, Matt said just sign it, don't be stupid.    10
                                                       e-mail that I didn't have to sign it and I did
11
   They are doing this for Greg, not for us. But do 11
                                                       not sign a new NDA that day.
12
   we trust them? I just talked to Marnie. She      12
                                                             Q. That day?
13
   isn't signing it either.                         13
                                                             A. Or at all.
14
              You're referring to Marnie Meyer      14
                                                                 I've never signed a new NDA from
15
   there?                                           15
                                                       the time I got hired. I didn't sign the amended
16
         A. Yeah.                                   16
                                                       one. I didn't sign anything after my original
17
         Q. Okay. So you guys are all talking       17
                                                       NDA.
18
   about this NDA at this point in time, correct?   18
                                                             Q. Okay. Do you know if Patricia
19
         A. Correct.                                19
                                                       signed one?
20
         Q. And here you say Delaney doesn't        20
                                                             A. I don't think so.
21
   want to sign it either. Obviously messages from  21
                                                             Q. Do you know if Delaney signed one?
22
   them.                                            22
                                                             A. I don't think she did.
23
         A. That's messages from Ovi. It's          23
                                                             Q. Do you know if Katrina Brady
24
   something to make her feel better. It's a joke   24
                                                       signed one?
                                             Page 281                                                       Page 283
 1
   of some sort.                                    1
                                                            A. I don't think any of us did.
 2
         Q. Right. Who is Ovi?                      2
                                                            Q. Okay. And as you said, here he
 3
         A. A friend of mine from Australia.        3
                                                      says later, we can't really tell, there's no
 4
         Q. It says here, tell Tricia to            4
                                                      header, but at the bottom, given it says Daniel,
 5
   message me.                                      5
                                                      looks like you're sending Patricia a copy of an
 6
              Does Tricia know Ovi?                 6
                                                      e-mail that Daniel Pipes sent to you about the
 7
         A. Yeah, so Tricia and Ovi, like, had      7
                                                      NDA, correct?
 8
   talked on the phone a couple of times before,    8
                                                            A. Uh-huh.
 9
   like -- like I had said, she had just started    9
                                                            Q. Okay. And is this e-mail
10
   dating Neil at this point.                      10
                                                      capturing what you just described to me about the
11
              And before that, she was talking     11
                                                      fact that you had a prior NDA, making the second
12
   to Ovi to date him. And so he said, tell Tricia 12
                                                      NDA unnecessary, according to Daniel Pipes?
13
   to call me again. Because they had, I think,    13
                                                            A. Uh-huh.
14
   stopped talking for a little bit.               14
                                                            Q. Same exhibit, a little further
15
         Q. Okay. And he says here that he's 15 down.
16
   interested, right? She's hot, blonde, eyes,     16
                                                                 The next day, 11/5, out of the
17
   smart. That's from Ovi?                         17
                                                      blue  you  say, I'm so ducking sad.
18
         A. Yeah.                                  18
                                                                 She says, why.
19
         Q. And you said you sent this to sort     19
                                                                 You say, I'm just so sad, I don't
20
   of make her feel better, correct?               20
                                                      know.
21
         A. She thought Ovi was attractive and 21                And then she -- she sends you a
22
   clearly he thought she was attractive.          22
                                                      long  text about what you're gonna do in the
23
         Q. Okay. Is he banned from entering       23
                                                      future in working with Daniel Pipes in a
24
   the U.S.?                                       24
                                                      different light, where he can see that you do
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 1
   good work and solidify your importance to him. 1 probably Daniel Thomas.
 2
              What are you guys talking about       2
                                                            Q. Just for the record, that's
 3
   there?                                           3
                                                      McNulty 225, that page of Exhibit D.
 4
         A. Exactly what it says. I was sad,        4
                                                                Same exhibit on McNulty 241.
 5
   having a bad day. She was, like, I think all     5
                                                                On 11/20/18. Can you take a
 6
   this is draining.                                6
                                                      second and read that text from you to Patricia
 7
              She said, that's what you're left     7
                                                      McNulty?
 8
   with. But I think it's going to only be up from  8
                                                            A. I don't know
 9
   here.                                            9
                                                            Q. I'm sorry?
10
              You're gonna get a fancy title       10
                                                            A. Yeah, I don't even remember what
11
   you're proud of. You'll be immersed in content. 11
                                                      that's about.
12
   Sure, not in the way you want. But this is a    12
                                                            Q. Do you know what she was referring
13
   good stepping stone to that.                    13
                                                      to when she said you saw her rolling her eyes at
14
              Oh, we were talking about my --      14
                                                      you while you were talking that day?
15
   she was talking about me doing the web editing. 15
                                                            A. I have no idea. I don't even
16
   And apparently at this time, this is before we  16
                                                      remember this. Because I, like, never get in an
17
   discussed my title, they were talking about     17
                                                      argument with Tricia. Rare. I don't know what
18
   calling me the online editor.                   18
                                                      this is about.
19
         Q. Is that a title that you wanted?       19
                                                            Q. You say here that you know that
20
         A. No.                                    20
                                                      she's not happy with your behavior and the Danny
21
         Q. Why not?                               21
                                                      thing.
22
         A. Because I don't do online editing.     22
                                                            A. I have no idea what that means. I
23
   I don't edit websites. And I didn't even know   23
                                                      swear to God I have no idea.
24
   how to at that point.                           24
                                                            Q. Is the Danny thing the thing you
                                              Page 285                                                       Page 287
 1
         Q. All right.                                   1
                                                            just mentioned about Danny Thomas?
 2
         A. And it was sad.                               2
                                                                  A. She just didn't like Danny Thomas
 3
         Q. Why was it sad?                               3
                                                            anyway. She just always thought he wasn't good
 4
         A. Because, you know, I worked my                4
                                                            enough for me.
 5
   whole life to write legislation. I went to             5
                                                                  Q. Okay. Do you know what she talks
 6
   school and worked previously to write legislation      6
                                                            about when she references -- strike that.
 7
   and do policy.                                         7
                                                                       Do you know what you're talking
 8
             It wasn't to edit articles and               8
                                                            about when you say you know she's not happy with
 9
   take the HDML code and put it up on a website.         9
                                                            your behavior?
10
             I mean, I went to a Ivy league              10
                                                                  A. No. I'm actually curious. I'm
11
   school to do policy.                                  11
                                                            sitting here wondering what that would be about.
12
         Q. Were you doing policy in your job            12
                                                                  Q. Okay. And she says here that
13
   at the Middle East Forum?                             13
                                                            she's hurting your feelings and you don't like
14
         A. Absolutely was, yeah.                        14
                                                            it, correct?
15
         Q. So the policy part of it was what            15
                                                                  A. That's what it says, yeah.
16
   you were more interested in?                          16
                                                                  Q. All right.
17
         A. Uh-huh. Still am.                            17
                                                                  A. I have no idea what this is about,
18
         Q. Same exhibit, November 10th.                 18
                                                            so I'm gonna read what she says.
19
             I'll give you a second to read              19
                                                                  Q. Yeah, let's read what she says.
20
   those two texts.                                      20
                                                                  A. This is a very strange
21
         A. Looks like me being upset over a             21
                                                            conversation. It's not ringing -- it's honestly
22
   boy.                                                  22
                                                            not ringing a bell.
23
         Q. Do you remember what boy?                    23
                                                                       It looks like I was talking a lot
24
         A. Given the time period here, it's             24
                                                            about, like, -- like there was some time where
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 1 Daniel liked my writing and he would, like, send
                                                        remember.
                                                            1
 2 it back with no, like, red edits.                  2
                                                                   11/20, yeah, about that. It was
 3            He's a sharp -- like, he's a            3
                                                        like -- it was before I actually, like, started
 4 editor and when he writes, it's like -- you know,  4
                                                        having a real relationship with Danny. Yeah.
 5 you get nervous.                                   5
                                                              Q. Okay.
 6            And I was probably excited that I       6
                                                              A. Not a real relationship. Like an
 7 wrote something that he didn't correct. And        7
                                                        active relationship.
 8 maybe being braggy and she didn't like that        8
                                                              Q. Okay.
 9 behavior. That's what it looks like.               9
                                                                   MR. CARSON: I object to that
10       Q. Okay. And it also looks like             10
                                                              question.
11 she's mentioning that you only are ever talking   11
                                                        BY MR. CAVALIER:
12 about Tommy and Danny and Ovi and Cassandra and 12
                                                              Q. And just because I want to give
13 all these shiny people, she says.                 13
                                                        you a chance to fully explain, do you think you
14       A. That are so much more interesting.       14
                                                        were only talking about being excited about the
15            Yeah, I think for, like, a time,       15
                                                        relationship with Danny?
16 you know, like, with anything else in your life,  16
                                                                   Or were you also talking about the
17 you talk about the new things that are going on.  17
                                                        work that you were doing in London for Tommy?
18            So, I guess, that she was upset        18
                                                              A. Probably -- I mean, like -- I
19 that I was talking about that and not whatever    19
                                                        liked that work.
20 else. But like I said, when you have new things   20
                                                              Q. And you were excited about it?
21 going on, that's what you talk about.             21
                                                              A. Yeah, I was good at it.
22       Q. And she says here to you, London         22
                                                              Q. Same exhibit. And for the record
23 is better, I get it. They are better, I get it.   23
                                                        this is McNulty 276.
24       A. I never thought they were better,        24
                                                              A. That was funny.
                                                 Page 289                                                      Page 291
 1
   by the way.                                              1
                                                                     Q. Yeah, I'm assuming that was a
 2
              Tricia is like my angel. And,                  2
                                                               joke, that Danny's midnight confessions thing?
 3
   like, I think she's an admirable person that I            3
                                                                     A. Well, it was funny, because it's a
 4
   look up to. So for her to feel that way makes me          4
                                                               sex store.
 5
   feel sad.                                                 5
                                                                     Q. Right.
 6
         Q. Okay. But is it then fair to                     6
                                                                          But more relevantly 12/28/18,
 7
   assume at this point that you were talking to             7
                                                               you're sending her a screen shot. Looks like --
 8
   Patricia a lot about the things in London that            8
                                                               is that an Instagram screen shot?
 9
   you liked?                                                9
                                                                     A. No. It looks like a -- maybe it
10
         A. I mean, I did like a lot of things              10
                                                               is. I don't know. I guess maybe it is an
11
   about London.                                            11
                                                               Instagram screen shot.
12
              I'm like that, though. I just                 12
                                                                          MR. CARSON: What are we talking
13
   went to Texas and I just talked for an hour about        13
                                                                     about, this right here?
14
   what I liked. Like, I just talked for months             14
                                                                          THE DEPONENT: The screen shot.
15
   about what I liked about Texas and how much and          15
                                                                     It could be just from my phone. I don't
16
   how great it was.                                        16
                                                                     know if that is. I guess it looks like
17
              I do that no matter where I go                17
                                                                     Instagram.
18
   that's new. I'm very excitable, you know. Happy          18
                                                               BY MR. CAVALIER:
19
   person.                                                  19
                                                                     Q. Not that it matters.
20
         Q. Okay. This was during the period                20
                                                                          But in any event, this is a
21
   of time that you were traveling, at least,               21
                                                               message that you got and screen captured from
22
   somewhat frequently to London, correct?                  22
                                                               Jasmine Bishop, correct?
23
         A. I don't know the date of this                   23
                                                                     A. Yes.
24
   particular one. I know you had it, but I didn't          24
                                                                     Q. Okay. And she's asking for a
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 1
   chat?                                                 1
                                                                  Q. Okay.
 2
         A. She's always asking for a chat.               2
                                                                  A. Like actually certifiable with a
 3
         Q. Do you recall why you would have              3
                                                            diagnosis insane.
 4
   screen shotted that and sent it to Patricia?           4
                                                                  Q. So were you talking to Jasmine
 5
         A. Well, because I knew it was                   5
                                                            Bishop before you started a relationship with
 6
   Danny's -- well, at the time I knew it was             6
                                                            Danny Thomas?
 7
   Danny's ex-girlfriend, whom he has kids with, and      7
                                                                  A. Yeah, I think so.
 8
   she's reaching out to me, which was always a pain      8
                                                                  Q. Okay. And just to tie this up.
 9
   in the butt.                                           9
                                                                       You're also sending Patricia the
10
         Q. Do you know whether this was the             10
                                                            conversation you had with Danny about Jasmine
11
   first time that she ever reached out to you?          11
                                                            Bishop's message here, correct?
12
         A. I don't remember the first time              12
                                                                  A. Right.
13
   she reached out to me. Could have been before         13
                                                                  Q. And this is McNulty 277.
14
   then. Could have been after. I don't know.            14
                                                                       And you're asking Danny, do you
15
         Q. And she responds, oh, geez, did              15
                                                            want me to answer her.
16
   you talk to her, question mark.                       16
                                                                       And he responds -- I'm assuming
17
             You said, not yet, but I will.              17
                                                            that's a typo, it says, yes, talk to her --
18
             She says, I'm dying to know what            18
                                                                  A. That's how he talks. You talk to
19
   she wants to talk about.                              19
                                                            her, make her understand you're helping me with
20
             She says, so bizarre all around.            20
                                                            my development, PA to Tommy, et cetera.
21
             So is it fair to say that at this           21
                                                                  Q. And then a little sweaty guy
22
   point Patricia knew about your relationship with      22
                                                            emoji?
23
   Danny and who Jasmine Bishop was?                     23
                                                                  A. That's a crying emoji.
24
         A. Yes.                                         24
                                                                  Q. Looks like he's crying out of his
                                              Page 293                                                       Page 295
 1
         Q. Okay. Is that something you                  1
                                                            scalp to me.
 2
   discussed frequently?                                  2
                                                                      But I'll take your word for it.
 3
         A. Occasionally. I mean -- here's                3
                                                            You certainly would know better than me.
 4
   the deal. I didn't engage in -- like, the first        4
                                                                      So why -- what does that mean?
 5
   time I even ever, you know -- Danny tried to kiss      5
                                                                  A. He wanted -- like, so she's -- Jaz
 6
   me on October 23rd.                                    6
                                                            was always so crazy and jealous.
 7
              I remembered the date, because me           7
                                                                      I remember one time we were out
 8
   and my mom had left the next day for England.          8
                                                            with, like, Tommy. And this was before, again,
 9
              And then Danny was, you know,               9
                                                            anything happened.
10
   trying to court me, basically, over a certain         10
                                                                      And they weren't even together,
11
   amount of, like -- like months.                       11
                                                            because they break up and on and off again all
12
              And it was -- it was refreshing to         12
                                                            the time.
13
   hear wonderful things about yourself over and         13
                                                                      That she made Danny show her his
14
   over and over again.                                  14
                                                            location and Facetime her immediately, so she
15
              And then I visited there                   15
                                                            knew exactly where he was.
16
   afterwards. But there was no actual, like,            16
                                                                      He's like, we don't even live
17
   relationship at that point.                           17
                                                            together. Like, I'm living in London. She was
18
              But Jaz had always asked me about          18
                                                            always just like that. She would threaten her
19
   lots of things. She asked me if he was sleeping       19
                                                            own life and the kids and whatever.
20
   with other girls. She heard rumors that he was        20
                                                                      So I was like, do you want me to
21
   doing this and doing that. And, like, before she      21
                                                            talk to her, you know. And at this point,
22
   even asked him about a relationship with me, she      22
                                                            probably, I don't know what date this is, but we
23
   came to me about other chicks. So, I mean, she's      23
                                                            didn't like, you know, -- what date was this
24
   crazy.                                                24
                                                            thing? Like, yeah, this is still November. I
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 1
   don't know when I went over there.                 1
                                                        grant programs and there's this and that, like
 2
         Q. End of December.                          2
                                                        through England's social services program.
 3
         A. Beginning of December.                    3
                                                                  It can build you up and you don't
 4
             Yeah, so, like, we weren't -- we         4
                                                        need to rely on anybody. Like, I did nothing --
 5
   didn't have a physical relationship at this        5
                                                        there was times that she really infuriated me,
 6
   point. And I really was trying to help Danny       6
                                                        but I would also still try to help this girl,
 7
   grow and be better as a person and, like -- yeah,  7
                                                        because her situation was tragic. And this is
 8
   I mean, that's all -- that's all accurate.         8
                                                        when I was starting to realize how bad news Danny
 9
         Q. You didn't have a physical                9
                                                        was.
10
   relationship with Danny Thomas at the end of      10
                                                              Q. Right.
11
   December of 2018?                                 11
                                                                  And we talked about this during
12
         A. At the end of December I did,            12
                                                        your last deposition. I don't want to belabor
13
   yeah, yeah, yeah. I thought this was dated        13
                                                        the point.
14
   November.                                         14
                                                                  But you just mentioned that
15
         Q. I think it's dated 12/28.                15
                                                        sometimes she would drive you crazy. I think you
16
         A. Oh, I was looking at 11/20. Oh,          16
                                                        said sometimes she'd make you furious. I mean,
17
   yeah, so I probably did have a romantic           17
                                                        you guys got into it pretty heatedly at points,
18
   relationship with him at this point.              18
                                                        yes?
19
         Q. Okay.                                    19
                                                              A. Do you know that she was already
20
         A. Again, I definitely did if that's        20
                                                        blowing up my phone and private messages last
21
   the end of December, yeah.                        21
                                                        week? I didn't answer her. Like, that girl's
22
         Q. So he's saying, talk to Jasmine          22
                                                        crazy.
23
   and you know --                                   23
                                                              Q. She reached out to you last week?
24
         A. Which I was doing all those              24
                                                              A. Huh?
                                             Page 297                                                       Page 299
 1
   things. That's true.                                  1
                                                                 Q. She messaged you last week?
 2
         Q. Right. Right.                                2
                                                                 A. She sent me, like, a request for
 3
             But he's saying, talk to her and            3
                                                           thing. I never responded.
 4
   make her understand that nothing's going on           4
                                                                 Q. Okay. And at certain points, you
 5
   between us.                                           5
                                                           guys made threats against each other, correct?
 6
         A. Just calm her down. Because he               6
                                                                 A. No.
 7
   was saying that she was, like, she threatens          7
                                                                 Q. All right. We can talk a little
 8
   to -- and he's told me this on numerous               8
                                                           bit more about that.
 9
   occasions, that Jaz threatens to kill herself,        9
                                                                      But what I really want to know is,
10
   that she threatens to OD, that she takes it out      10
                                                           did it concern you at all that she was, as I
11
   on the kids.                                         11
                                                           think you put it, certifiably insane with a
12
             They both confirmed these things           12
                                                           diagnosis, and was involved with this person who
13
   back and forth. I mean, this was, like, a whole      13
                                                           you had a relationship with? Did that concern
14
   unfortunate saga. But, like, Jasmine sent me         14
                                                           you?
15
   pictures of her face and feet beaten to a pulp       15
                                                                 A. It's called life.
16
   accusing Danny of it.                                16
                                                                 Q. What does that mean?
17
             So, you know, she was like, I'm            17
                                                                 A. I mean, like --
18
   not staying with him. Blah, blah, blah.              18
                                                                      MR. CARSON: The question is, did
19
             Like, there were so many things            19
                                                                 it concern you? Yes or no. Did it
20
   that were involved in this crazy relationship        20
                                                                 concern you?
21
   they had that, like, you know, I just wanted her     21
                                                                      THE DEPONENT: No. He asked what
22
   to have -- and in other texts, I even tried to       22
                                                                 that means. It didn't. That did not
23
   help, say go get a job. If you reach out to          23
                                                                 concern me. That's life.
24
   these people, like, in your community, there's       24

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 1
   BY MR. CAVALIER:                                      1
                                                            BY MR. CAVALIER:
 2
        Q. Did you ever have a concern that               2
                                                                 Q. Are you gonna abide by your
 3
   she was going to hurt Danny?                           3
                                                            counsel's objection?
 4
        A. No.                                            4
                                                                 A. I don't remember the question
 5
        Q. Did you ever have a concern that               5
                                                            honestly.
 6
   she was gonna try to hurt you?                         6
                                                                 Q. The question is, do you think you
 7
        A. No.                                            7
                                                            overreacted?
 8
        Q. Did you ever have a concern that               8
                                                                      MR. CARSON: Objection. Do not
 9
   she was going to try to hurt her kids because of       9
                                                                 answer.
10
   your relationship with Danny?                         10
                                                            BY MR. CAVALIER:
11
        A. It's all a lot of drama.                      11
                                                                 Q. Since she already answered, I
12
             MR. CARSON: Yes or no.                      12
                                                            don't think we need to belabor that point.
13
             THE DEPONENT: I don't remember is           13
                                                                      Same document. This is McNulty
14
        my answer.                                       14
                                                            291.
15
             MR. CARSON: Did you ever have a             15
                                                                      She texts you here.
16
        concern that she hurt her kids,                  16
                                                                      Boo, I'm definitely going to start
17
        because --                                       17
                                                            looking, fuck this underappreciated bullshit.
18
             THE DEPONENT: I don't remember.             18
                                                                      In January 2019, do you know
19
        I just said it again. I don't remember.          19
                                                            whether Patricia McNulty was actively looking for
20
   BY MR. CAVALIER:                                      20
                                                            another job?
21
        Q. Okay. So there were times when                21
                                                                 A. I don't remember.
22
   you insulted her over messaging, correct?             22
                                                                 Q. In January of 2019, were you
23
        A. Yes.                                          23
                                                            looking for another job?
24
        Q. So if she was certifiably insane,             24
                                                                 A. I don't remember.
                                              Page 301                                                       Page 303
 1
   what was the -- what was the goal that you had in     1
                                                                  Q. A little further down you send
 2
   mind in lobbing those insults at her?                  2
                                                            the -- I don't know what you want to call that,
 3
              MR. CARSON: Objection. Are you              3
                                                            the --
 4
        representing Jasmine Bishop now?                  4
                                                                  A. Shocked face.
 5
              THE DEPONENT: I have sometimes an           5
                                                                  Q. The what face?
 6
        extraordinarily -- extraordinary drive to         6
                                                                  A. Shocked.
 7
        defend myself.                                    7
                                                                  Q. Shocked face. Okay.
 8
   BY MR. CAVALIER:                                       8
                                                                  A. That's a surprise face.
 9
        Q. Okay. Sitting here today, do you               9
                                                                  Q. Surprise face, that works.
10
   think maybe you overreacted?                          10
                                                                       And then you send her, looks like
11
              MR. CARSON: Objection,                     11
                                                            a photograph of a computer screen from someone
12
        argumentative. You don't have to answer          12
                                                            named Will Chamberlain, sending you a friend
13
        that.                                            13
                                                            request on Facebook.
14
   BY MR. CAVALIER:                                      14
                                                                  A. Uh-huh.
15
        Q. What was the answer?                          15
                                                                  Q. So -- and then a laugh -- cry,
16
              MR. CARSON: I'm instructing her            16
                                                            laughing emoji.
17
        not to answer.                                   17
                                                                       Can you explain to me what you
18
              MR. CAVALIER: She already                  18
                                                            guys were talking about there?
19
        answered. I just --                              19
                                                                  A. I have no idea.
20
              MR. CARSON: I didn't hear her,             20
                                                                  Q. Who's Will Chamberlain?
21
        but I'm objecting based on -- the                21
                                                                  A. He's a reporter -- not a reporter.
22
        question is argumentive only, designed to        22
                                                            He's like a lawyer and he owns a publication.
23
        embarrass, ridicule and harass.                  23
                                                                  Q. Okay. And here she says, a very
24                                                       24
                                                            long, loud laugh, I guess you could call that.
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 1
   Says, guess you couldn't have been that bad. And 1 cleared.
 2
   you say, it was bad in the morning.               2
                                                                 Then that Thursday came and then
 3
             What are you referring to?              3
                                                       he didn't. And then the next day came and he
 4
        A. Maybe the night that we hung out          4
                                                       didn't pay me back.
 5
   on New Year's Eve and I got drunk and probably    5
                                                                 So at this point I was thinking,
 6
   didn't like what I said or something. I don't     6
                                                       I'm never gonna freakin see the money I lent him
 7
   know.                                             7
                                                       anyway, so just screw it.
 8
        Q. Did you have a sexual relationship        8
                                                             Q. After that you say to Patricia,
 9
   with Will Chamberlain?                            9
                                                       I'm so hot right now, I'm about to say, expect
10
             MR. CARSON: I'm instructing her        10
                                                       those dick pics any day.
11
        not to answer that question, designed to    11
                                                                 What does that mean?
12
        embarrass and harass. No relevance.         12
                                                             A. I don't know what it really means.
13
             MR. CAVALIER: We disagree on           13
                                                       Hot means angry.
14
        relevance. I think it's an improper         14
                                                             Q. Right.
15
        instruction. But we'll decide if we need    15
                                                             A. I don't know what I meant by
16
        to do anything about that later.            16
                                                       expect those dick pics any day.
17
             THE DEPONENT: Okay.                    17
                                                                 Oh, because he -- because that's
18
             MR. CARSON: There's only one           18
                                                       how Danny would try to make up with things. He
19
        reason to delve into her sex life.          19
                                                       would try to send pictures of his thing, like,
20
   BY MR. CAVALIER:                                 20
                                                       hey, baby, I want you, so...
21
        Q. Same document. McNulty 292.              21
                                                             Q. Okay. So explain then your text
22
             This is a screen shot of a             22
                                                       to Tricia. I'm not sure I follow how that
23
   conversation with Danny Thomas, correct?         23
                                                       relates.
24
        A. Yeah.                                    24
                                                             A. Because that's what he does. It's
                                              Page 305                                                       Page 307
 1
         Q. You say to him, I'm telling you              1
                                                            like a routine. It's kind of, like, you know how
 2
   right now, don't ever call me again and don't let      2
                                                            like if you were to fight with somebody and they
 3
   me see you in Brussels.                                3
                                                            have like a thing that they always do. Like
 4
             He responds, I LOL.                          4
                                                            Vasille will be like, you know, if I got in an
 5
             You say, I mean it. You can keep             5
                                                            argument with him in two days, he would get me,
 6
   the money.                                             6
                                                            like, flowers from -- where would he get my
 7
         A. Right.                                        7
                                                            flowers from? What do call it?
 8
         Q. What are you talking about there?             8
                                                                       MR. CARSON: I would go with the
 9
         A. So right before Christmas, Danny              9
                                                                  guys gets you flowers versus sending you
10
   Thomas sent me a text message and it is said,         10
                                                                  dick pics.
11
   hey, and he showed me a screen shot of flights.       11
                                                                       THE DEPONENT: Stop. You know
12
   And he's like, I need to ask a big favor. He          12
                                                                  what I am saying. But Vasille would get
13
   said I need to ask a little favor. I said, it         13
                                                                  mad and he'd get me flowers from Whole
14
   looks like a big one to me.                           14
                                                                  Foods. And if we're fighting, I'd be
15
             I said, what is it?                         15
                                                                  like, I'd better expect those flowers,
16
             He said, I need to go to Germany            16
                                                                  like.
17
   with Tommy. And my Monday is coming in from           17
                                                                       That's just what that is. It's
18
   Paypal and -- my money is coming in from Paypal,      18
                                                                  like a joke.
19
   like from donations that he was getting from          19
                                                            BY MR. CAVALIER:
20
   whatever he was doing. But he sent me a screen        20
                                                                  Q. I see. I see what you're saying.
21
   shot and said, see, it doesn't clear til here.        21
                                                                       So you're not -- you're not --
22
             And I said, fine. I'll send it to           22
                                                            you're not saying here, like, hey, Danny, expect
23
   you, but make sure you pay me back on Thursday        23
                                                            dick pics any day.
24
   when it clears. Because the thing said it             24
                                                                       What you're really saying is,
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                                              Page 308                                                       Page 310
 1
   like, you're being and asshole and I expect you       1
                                                            know, hey, Lis, what do you think about this
 2
   to apologize?                                          2
                                                            idea, what do you think about that? What do you
 3
         A. Yeah. But I didn't even send it               3
                                                            think about -- how was that video? Can you help
 4
   to him. I sent it to her. But like that's the          4
                                                            me edit this video?
 5
   joke, yeah.                                            5
                                                                       Then, like, he wanted to interview
 6
         Q. Right. I got it.                              6
                                                            these people in Paris and he started interviewing
 7
         A. Oh, and then she says, you can't              7
                                                            the people in Paris.
 8
   do that, he's got hot pictures of you, too. But,       8
                                                                       So then he gave me the footage to,
 9
   like, I wasn't threatening that.                       9
                                                            like, help edit. So I edited the footage for
10
         Q. Okay. I mean, in fairness,                   10
                                                            him, like, as a favor, and he wound up never even
11
   though, if you continue to read down here, it         11
                                                            putting it on YouTube.
12
   seems like you're pretty angry, though, right?        12
                                                                       Like so I did work for nothing.
13
         A. Oh, definitely angry. I forget               13
                                                                  Q. Okay.
14
   what I was angry about. But I was angry at Danny      14
                                                                  A. I helped him all the time. And I
15
   a lot, so yeah.                                       15
                                                            counseled him and I would tell him, hey, you
16
              This is a continuation of that             16
                                                            spelled that wrong, delete that. Or I would fix
17
   conversation with him. The deal is like, thanks,      17
                                                            his tweets or whatever he needed.
18
   Babe. Sorry. Stop.                                    18
                                                                       I mean, over and over again I
19
         Q. Right.                                       19
                                                            helped that kid.
20
              So you're saying -- you're making          20
                                                                  Q. Okay. And that that included
21
   a threat to him here where you say, if you -- if      21
                                                            helping him with money, yes?
22
   you make me angrier --                                22
                                                                  A. Only that one time. That was the
23
         A. Oh, I'm gonna tell Jaz. Yeah.                23
                                                            only time I ever helped him with money was --
24
         Q. Right.                                       24
                                                            well, I also in Brussels, one time, because he
                                              Page 309                                                       Page 311
 1
              And then you say to him, you have          1
                                                            was embarrassing me, I helped him with money.
 2
   no right to treat me with disrespect like that         2
                                                                      But I lent him money there. And
 3
   after I've done fucking everything for you.            3
                                                            the only time I ever gave money -- or anything to
 4
              To your point he says, well,                4
                                                            Danny without expectation of return is when he
 5
   thanks, babe. And you say, don't fucking babe          5
                                                            had clothes and we were going out to dinner and
 6
   me.                                                    6
                                                            he looked like crap. And I said, go get a
 7
              You're having a go at me for                7
                                                            blazer. I don't have time for this. I've got to
 8
   someone talking shit.                                  8
                                                            get ready.
 9
              Do you have anything -- does this           9
                                                                      So that is the only time that
10
   help you remember what this dispute was about?        10
                                                            there's ever been money between Danny and I.
11
         A. I don't remember what that dispute           11
                                                                  Q. Okay.
12
   was about. Probably like him being on Snapchat        12
                                                                  A. And there is, you know, like --
13
   and sending D pics to girls.                          13
                                                            well, whatever.
14
         Q. Do you know what you mean here               14
                                                                    (Deposition Exhibit E marked.)
15
   when you say, I've done fucking everything for        15
                                                            BY MR. CAVALIER:
16
   you?                                                  16
                                                                  Q. This is a new exhibit. I think
17
         A. Yeah, I'll tell you what I did for           17
                                                            it's Exhibit E.
18
   that kid.                                             18
                                                                      Can you read that or is that too
19
              Every time he needed help on               19
                                                            small?
20
   anything, Lisa, how does this video sound. He         20
                                                                  A. It's small, but if I get close
21
   would ask me to, like, review his YouTube videos.     21
                                                            enough, I'm getting it. If you want to enlarge
22
   He would ask me for advice on everything.             22
                                                            it, though, that would be helpful.
23
              He would, you know, like, ask me           23
                                                                  Q. We'll blow it up and take it in
24
   to help him with all kinds of things. Like, you       24
                                                            pieces.
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                                              Page 312                                                       Page 314
 1       A. Okay.                                        1
                                                                       MR. CARSON: Still can't see all
 2       Q. As you can see here, based on what            2
                                                                 the words.
 3 I'm highlighting, this is a production from your       3
                                                                       THE DEPONENT: Yeah.
 4 phone.                                                 4
                                                                       MR. CARSON: You got to move it
 5       A. Right. On What's App to somebody              5
                                                                 over more.
 6 in England.                                            6
                                                                       MR. CAVALIER: That's weird. You
 7       Q. Whose number is this?                         7
                                                                 can see it on my screen.
 8       A. I don't know. I don't remember.               8
                                                                       THE DEPONENT: There you go. Now
 9 I don't know numbers off the top of my head. I'm       9
                                                                 you're good.
10 sure you'll tell me.                                  10
                                                            BY MR. CAVALIER:
11       Q. If I represent to you that that's            11
                                                                 Q. Can you read the first three
12 Tommy Robinson's number, do you have any reason       12
                                                            messages for me?
13 to doubt that?                                        13
                                                                 A. Yes. But just so I want to be
14       A. Probably not.                                14
                                                            clear here, because I just read them while we
15       Q. Okay. You see here that these                15
                                                            here -- like I said, I read fast -- those
16 conversations took place, with the exception of       16
                                                            messages, there are messages -- lots of messages
17 the last one, on March 7, 2019?                       17
                                                            missing in between and after them.
18       A. Okay. I'm, like, getting down                18
                                                                 Q. Okay.
19 here so I can read it. Can you move over though,      19
                                                                 A. Because I remember this
20 so I can read what the actual messages are?           20
                                                            conversation. Lots of messages missing in
21       Q. Yeah, actually I'm looking at                21
                                                            between them.
22 these now. They're from two different people. I       22
                                                                 Q. Right.
23 don't want to mislead you. So I want to be clear      23
                                                                       And by the way, I'm not -- I'm
24 here.                                                 24
                                                            not -- I'm not trying to represent to you that
                                              Page 313                                                       Page 315
 1
              This number here, I'm gonna                1
                                                            these are a continuous stream of messages in any
 2
   represent to you that's Jasmine Bishop's number.       2
                                                            way.
 3
              Does that ring a bell?                      3
                                                                      Okay?
 4
          A. Yeah.                                        4
                                                                  A. Well, but to understand these
 5
          Q. Okay. And I want to represent to             5
                                                            messages, you need the messages that correspond
 6
   you that these numbers here are from Tommy             6
                                                            with them.
 7
   Robinson.                                              7
                                                                  Q. That's fine. And we can talk
 8
              Do you see that?                            8
                                                            about that later if we need to.
 9
          A. Okay.                                        9
                                                                      But I don't think I need to do
10
          Q. Do you see that distinction                 10
                                                            that to ask these simple specific questions.
11
   between the two numbers?                              11
                                                                  A. Okay.
12
          A. Yeah, I do.                                 12
                                                                  Q. I note for the record, too, that
13
          Q. So what I want to talk about are            13
                                                            again, these messages were produced to us in this
14
   these messages at --                                  14
                                                            way, so it's not that we are -- we didn't
15
          A. Uh-huh.                                     15
                                                            manufacture this document.
16
          Q. -- over here. So, again, you can            16
                                                                      We didn't set it up or create it
17
   still see the numbers here, so we can reference       17
                                                            this way. It's the way --
18
   these first three as being from --                    18
                                                                  A. They -- but you have the entire
19
          A. I get it. Can you move over so I            19
                                                            text string from these. Like Kep Secum does or
20
   can read all the words?                               20
                                                            whatever. And you have the ability to put these
21
          Q. Sure. I just wanted to make                 21
                                                            in correct context.
22
   sure you saw which numbers are which.                 22
                                                                  Q. Maybe. I don't know that I would
23
          A. I get it. The first three are               23
                                                            agree with you there.
24
   hers.                                                 24
                                                                      But for the sake of this
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 1
   deposition, this is the way we're gonna try to        1
                                                            the one here says, but not that he got it from
 2
   walk through it.                                       2
                                                            MEF money.
 3
              I'm just curious as to whether you          3
                                                                      And so what you're saying -- what
 4
   know, looking at this, what these text messages        4
                                                            you're missing in between those two, not that he
 5
   refer to.                                              5
                                                            got it from MEF money, she was telling me about
 6
              And specifically I'm talking about          6
                                                            the apartment that they moved in -- like the new
 7
   the first three -- again, not a continuous             7
                                                            house that they moved into and that he got a car.
 8
   string. Three separate messages.                       8
                                                                      And then she walked back her
 9
              Do you know what they're referring          9
                                                            claims. And she said, well, I just got off the
10
   to?                                                   10
                                                            phone with his mother. And apparently they gave
11
         A. Yes.                                         11
                                                            him the money for the car. And I didn't know
12
         Q. What are they referring to?                  12
                                                            about that. I guess they didn't want me to know.
13
         A. Jasmine was mad at Danny for                 13
                                                                      So this is me trying to get her to
14
   something, either it was me or a new girl or          14
                                                            give me evidence, because it is, it's me trying
15
   something. I don't remember the exact thing.          15
                                                            to show her, like, yo, this is a substantial
16
              But she started to say that Danny          16
                                                            claim that you're making. And I -- and I would
17
   stole money from MEF. This is a claim that, you       17
                                                            want, as a moral responsibility, to tell my
18
   know, she throws out there.                           18
                                                            employer about this.
19
              However, she throws lots of claims         19
                                                                      But I need the evidence. And
20
   out there.                                            20
                                                            you're missing the part where I ask her for
21
              And so she was trying to say --            21
                                                            evidence and she walks back her claim.
22
   and I said, be careful -- what I was trying to        22
                                                                  Q. What did you mean here when you
23
   tell her was, like, be careful, because these are     23
                                                            said to her, it was always in the back of my
24
   serious allegations. This is what you would hear      24
                                                            mind, because it didn't add up?
                                              Page 317                                                       Page 319
 1
   from the beginning of this conversations.          1
                                                              A. Because when the Vinny thing
 2
             Be careful because they are              2
                                                        happened, remember? And we talked about this
 3
   serious allegations. She said something else. I    3
                                                        earlier. Vinny and this guy Jan, in the
 4
   don't remember what it was.                        4
                                                        beginning, in June, had asked for payment for
 5
             And here it says, and I didn't           5
                                                        work that they did or didn't do and that was
 6
   know about the money that he took from MEF until   6
                                                        nevertheless.
 7
   you told me.                                       7
                                                                  And there were e-mails back and
 8
             It was always in the back of my          8
                                                        forth from -- or maybe it was e-mails or -- I
 9
   mind, because it didn't add up, the whole Vinny    9
                                                        don't know where -- where the messages were from.
10
   and you thing.                                    10
                                                        But they were in writing somewhere. Between me
11
             But he said you were crazy and          11
                                                        and Danny about, you know, just pay these guys.
12
   would do anything to destroy him. And I wanted    12
                                                                  And I had talked to Greg about it.
13
   to believe him.                                   13
                                                        And then -- and I said, Danny said, I spent --
14
             Now that I'm obligated to tell my       14
                                                        what he said to me at the point was, he was,
15
   work, what do I do? That's theft.                 15
                                                        like, you know, I put all the -- we were asking
16
             And so I asked her, which you           16
                                                        him to give, I think, 900 pounds to Jan -- I
17
   don't see in here, for proof.                     17
                                                        think those numbers are right -- to Jan and Vinny
18
             Give me something that I can go to      18
                                                        for whatever work or whatever.
19
   my people about.                                  19
                                                                  I said, it's just worth it to make
20
             And then she said something -- to       20
                                                        it go away. Whatever is left over, pay them.
21
   the fact about, like, the house or some money she 21
                                                                  And he goes, I already spent
22
   referenced.                                       22
                                                        what's left over. So I told Greg he already
23
             I said, that's $7 he stole from         23
                                                        spent what's left over. He doesn't have it left
24
   MEF then and Tommy. And I said, but -- I said,    24
                                                        over. So you pay Jan and Vinny. And he did.
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 1
             But I didn't understand why he             1
                                                           it's not in Jasmine's best interests to tell you
 2
   didn't have 9,000 -- 900 pounds left over.            2
                                                           that the father of their mutual children may have
 3
             So -- but that's not 7,000.                 3
                                                           stolen $7,000 from your employer, correct?
 4
   That's 900.                                           4
                                                                 A. Did you ever hear --
 5
             And Greg knew that. He took that            5
                                                                      MR. CARSON: Object to the form of
 6
   extra money and that's why Greg and Marnie paid       6
                                                                 the question.
 7
   him -- paid Jan directly.                             7
                                                                      You want her to speculate again
 8
        Q. At the point in time here where               8
                                                                 here? You can --
 9
   you were conversing with Jasmine Bishop, was she      9
                                                                      THE DEPONENT: Did you ever hear
10
   living with Danny Thomas?                            10
                                                                 the saying there is no wrath as strong as
11
        A. He's in and out of there so much,            11
                                                                 a woman scorned?
12
   I don't know.                                        12
                                                           BY MR. CAVALIER:
13
        Q. Okay. They have kids together?               13
                                                                 Q. I have, indeed, heard that saying.
14
        A. He was not living there when I met           14
                                                           Many times as it relates to this case.
15
   him.                                                 15
                                                                 A. So, you know, Jasmine was saying
16
        Q. Right. No, I know.                           16
                                                           crazy things about lots of people.
17
             But do you know if they were               17
                                                                      Jasmine, at one point, told me
18
   living together in March?                            18
                                                           that she was going to make up lies about Tommy
19
        A. I don't.                                     19
                                                           Robinson and go to the papers about them to get
20
        Q. So I ask because it talks about --           20
                                                           back at Danny.
21
   you just talked about the fact that they moved       21
                                                                      Well, that would cut off his
22
   into a new house.                                    22
                                                           income. But she didn't care about his income.
23
        A. No. They moved into that house               23
                                                           She cared about him cheating on her. And if he
24
   apparently in June.                                  24
                                                           was still out working for Danny Thomas -- or
                                             Page 321                                                       Page 323
                                                    1 working with Tommy Robinson, then he wouldn't be
 1
         Q. June of what?
                                                    2 home.
 2
         A. June of 2018.
 3
         Q. You said 2018?                          3       Q. So at this point in time -- and by
                                                    4 this point in time, I mean March 7, 2019, you
 4
         A. Yes.
                                                    5 hear this from Jasmine and you then message Tommy
 5
         Q. Okay.
 6
         A. And then -- whatever. And then he 6 Robinson, correct?
 7
   told me later that they moved into that house. 7         A. Uh-huh.
 8
             But then he kicked her -- she          8       Q. Okay. And after saying a couple
                                                    9 things, you say, I'm going to walk away from all
 9
   kicked him out a bunch of times or he left a
                                                   10 of this.
10
   bunch of times.
11
             I mean, they were in and out all      11            I recently found out some
                                                   12 potentially messy things. And I have to deal
12
   the time. I think they get their furniture from
                                                   13 with demos MEF and I have to back away until I
13
   a charity shop and they live hard.
                                                   14 figure it all out.
14
         Q. And as a matter of fact, that was
15
   one of the insults that you threw at Jasmine    15       A. Right.
16
   Bishop at one point?                            16       Q. And I tell MEF, which I think I'm
                                                   17 obligated to, it's not good. Plus I have Jaz
17
         A. Probably.
                                                   18 harassing me. I'm out.
18
         Q. Jasmine and Danny have kids
19
   together, right?                                19       A. Okay.
20
         A. Yeah. Three.                           20       Q. So at this point you brought up
                                                   21 the potentially stolen money to Tommy Robinson,
21
         Q. And like you just said, they live
                                                   22 correct?
22
   hard, right?
23
         A. Yeah.                                  23       A. Correct.
24
         Q. So is it fair then to say that         24       Q. Okay. So you thought -- you, at
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 1
   least, thought enough of the allegation to raise   1
                                                                   So we're aware of that.
 2
   it with him?                                       2
                                                                   Is that what you're talking about?
 3
         A. At the time.                              3
                                                                   MR. CAVALIER: Are you also aware
 4
              If you look at the date stamps, I       4
                                                              that Danny Thomas has stated clearly and
 5
   mean, it's the same day.                           5
                                                              unequivocally that no bribe or other
 6
         Q. Right.                                    6
                                                              compensation was offered for any
 7
         A. I said, I don't know until I              7
                                                              testimony in this case?
 8
   figure it all out, because she walked back her     8
                                                                   MR. CARSON: Yeah, no, that didn't
 9
   comments and I have to look into it.               9
                                                              happen.
10
         Q. Right.                                   10
                                                                   MR. CAVALIER: Okay.
11
              So how did you look into it?           11
                                                                   MR. CARSON: Yeah. And you show
12
         A. She told me that she would send me       12
                                                              me -- you show me a statement in this
13
   bank documents and statements and she never did. 13        case where Danny Thomas admitted to it.
14
         Q. Did you -- so she didn't send you        14
                                                              That's not part of this case.
15
   this stuff.                                       15
                                                                   THE DEPONENT: Anyway, to your
16
              But did you look into it in any        16
                                                              question, I still do not know if that
17
   other way?                                        17
                                                              money was taken.
18
         A. Well, I questioned Danny. And            18
                                                                   I have no evidence that it was
19
   this was part of the reason that I was            19
                                                              takenI have no proof. And I would love
20
   questioning Tommy, did he know anything about it. 20       to see evidence if that was the case.
21
   I asked Danny himself. I asked Jaz again.         21
                                                                   MR. CARSON: Did Danny Thomas
22
              I mean, they're the only recourses     22
                                                              return the money? Has the Forum asked
23
   I have to figure it out at that point.            23
                                                              for it to be returned?
24
         Q. Didn't you think that the Forum          24
                                                                   MR. CAVALIER: I'll ask questions.
                                             Page 325                                                       Page 327
 1
   might have resources that could help you figure 1             MR. CARSON: Yeah.
 2
   it out?                                          2
                                                      BY MR. CAVALIER:
 3
         A. I didn't want to involve the Forum      3
                                                           Q. Does the fact that the Forum is
 4
   in a baseless rumor if that was the case.        4
                                                      pursuing   avenues of legal relief against Danny
 5
              You don't just go spreading rumors    5
                                                      Thomas change your answer to my last question?
 6
   and making trouble that are unnecessary.         6
                                                                 MR. CARSON: Objection. Assuming
 7
              Trust me, Greg wouldn't have loved    7
                                                           facts not in evidence.
 8
   that.                                            8
                                                                 Show me that, too.
 9
         Q. Just to be clear, it's a rumor          9
                                                                 THE DEPONENT: Doesn't matter what
10
   that turned out to be true, right?              10
                                                           it is. I still to this day, and at the
11
              MR. CARSON: Whoa, whoa, whoa. 11             time of this text messages, and at the
12
         Objection.                                12
                                                           time that I worked at MEF, I didn't know
13
              What do you mean it turned out to    13
                                                           if he took the money or not.
14
         be true? What are you talking about?      14
                                                                 And it turned out to be true, it
15
   BY MR. CAVALIER:                                15
                                                           turned out to be true. But I'm not going
16
         Q. You're aware that Danny Thomas has 16          around making claims without evidence.
17
   admitted to taking that money, right?           17
                                                      BY MR. CAVALIER:
18
              MR. CARSON: No. I'm not aware        18
                                                           Q. Because it's important to have
19
         of.                                       19
                                                      really solid evidence before you accuse someone
20
              What we are aware of is that Danny   20
                                                      of wrongdoing, correct?
21
         Thomas saying that Greg called him on the 21
                                                                 MR. CARSON: There's been
22
         phone and said that if you admit to it,   22
                                                           extensive discovery done. I haven't
23
         we'll sort you out afterwards with a wink 23      received any documents from anybody
24
         and a nod.                                24
                                                           showing that there's been an admission
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 1
       made or that there's been unequivocal --        1      Q.      I'll ask you first.
 2
       we have a recording from Danny Thomas of         2            Do you stand by all three of those
                                                        3 statements?
 3
       an amount that we produced to you.
 4
            If you have more stuff to produce           4       A. Yes.
 5
       in discovery, I don't know that -- I             5       Q. And is the entire basis that you
                                                        6 have for making those statements the recording of
 6
       don't know that you can produce it at
                                                        7 Danny Thomas speaking to Tommy Robinson that your
 7
       this point.
                                                        8 attorney just referenced?
 8
            But we will certainly look at it
 9
       and then make a decision how to handle           9       A. There's more.
10
       it.                                             10       Q. What's the more?
11
   BY MR. CAVALIER:                                    11       A. Manufactured evidence.
12
       Q. The question is, it's important to           12            We were in a deposition and Greg,
                                                       13 in our own deposition, compiled and manufactured
13
   have really solid evidence before accusing
                                                       14 evidence and Mr. Gold admitted at the end of the
14
   someone of wrongdoing, correct?
                                                       15 thing that we were right.
15
       A. Agree.
16
       Q. Especially criminal wrongdoing?              16            And that was the direct -- that is
                                                       17 the direct definition of manufacturing evidence.
17
       A. Yeah.
18
       Q. Correct?                                     18       Q. So your testimony -- your
                                                       19 testimony here today is that part of your -- the
19
       A. Yes.
                                                       20 basis for your allegation in paragraph 46 is the
20
            MR. CARSON: We're in the MEF
                                                       21 fact that recordings between you and Jasmine
21
       cinematic again with those questions?
                                                       22 Bishop were compiled together into a single
22
            Object to form. Hypothetical.
                                                       23 recording?
23
            Those questions are based on
24
       something that never happened.                  24       A. No.
                                            Page 329                                                       Page 331
 1
              MR. CAVALIER: Oh.                       1
                                                                   MR. CARSON: Objection. That's
 2
   BY MR. CAVALIER:                                   2
                                                              not what she just said.
 3
        Q. As your attorney put it, as part           3
                                                                   Go ahead. You can answer.
 4
   of the Middle East Forum cinematic universe, this 4             THE DEPONENT: No. That's what I
 5
   is your complaint in this case. Your amended       5
                                                              was trying to say. No. That is not what
 6
   complaint.                                         6
                                                              I said.
 7
              And looking at page 486, you            7
                                                                   I said that Greg took bits and
 8
   allege that defendants have manufactured false     8
                                                              pieces of multiple different
 9
   evidence in their coordinated retaliatory attack   9
                                                              conversations, mended them together in
10
   on plaintiff Lisa Barbounis.                      10
                                                              the worst possible light and used it as
11
              Did I read that correctly?             11
                                                              evidence.
12
        A. Correct.                                  12
                                                                   And then even Sidney Gold -- and
13
        Q. And in paragraph 47, you allege           13
                                                              we said, hey, this a compilation. You
14
   the defendants have engaged in criminal conduct   14
                                                              can't do that.
15
   by promising to pay for testimony in their        15
                                                                   And Sidney Gold even said at the
16
   coordinated retaliatory attack on Lisa Barbounis. 16
                                                              end, you were right and I am sorry.
17
              Did I read that correct?               17
                                                        BY MR. CAVALIER:
18
        A. Yep.                                      18
                                                              Q. You said use that as evidence, all
19
        Q. And in paragraph 48, you say,             19
                                                        that was done with that document was you were
20
   defendants have provided false and misleading     20
                                                        just asked questions about it, correct?
21
   information to potential witnesses in order to    21
                                                              A. No.
22
   incite retaliatory behavior.                      22
                                                                   MR. CARSON: The record speaks for
23
              Did I read that correct?               23
                                                              itself.
24
        A. Correct.                                  24
                                                                   THE DEPONENT: I suggest you look
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 1
         it up, sir, because you can ask your --         1
                                                            BY MR. CAVALIER:
 2
   BY MR. CAVALIER:                                       2
                                                                  Q. Did they record it on an audiotape
 3
         Q. Well, you're calling -- you're                3
                                                            and mail it to you? Did they text it to you?
 4
   saying manufactured false evidence in a                4
                                                            Did they e-mail it to you?
 5
   coordinated retaliatory attack.                        5
                                                                  A. They texted it to me.
 6
              How is that evidence --                     6
                                                                  Q. Texted it to you.
 7
         A. One of the ways that they did                 7
                                                                      Who texted it to you?
 8
   that --                                                8
                                                                  A. Tommy Robinson or Danny Barker. I
 9
              MR. CARSON: It's also not an                9
                                                            forget which one it was.
10
         exclusive list. And she has an attorney         10
                                                                  Q. Did they say anything about it?
11
         who helps her draft these things. And           11
                                                                  A. No, not that I recall. I don't
12
         she already told you she stands by              12
                                                            remember.
13
         everything.                                     13
                                                                  Q. Out of the blue, through an audio
14
   BY MR. CAVALIER:                                      14
                                                            recording, via text and left it at that?
15
         Q. So you agree with me, though, that           15
                                                                  A. They know that I'm a good person.
16
   you have alleged that the Middle East Forum has       16
                                                            And that Danny Thomas is a freakin liar. And
17
   engaged in criminal conduct by promising to pay       17
                                                            they think what is being done to me is horrific.
18
   for testimony in a coordinated retaliatory attack     18
                                                                  Q. Did he say that to you?
19
   against you, correct?                                 19
                                                                  A. People say that all the time. I
20
         A. First of all, apparently Danny was           20
                                                            get tons of messages all the time. And I'm sure
21
   bragging all over England that Greg was going to      21
                                                            that that person said that.
22
   pay him. So I don't know if he retracted his          22
                                                                  Q. When you say that person, are we
23
   statement or didn't.                                  23
                                                            talking about Tommy Robinson?
24
              But, you know, multiple accounts           24
                                                                  A. I don't remember. It was Tommy or
                                              Page 333                                                       Page 335
 1
   from multiple people say Danny was bragging all   1
                                                       Danny Barker.
 2
   over that he was gonna get paid to testify        2
                                                             Q. You don't remember who sent you
 3
   against me.                                       3
                                                       the audio recording --
 4
        Q. Isn't it true that you had more           4
                                                             A. There were two people -- excuse
 5
   information and evidence that Danny Thomas had    5
                                                       me. There were two people that I was talking to
 6
   stolen money from the Middle East Forum in March  6
                                                       about it. And I don't remember exactly which one
 7
   of 2019 than you do to support your claim that    7
                                                       it was. I'm thinking it was Tommy, but I'm not a
 8
   MEF has engaged in criminal conduct against you?  8
                                                       hundred percent sure.
 9
             MR. CARSON: Objection.                  9
                                                             Q. Okay. So regardless of who sent
10
        Argumentative. Assuming facts not in        10
                                                       it to you, you've talked about the audio
11
        evidence. Object to the form.               11
                                                       recording with Tommy, correct?
12
             THE DEPONENT: No.                      12
                                                             A. Yeah.
13
   BY MR. CAVALIER:                                 13
                                                             Q. And you said you also talked about
14
        Q. How did you get the recording            14
                                                       the audio recording with Barker, correct?
15
   between Danny Thomas and Tommy Robinson?         15
                                                             A. Correct.
16
        A. It was a friend in England gave it       16
                                                             Q. Is there any reason why you
17
   to me.                                           17
                                                       haven't turned over those communications?
18
        Q. How?                                     18
                                                                  MR. CARSON: Objection. She said
19
        A. They sent it.                            19
                                                             she talked to them. What communications?
20
             MR. CARSON: What do you mean how? 20            She didn't record the conversations.
21
   BY MR. CAVALIER:                                 21
                                                       BY MR. CAVALIER:
22
        Q. Sent it to you how?                      22
                                                             Q. Did you talk to them by text?
23
             MR. CARSON: Wait a minute. What        23
                                                             A. No. I talked to them on the
24
        do you mean how?                            24
                                                       phone.
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 1
         Q.     But who sent you the recording by        1
                                                                 The time is 4:49 p.m.
 2
   text?                                             2
                                                                 We are back on the record.
 3
         A. Probably Tommy.                          3
                                                       BY MR. CAVALIER:
 4
         Q. Right.                                   4
                                                            Q. So earlier you testified that you
 5
         A. That doesn't mean he texted me           5
                                                       did not -- you do not believe that you ever had a
 6
   about it. We called and he goes, I'll send it to  6
                                                       fiduciary duty to the Middle East Forum, is that
 7
   you.                                              7
                                                       correct?
 8
         Q. Okay. Is there a reason you              8
                                                            A. Correct.
 9
   haven't produced the text messages --             9
                                                            Q. Do you think you had a duty to
10
              MR. CARSON: I did. We sent you        10
                                                       report your suspicions that Danny Thomas stole
11
         the recordings.                            11
                                                       money from the Forum, even if those suspicions
12
              THE DEPONENT: We sent you the         12
                                                       ultimately turned out to be incorrect?
13
         recordings. That's it.                     13
                                                                 MR. CARSON: Objection. She never
14
   BY MR. CAVALIER:                                 14
                                                            testified that she had suspicions.
15
         Q. You didn't produce any text             15
                                                                 You can answer.
16
   message that shows him sending it to you.        16
                                                       BY  MR.   CAVALIER:
17
              MR. CARSON: Objection.                17
                                                            Q. Well, let me strike that question.
18
         Argumentative.                             18
                                                       Back up a little bit.
19
              THE DEPONENT: We produced the 19                   You had suspicions that Danny
20
         evidence.                                  20
                                                       Thomas stole money from the Middle East Forum,
21
   BY MR. CAVALIER:                                 21
                                                       correct?
22
         Q. You produced the recording.             22
                                                            A. I wouldn't classify them as
23
              MR. CARSON: Correct.                  23
                                                       suspicions. I had this crazy girl. I didn't
24
              Where are we going right now?         24
                                                       know what was true or not. And I wanted to get
                                              Page 337                                                       Page 339
 1
               MR. CAVALIER: I want the text        1 to the bottom of it.
 2
         message that transmitted the recording.    2      Q. All right. But even before she
 3
               MR. CARSON: We'll look at it and     3 messaged you claiming that Danny Thomas stole
 4
         we'll get back to you.                     4 money from the Forum, you had some suspicion that
 5
               I mean, it is the end of discovery   5 something wasn't right, correct?
 6
         though.                                    6           MR. CARSON: Objection.
 7
               THE DEPONENT: You have the           7           THE DEPONENT: Well, I did. And I
 8
         recording.                                 8      brought that to Greg's attention back in
 9
               MR. CARSON: We'll look and we'll     9      June when we were talking about paying
10
         produce -- we can -- I'll represent to    10      Jan and -- when we were paying Jan and
11
         you that we'll take a look and we'll      11      Vinny or whatever. And Greg's like,
12
         produce any communications with Jan Tommy 12      don't worry about it, just pay them.
13
         Robinson.                                 13 BY MR. CAVALIER:
14
               MR. CAVALIER: That's fair enough.   14      Q. And the Vinny thing that you
15
         As long as I have your representation on  15 referred to, he warned you that Danny Thomas
16
         that.                                     16 might have stolen money back in 2018, correct?
17
               MR. CARSON: I can look.             17           MR. CARSON: Objection.
18
               MR. CAVALIER: This is a natural     18           THE DEPONENT: No. He was just
19
         time to take five, Seth.                  19      saying he wasn't getting paid and that
20
               Do you mind if I take five?         20      Danny was, like, a loser. And he thinks
21
               MR. CARSON: Yeah, that's good.      21      he's an undercover -- what did he think
22
               MR. CAVALIER: Off the record.       22      he was? He thought he was undercover
23
               THE VIDEOGRAPHER: The time is       23      grass, as he called. Like an informant
24
         4:29 p.m. We are off the record.          24      for the FBI or whatever they had going on
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 1       over there.                                  1
                                                              more -- less lost trust, like less
 2            It was very bizarre.                    2
                                                              half-assed.
 3 BY MR. CAVALIER:                                   3
                                                        BY MR. CAVALIER:
 4       Q. So your testimony is that Vinny           4
                                                              Q. Okay. So then in March of 2019,
 5 did not voice any suspicion to you that Danny      5
                                                        Jasmine comes along and tells you that Danny
 6 Thomas might have misappropriated money from that  6
                                                        stole 7,000 from Middle East Forum, correct?
 7 grant?                                             7
                                                              A. And immediately walked it back.
 8       A. The whole thing with Vinny over           8
                                                        That is correct.
 9 and over again, which was such insane nonsense,    9
                                                              Q. When you say walks it back, how?
10 that, like, I -- and, you know, he said that he   10
                                                              A. She said now I don't know -- she
11 got his -- his stuff, like his -- like originally 11
                                                        specifically said in her text message, now I
12 from Jasmine, like where he got -- where he got   12
                                                        don't know. Now his mom's telling me he got
13 that from was Jasmine.                            13
                                                        $2,000 from them for the car and they didn't want
14            Because Jasmine was reaching out       14
                                                        me to know.
15 in the beginning to everyone trying to throw      15
                                                                   So it was, like, she was assuming
16 Danny under the bus.                              16
                                                        that he got that money from them, when his mother
17            So I don't know -- and, like, I        17
                                                        just admitted he got $2,000 from them.
18 still didn't.                                     18
                                                                   And it's in that text feed that
19            And, again, when Vinny wasn't          19
                                                        you already have in your possession.
20 trying to warn me, he was telling me what Jaz     20
                                                              Q. Did it occur to you that perhaps
21 said and he believed him, like I said, to be an   21
                                                        Jasmine recognized that reporting the father of
22 undercover agent, and you couldn't get a word in  22
                                                        her children for theft might have negative
23 edgewise.                                         23
                                                        consequences for her?
24            Vinny -- if you were to see how he     24
                                                                   MR. CARSON: Objection. Asking
                                             Page 341                                                       Page 343
 1
   was, you would know.                               1
                                                             what Jasmine might have recognized.
 2
        Q. So you had the Vinny conversation.         2
                                                                  You can answer if you know who
 3
   You had, whether we want to call it --             3
                                                             Jasmine is.
 4
        A. The Vinny conversation stemmed             4
                                                                  THE DEPONENT: My point is this
 5
   from Jasmine. Let's be clear.                      5
                                                             that, like, whatever she recognized or
 6
        Q. Okay. Fine.                                6
                                                             didn't recognize, didn't matter.
 7
             But prior to March of 2019, you          7
                                                                  She was nuts all the time. And
 8
   had at least some suspicion, or if you want to     8
                                                             you couldn't take a thing -- she would
 9
   use another word, I'm welcoming you to give it to  9
                                                             say one thing and then the next day it
10
   me, that something wasn't right with that grant   10
                                                             was something completely different and it
11
   money, vis-a-vis Danny Thomas, correct?           11
                                                             was non-stop.
12
             MR. CARSON: Objection.                  12
                                                                  First she would be, like, Lisa,
13
             THE DEPONENT: I didn't know if          13
                                                             you're so right, you're the only person
14
        anything wasn't right with the grant         14
                                                             that understands.
15
        money. I didn't know if -- like, if          15
                                                                  Then she would be, like, you're a
16
        there was something not right with Danny     16
                                                             this, you're a that, you're whatever.
17
        as a person or relationship or all that      17
                                                                  It was non-stop, back and forth.
18
        stuff.                                       18
                                                             Like, you couldn't -- everything that she
19
             And I didn't like the way Danny         19
                                                             said at one point and another time she
20
        handled some things with the                 20
                                                             totally negated the other way.
21
        demonstration. And that's why I was the      21
                                                                  It was awful.
22
        one that requested that the money go         22
                                                        BY MR. CAVALIER:
23
        through Rahiem Kasam the second time,        23
                                                             Q. Okay. So you're saying she was
24
        because I thought he would execute it        24
                                                        all over the place?
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 1
        A. Yeah.                                        1        getting a salary for that, then that's
 2
        Q. Okay. But given that, didn't you              2       what it included. I don't know.
 3
   think you had an obligation to let your employer      3 BY MR. CAVALIER:
 4
   know that somebody had, at least, made the            4       Q. If you didn't know, wouldn't it
 5
   allegation?                                           5 have been best just to ask the Forum?
 6
             MR. CARSON: Objection. Asked and            6       A. I originally brought up the money
 7
        answered.                                        7 situation to Greg with the Jan thing. And I
 8
             THE DEPONENT: No, because I                 8 said, I don't know what Danny did with the
 9
        didn't believe her.                              9 remaining. He said, he's out. These people are
10
   BY MR. CAVALIER:                                     10 saying they've served the $900. He said, forget
11
        Q. Did you investigate it at all?               11 about it. Don't worry about Danny. Just pay it.
12
             MR. CARSON: Objection. Asked and           12            MR. CAVALIER: Guys, I apologize.
13
        answered.                                       13       I need to step off for literally 30
14
   BY MR. CAVALIER:                                     14       seconds.
15
        Q. Other than talking about it with             15            Can I get 30 seconds off the
16
   Jasmine, did you do anything to investigate the      16       record real quick? I'll be very quick.
17
   allegation?                                          17       You don't need to go anywhere.
18
             MR. CARSON: Objection. Asked and           18            THE VIDEOGRAPHER: The time is
19
        answered. You can explain again.                19       4:56 p.m.
20
             THE DEPONENT: Like I said, I               20            The time is 5:10 p.m.
21
        asked Tommy if he heard anything about          21            Back on the record.
22
        it.                                             22 BY MR. CAVALIER:
23
             I asked -- I specifically asked            23       Q. So we've talked a little bit about
24
        Tommy if he knew about it or whatever and       24 your involvement with Tommy Robinson. And I just
                                             Page 345                                                    Page 347
                                                        1 want to get a little bit more background from you
 1
         Tommy said he didn't. He was in prison
                                                        2 on that.
 2
         at the time. He didn't hear anything
 3
         retroactively.                                 3            So your involvement with his
                                                        4 campaign started when?
 4
              I asked Jasmine again. She walked
 5
         them back.                                     5      A.     I don't know. March or May.
 6
              I asked a bunch of people. But I          6      Q.     Of what year?
 7
         don't know what else there was physically       7     A.     2019. Okay.
 8
         for me to do.                                   8     Q.     Well, okay.
 9
              I requested his bank statements on         9           And so when was the first time you
                                                        10 went to England to work on his campaign?
10
         numerous occasions. He denied it to me.
11
              So there was nothing left for me          11       A. Around that time.
12
         to do. There was no way to prove it.           12       Q. Okay. Did you work on him -- did
                                                        13 you work with him on his European Parliament
13
         There would be no way for MEF to prove
                                                        14 campaign?
14
         it.
15
              And I don't think that it was even        15       A. That's what I'm talking about.
16
         in the grant money that now that, like,        16       Q. Okay. Does it make sense if I
                                                        17 tell you that was sometime in May of 2019?
17
         you know, we're going back over what the
18
         grant is, I don't think that there was --      18       A. Yeah, that makes sense.
19
         I don't know what the exact terms of the       19       Q. So from June 2019 to August of
                                                        20 2019, do you remember what you were doing for him
20
         grant agreement were.
                                                        21 then?
21
              But I don't think that they had a
22
         specified dollar amount, other than            22       A. The campaign was over. I don't
                                                        23 think I was doing anything for him. Let me just
23
         getting the demo off successfully, which
                                                        24 think.
24
         happened. And if that included Danny
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 1
             We had -- I don't think there was           1
                                                                  Q. Okay. Did he ever restrict your
 2
   really anything specifically that I was doing for      2
                                                            involvement with Tommy Robinson?
 3
   him at that time.                                      3
                                                                  A. There were times where he did and
 4
         Q. Were you holding yourself out as              4
                                                            there were times where he didn't.
 5
   doing communications work for him?                     5
                                                                      He would be like, I'd be loathed
 6
         A. I was doing communication work for            6
                                                            to tell you politically, like, what to do -- tell
 7
   him, like, you know, like, as a volunteer basis.       7
                                                            you what to do on your personal time.
 8
         Q. Okay. And was that true during                8
                                                                      But, you know, -- and then there
 9
   the June 2019 to August 2019 time period?              9
                                                            was another time where he said, I would limit you
10
         A. I mean, like, I don't know if I              10
                                                            to your political activity without doing it
11
   ever really necessarily, like, stopped. Like, if      11
                                                            without speaking to us. And so I said, okay.
12
   he needed something, communication-wise right         12
                                                                      And then, you know, after that, I
13
   now, I would help him.                                13
                                                            had talked to him about some political stuff I
14
         Q. Okay.                                        14
                                                            was doing and he said, well, I can't tell you
15
         A. But he hasn't, because he's                  15
                                                            what to do with your own time. Please proceed
16
   dealing with his own stuff right now.                 16
                                                            with caution.
17
         Q. What do you mean by that?                    17
                                                                      So yes and no.
18
         A. He's got, like, -- he's not, like,           18
                                                                  Q. Do you think that was a reasonable
19
   advocating stuff.                                     19
                                                            position for him to have as the president of the
20
             I think he's just trying to, like,          20
                                                            Middle East Forum?
21
   you know, make sure his wife and his kids are         21
                                                                  A. It was a confusing one for him --
22
   safe.                                                 22
                                                            for me that I thought that he held, because if
23
         Q. Okay. And you had issues with                23
                                                            I'm doing it on my own time, which I clearly was,
24
   Daniel Pipes and instructions to you with respect     24
                                                            and I was also not getting paid for it, clearly
                                              Page 349                                                       Page 351
 1
   to your work with Tommy Robinson around this       1
                                                        was, then it, like, legally was not blurring the
 2
   time, correct?                                     2
                                                        line between the 501C issue. So I didn't
 3
         A. Yes and no.                               3
                                                        understand what his aversion was when he had
 4
         Q. What do you mean by yes and no?           4
                                                        encouraged me before to help Tommy with these
 5
         A. I mean, like, there's -- there            5
                                                        matters on my own time.
 6
   were times where I would say to him, like, Tommy   6
                                                              Q. Did you ever voice that to him?
 7
   wants political, like, advice or whatever and so   7
                                                              A. I did.
 8
   I did this.                                        8
                                                              Q. And what was his response?
 9
              And he was, like, oh, good. I'm         9
                                                              A. Again, I get silence from him
10
   glad that -- they need somebody reasonable to     10
                                                        quite a bit.
11
   talk to, I'm glad it was you.                     11
                                                              Q. Okay. So just to be clear, I
12
              And then around the time of the        12
                                                        understand that you were confused by what you're
13
   election, you know, Daniel Pipes was sending me   13
                                                        calling his vacillating positions, for lack of a
14
   messages and telegrams saying, you know, oh, keep 14 better word.
15
   me abreast of the situation, let me know what's   15
                                                                   But do you think it's reasonable
16
   going on about this, let me know what's going on  16
                                                        for him as the president of the Middle East Forum
17
   about that, did you hear about the outcome of the 17
                                                        to have concerns about an employee of the Middle
18
   election? Do we have news yet?                    18
                                                        East Forum being publicly involved in something
19
              So, like, yes and no. So that he       19
                                                        like the Tommy Robinson campaign?
20
   would say certain things in, like, you know,      20
                                                              A. I do. Because a lot of times in
21
   e-mail correspondence and stuff like that. And    21
                                                        the media, things are twisted and manipulated and
22
   then he would text me, like, asking him to give   22
                                                        things like that.
23
   him status updates, because he wanted Tommy to    23
                                                                   But, yeah, I think -- I think that
24
   have a favorable outcome.                         24
                                                        that's a reasonable position.
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 1
         Q. Okay. So then while you were                1        Q. Okay. So a couple questions there
 2
   confused by his position, to be fair, and I           2 to just follow-up.
 3
   understand what you mean when you say that, but       3            You said they were labeled a
 4
   while you were confused by his position, did you      4 terrorist organization. Labeled by who?
 5
   have any problems with it?                            5       A. I believe the FBI.
 6
         A. I mean -- I don't know what that             6       Q. Do you think they're a terrorist
 7
   means.                                                7 organization?
 8
             I had problem, like, knowing,               8       A. Do I think that they are?
 9
   like, am I, am I not? Whatever. You know, it          9            I mean, I don't know their inner
10
   was more the problem stemmed from confusion.         10 workings of it at all. But the Proud Boys that I
11
             And did I want to continue                 11 have seen in the streets and stuff like that,
12
   helping? Yeah. Like the reason the Middle East       12 they're just like regular people that want to,
13
   Forum wanted to help Tommy Robinson in the first     13 you know, not have ANTIFA burn down their cities.
14
   place, he is forwarding the objectives that we       14       Q. Do you think -- just to build on
15
   were working towards.                                15 what you said earlier, just to clarify something
16
         Q. Did you think that Daniel Pipes'            16 for me.
17
   position on this issue was in any way unfair to      17            Do you think that the Proud
18
   you?                                                 18 Boys -- is it fair to describe the Proud Boys as
19
         A. I think what I do on my personal            19 the right wing equivalent of the left wing
20
   time is my personal time. I don't remember -- I      20 ANTIFA?
21
   don't remember if I felt that it was unfair.         21       A. I think ANTIFA is way worse. Way
22
         Q. Okay. Is Tommy Robinson aligned             22 worse.
23
   with the Proud Boys?                                 23            Like, the only time the Proud Boys
24
         A. I don't think so. I know he did a           24 engage in, like, physical activity of any sort is
                                             Page 353                                                       Page 355
 1
     video.                                            when, like -- they'll come to a Trump rally, say,
                                                        1
 2
              I mean, the thing with the Proud       2
                                                       and then ANTIFA comes and starts fighting with
 3
   Boys is, like, some of their missions overlap     3
                                                       them and they may protect people.
 4
   into other things and some parts don't. So, you   4
                                                                 They do not, like, go out in the
 5
   know, it is what it is.                           5
                                                       street and publicly riot and -- or assault people
 6
         Q. So just for two record, and for my       6
                                                       while they're having dinner just on the streets
 7
   own knowledge, who are the Proud Boys?            7
                                                       of Washington, D.C.
 8
         A. The Proud Boys were originally           8
                                                                 They do not engage in any violence
 9
   started by a guy named Gavin McGuiness, who was 9 ever that isn't preempted by ANTIFA. They're
10
   actually friends with Tommy.                     10
                                                       more like a protection group.
11
              And then he made some statements      11
                                                             Q. Okay.
12
   and -- that were like -- like leading -- like,   12
                                                             A. I mean, and there's proof to that.
13
   saying, like, you know, we're gonna beat people  13
                                                       Like, they don't riot.
14
   up and stuff like that.                          14
                                                             Q. Do you think they have any
15
              And then he resigned or something     15
                                                       responsibility for the January 6th events at the
16
   like that, Gavin did, and was kicked off, like,  16
                                                       Capitol?
17
   whatever.                                        17
                                                             A. I saw a lot of different groups
18
              And then they got labeled, like, a    18
                                                       there. I was there, as I'm sure you know.
19
   terrorists organization or something like that.  19
                                                                 I saw ANTIFA there. I saw Proud
20
              And then -- and they were -- you      20
                                                       Boys there. I saw people that associate with the
21
   know, like, they -- a part of the people -- like 21
                                                       Proud Boys there.
22
   the left has ANTIFA and the right has Proud Boys 22           I see -- I saw all kinds of people
23
   and they clash and fight and all kinds of weird  23
                                                       at the event at the Capitol.
24
   stuff.                                           24
                                                             Q. Just -- again, just for the
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 1 record, were you in the Capitol on January 6th?
                                                        mean?
                                                            1
 2      A. I was not in the Capitol. I was            2
                                                              A. In Cannon House office building.
 3 around the Capitol. I had a woman that I saw. A    3
                                                              Q. Okay. Where is that in relation
 4 last minute -- not a last minute. She was, like,   4
                                                        to the Capitol?
 5 coming down with her husband. They looked like     5
                                                              A. Across the street. And also
 6 they were in their 60s.                            6
                                                        connected by tunnels.
 7           And he been -- clearly had been          7
                                                              Q. Okay. Does Tommy Robinson's
 8 affected by gas or whatever. And so her and I      8
                                                        connection to the Proud Boys bother you at all?
 9 were talking. And I said, were you in there?       9
                                                              A. Like, I don't even think -- he's
10 Tell me what was happening, because my co-workers 10
                                                        not affiliated by any means. He's not part of
11 and things were in the building.                  11
                                                        the Proud Boys.
12           And so she was explaining it to me      12
                                                              Q. Right. But he's friends with the
13 and she showed me a picture of this woman who     13
                                                        guys who lead them, correct?
14 stole Nancy Pelosi's name placard.                14
                                                              A. I don't know if he is friends with
15           So I took a picture of her phone        15
                                                        them.
16 with my phone. And then she said, oh, you want    16
                                                                   Like, they don't hang out on the
17 it? She was, like, I've got tons of video, so     17
                                                        weekends. I'm sure they know each. I believe
18 she air dropped it to me, which I forwarded to    18
                                                        that somebody told me that he just did a video
19 the FBI, along with all the footage I took from   19
                                                        with them, like an interview or something.
20 the perimeter of the building time stamped.       20
                                                                   But I didn't see it.
21           Like, so the times that she's in        21
                                                                   But I don't know what his -- I
22 that building, like, you can hear me on the voice 22
                                                        don't discuss the Proud Boys with Tommy ever. I
23 on the other side, outside, way further back in   23
                                                        don't think I ever have.
24 the crowd filming.                                24
                                                                   I did ask one of Tommy's contacts
                                                 Page 357                                                       Page 359
 1
             So I was not in the Capitol, but I             1
                                                               for -- for a -- I did ask one of Tommy Robinson's
 2
   do have footage, intense footage, from inside the         2
                                                               contacts for the leader of the Proud Boys'
 3
   Capitol.                                                  3
                                                               information, because a panel that I'm speaking on
 4
        Q. And so you were -- so you weren't                 4
                                                               in April wanted to invite Enrique Toro, whatever
 5
   inside the building, but you were -- you were             5
                                                               the hell his name is, to be a speaker there.
 6
   there?                                                    6
                                                                          They always bring people from the
 7
        A. Correct.                                          7
                                                               right and the left. It's like a four people
 8
        Q. Okay.                                             8
                                                               panel discussions. And then they hash out big
 9
        A. I was trying to get to work                       9
                                                               topics of the day from all walks. It's called
10
   actually.                                                10
                                                               The Better Discourse Event.
11
        Q. Right. No, I know.                               11
                                                                     Q. Okay. And who's Enrique Terio?
12
             And just, again, so the record's               12
                                                                     A. I think he is the leader of the
13
   clear, you work in the Capitol building?                 13
                                                               Proud Boys.
14
        A. Well, I don't work in the Capitol                14
                                                                     Q. Okay. I want to just show you an
15
   building. I work in Cannon House office                  15
                                                               exhibit here.
16
   building, which is, you know, like attached to           16
                                                                     A. I have his phone number.
17
   the building via underground tunnels and directly        17
                                                                     Q. Do you know him?
18
   across the street, but the Cannon was not                18
                                                                     A. I don't know him. I've never met
19
   attacked; however, it was shut down, which is why        19
                                                               him, no.
20
   I couldn't get in the building.                          20
                                                                     Q. Have you ever spoken to him?
21
        Q. Were you there all day?                          21
                                                                     A. Have I ever spoken to? No, I have
22
        A. Pretty much. Even into the                       22
                                                               never spoken to him.
23
   evening.                                                 23
                                                                     Q. Okay.
24
        Q. Where do you work? Physically, I                 24
                                                                     A. I do have his phone number though.
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 1
         Q. And I'm showing you -- I think         1
                                                           A. The only person that I recognize
 2
   this is Exhibit F, we'll mark it as.            2
                                                     from this picture is up on the top left-hand
 3
         A. Yes. Is this the thing he did          3
                                                     coroner is Danny Tomo and on the bottom left-hand
 4
   with him? I heard he did the --                 4
                                                     corner is Tommy Rothlinson.
 5
            (Deposition Exhibit F marked.)         5
                                                                 And I don't know if that's Enrique
 6
   BY MR. CAVALIER:                                6
                                                     at the top   middle, but it look it's like the
 7
         Q. For the record, can you identify       7
                                                     same -- he looks honestly lighter. But it looks
 8
   the two people pictured here?                   8
                                                     like the same window setting from before.
 9
         A. Tommy's on the right and I believe     9
                                                                 So that's it. I don't know
10
   that's Enrique on the left.                    10
                                                     anybody else.
11
         Q. Okay. And when you say this is        11
                                                           Q. Okay. You don't know who this is
12
   the event that you were referring to, it looks 12
                                                     in the middle left with the -- what appears to be
13
   like it's something captioned The Right View?  13
                                                     the union jacket behind him?
14
         A. Yeah, I don't know what that is.      14
                                                           A. I didn't really see his face to be
15
         Q. Okay.                                 15
                                                     fair. It's, like, blurry and looks like a big
16
         A. Somebody in passing told me, like,    16
                                                     bald guy.
17
   Tommy just did an interview or something with  17
                                                           Q. I agree with that description.
18
   Enrique and that's all I know.                 18
                                                                 And you don't know who the guy in
19
         Q. Okay. Sorry. Give me one second. 19 the middle is?
20
   I have a document.                             20
                                                           A. No, he doesn't look familiar.
21
         A. While we're doing that, can I just    21
                                                           Q. Okay.
22
   run and grab a glass of water?                 22
                                                           A. But these are really blurry on my
23
         Q. Of course you can.                    23
                                                     end. I don't know if they're clear on your --
24
              We can stay on the record as long   24
                                                           Q. No, it's a screen shot. It's not
                                            Page 361                                                       Page 363
 1
   as you're quick.                                    1
                                                          great pictures. So I was just --
 2
        A. Yeah, stay on the record. Two                2
                                                                A. Sorry.
 3
   seconds. I'm back. I'm sorry.                        3
                                                                Q. No, that's no problem.
 4
        Q. No problem.                                  4
                                                                    Do you still manage Tommy
 5
             All right. I'm gonna show you              5
                                                          Robinson's Telegram account?
 6
   another document here in a second.                   6
                                                                A. I never managed his Telegram
 7
             Sorry. Give me one second. I               7
                                                          account.
 8
   don't know why this document's not popping up.       8
                                                                Q. Do you manage any of his social
 9
             These Zoom depositions are killing         9
                                                          media accounts?
10
   me.                                                 10
                                                                A. No, he doesn't have any social
11
        A. You're not the only one.                    11
                                                          media accounts other than Telegram.
12
          (Deposition Exhibit G marked.)               12
                                                                Q. Do you maintain any of his
13
   BY MR. CAVALIER:                                    13
                                                          communications platforms?
14
        Q. Okay. All right. Showing you an             14
                                                                A. No, not anymore. I never really
15
   exhibit that we will mark as Exhibit G, I           15
                                                          did his communication platforms.
16
   believe.                                            16
                                                                    I would occasionally answer some
17
             This appears to be another screen         17
                                                          press e-mails for him or go through some e-mails,
18
   shot from the same event.                           18
                                                          like, looking -- helping him look for stories
19
        A. Okay.                                       19
                                                          that would come into, like, the info box.
20
        Q. Can you take me through -- there            20
                                                                    But I never managed his social
21
   are pictures of eight -- what appear to be          21
                                                          media like that.
22
   individuals.                                        22
                                                                Q. Okay. You currently work for
23
             Can you walk me through anybody           23
                                                          Congressman Randy Weber, correct?
24
   that you can identify in this picture?              24
                                                                A. Correct.
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 1
        Q. Do you handle interviews and press            1
                                                                  A. I think that they're political in
 2
   for him?                                               2
                                                            some right, but I don't know how.
 3
        A. Yes.                                           3
                                                                  Q. Okay. Do you know of a group that
 4
        Q. Has that always been the case                  4
                                                            goes by the name the Boogaloo Boys?
 5
   since you started working there?                       5
                                                                  A. I've heard of the Boogaloo Boys.
 6
        A. Yes.                                           6
                                                            I just actually watched a video on them a couple
 7
        Q. Just to be clear, you said you                 7
                                                            weeks ago, which I thought was interesting. I
 8
   never met -- I think his name is Enrique Torio?        8
                                                            think they were at some capitol in Ohio. They
 9
        A. Correct.                                       9
                                                            were having an armed protest.
10
        Q. Have you ever met with any of the             10
                                                                       And there was -- like one of the
11
   Proud Boys?                                           11
                                                            Boogaloo Boys had like a Black Lives Matters
12
        A. I met a bunch of them one of the              12
                                                            shirt on and the other one had like the gay pride
13
   nights that I was out filming with one of my          13
                                                            flag in there.
14
   friends who's a contributor for Newsmax.              14
                                                                       And they were sitting there
15
             There was a ton out. It's the               15
                                                            talking about how they're there just to prevent
16
   night that one of the Proud Boys got stabbed by       16
                                                            government overreach or something like that.
17
   ANTIFA in Washington, D.C. I met like a ton of        17
                                                                       But I don't know much about them
18
   them.                                                 18
                                                            because I don't know much about them. They're
19
        Q. Do you remember what night --                 19
                                                            not in the news as frequently as, say, the Proud
20
        A. I don't remember their names, but             20
                                                            Boys or ANTIFA.
21
   I met them.                                           21
                                                                  Q. Have you ever met any of them?
22
        Q. Do you remember what night that               22
                                                                  A. I don't think so, no.
23
   was?                                                  23
                                                                  Q. Okay. I want to ask you about
24
        A. I don't know. Maybe three weeks               24
                                                            something that you said earlier.
                                              Page 365                                                       Page 367
 1
   before December 20th or something. It was like        1
                                                                       When you were outside the Capitol
 2
   the -- the second --                                   2
                                                            and you were observing what was going on, I think
 3
              MR. CARSON: Don't guess. If you             3
                                                            you said there were members of the Proud Boys
 4
         don't know, just say I don't know.               4
                                                            there. There were members of the ANTIFA there.
 5
              THE DEPONENT: I'm just trying to            5
                                                            There were a lot of people there.
 6
         give a time frame. It's like around              6
                                                                       Who do you think is responsible
 7
         then.                                            7
                                                            for the events of January 6th?
 8
   BY MR. CAVALIER:                                       8
                                                                       MR. CARSON: Why are we asking
 9
         Q. Okay. Does Tommy Robinson --                  9
                                                                  these questions? What's going on right
10
   scratch that.                                         10
                                                                  now?
11
              Does Danny Thomas still work with          11
                                                                       MR. CAVALIER: Because I'm
12
   Tommy Robinson?                                       12
                                                                  curious.
13
         A. I have no idea.                              13
                                                                       MR. CARSON: You're just curious
14
         Q. Do you have any reason to believe            14
                                                                  about her political views?
15
   that he might not?                                    15
                                                                       MR. CAVALIER: Yeah.
16
         A. I mean, weren't they just on a               16
                                                                       THE DEPONENT: I have an answer,
17
   video together you just showed me? I don't know.      17
                                                                  if you want?
18
         Q. Okay. I'm asking you.                        18
                                                                       MR. CARSON: Yeah, you can answer
19
              Are you familiar with the group            19
                                                                  but I'm gonna cut this line of
20
   that goes by the name The Oath Keepers?               20
                                                                  questioning --
21
         A. I mean, I heard it loosely thrown            21
                                                                       THE DEPONENT: It's not like I
22
   around. I don't know anything about them.             22
                                                                  haven't put most of these views out in
23
         Q. Do you know who they are or what             23
                                                                  public anyway.
24
   they do?                                              24
                                                                       MR. CARSON: I would suggest this
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 1
         is not idle curiosity.                         1
                                                           recently that she said that the Capitol
 2
              THE DEPONENT: I understand that.           2
                                                           insurrection was planned by ANTIFA.
 3
         But this is how I feel about the whole          3
                                                                     Do you agree with that statement?
 4
         situation.                                      4
                                                                 A. I don't -- I don't. Because I
 5
              I think that Donald Trump turned           5
                                                           don't have any information.
 6
         up the rhetoric. I do.                          6
                                                                     I don't know who it was planned
 7
              Do you think I think that his              7
                                                           by, because I don't have -- I'm not privy to that
 8
         speech -- his speech rises to the level         8
                                                           information. So I certainly don't make
 9
         of incitement from everything that I've         9
                                                           statements like that.
10
         studied and read? No.                          10
                                                                     I said ANTIFA was there. I also
11
              Do I think that the individual            11
                                                           saw legit Trump supports there, too. And I saw
12
         people who made poor decisions to enter        12
                                                           them engaging in violence.
13
         the Capitol should be -- not to enter the      13
                                                                     So I can't say that it was solely
14
         Capitol, to break and to bust into the         14
                                                           ANTIFA. I don't know who planned it. I do know
15
         Capitol were actually wrong and I can a        15
                                                           that John Sullivan, who I've seen out at multiple
16
         110 percent condemn the violence. And          16
                                                           riots and things like that, has his own, from his
17
         those people made their own decisions.         17
                                                           own video testimony, telling a female journalist
18
              It was apparently pre-planned             18
                                                           that he was with, I told you it was going to
19
         according to news reports and Facebook         19
                                                           happen. I told you I couldn't tell you much.
20
         and the FBI.                                   20
                                                           But I told you this was going to happen.
21
              And that then they had their own          21
                                                                     And he is straight up -- he has
22
         motives. And I don't know if those             22
                                                           made speeches at ANTIFA protests -- I mean, at
23
         people were disenfranchised, like, you         23
                                                           Black Lives Matter and ANTIFA protests where he
24
         know, Trump voters or if it was ANTIFA.        24
                                                           was asked to speak as an organizer.
                                             Page 369                                                       Page 371
 1
              But I will tell you that I did see        1
                                                                 Q. Okay.
 2
         ANTIFA things, like black umbrellas and         2
                                                                 A. But I like I said, there were
 3
         stuff.                                          3
                                                           definitely Trump people involved.
 4
              And from what I've known about             4
                                                                      It's kind of --it kind of felt
 5
         these groups and whatever, that nobody          5
                                                           like mob mentality took over.
 6
         ahead of time that is a Trump supporter         6
                                                                      Like one person decided they were
 7
         would have blown up -- put a bomb out in        7
                                                           going to do it and everybody was, like, oh, this
 8
         front of the RNC.                               8
                                                           might be a good idea.
 9
              The only people that would have            9
                                                                      And by the time a lot of people
10
         put both a pipe bomb in front of the RNC       10
                                                           even got to the doors, the Capitol Police had
11
         and DNC is most likely an anarchist.           11
                                                           just said, all right, we're not going to fight
12
              So I don't know who is exactly            12
                                                           them, we don't have enough people to arrest them.
13
         responsible. I think that everybody            13
                                                           Because once you arrest, you have to arrest them.
14
         should be held accountable for their           14
                                                           So they couldn't do that.
15
         behavior the day of the Capitol.               15
                                                                      And they were basically outmanned.
16
   BY MR. CAVALIER:                                     16
                                                           And so they were -- at one point they were just
17
         Q. We talked a little bit about Amy            17
                                                           opening the doors and being nice to the people so
18
   Meckleberg in your last deposition. So we don't      18
                                                           that they didn't get hurt.
19
   have to rehash all of that background.               19
                                                                      So I think that a lot of people
20
              But I wanted to ask you what your         20
                                                           that came secondary, in the secondary wave, after
21
   relationship with Amy Meckleberg is like today?      21
                                                           Trump -- because the insurrection started
22
         A. She's my friend. My very good               22
                                                           happening -- like the breaching of the Capitol
23
   friend.                                              23
                                                           started happening before Donald Trump ever
24
         Q. So part of my curiosity, I read             24
                                                           finished speaking.
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 1
             And so the people that marched              1             She was crying. And then she was
 2
   from where he was speaking, it would at least          2 like I'm -- she was, like, I just want to jump on
 3
   take 20 to 30 minutes to get from the Elipse to        3 a plane right now and I want to come to America.
 4
   the Capitol -- and so those people, the doors          4 And I was like, well, when the COVID stuff comes,
 5
   would have already been broken and already been        5 you can come visit, no problem, blah, blah, blah.
 6
   breached and already opened.                           6            And so then I remember, like right
 7
             So I think that a lot of them --             7 after then, Danny had texted me something crazy.
 8
   like you see that poor little old granny, she          8 And I said, here, Jaz, just so you know, I think
 9
   was -- was like, I've never been in the Capitol        9 this is from Danny. He texted me. I don't want
10
   before.                                               10 to anything -- to have anything to do with him.
11
             You see pictures -- they're taking          11 I'm just letting you know that he texted me
12
   pictures, like, I've never been in this place         12 again.
13
   before.                                               13            And she goes, oh, Danny's the
14
             And I think that, you know, they            14 least of your worries. Wait until you see what
15
   weren't of sound mind. It was more of like a mob      15 Greg Roman has in store for you.
16
   mentality thing.                                      16            And then I never talked to her
17
             I don't think that everybody who            17 again.
18
   crossed the line -- that walked into that Capitol     18       Q. Okay. So prior to the last time
19
   was, you know, part of some pre-planned or            19 you spoke with Jasmine Bishop, Jasmine spoke with
20
   thought that they were, you know, inciting -- or      20 MEF and provided documents to them, right?
21
   were being insurrectionists.                          21       A. I did not -- I did not know any of
22
        Q. Okay. So the question was, do you             22 that at any time that I was speaking to Jaz.
23
   agree with the statement that Meckleberg made and     23       Q. Did you know that she had spoken
24
   I'm going to take that answer to mean that you        24 to Greg at any point in time when you were
                                              Page 373                                                       Page 375
 1
   don't agree with it.                               1 speaking to?
 2
         A. Yeah, I probably don't agree with         2       A. I did not. I didn't find that out
 3
   that, no.                                          3 until deposition.
 4
         Q. Okay. When was the last time you          4           Actually, I didn't even know she
 5
   spoke to Danny Thomas? And by spoke, just so       5 actually did speak with you until just this
 6
   we're clear, by phone or by text?                  6 second.
 7
         A. It feels like a year maybe. Maybe         7           But I knew that from the
 8
   more.                                              8 deposition that -- that Danny did.
 9
         Q. When was the last time you spoke          9       Q. So Jasmine Bishop never told you
10
   with Jasmine Bishop?                              10 that she spoke with Greg?
11
         A. Has to be well over six to eight         11       A. I think she said I've been in
12
   months, I believe. Something like that. Like      12 contact with them and wait until you see what he
13
   it's been a long time. Maybe more -- maybe more 13 has in store for you. But I didn't know what
14
   than that. I don't know.                          14 that meant.
15
         Q. Do you remember what you talked          15       Q. Right. But you learned that from
16
   about the last time you spoke?                    16 Jasmine, right? Not at the deposition?
17
         A. I was helping her -- I remembered        17       A. Yeah. But you just said, like,
18
   that her mother -- she was calling me -- I was at 18 she provided documents and was whatever, whatever
19
   home in Philly and she was calling me crying      19 the words you used. And I did not know that
20
   because her mother was doing really bad. She,     20 until basically like now.
21
   like, relapsed or something bad happened to her. 21        Q. Okay. But you knew she had spoken
22
              And Jaz had left Danny and the         22 to MEF?
23
   kids. And she was crying and saying that he went 23        A. Yeah. But she had -- again, she's
24
   back to some other girl. I don't remember.        24 also said that she spoken to them a million times

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 1
   before when she hadn't. And she also takes back   1
                                                       were supposed to be advocating on his behalf.
 2
   her story all the time, so -- she told me she     2
                                                       And then Tommy was under the impression, or
 3
   spoke to Greg and -- Greg and Daniel like two     3
                                                       something like that, that they were taking those
 4
   years ago, too. And she didn't.                   4
                                                       donation monies and using them for their own
 5
         Q. So did you ask her why she would         5
                                                       benefit.
 6
   talk to Greg?                                     6
                                                                  I think there's proof of that, but
 7
         A. No, I just figured, if anybody is        7
                                                       I'm not a hundred percent sure.
 8
   talking to Greg, they are up to trouble and I'm   8
                                                             Q. And can you put a time frame on
 9
   not going to talk to them anymore.                9
                                                       that at all?
10
             Anybody who has a connection with      10
                                                             A. Juneish, I guess. June of 2018.
11
   Greg, I don't want to deal with.                 11
                                                       Or no, probably before that, because Tommy was
12
         Q. When did you arrive at that             12
                                                       arrested before then.
13
   conclusion?                                      13
                                                                  MR. CARSON: If you can't, you
14
         A. What do you mean?                       14
                                                             can't. If you don't know, you don't
15
         Q. When did you decide that anybody        15
                                                             know. If you know, then tell him.
16
   who had a connection with Greg was somebody that 16            MR. CAVALIER: Yeah, I'm not
17
   you didn't want to talk to?                      17
                                                             looking for an exact date.
18
         A. Pretty much when I left the Middle      18
                                                                  THE DEPONENT: It was when Tommy
19
   East Forum.                                      19
                                                             Robinson was in prison for journalism.
20
         Q. Do you know someone named Calan         20
                                                       BY MR. CAVALIER:
21
   Robinson?                                        21
                                                             Q. Okay. Are you aware that Calan
22
         A. I met Calen -- I knew two Calens.       22
                                                       Robinson reached out to the Middle East Forum
23
   I don't know if the other -- I don't know his    23
                                                       about this case?
24
   last name.                                       24
                                                             A. He doesn't even know me.
                                             Page 377                                                       Page 379
 1
             But the one that I think that              1
                                                               Q.      Is that a no?
 2
   you're referring to, Calan Robinson, was the one      2
                                                               A.      Yeah, no, I was not aware.
 3
   that used to work for Tommy Robinson. I met him       3
                                                                      MR. CARSON: How would we be aware
 4
   one time at a dinner in Brussels.                     4
                                                                 of that?
 5
         Q. What did he do for Tommy?                    5
                                                                      THE DEPONENT: I met Calen one
 6
         A. He did video, I believe. Or                  6
                                                                 time. You know that Calen has, like, a
 7
   production or something.                              7
                                                                 vendetta against Tommy, too, right?
 8
             Because he didn't work with Tommy           8
                                                           BY MR. CAVALIER:
 9
   at the time I did, because there were some lofty      9
                                                                 Q. What do you mean by that?
10
   things that were said about him or -- that Tommy     10
                                                                 A. Calan and George -- there was like
11
   knew that he did or something like that. And         11
                                                           this whole thing with the BBC panorama and Calan
12
   they stopped working together while -- like          12
                                                           and George had disclosed things to Tommy.
13
   before -- well, while Tommy was in jail.             13
                                                                      And then were getting, like,
14
             And when Tommy was released, they          14
                                                           threatened by, like, Hope Not Hate, or something
15
   did not -- they didn't work together again from      15
                                                           like that, this organization in England.
16
   what I was told.                                     16
                                                                      And Tommy put their statements --
17
         Q. So I'm not sure I understood you            17
                                                           and they agreed to it. They put their statements
18
   there.                                               18
                                                           in a documentary. And then I guess they got
19
             Why didn't they work together              19
                                                           backlash or whatever for it afterwards.
20
   again?                                               20
                                                                      And they have not -- I don't think
21
         A. Apparently there was -- there was,          21
                                                           they've mended their relationship since then. So
22
   like, rumors around, like, they had access to        22
                                                           there's a big, long -- there's all kinds of
23
   Tommy's donation accounts.                           23
                                                           information if you want to look that up.
24
             And while he was in prison, they           24
                                                           Lawrence Southern wrote a whole piece on it or
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                                                              1 of money for doing that.
 1
   something.
 2
        Q. Do a lot of people have vendettas                  2        Q. What's nominal?
 3
   against Tommy Robinson?                                    3        A. I get $500 a month.
 4
        A. I'm sure.                                           4       Q. Okay. And how much time do you
                                                               5 spend in a given month doing that?
 5
            There's a lot of people that have
 6
   vendettas against congressmen. When you're a                6       A. Some months I spend a lot of time.
                                                               7 Some months I spend less.
 7
   public person, absolutely.
 8
        Q. You just mentioned a George in                      8           But I definitely spend a good
                                                               9 amount of time doing it.
 9
   your answer to my last question.
10
        A. No, I didn't. I said I'm sure.                     10       Q. Okay. So can you give me just a
                                                              11 brief description of what your job is in managing
11
        Q. No, I mean -- in the question that
                                                              12 the social media? What do you do?
12
   I asked you before that.
13
        A. Oh, Calan and George were a team.                  13       A. It's not just social media.
                                                              14 There's all kinds of stuff. So, like, the budget
14
        Q. Right. So all I want to know is
                                                              15 for, you know, should we spend more on digital
15
   George who?
                                                              16 advertising? The strategy behind it. Managing
16
        A. I don't know -- do I know his last
                                                              17 the Facebook comments that come in. Managing the
17
   name? Calan and George. I just know it was
                                                              18 campaign e-mail. Managing the, you know,
18
   Calen and George.
                                                              19 interaction between the chief of staff and the
19
        Q. George Egler?
                                                              20 vendors and the fundraising team and coordinating
20
        A. No.
                                                              21 of that kind of stuff.
21
        Q. Different George?
22
        A. Yeah.                                              22           It's a very complicated thing.
                                                              23 Especially in an election year.
23
        Q. Okay.
24
        A. George Egler is like old. The                      24       Q. You manage the congressman's
                                                   Page 381                                                       Page 383
 1 other George is, like, real young.
                                                        social media accounts?
                                                              1
 2       Q. Just to back up real quickly.             2
                                                              A. Yes. Like I'm responsible for
 3            Do you -- so you're Director of         3
                                                        hiring the company that puts out small -- well, I
 4 Communications for Congressman Randy Weber right 4
                                                        put out some content and then we hired a company
 5 now, correct?                                      5
                                                        that puts out some content.
 6       A. Yeah.                                     6
                                                              Q. Well, so just -- again, by way of
 7       Q. Do you also manage his campaign           7
                                                        example, like if I'm on Twitter tonight and see a
 8 social media fundraising?                          8
                                                        Tweet from Congressmen Weber, is that something
 9       A. Not his fundraising. But his              9
                                                        you would have written or posted?
10 campaign social media and some of the messaging.  10
                                                              A. So there are some tweets that I
11 Not all of it.                                    11
                                                        post for him. But, like, largely he posts his
12       Q. Okay. Are you paid separately for        12
                                                        own social media all the time.
13 that?                                             13
                                                                   He actually had an accidental post
14       A. I am.                                    14
                                                        the other night that I deleted for him, but he
15       Q. Okay. And so that's not part of          15
                                                        wrote it.
16 your core job as Director of Communications?      16
                                                              Q. Okay. Okay. So I think you said
17       A. I mean, it's part of my job.             17
                                                        you do manage it, but you're not the sole person
18       Q. Okay.                                    18
                                                        who operates it?
19       A. Because of the way I have to do          19
                                                              A. No. Like -- I pretty much am the
20 campaign work on my own time, and you can hire a  20
                                                        sole person who operates his Facebook and his
21 certain amount of people to work on the campaign, 21
                                                        Instagram. But his Twitter, he tweets on his own
22 like, that are actual staff members, as long as   22
                                                        often and retweets on his own often. More than
23 they do their work on their own time. And I get   23
                                                        I'd like him to.
24 a nominal portion -- like a get a nominal amount  24
                                                              Q. Okay. Who's Danny Barker?
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 1
         A. Barker. He was a long-time friend             1
                                                                produced in McNulty, which has nothing to
 2
   of Tommy Robinson and did security work for him        2
                                                                do with the AEO designation.
 3
   off and on for the last, like, I guess, 10 years,      3
                                                                      I'm gonna offer this to you again,
 4
   I guess. Maybe longer, maybe shorter. Something        4
                                                                do you want to go off the record to
 5
   like that.                                             5
                                                                discuss this?
 6
         Q. Okay. Did you have a relationship             6
                                                                      MR. CARSON: Yeah, I think we
 7
   with him?                                              7
                                                                should seal this part of the --
 8
         A. Not a sexual one. A friendship.               8
                                                                      MR. CAVALIER: We can seal them,
 9
         Q. Okay. When did that friendship                9
                                                                too, if you'd like.
10
   begin?                                                10
                                                                      MR. CARSON: There's nothing here
11
         A. When we started working on the               11
                                                                to discuss.
12
   campaign.                                             12
                                                                      MR. CAVALIER: Is that the easiest
13
         Q. So that would have been early                13
                                                                way to do it, Seth, do you want to seal
14
   2019?                                                 14
                                                                it?
15
         A. Uh-huh. May, I think you said.               15
                                                                      There's nothing in here that's
16
         Q. Okay. I want you to look at a                16
                                                                going to be incredibly sensitive that I
17
   document here real quick. Just give me a second       17
                                                                think you're concerned about.
18
   to pull it up.                                        18
                                                                      MR. CARSON: Okay.
19
              All right. So this is a What's             19
                                                                      MR. CAVALIER: Well, we can seal
20
   App message chain.                                    20
                                                                it if you'd like. I have no problem with
21
         A. For Barker.                                  21
                                                                that.
22
         Q. For Barker?                                  22
                                                                      MR. CARSON: Yeah, I think we
23
         A. Yeah.                                        23
                                                                should treat the deposition transcript as
24
         Q. Do you recognize this phone                  24
                                                                a confidential document.
                                              Page 385                                                       Page 387
 1
   number?                                                1
                                                                     MR. CAVALIER: Why don't we do
 2
      A. I don't recognize anybody's phone                2
                                                                that and then you and I can have a
 3
   number.                                                3
                                                                conversation after the fact, if there's
 4
      Q. Okay.                                            4
                                                                anything you're worried about within in
 5
            MR. CARSON: Aren't these messages             5
                                                                it, we can deal with it that way.
 6
      supposed to be attorney's eyes only?                6
                                                                     MR. CARSON: Okay.
 7
            MR. CAVALIER: No.                             7
                                                                     MR. CAVALIER: Is that fair?
 8
            MR. CARSON: Yeah, they are. I                 8
                                                                     THE DEPONENT: I'm sorry I'm
 9
      mean --                                             9
                                                                sitting like this. My head and my neck
10
            MR. CAVALIER: Do you want to go              10
                                                                are just killing me.
11
      off the record and discuss that?                   11
                                                                     MR. CAVALIER: That's okay. I'm
12
            MR. CARSON: I mean, we didn't                12
                                                                just going to note for the record here,
13
      discuss any of this stuff, so --                   13
                                                                too, this was a document that was
14
            MR. CAVALIER: Pardon me? I                   14
                                                                produced prior to the AEO order that came
15
      couldn't hear you.                                 15
                                                                out of Wolf's.
16
            MR. CARSON: There was no                     16
                                                                     That's why I'm saying, like,
17
      discussion about removing that                     17
                                                                there's a lot of different documents we
18
      designation from any of these, not one.            18
                                                                looked at here today and I just wanted to
19
      Not any of the ones we saw today.                  19
                                                                note for the record what they are.
20
            MR. CAVALIER: I don't -- first of            20
                                                                     THE DEPONENT: I don't even know
21
      all, there's so many issues with that              21
                                                                an AEO order is.
22
      objection, I'm not even really sure where          22
                                                            BY MR. CAVALIER:
23
      to start.                                          23
                                                                Q. There's some documents that have
24
            Some of the stuff we looked at was           24
                                                            been produced in this case that are AEO,
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 1
   attorney's eyes only --                              1
                                                                 A. We just -- Danny was somebody I
 2
         A. Okay.                                        2
                                                           got along with really, really well. We never had
 3
         Q. -- meaning that unless and until             3
                                                           an intimate relationship. I never kissed him. I
 4
   they're some kind of discussion or waiver, they       4
                                                           missed him so much. I love him like a brother.
 5
   can only be shared with outside counsel.              5
                                                                      I have a friend here, James, who I
 6
               This document was produced before         6
                                                           hang out with all the time, too. I always joke
 7
   that order, but again, I think once we get into       7
                                                           around, he's my boyfriend. But he's not. Like,
 8
   it, you'll see there's not the issue that your        8
                                                           I've never had sex or kissed him either.
 9
   counsel's worried about anyway.                       9
                                                                      But Danny and I are really close
10
               But we can take that when it             10
                                                           and we were really, really fond of each other.
11
   comes.                                               11
                                                           But we were never romantically interested. This
12
               Okay?                                    12
                                                           is just us being goof and fun.
13
               First thing I want to ask, can you       13
                                                                      He's a sweet guy. I feel bad for
14
   see this document okay? Can you read it?             14
                                                           him.
15
         A. Yeah, for the most part.                    15
                                                                 Q. Why do you feel bad for him?
16
         Q. Okay. I'll pop it up one more.              16
                                                                 A. It's just a hard life. Like a lot
17
               So I want to ask you about this          17
                                                           of the guys over there do. They live paycheck to
18
   here on May 9th, 2019.                               18
                                                           paycheck. And they struggle. And they're always
19
         A. Uh-huh.                                     19
                                                           just trying to do the right thing. And sometimes
20
         Q. Danny Barker asks you, I'm in               20
                                                           life knocks them down. And Danny is one of them.
21
   agony, do you got any good pain killers? Your        21
                                                           He is a sweet, sweet guy.
22
   answer is, I do. I have narcotics. Ha, ha, what      22
                                                                 Q. Okay. So here we have you telling
23
   do you got?                                          23
                                                           Danny Barker that you love him for being there
24
         A. I always have that. Yep.                    24
                                                           for you and you're acknowledging you're being
                                             Page 389                                                       Page 391
 1
         Q. I'm sorry, you said what?                1
                                                       sappy but you're happy that he's in your life.
 2
         A. Yep. I have, like -- because of          2
                                                              A. Uh-huh.
 3
   my kidney problems and stuff like that, I have    3
                                                              Q. He writes back and says, I'll
 4
   like Toradol on hand all the time.                4
                                                       always be there for you. I wish I could have
 5
         Q. Okay. Why was -- why were you            5
                                                       told you when you were over there.
 6
   telling Danny Barker that?                        6
                                                              A. Uh-huh.
 7
         A. He asked me. I'm in agony. I             7
                                                              Q. You write back to him, I was just
 8
   don't remember how he got hurt. Maybe something   8
                                                       telling my girl what an amazing person you are.
 9
   happened to him, but like, whatever.              9
                                                       I really wish I lived there.
10
         Q. Did you give him some of the meds?      10
                                                              A. Uh-huh.
11
         A. I don't even know if I was there        11
                                                              Q. What do you mean by that?
12
   then. I probably was, but I probably didn't      12
                                                              A. Just had such a good, like, -- the
13
   though.                                          13
                                                       people that I met over there, you know, while --
14
         Q. But you don't remember?                 14
                                                       even though that they were, like, you know --
15
         A. No. But if he was, like, legit          15
                                                       even though they were, like, sometimes rough and
16
   hurt or something, I mean, I wouldn't be opposed 16
                                                       tumble like that, like deep down they had these
17
   to giving him a Toradol, if he didn't feel good. 17
                                                       really amazing hearts.
18
         Q. Okay. There's a lot of references       18
                                                                  And to me, like, you know,
19
   in this document to husband and wife.            19
                                                       sometimes I wish I grew up knowing people that
20
         A. Yes.                                    20
                                                       had that genuineness about them.
21
         Q. I'm assuming that that's                21
                                                                  There's part of me that, like, you
22
   colloquial. But I wanted to ask you what that    22
                                                       know, wished in, like, some other life I lived
23
   meant and why you guys referred to each other    23
                                                       there. And, like, I grew up and my kids had
24
   that way.                                        24
                                                       little British accents. It would have been
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 1
   adorable, you know.                              1
                                                                 And we went back and forth. And I
 2
        Q. Okay.                                    2
                                                      couple -- I wrote a draft of a proposal and then
 3
        A. I still wish my kids had little          3
                                                      another one and then another one.
 4
   British accents. Like that Santa Claus kid.      4
                                                                 I think that Daniel even liked it.
 5
             I can't even do a good British         5
                                                      And for a minute they were considering it. And I
 6
   accent. I would never survive.                   6
                                                      was like if I got -- if they let me run it, that
 7
        Q. Just going to the right page here.       7
                                                      would be awesome. Because I could go back and
 8
             MR. CARSON: This is why we never       8
                                                      forth, be with the cool people and bring my kids.
 9
        get done.                                   9
                                                      Maybe have my kids go over to England and start
10
             THE DEPONENT: What do we got          10
                                                      from a little voice learning how to have that
11
        left? Like a half an hour?                 11
                                                      little British accent.
12
             MR. CAVALIER: I was just going to 12            Q. Was the fact that MEF was
13
        ask the reporter that in a second.         13
                                                      opening -- was considering opening up a London
14
   BY MR. CAVALIER:                                14
                                                      office a confidential issue for them?
15
        Q. Okay. Same document.                    15
                                                             A. Not that I'm aware of.
16
        A. Uh-huh.                                 16
                                                             Q. Who else did you share the notion
17
        Q. You're talking with Danny.              17
                                                      that MEF was considering opening up a London
18
             Here you say, he asks how are you     18
                                                      office with?
19
   feeling today.                                  19
                                                             A. I think I asked -- because Amy
20
             You say, a little. Just think I       20
                                                      knows all those people in the box party that they
21
   don't give a fuck. And he says, about what? You 21
                                                      wanted -- I think I asked a bunch of people,
22
   say, work. I want to quit.                      22
                                                      because Daniel was asking me to identify in each
23
        A. Uh-huh.                                 23
                                                      state -- he had like these four, like, the
24
        Q. And Danny says, come there. You         24
                                                      Bezigrad states or whatever -- maybe it was more
                                               Page 393                                                         Page 395
 1 say, I hate my boss.   He is a bad person. We may      1
                                                              than that.
 2 be opening an office in London.                        2
                                                                        And he asked me to identify the
 3            I pray they give it to me to run.           3
                                                             key players in the party and then to get their
 4 If I didn't have the kids, I would have quit and        4
                                                             contact information. And a lot of that
 5 stayed and found a job there.                           5
                                                             information is hard to get.
 6       A. All true.                                      6
                                                                        I mean, you're talking about the
 7       Q. Okay. Tell me about this                       7
                                                             leader, like Sallavanti in Italy. Like, it's not
 8 statement you may be opening an office in London.       8
                                                             easy to get his phone number. But Amy has that
 9       A. So Greg -- not Greg. Was it                    9
                                                             kind of contacts. She always did.
10 Daniel? Greg. One of them. I forget who it             10
                                                                        So I definitely asked her for
11 was.                                                   11
                                                             help. I asked Sam for help. Westshop who works
12            But they were talking about                 12
                                                             with MEF.
13 expanding operations to London, to Europe, in          13
                                                                        I think I asked Janice Atkinson
14 general. And we were talking about a proposal to       14
                                                             for a couple contacts. I mean, I asked a bunch
15 expand MEF and -- to expand MEF and they asked me      15
                                                             of people for contacts, because that's what they
16 to -- to write it up.                                  16
                                                             wanted me to do.
17            And I think, like, I asked input            17
                                                                   Q. Did you share internal MEF
18 from Sam. I asked input from people, like, who         18
                                                             documents with those people?
19 the big players were. There was, like, that back       19
                                                                   A. I don't think so.
20 and forth, a bunch of e-mails about, like, they        20
                                                                   Q. Did you share a document titled
21 wanted me to, like, organize what companies we'd       21
                                                             MEF Europe with Amy Meckleberg?
22 talk to, would we do it from a grassroots              22
                                                                   A. Yeah. I think I was asking her
23 approach? Would we do a top-down approach, where       23
                                                             for input.
24 we would work with, like, government officials?        24
                                                                        I mean, that's my draft of what
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 1 I'm gonna submit.     Asking her if she thinks it's     1
                                                                          We are off the record.
 2 a good idea, since she works with those parties          2
                                                                          The time is 6:12 p.m.
 3 all the time.                                            3
                                                                          Back on the record.
 4            It's not an internal document.                4
                                                              BY MR. CAVALIER:
 5 It's my draft.                                           5
                                                                     Q. Ma'am, are the skills that you
 6       Q. Did you ever, at this point in                  6
                                                              learned at the Forum helping you perform your job
 7 time or any other, consider taking a job working         7
                                                              duties right now?
 8 for a PR consultancy firm?                               8
                                                                     A. Some of them. Most though came
 9       A. I had an interview. And then I                  9
                                                              from institutional knowledge from Congressman
10 found out that they work with Mohammed Bin Salman       10
                                                              Costello's office, because it's on the Hill.
11 and they wanted me to based in DuBai, even though       11
                                                              It's a different venue.
12 they had an office in America and London.               12
                                                                     Q. How is your life going right now?
13            And that wasn't of interest to me.           13
                                                                          MR. CARSON: How's what? What's
14 And then when I talked to -- when I had an              14
                                                                     the question?
15 introductory interview, I basically let the woman       15
                                                              BY MR. CAVALIER:
16 know that on the phone and then we stopped              16
                                                                     Q. My question is how is your life
17 talking about it.                                       17
                                                              going right now?
18       Q. What part of that was not of                   18
                                                                     A. Hard.
19 interest to you?                                        19
                                                                     Q. Why is it hard?
20       A. Well, living in Dubai, Mohammed                20
                                                                     A. I'm away from my kids a lot.
21 Bin Salman.                                             21
                                                              Money's tight because of the extra whole nother
22            At first when I had originally               22
                                                              apartment to pay for.
23 talked to her, like the very first time before          23
                                                                          I have a demanding job that I
24 the official interview, she said that she had an        24
                                                              love. And I love my boss. I love my co-workers.
                                                Page 397                                                       Page 399
 1
   office in London, Dubai and in the U.S. and that,       1
                                                                        But it's not easy. Like the other
 2
   you know, most times that people could split             2
                                                              day, my daughter was leaving to go home, like,
 3
   those things or, you know, work out of one area          3
                                                              back to Philly because she had school and she was
 4
   but travel to the others.                                4
                                                              crying that she wanted me to be there in the
 5
             And so that was of interest to me.             5
                                                              morning to do her hair. And that breaks my
 6
   But then when I spoke with her, she was more             6
                                                              heart.
 7
   interested in having the main hub be in Saudi            7
                                                                   Q. You said you love your job right
 8
   Arabia and I wasn't interested in that.                  8
                                                              now?
 9
         Q. Did you ever create a Facebook                  9
                                                                   A. I do. I love my boss.
10
   page profile with the name Oliva Estranimkis?           10
                                                                   Q. You like your boss, too?
11
         A. I don't even know what that last               11
                                                                   A. I love him.
12
   name is.                                                12
                                                                   Q. Is it safe to say then that you
13
         Q. I can spell it you for.                        13
                                                              prefer your current job than your job at MEF?
14
   E-S-T-R-A-N-I-M-K-I-S.                                  14
                                                                   A. Oh, that's safe to say.
15
         A. Maybe, I don't know. I don't                   15
                                                                   Q. And you would not, if given the
16
   know.                                                   16
                                                              opportunity, give up your current job to go back
17
         Q. You don't remember that?                       17
                                                              to work for the Middle East Forum, correct?
18
         A. I don't remember that.                         18
                                                                   A. You would have to -- over my dead
19
             MR. CAVALIER: Okay. So listen, I              19
                                                              body would I ever go back to Middle East Forum.
20
         want to ask the -- I want to go off the           20
                                                                   Q. Have you taken any vacations
21
         record for a minute and ask the court             21
                                                              recently?
22
         reporter how long we've been going.               22
                                                                   A. A bunch.
23
             THE VIDEOGRAPHER: The time is                 23
                                                                   Q. Where to?
24
         5:59 p.m.                                         24
                                                                   A. Texas, Puerto Rico, Wisconsin.
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 1
        Q. When did you go to Texas?          1
                                                That -- I do a lot of things that people would
 2
        A. A bunch of times. Like in the      2
                                                consider work, I do that for fun. Like filming
 3
   beginning of Corona Virus shutdown.        3
                                                or editing or writing things for people.
 4
        Q. How many times have you gone to    4
                                                      Q. Okay. And who did you go to
 5
   Texas over the past year?                  5
                                                Puerto Rico with?
 6
        A. I think two for work -- maybe      6
                                                      A. Brian Coyne.
 7
   three for work. Two for personal.          7
                                                      Q. Both times?
 8
        Q. How do you get there?              8
                                                      A. Yep.
 9
        A. Fly.                               9
                                                      Q. How long did you stay the first
10
        Q. When did you go to Wisconsin?     10
                                                time you went?
11
        A. When did I go to Wisconsin? Right 11       A. Like a bunch of days. I think
12
   around the DNC in August.                 12
                                                like 20 days or something crazy.
13
        Q. Who did you go to Wisconsin with? 13       Q. Okay. And how about the second
14
        A. Myself.                           14
                                                time you went, how many days?
15
        Q. For vacation?                     15
                                                      A. Three or four, I think.
16
        A. Yeah. I was going to watch a      16
                                                      Q. Okay. How did you get there?
17
   panel discussion.                         17
                                                      A. I flew.
18
        Q. And where else besides Texas and  18
                                                      Q. Private?
19
   Wisconsin did you go on vacation?         19
                                                      A. No. Oh, you mean like -- like a
20
        A. Puerto Rico.                      20
                                                commercial airline.
21
        Q. When did you go to Puerto Rico? 21         Q. Both times?
22
        A. March and December.               22
                                                      A. Yep.
23
        Q. March and what?                   23
                                                      Q. Did you stay at a resort?
24
        A. December.                         24
                                                      A. Yeah. Both time -- well, yeah,
                                            Page 401                                                       Page 403
 1
         Q. So you've been to Puerto Rico            1
                                                       like -- well, one we stayed -- the one time we
 2
   twice over the past year?                         2
                                                       stayed at a hotel and then an AirBNB.
 3
         A. Yeah. Oh, and I went to Florida,         3
                                                                 And then the second time then we
 4
   too.                                              4
                                                       were at one resort and we went back -- he
 5
         Q. Okay. And when did you go to             5
                                                       currently, until his, like, new apartment in
 6
   Florida?                                          6
                                                       Puerto Rico is ready, occupies the presidential
 7
         A. Right before Christmas.                  7
                                                       suite of the El San Juan Hotel.
 8
         Q. Okay. Who did you go to Florida          8
                                                             Q. Does Brian Coyne have access to a
 9
   with?                                             9
                                                       private plane?
10
         A. My friend James.                        10
                                                             A. He just got one, yeah.
11
         Q. Okay. Where do you know James           11
                                                             Q. Have you ever been on it?
12
   from?                                            12
                                                             A. Nope.
13
         A. James is a Newsmax -- actually, he      13
                                                             Q. So do you get paid more now in
14
   is an official employee of Newsmax now. He was a 14 your current job than you did at the Forum?
15
   contributor.                                     15
                                                             A. Yes. But it doesn't matter,
16
              And he asked me to go with him to     16
                                                       because my expenses are actually -- like I have
17
   help film. And since my kids had Corona virus at 17 less money to spend at the end of every month.
18
   the time and I couldn't be around them, and my   18
                                                                 As a matter of fact, it's so bad
19
   mother-in-law and my husband, I said, let's go.  19
                                                       that usually the last two weeks of the month, I
20
         Q. Okay. And you said you were doing       20
                                                       don't have any money at all.
21
   video work for him but still you consider that a 21
                                                             Q. Okay. But it sounds like, and you
22
   vacation, correct?                               22
                                                       can correct me if anything I'm about to say is
23
         A. Yeah. I'm not getting paid. I do        23
                                                       wrong, but you work in a job that you love,
24
   a lot of things that are work-related for fun.   24
                                                       you're getting paid more money, you've been on
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 1
   vacations over the past year, multiple times to        1 MEF, too, is that they are one of the places to
 2
   Texas, to Wisconsin, to Florida, and to Puerto         2 call me back and it was a conservative
 3
   Rico twice.                                            3 organization.     I was, like, yes.
 4
             It seems like your life's in a               4             But there isn't the opportunity
 5
   pretty good spot right now.                             5 there. And a lot of these political jobs don't
 6
             No?                                           6 translate well to, like, regular people jobs.
 7
        A. I guess from the outward opinion,               7            I mean, you don't know about
 8
   if you look at it like that. But the answer's           8 franking requirements? You know what I'm saying?
 9
   no.                                                     9 Or when the blackout periods are. That's the
10
        Q. All right. So tell me why it's                 10 institution knowledge that I was going to have
11
   not.                                                   11 from working in Congress.
12
        A. I just explained to you.                       12            So it was very difficult. And I
13
             My kids are not near me.                     13 knew that if I left the Middle East Forum, which
14
             Right?                                       14 is part of the reason why I stayed, that really
15
             My daughter is having emotional              15 the only opportunity would be -- for me would be
16
   issues from me being separated from her. So much       16 in D.C. and that is exactly what happened.
17
   that we started counseling for my daughter.            17            I got a job quickly in D.C.,
18
             She goes down here in D.C.,                  18 because this market is more set to my skill set.
19
   Virginia area every other Saturday. We are             19       Q. Do you have a real estate license?
20
   having disputes about where the kids are gonna go      20       A. I used to. It expired.
21
   to school full-time, either down here. We are          21       Q. Is there any particular reason
22
   interviewing for another school down here.             22 that you couldn't have renewed that license and
23
             I have, you know, all these lovely           23 worked in real estate in Philadelphia if you
24
   lawsuits. My life is exponentially not better.         24 wanted to?
                                               Page 405                                                          Page 407
 1
   As a matter of fact, like I said, in order to      1
                                                              A. You have to have upfront money to
 2
   have my kids down here as much, I needed the       2
                                                        do that. And then you have to pay money to get
 3
   place that I'm staying in, which I moved outside   3
                                                        it out of escrow. And then take two human
 4
   of the Washington, D.C. in order to do and         4
                                                        educations classes.
 5
   that -- at a reduced cost of what rent is.         5
                                                                    And I'm not even sure if my thing
 6
              And even then, I'm struggling to        6
                                                        is even in escrow. I believe that it can stay
 7
   make ends meet. Like last month, the last          7
                                                        there for a couple years.
 8
   week -- work last week of the month is the way     8
                                                                    But I didn't keep up with my
 9
   that you get paid in the House only has -- you     9
                                                        continuing    education classes, so I'd have to take
10
   only get -- what do you call it? You get paid     10
                                                        the exam all over again and pay money to get my
11
   once a month and I was eating like Ramen.         11
                                                        license and get a thing.
12
         Q. Okay. But you're -- the fact that        12
                                                                    And let me tell you, the market
13
   you live in D.C., that's not something that you   13
                                                        isn't really great. You can ask my husband.
14
   blame MEF for, correct?                           14
                                                              Q. Speaking of which, your husband
15
         A. I think that there are - I had           15
                                                        does do real estate, correct?
16
   difficulty before I worked for MEF as I knew      16
                                                              A. Correct.
17
   Congressman Costello was transitioning, like, out 17       Q. So he could have helped you with
18
   of Congress, that there are hardly any, unless    18
                                                        all that, right?
19
   you go out to Western Pennsylvania, jobs for      19
                                                              A. What do you mean help me? What,
20
   conservatives.                                    20
                                                        be a real estate agent?
21
              And I came up against that quite a     21
                                                                    I'm not -- I was never good at,
22
   bit. And then, you know, I had put out resumes 22 nor did I ever make any money -- sufficient money
23
   before even when I was in my search for MEF as 23 being a real estate agent.
24
   part of the motivation at working originally at   24
                                                                    Some people are not fit for
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 1
   certain jobs. And, no, that would have taken --      1
                                                           because at least I know these people are safe and
 2
              Think about it.                            2
                                                           mentally good people.
 3
              You would have go to school again.         3
                                                                       I'm definitely afraid to change
 4
   You have to take the test again. That would take      4
                                                           jobs a hundred percent.
 5
   months and months and months of not being             5
                                                                 Q. I understand that.
 6
   employed to do that.                                  6
                                                                       But my question wasn't -- you said
 7
         Q. Well, and to your point, you're              7
                                                           earlier that you love your job. You love your
 8
   good at your job for the Congressman, right?          8
                                                           boss.
 9
         A. Yes. That's what I went to school            9
                                                                       And what I'm trying to figure out
10
   for. Yes.                                            10
                                                           is whether you're blaming the Middle East Forum
11
         Q. Okay. So what I'm trying to                 11
                                                           for your current job, the fact that you work for
12
   figure out from you is whether you blame the         12
                                                           Congressmen Weber?
13
   Middle East Forum for the fact that you're           13
                                                                 A. What do you mean by blame?
14
   working in what you described as a great job for     14
                                                                       MR. CARSON: Object to the
15
   a boss you love in D.C.?                             15
                                                                 question. Object to the form.
16
         A. What I blame Middle East Forum for          16
                                                                       THE DEPONENT: What I'm doing
17
   is for their abusive behavior towards me as an       17
                                                                 is -- I'm not blaming them for anything.
18
   employee while I was working there.                  18
                                                                       What I'm blaming them for is the
19
              And would I have loved to have            19
                                                                 way they treated me and what they did to
20
   stayed there and finish the good work that I         20
                                                                 my, like, my mental capacity and all
21
   thought MEF was doing and stay in Philly near my     21
                                                                 kinds of other things.
22
   family and things like that? Yeah.                   22
                                                                       I'm blaming them for having my
23
              Or would I have had time to, like         23
                                                                 director physically assault me and, you
24
   you know, ease my way into taking a longer job       24
                                                                 know, -- and then my -- the president of
                                             Page 409                                                       Page 411
 1
   search and things like that?                         1
                                                                 the organization thinks that it's fine.
 2
              No, but I had to get out of there          2
                                                           BY MR. CAVALIER:
 3
   because it was insane.                                3
                                                                 Q. Well, just to be clear, part of
 4
         Q. Okay. I understand that's what               4
                                                           your stress in working at MEF was your difficult
 5
   you're saying is the reason behind your decision      5
                                                           relationship with Marnie Meyer, correct?
 6
   to resign.                                            6
                                                                      MR. CARSON: Objection. Assuming
 7
              But that was now, what, 18 months          7
                                                                 facts not in evidence.
 8
   ago?                                                  8
                                                                      THE DEPONENT: I did have a
 9
         A. Now I'm shell shocked. I'm                   9
                                                                 difficult relationship with Marnie Meyer
10
   afraid. I said this to somebody else.                10
                                                                 and it was created by Greg.
11
              So Congressman Costello asked me          11
                                                           BY MR. CAVALIER:
12
   the other day, like, Lis, you worked for Randy       12
                                                                 Q. Was that stressful for you?
13
   for, like, ever. Like, what do you plan to do?       13
                                                                 A. Yeah.
14
   Where are you going to go next?                      14
                                                                 Q. Okay. I just want to talk about
15
              I see bigger and greater things           15
                                                           what you said there, because it's important that
16
   for you. And I said, no, I'm not going anywhere      16
                                                           I understand the distinction you're drawing.
17
   ever, because I have a healthy work environment      17
                                                                      You blame -- I think you just said
18
   and I'm so shell shocked because Ryan Costello's     18
                                                           you blame Middle East Forum for making your life
19
   office was a good office.                            19
                                                           a living hell while you worked there, correct?
20
              And then I went and left for the          20
                                                                 A. Yes.
21
   Middle East Forum and it was horrific.               21
                                                                 Q. Do you blame the Middle East Forum
22
              And, honestly, so I'm legit afraid        22
                                                           for any of your current circumstances relating to
23
   to make a move. Americans for Prosperity reached     23
                                                           your job?
24
   out to me. And I'm afraid to go anywhere else,       24
                                                                 A. If that job -- if my direct boss,
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 1
   Greg Roman, was not a nightmare, I would have         1
                                                                    MR. CAVALIER: Your witness used
 2
   stayed there forever and I would not be in D.C.       2
                                                               the words. I'm relying on her
 3
                You tell me what that means. I           3
                                                               definition.
 4
   don't know what you're trying get at but that's       4
                                                                    MR. CARSON: To the extent she
 5
   the truth.                                            5
                                                               understands, she's welcome to answer the
 6
          Q. Are you happy working in D.C.?              6
                                                               question. Although I think it's pretty
 7
          A. Part of me is and part of me                7
                                                               obvious, the textbook definition of
 8
   isn't.                                                8
                                                               extortion, what happened that day.
 9
                I said I love my job and I love my       9
                                                                    But, you know, we'll get to that
10
   boss. But do I not like being away from my           10
                                                               later.
11
   children.                                            11
                                                                    Lisa, you can answer the question.
12
                I hate it as a matter of fact.          12
                                                                    THE DEPONENT: He said come meet
13
          Q. What is your goal in pursuing this         13
                                                               me, 30th Street Station. I want to
14
   lawsuit?                                             14
                                                               discuss our mutual problem.
15
          A. Justice.                                   15
                                                                    And then we started -- so he said,
16
          Q. Define justice for me.                     16
                                                               make sure your phones are off. And I'll
17
          A. Greg Roman paying for his actions.         17
                                                               come up with a settlement agreement and
18
          Q. Monetarily?                                18
                                                               whatever so that we can both get rid of
19
          A. Being held --                              19
                                                               these mutual problems without our
20
                MR. CARSON: Objection.                  20
                                                               lawyers, because they just keep causing
21
          Objection. Calls for a legal conclusion.      21
                                                               trouble.
22
          It's also argumentative.                      22
                                                                    So I get there. Turn my own off.
23
                What other -- you want to suggest       23
                                                               Do everything he says. He says he thinks
24
          some other form of resolution? We'd be        24
                                                               I'm a fine person and that, like, you
                                             Page 413                                                       Page 415
 1
        happy to listen to it.                           1
                                                                know, he doesn't think I'm a bad person.
 2
             But so far as we know monetarily            2
                                                                     He thinks highly of me. All this
 3
        is the only option available to us, so,          3
                                                                nonsense.
 4
        yes.                                             4
                                                                     And then he says, if you don't
 5
   BY MR. CAVALIER:                                      5
                                                                crop these cases and testify against
 6
        Q. What does being held responsible              6
                                                                Tricia and Marnie and help him with the
 7
   look like to you?                                     7
                                                                other cases, then he's gonna file a RICO
 8
        A. I think that Greg Roman should be             8
                                                                criminal racketeering case on me.
 9
   punished by the Middle East Forum and held            9
                                                                     By the way, which if you ever look
10
   accountable for misbehavior.                         10
                                                                at my finances, you know, all of them
11
        Q. Punished how?                                11
                                                                from forever, I've never gotten an extra
12
        A. Fired hopefully. I said that to              12
                                                                penny of anything from anywhere from
13
   Daniel Pipes, when he was trying to extort me.       13
                                                                anyone ever.
14
        Q. Pardon me?                                   14
                                                                     So tell me how that's possible?
15
        A. When he was trying to extort me at           15
                                                                He extorted me. That's what he did.
16
   30th Street Station.                                 16
                                                           BY MR. CAVALIER:
17
        Q. Let's talk about that for a                  17
                                                                Q. He met with you to discuss the
18
   second.                                              18
                                                           resolution of your lawsuit against the Middle
19
             Why do you say that he was trying          19
                                                           East Forum?
20
   to extort you?                                       20
                                                                     MR. CARSON: Let him get the
21
        A. Because that's definitely --                 21
                                                                question out.
22
             MR. CARSON: I'm just gonna object          22
                                                                     But what you just described is
23
        to the extent it calls for a legal              23
                                                                literally the definition of extortion.
24
        conclusion as to what extortion is.             24
                                                                     But go ahead.
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                                             Page 416                                                       Page 418
 1
   BY MR. CAVALIER:                                   1
                                                              explained that if she testified
 2
        Q. Isn't it true that during your             2
                                                              truthfully against it, it wouldn't be
 3
   meeting that you just described, you discussed     3
                                                              helpful to the Middle East Forum.
 4
   the resolution of your lawsuit against the Middle 4             THE DEPONENT: Thank you.
 5
   East Forum and the Middle East Forum's lawsuits    5
                                                        BY MR. CAVALIER:
 6
   against you?                                       6
                                                              Q. Did he ask you to testify falsely?
 7
             MR. CARSON: I'm gonna object.            7
                                                                   MR. CARSON: You can answer what
 8
        But you can answer.                           8
                                                              your understanding was.
 9
             THE DEPONENT: A very poor                9
                                                                   THE DEPONENT: He implied.
10
        mischaracterization.                         10
                                                        BY MR. CAVALIER:
11
             He said that we have resources          11
                                                              Q. How was it implied?
12
        that you do not have. He said to me, I       12
                                                              A. Because like I said, if I
13
        understand how much debt that you're in.     13
                                                        testified, saying everything that I've been
14
        What we can do for you is we can pay for     14
                                                        telling you, it would certainly not help the
15
        your debt resolution and solve your          15
                                                        Middle East Forum. If anything, it would hurt
16
        problem with any debt that you have.         16
                                                        them.
17
             If you drop this, we'll pay for         17
                                                                   And so if he wanted me to testify
18
        the lawyers to get you out of debt -- out    18
                                                        against them, then it would be -- then I would
19
        of your debt whoas.                          19
                                                        have to fabricate my thing.
20
             And if you -- and we'll scuttle         20
                                                              Q. Did you get any indication from
21
        the RICO case that we're thinking about      21
                                                        Daniel Pipes, other than your own supposition,
22
        dropping on you. And that we'll do --        22
                                                        that he was asking you to testify untruthfully?
23
        and that we'll do that if you testify        23
                                                                   MR. CARSON: Objection. She just
24
        against Marnie and Tricia.                   24
                                                              answered that question. Literally that
                                             Page 417                                                       Page 419
 1
             That's what he said.                       1
                                                                 same exact question.
 2
   BY MR. CAVALIER:                                      2
                                                                      You can ask it a hundred times,
 3
        Q. Did he ask you to testify falsely?            3
                                                                 you're going to get the same answer.
 4
             MR. CARSON: Objection. Object to            4
                                                           BY MR. CAVALIER:
 5
        the form of the question.                        5
                                                                 Q. So it's fair to say -- I'll
 6
             The witness can answer.                     6
                                                           withdraw the question.
 7
             THE DEPONENT: Everything that I             7
                                                                      It's fair to say then that you
 8
        have said about what happened is a               8
                                                           assumed that because Daniel Pipes asked you to
 9
        hundred percent true.                            9
                                                           testify that he wanted you to testify falsely?
10
             And not only that, right, like, so         10
                                                                      MR. CARSON: Objection again.
11
        everything's true. And then if he wants         11
                                                                      You can answer.
12
        me to help them testify against them,           12
                                                                      THE DEPONENT: Again, what
13
        that would be the only thing that would         13
                                                                 other -- if I've been doing nothing but
14
        be left to do is lie, which I would never       14
                                                                 consistently telling the truth, what
15
        do.                                             15
                                                                 would there be to help his case?
16
   BY MR. CAVALIER:                                     16
                                                           BY MR. CAVALIER:
17
        Q. Did you tell him that?                       17
                                                                 Q. Maybe he just wanted you to
18
        A. Yeah. I told him that multiple               18
                                                           testify truthfully.
19
   times. I said under no circumstances. And that       19
                                                                 A. Testify truthfully that Greg Roman
20
   was in a -- so he drew up -- he even drew up an      20
                                                           assaulted us and that freaking Daniel Pipes did
21
   agreement.                                           21
                                                           nothing about it?
22
        Q. Did he ask you to testify falsely            22
                                                                      Okay.
23
   against the other plaintiffs against the Forum?      23
                                                                 Q. Well, I mean that's not true. We
24
             MR. CARSON: Objection. She just            24
                                                           know that, right?
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                                              Page 420                                                       Page 422
 1
             MR. CARSON: Wait. Wait. Wait.               1
                                                            connotation of, like, this political environment
 2
        What?                                             2
                                                            that I'm in.
 3
             THE DEPONENT: Do we?                         3
                                                                      Okay. So it was a big, huge deal
 4
   BY MR. CAVALIER:                                       4
                                                            for me to do that. And part of the reason is
 5
        Q. Yeah.                                          5
                                                            somebody had said to me, if somebody had done
 6
             We know that it's not true that              6
                                                            what you -- like going forward and tell the truth
 7
   Daniel Pipes did nothing about it.                     7
                                                            about him, this would have never happened to you.
 8
             MR. CARSON: I don't know that.               8
                                                                      And I think about my little girl
 9
        But objection. Assuming facts not in              9
                                                            and I think about this happening to other people
10
        evidence. Object to form.                        10
                                                            and what I would -- how irate I would be if it
11
             You can answer.                             11
                                                            happened to any -- anybody younger that I knew
12
   BY MR. CAVALIER:                                      12
                                                            that grew up and was, like, that and that is
13
        Q. Is it your position that Daniel               13
                                                            another reason.
14
   Pipes did nothing about the complaints that you       14
                                                                      I do not want this to ever happen
15
   and the other Forum plaintiffs levied in November     15
                                                            again. And the more we shed light on it and the
16
   of 2018?                                              16
                                                            more we talk about it and the more we talk about
17
        A. Nothing to relieve the burden of              17
                                                            how it's not just and right and wrong and then
18
   Greg Roman.                                           18
                                                            the better this world will be.
19
             It was not effective. And when we           19
                                                                  Q. So your purpose in bringing this
20
   told him it wasn't effective, he didn't do            20
                                                            lawsuit is to make the world a better place?
21
   anything about it.                                    21
                                                                  A. Part of it, yeah.
22
        Q. So ineffective that you then asked            22
                                                                      MR. CARSON: Objection.
23
   to bring him back into the office.                    23
                                                                  Argumentative.
24
        A. Again, I explained to you --                  24
                                                                      THE DEPONENT: Fine. That's true,
                                              Page 421                                                       Page 423
 1
              MR. CARSON: Objection. It's not        1
                                                           though.
 2
         even a question.                            2
                                                                I don't know if you know much
 3
              THE DEPONENT: We're going around 3           about me. But you will know that I am
 4
         in a circle here.                           4
                                                           consistent in my principles.
 5
   BY MR. CAVALIER:                                  5
                                                                And I will tell you that the whole
 6
         Q. So I want to go back to my               6
                                                           reason that I do the job that I do and
 7
   original question.                                7
                                                           the reason that I worked for Middle East
 8
              You said you hoped to get justice      8
                                                           Forum was not for a paycheck.
 9
   and I asked you what that meant to you and you    9
                                                                I can go in the private sector
10
   said seeing Greg Roman punished, fired.          10
                                                           right now and make double the money.
11
              Do you have any other goals in        11
                                                           Okay?
12
   bringing this lawsuit?                           12
                                                                But you have to do something that
13
         A. That's my goals.                        13
                                                           is contributing to society. And that was
14
         Q. Your goal in this lawsuit --            14
                                                           always the way.
15
         A. And it's also to protect anybody        15
                                                                That was always the way when I
16
   else that would be -- you know, that had this    16
                                                           worked at Middle East Forum, too. You
17
   happen.                                          17
                                                           have to do something that you believe is
18
              That was actually -- listen, it's     18
                                                           contributing to society.
19
   very hard for a conservative women in the world  19
                                                                Instead of just, you know,
20
   of Me Too to come out and say, listen, this      20
                                                           catching a buck on some poor, helpless
21
   happened to me, too. That is very hard for me to 21     girl who has been sexually assaulted.
22
   do.                                              22
                                                       BY MR. CAVALIER:
23
              And it is very negative. That         23
                                                           Q. If the Forum fired Greg Roman,
24
   whole idea of it is very negative in the         24
                                                       would that satisfy you with respect to this
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 1
     lawsuit?                                      harassment, sexual assault, sexual anything, it
                                                         1
 2
              MR. CARSON: Objection. I'm just    2
                                                   is not -- is only doing it for the money and not
 3
         gonna object. These questions are very  3
                                                   just justice.
 4
         inappropriate.                          4
                                                              MR. CARSON: I also object to it
 5
              THE DEPONENT: What do you want     5
                                                         being argumentative, because she actually
 6
         from me?                                6
                                                         is equated to a rape victim.
 7
              MR. CARSON: He wants to be able    7
                                                              MR. CAVALIER: By you.
 8
         to argue to the Judge that he can play  8
                                                              MR. CARSON: By us, you're right,
 9
         for a jury that --                      9
                                                         by the case.
10
              MR. CAVALIER: Improper, Seth,     10
                                                              MR. CAVALIER: No, by you. Not by
11
         again.                                 11
                                                         her own words.
12
              THE DEPONENT: I know what he      12
                                                              THE DEPONENT: I'm a sexual
13
         wants.                                 13
                                                         assault victim. I have not been raped.
14
              MR. CARSON: Which he will never   14
                                                   BY MR. CAVALIER:
15
         be allowed to do, which is why these   15
                                                         Q. So you brought up Breanna Taylor.
16
         questions are inappropriate entirely.  16
                                                   She got $12 million, correct?
17
              MR. CAVALIER: I just want         17
                                                         A. I don't know how much she got
18
         truthful questions to my answer.       18
                                                   honestly.
19
              THE DEPONENT: I just gave you a   19
                                                         Q. I'll represent to you that she got
20
         truthful answer.                       20
                                                   $12 million.
21
              MR. CARSON: We all know what this 21
                                                              MR. CARSON: We don't know that.
22
         lawsuit is about.                      22
                                                              THE DEPONENT: Her family did.
23
              This lawsuit is about justice and 23
                                                   BY MR. CAVALIER:
24
         the way our civil justice system       24
                                                         Q. Correct. Because she was killed.
                                              Page 425                                                       Page 427
 1
        identifies and defines justice is through  1
                                                          A. Okay.
 2
        monetary fines.                            2
                                                               MR. CARSON: Where are we going --
 3
             That's how we regulate the system.    3
                                                     BY MR. CAVALIER:
 4
             THE DEPONENT: Wait.                   4
                                                          Q. At one point you demanded
 5
             Do women that are raped, right,       5
                                                     $27 million from the Forum.
 6
        raped and beat, do they bring cases        6
                                                               MR. CARSON: I'm gonna go ahead
 7
        because they want the money?               7
                                                          and object. That's not true.
 8
             Did Breanna Taylor's family bring     8
                                                               THE DEPONENT: That's not true.
 9
        a case because they wanted the money? Or   9
                                                          That's not even remotely true.
10
        because they thought that the court       10
                                                     BY MR. CAVALIER:
11
        system was neglect in their actions -- or 11
                                                          Q. So you're not demanding $27
12
        the police station?                       12
                                                     million?
13
             I mean, you tell me -- you tell me   13
                                                               MR. CARSON: Whoa, whoa, Lisa,
14
        what the reason is for -- for these type  14
                                                          wait. Just wait.
15
        of lawsuits and the reason that           15
                                                               Our initial disclosures speak for
16
        they're -- the function that they're set  16
                                                          themselves and we're not going to talk
17
        up for this way.                          17
                                                          about settlement numbers right here.
18
             This is my recourse. The only        18
                                                               MR. CAVALIER: I'm not asking in
19
        recourse I have.                          19
                                                          term of settlement. I'm asking in terms
20
   BY MR. CAVALIER:                               20
                                                          of the amount of money that would be
21
        Q. Are you equating yourself to a         21
                                                          justice for you.
22
   rape victim?                                   22
                                                               MR. CARSON: She's not going to
23
        A. I'm going with your line of            23
                                                          answer that question.
24
   reasoning that anybody who has suffered sexual 24
                                                               THE DEPONENT: You're right. I'm
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 1
      not going to answer that.                          1
                                                                       You don't know have to answer.
 2
   BY MR. CAVALIER:                                       2
                                                                 It's argumentative.
 3
      Q. Why not?                                         3
                                                                       THE DEPONENT: I don't know. It
 4
      A. Because I don't --                               4
                                                                 would depend. I don't know.
 5
           MR. CARSON: She's not going to                 5
                                                            BY MR. CAVALIER:
 6
      answer that question because she doesn't            6
                                                                 Q. That's a fair answer.
 7
      understand the question.                            7
                                                                       MR. CARSON: Her answer is subject
 8
           And because the question is                    8
                                                                 to my objection.
 9
      designed to embarrass and harass her.               9
                                                            BY MR. CAVALIER:
10
      Has nothing to do with why we are here             10
                                                                 Q. Have you ever spoken to Tiffany
11
      today. It's totally irrelevant.                    11
                                                            Lee?
12
           Never gonna go in front of a jury.            12
                                                                 A. No.
13
      You can't talk about settlement                    13
                                                                 Q. You made allegations in your
14
      discussion and negotiations and demands            14
                                                            complaint concerning Tiffany Lee.
15
      and offers. All protected information.             15
                                                                       How did those allegations come to
16
           So we're just arguing now for no              16
                                                            be in your complaint?
17
      reason.                                            17
                                                                       MR. CARSON: I'm gonna object and
18
           MR. CAVALIER: I don't know why                18
                                                                 tell her not answer based on
19
      you think I'm talking about settlement             19
                                                                 attorney/client privilege.
20
      discussions.                                       20
                                                            BY MR. CAVALIER:
21
           MR. CARSON: You're asking her                 21
                                                                 Q. This is a yes or no question.
22
      what her demand was, how much she asked            22
                                                                       Is the sole source of your
23
      for.                                               23
                                                            information relating to Tiffany Lee your
24
           THE DEPONENT: And that's not even             24
                                                            attorneys?
                                              Page 429                                                       Page 431
 1
        what I asked for.                             1
                                                                  MR. CARSON: You can say yes or no
 2
             MR. CARSON: Lisa, you don't have         2
                                                             to that.
 3
        to say anything.                              3
                                                                  THE DEPONENT: No.
 4
             The initial disclosure that we           4
                                                        BY  MR.   CAVALIER:
 5
        filed or that we provided speak for           5
                                                             Q. What are the other sources of your
 6
        themselves.                                   6
                                                        information relating to Tiffany Lee?
 7
             MR. CAVALIER: That's not what I'm 7             A. Greg Roman's own words. Matt
 8
        asking. But I'll re-ask the question          8
                                                        Bennett's words. A bunch of peoples' words.
 9
        again and you can levy your objection         9
                                                        Daniel Pipes' words.
10
        again.                                       10
                                                             Q. Did -- strike that.
11
   BY MR. CAVALIER:                                  11
                                                                  When you worked with Congressman
12
        Q. My question is -- how much -- you         12
                                                        Costello, did his wife ever tell you to stay away
13
   said you want to get justice out of this lawsuit. 13 from her husband?
14
             My question to you is how much          14
                                                             A. No.
15
   money is justice?                                 15
                                                             Q. Did you ever try to hire a hacker?
16
             MR. CARSON: I'm going to object.        16
                                                             A. No.
17
        The amount of money that is determined 17            Q. Did you ever talk to Lisa -- or to
18
        will be determined by the jury in this       18
                                                        Patricia about hiring a hacker?
19
        case.                                        19
                                                             A. I said a hacker was hired and that
20
   BY MR. CAVALIER:                                  20
                                                        was-ism if actually -- you want me to explain
21
        Q. If a jury awards you a dollar,            21
                                                        what that is --
22
   would you consider that justice?                  22
                                                                  MR. CARSON: I mean, we did this
23
             MR. CARSON: Objection. You don't        23
                                                             during the last deposition.
24
        have to answer.                              24
                                                                  THE DEPONENT: For your own
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 1
         clarification, I'll do it again.                 1
                                                                these types of questions.
 2
              Mark Fink and Daniel Pipes were             2
                                                                     THE DEPONENT: But he is aware.
 3
         interested in suing Facebook on behalf of        3
                                                                     MR. CARSON: I think I've done
 4
         Tommy Robinson.                                  4
                                                                probably depositions in 50 cases in the
 5
              Facebook had erased Tommy                   5
                                                                last 12 months.
 6
         Robinson's account. Okay. Fine.                  6
                                                                     Never, not once has anyone asked
 7
              We petitioned Facebook for Tommy            7
                                                                these types of questions of any of my
 8
         Robinson's old data. They were reluctant         8
                                                                clients.
 9
         to give it back. Reluctant. Reluctant.           9
                                                                     They're designed to harass.
10
         Reluctant. Reluctant.                           10
                                                                They're designed threaten. They're
11
              So Tommy said that he hired -- or          11
                                                                designed to embarrass. They're totally
12
         he was trying to get somebody he knew was       12
                                                                insignificant.
13
         a hacker to break in and get, like, his         13
                                                                     What does it matter if he knows
14
         old data back, so that we could prove in        14
                                                                about it? What possibly could that have
15
         court that what MEF was saying wasn't           15
                                                                to do with this case?
16
         true. Whatever.                                 16
                                                                     It's a threat. It's a veiled
17
              That never came to fruition. I             17
                                                                threat, you know. And we have a -- we
18
         finally got a congressional contact in          18
                                                                have a hard stop at 7.
19
         the Facebook world from my congressional        19
                                                                     So if you want to spend the next
20
         contacts that I had prior to MEF and I          20
                                                                17 minutes threatening my client, we'll
21
         got them to supply the data and give to         21
                                                                just stop now.
22
         it Mark Fink.                                   22
                                                                     MR. CAVALIER: The hard stop is at
23
              All at the direction of the Middle         23
                                                                7:17, first of all.
24
         East Forum, by the way.                         24
                                                                     Secondly --
                                              Page 433                                                       Page 435
 1
   BY MR. CAVALIER:                                       1
                                                                     MR. CARSON: You told me that when
 2
         Q. Did you ever help Tommy Robinson              2
                                                               you took the last 12-minute break that --
 3
   to try to get a Visa?                                  3
                                                               you said would be five minutes.
 4
         A. Yep. Again, at the direction of               4
                                                                     THE DEPONENT: Correct.
 5
   the Middle East Forum.                                 5
                                                                     MR. CAVALIER: The hard stop is at
 6
         Q. Well, did you ever help or try to             6
                                                               7:17.
 7
   help Tommy Robinson get a Visa after you left the      7
                                                                     MR. CARSON: I'm letting you know
 8
   Middle East Forum?                                     8
                                                               what time we are stopping.
 9
         A. No.                                           9
                                                                     MR. CAVALIER: Then we can come
10
         Q. Since --                                     10
                                                               back later for the last 17 minutes, if
11
         A. He has not even reapplied.                   11
                                                               you want to stop at 7.
12
         Q. Have you tried to assist Tommy               12
                                                                     Seth, beyond that, I take issue
13
   Robinson in getting a Visa since you've worked        13
                                                               with the fact that you're extremely loose
14
   for Congressman Weber?                                14
                                                               on the record with throwing around
15
         A. No.                                          15
                                                               allegations against my clients, and
16
         Q. Does the Congressman know about              16
                                                               counsel, including but not limited to me.
17
   this litigation?                                      17
                                                                     And I'm gonna caution you --
18
         A. Yes. You served him. Or you                  18
                                                                     MR. CARSON: You don't have to
19
   served me at his office and you served him. So,       19
                                                               caution me.
20
   yeah, he is well aware.                               20
                                                                     MR. CAVALIER: I am cautioning you
21
              And he was well aware from the             21
                                                               from doing that.
22
   time I got hired. I told him the day that I got       22
                                                                     MR. CARSON: You don't have to.
23
   --                                                    23
                                                               I'll save you --
24
              MR. CARSON: I'm also troubled by           24
                                                                     MR. CAVALIER: In the history of
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                                             Page 436                                                       Page 438
 1
         this case --                                    1
                                                                 Q. Tell me about the conversation.
 2
              MR. CARSON: What you just did is           2
                                                           How did it start?
 3
         a threat.                                       3
                                                                 A. That Greg Roman is going around
 4
              MR. CAVALIER: If you have an               4
                                                           telling people that you had sex with him. Did
 5
         issue with my conduct, you're welcome to        5
                                                           you?
 6
         file a motion. That's how we handle it.         6
                                                                      She said what happened.
 7
              MR. CARSON: If you want to spend           7
                                                                      She said they were drinking at a
 8
         the last 17 minutes threatening my              8
                                                           party or at some networking event or something in
 9
         client, we can stop now.                        9
                                                           Israel. He said, I have to finish -- after they
10
              MR. CAVALIER: I mean, last week           10
                                                           were drinking, he said, I have to finish your
11
         you called Mr. Roman a rapist on the           11
                                                           intern paperwork.
12
         record.                                        12
                                                                      Why don't you come up to my room
13
              MR. CARSON: Well, what do you             13
                                                           and I'll sign it there. And then they had sex.
14
         call it when you compel a young child, a       14
                                                           And then she said that she never wanted anything
15
         girl, who's barely, you know, barely 20        15
                                                           to do with him again, but she didn't want to talk
16
         years old, to have sex with you and you        16
                                                           about it anymore.
17
         hold a piece of paper that she signed          17
                                                                 Q. When did this conversation happen?
18
         over her head?                                 18
                                                                 A. I believe it was in 2000 -- I
19
              And the next time you try to have         19
                                                           don't know. I don't know, a long time -- at
20
         sex with that person and you don't have a      20
                                                           least a year or two ago.
21
         piece paper to hold over her head, she         21
                                                                 Q. While you were still at the Forum?
22
         doesn't want to have sex with you?             22
                                                                 A. I think so, yeah.
23
              What do you call that? That seems         23
                                                                 Q. Did she tell you that Greg Roman
24
         like compulsion to me.                         24
                                                           raped her?
                                             Page 437                                                       Page 439
 1
              MR. CAVALIER: We're talking about          1
                                                                 A. You just heard the story. She
 2
        facts not in evidence. And here I                2
                                                           said she never wanted to hear from him again.
 3
        thought that was yet another verbal typo         3
                                                                 Q. Did she say Greg Roman raped her?
 4
        by you. You're actually standing behind          4
                                                                 A. Did not use those words, no. But
 5
        that.                                            5
                                                           you're -- but, you know, that, like, -- she's an
 6
              MR. CARSON: That feels very rapey          6
                                                           intern.
 7
        to me.                                           7
                                                                     A position of power saying come up
 8
              THE DEPONENT: Leah Murville                8
                                                           to my room and I'll sign your paperwork to your
 9
        admitted to me that that is what                 9
                                                           school so you get school credit for your
10
        happened.                                       10
                                                           internship and winds up sleeping with the girl
11
              MR. CAVALIER: So you're standing          11
                                                           and then she doesn't want anything to do with him
12
        behind the fact that you called Mr. Roman       12
                                                           after that?
13
        a rapist on the record?                         13
                                                                     You tell me what you think that
14
              MR. CARSON: The record speaks for         14
                                                           is.
15
        itself.                                         15
                                                                 Q. Frankly, I think it's a long way
16
              MR. CAVALIER: I tend to agree             16
                                                           from rape, but that's just me.
17
        with you there, sir.                            17
                                                                     You're aware that when Greg Roman
18
              MR. CARSON: You're right.                 18
                                                           signed those papers for her, she was no longer an
19
   BY MR. CAVALIER:                                     19
                                                           MEF employee or an intern?
20
        Q. What did you speak to Leah about?            20
                                                                     MR. CARSON: Objection.
21
        A. About her thing with Greg.                   21
                                                                     THE DEPONENT: Her internship
22
        Q. When did you speak with her?                 22
                                                                 would not have been finalized had he not
23
        A. At least a year or two ago. 2017.            23
                                                                 signed those papers.
24
   I don't remember.                                    24

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                                            Page 440                                                       Page 442
 1
   BY MR. CAVALIER:                                    1
                                                               actually say I didn't want to do it. I
 2
        Q. When you talked to Leah Murville,            2
                                                               was raped. So I don't know.
 3
   did you believe she had been raped?                  3
                                                                    But I was very concerned that Greg
 4
        A. I believe she was forced into a              4
                                                               Roman was a rapist at that point in time,
 5
   very uncomfortable situation, yes.                   5
                                                               yeah.
 6
        Q. Do you believe she was raped?                6
                                                                    Do I know for a fact that he raped
 7
             MR. CARSON: Asked and answered.            7
                                                               her or not? I don't.
 8
        Objection.                                      8
                                                                    Does my gut tell me that what he
 9
             MR. CAVALIER: It wasn't answered.          9
                                                               did to that poor girl was wrong? And
10
             MR. CARSON: Yes, she said I               10
                                                               that had he never had that paperwork, he
11
        believe -- we can read back the                11
                                                               would have never had sex with her? Does
12
        transcript.                                    12
                                                               my gut tell me that? Yes.
13
             I believe she was forced in a very        13
                                                                    So I don't know if he's a rapist,
14
        uncomfortable situation. Yes, that was         14
                                                               but my intuition tells me --
15
        her answer.                                    15
                                                          BY MR. CAVALIER:
16
   BY MR. CAVALIER:                                    16
                                                               Q. Did you go to Daniel Pipes?
17
        Q. Do you believe every uncomfortable          17
                                                                    MR. CARSON: Objection. You have
18
   sexual situation is rape?                           18
                                                               the document where they reported it to
19
             MR. CARSON: Objection.                    19
                                                               Daniel Pipes.
20
        Argumentative.                                 20
                                                                    Like, you can answer.
21
             THE DEPONENT: I think we                  21
                                                          BY MR. CAVALIER:
22
        established from the Me Too movement that      22
                                                               Q. Did you go Daniel Pipes and tell
23
        casting couches and the behavior of Harry      23
                                                          him that Greg Roman raped Leah Murville?
24
        Weinstein is predatory and that is             24
                                                                    MR. CARSON: Objection. Asked and
                                            Page 441                                                       Page 443
 1
        exactly what Greg Roman has displayed in       1
                                                                answered.
 2
        that event.                                     2
                                                                     But you can answer.
 3
             So you tell me what Harry                  3
                                                                     THE DEPONENT: Again. Again, I'm
 4
        Weinstein is. Is he a rapist?                   4
                                                                not the one. I was very concerned about
 5
   BY MR. CAVALIER:                                     5
                                                                her. I was very concerned about her.
 6
        Q. Do you believe every uncomfortable           6
                                                                     But I'm not the one that wrote up
 7
   situation is rape?                                   7
                                                                the agreement.
 8
             MR. CARSON: Do you really want             8
                                                                     I'm not the one that did those --
 9
        her to answer that question? Do you             9
                                                                that thing.
10
        believe that every uncomfortable               10
                                                                     And the reason why I didn't was
11
        situation is rape? That's his question,        11
                                                                because I don't go around, unless I have
12
        Lisa.                                          12
                                                                proof, reporting things to people that
13
             THE DEPONENT: That's hypothetical         13
                                                                aren't true.
14
        and I don't know.                              14
                                                                     Now, you're forcing me under oath
15
   BY MR. CAVALIER:                                    15
                                                                to answer these questions. Okay. But I
16
        Q. So did you come out of your                 16
                                                                normally don't go around and say, guess
17
   conversation with Leah Murville believing that      17
                                                                what, I think Greg Roman raped a girl,
18
   she been raped by Greg Roman?                       18
                                                                because that's what I think.
19
             MR. CARSON: Objection. Asked and          19
                                                                     Okay. I don't --
20
        answered.                                      20
                                                          BY MR. CAVALIER:
21
             THE DEPONENT: I told her that I           21
                                                                Q. That's your counsel that does
22
        was very concerned about her. And I            22
                                                          that?
23
        don't know. I still even don't know.           23
                                                                     MR. CARSON: Objection, the record
24
             A lot of people are afraid to             24
                                                                speaks for itself.
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                                             Page 444                                                       Page 446
 1
              THE DEPONENT: That's not a                1
                                                           serious allegation?
 2
        question. Don't even answer him.                 2
                                                                     MR. CARSON: Objection. You can
 3
   BY MR. CAVALIER:                                      3
                                                                answer if you think it's a serious
 4
        Q. I'm asking you if you agree with              4
                                                                allegation.
 5
   your counsel that Greg Roman is a rapist?             5
                                                                     You know, like our complaint
 6
              MR. CARSON: Objection.                     6
                                                                speaks for itself. The record speaks for
 7
              MR. CAVALIER: It's now on the              7
                                                                itself.
 8
        record at two different depositions that         8
                                                                     THE DEPONENT: I don't think we
 9
        your counsel has made and I'm asking you         9
                                                                filed any official documents that call
10
        if --                                           10
                                                                him a rapist.
11
              MR. CARSON: I didn't use the word         11
                                                           BY MR. CAVALIER:
12
        rape today.                                     12
                                                                Q. No. But you've called him many
13
              Whoa, whoa, wait, wait, wait.             13
                                                           things, correct?
14
              First, let me object. I didn't            14
                                                                     MR. CARSON: Objection. We
15
        use the word rape today. You did.               15
                                                                haven't called him anything. We have
16
              All right. Second of all, the             16
                                                                stated facts.
17
        transcript from the last deposition is          17
                                                           BY MR. CAVALIER:
18
        going to speak for itself.                      18
                                                                Q. Right.
19
              So, third of all, I'm gonna object        19
                                                                     So if you believed that Greg Roman
20
        that that question is designed to               20
                                                           was a rapist, it's fair to assume that that would
21
        embarrass and harass.                           21
                                                           have been in your complaint, right?
22
              You're insulting me. You're               22
                                                                A. Oh, no. No. I only put things in
23
        insulting her. So you don't have to             23
                                                           the complaint --
24
        answer that question.                           24
                                                                     MR. CARSON: Lisa, just wait.
                                             Page 445                                                       Page 447
 1
             THE DEPONENT: And I'm also --              1
                                                                Just objection. All right. Object to
 2
        excuse me. I will say something.                 2
                                                                the form of the question. It's
 3
             He has never said that in any of            3
                                                                argumentative. Assuming facts not in
 4
        my depositions, so I'm not gonna speak to        4
                                                                evidence. Calls for a legal conclusion.
 5
        something that you say that he said in           5
                                                                     THE DEPONENT: Evidence-based,
 6
        another deposition, because I never heard        6
                                                                Buddy.
 7
        him say that.                                    7
                                                           BY MR. CAVALIER:
 8
             I can't agree with what he thinks.          8
                                                                Q. Right. Right.
 9
        I don't know what he thinks about Greg           9
                                                                     And you have no evidence that Greg
10
        Roman. That's it.                               10
                                                           Roman is a rapist, correct?
11
   BY MR. CAVALIER:                                     11
                                                                A. I have some evidence, none of
12
        Q. I'm not gonna belabor this point             12
                                                           which I think is substantial enough to call him a
13
   anymore. But he just said, less than a few           13
                                                           rapist.
14
   minutes ago, what would you call it when someone     14
                                                                Q. Fine.
15
   takes a child, a young girl of but 20, puts her      15
                                                                     Which is why it's not in your
16
   in an uncomfortable situation and pressures her      16
                                                           complaint.
17
   into sex.                                            17
                                                                A. Right. Just like that's the same
18
        A. I don't think he said pressured              18
                                                           reason why I didn't tell MEF about Danny and this
19
   her or any of those words.                           19
                                                           money, because there wasn't substantial
20
             MR. CARSON: Objection. That's              20
                                                           information to accuse people of that.
21
        not even a question. Object to the form         21
                                                                     MR. CARSON: It's -- there's also
22
        and she's not gonna answer statements.          22
                                                                stating incorrect facts, what I
23
   BY MR. CAVALIER:                                     23
                                                                described --
24
        Q. Don't you think that's a very                24
                                                                     THE DEPONENT: Don't worry about
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 1       it.                                            1
                                                                    But I really don't want to live in
 2           MR. CARSON: -- is what's in the          2
                                                        Texas. It's always like a fleeting little
 3      complaint.                                    3
                                                        fantasy I have.
 4           Go ahead.                                4
                                                                    I get excited about things. I
 5 BY MR. CAVALIER:                                   5
                                                        wanted to move to France when I was 25 because I
 6      Q. Who's George Egler?                        6
                                                        went there one time on a weekend trip. Ireland,
 7      A. Some man that had been working             7
                                                        too, I think in grad school.
 8 with Tommy a bunch back and forth. And he, like,   8
                                                                    I could move to Texas if I really
 9 gives his opinion a lot to, like, Tommy and what   9
                                                        wanted to.
10 Tommy should do and things like that.             10
                                                                    MR. CARSON: What are we doing
11      Q. I'm not sure I understand.                11
                                                              right now?
12      A. Because I don't -- really                 12
                                                                    THE DEPONENT: I don't know. He's
13 don't understand -- I don't know what George      13
                                                              not saying anything and I'm tired.
14 Egler, what his actual job is.                    14
                                                                    MR. CARSON: I know.
15           I know that, like, during the           15
                                                                    If we are gonna take one-minute
16 Tommy campaign, he would, like, e-mail me what he 16
                                                              breaks in between every question, I think
17 thinks, like, press releases, the way they should 17
                                                              it means we're done.
18 go out or the way, you know, we should word       18
                                                                    MR. CAVALIER: You can think
19 things or frame things.                           19
                                                              whatever you want. It's done when I say
20           And he sends me, like, these long       20
                                                              it's done.
21 paragraphs. Well, he doesn't really anymore,      21
                                                                    MR. CARSON: It's not done when
22 but -- about, like, MEF and things he saw in the  22
                                                              you say it's done, actually. It's done
23 news.                                             23
                                                              when it's done.
24           And, you know, that's the extent        24
                                                                    And we've been here since 10 this
                                             Page 449                                                       Page 451
 1
   of what I know about George Egler. I met him in 1        morning. So it's nine hours. And the
 2
   person one time. We had a conversation about      2
                                                            reason it's taken nine hours is because
 3
   Tommy and that was it.                            3
                                                            every hour you've taken a break because
 4
         Q. What's your relationship with him        4
                                                            you weren't ready to do the deposition
 5
   today?                                            5
                                                            today.
 6
         A. Nothing. I haven't spoken to him         6
                                                                 MR. CAVALIER: I very much
 7
   in forever.                                       7
                                                            appreciate the comedy in you telling me
 8
         Q. Okay.                                    8
                                                            how to be a lawyer, but --
 9
         A. He's a nice man.                         9
                                                                 MR. CARSON: I mean, that's you.
10
         Q. Do you recall talking to him about      10
                                                                 I need to get myself organized.
11
   your work with Tommy?                            11
                                                            That's why the last 12-minute break that
12
         A. Yeah. That's the only reason he         12
                                                            you said would be five minutes occurred.
13
   was talking to me. He's, like, a long-time Tommy 13 BY MR. CAVALIER:
14
   reporter person. Tommy is the one who gave him 14        Q. Who is Cassandra Fairbanks?
15
   my information.                                  15
                                                            A. A friend of mine.
16
         Q. Do you recall talking to him about      16
                                                            Q. What does she do?
17
   your desire to move to England?                  17
                                                            A. She's a reporter.
18
         A. Probably. I liked England. Just         18
                                                            Q. What does she report on?
19
   like I wanted to move to Texas last month. Or in 19
                                                            A. All kinds of things.
20
   March. I always want to move somewhere.          20
                                                            Q. Does she report on things having
21
         Q. Why did you want to move to Texas?      21
                                                       to do with the Middle East Forum?
22
         A. Texas is great. They're no Corona       22
                                                            A. I'm sure she does, yeah. I think
23
   Virus. No restrictions. Just want to move.       23
                                                       she just wrote an article about it.
24
   Take my kids with me and move.                   24
                                                            Q. Have you ever been a source for
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 1
   one of her stories?                                  1
                                                                 Q. Have you ever talked to Cassandra
 2
        A. Let me just tell you something. I             2
                                                           Fairbanks about this case?
 3
   know where you're going with this. So if you          3
                                                                 A. Yes.
 4
   want, I'll tell you.                                  4
                                                                 Q. What have you talked about?
 5
              MR. CARSON: Answer yes or no.              5
                                                                 A. Multiple occasions. All of it.
 6
              THE DEPONENT: No.                          6
                                                                     I've been talking about this case
 7
              Cassandra Fairbanks -- I met her           7
                                                           with people that are close to me, because it's so
 8
        with Tommy Robinson. I met her while she         8
                                                           stressful since -- since I filed it.
 9
        was covering one of things one of the            9
                                                                 Q. What people?
10
        times I was over in England. That's how         10
                                                                 A. My friends. I'm a human being
11
        we met.                                         11
                                                           that has friends. Friends. I have tons of
12
              She's very good friends with              12
                                                           friends.
13
        Tommy. She's very good friends with             13
                                                                 Q. Who are they? Who have you spoken
14
        everybody that is over in England.              14
                                                           to about this case?
15
        That's how I met her.                           15
                                                                 A. Everybody. My mom. My dad. Amy.
16
              I met her in England, not here in         16
                                                           My brother. His wife. Everybody. Everybody
17
        America, number one.                            17
                                                           that I am friends with.
18
              Number two is, she has a feed, an         18
                                                                     My work -- all of my work
19
        RSS feed or whatever it is, Google alerts       19
                                                           colleagues, because they were there when you guys
20
        kind of thing, for Tommy Robinson.              20
                                                           served me.
21
              When she saw that hit piece that          21
                                                                     I mean, it's not like you guys
22
        they put out on me two days before              22
                                                           aren't putting it out there.
23
        Christmas that had specific information         23
                                                                     The people that I come in contact
24
        from our private deposition testimony or        24
                                                           with that ask me about it, I tell them.
                                             Page 453                                                       Page 455
 1
         whatever, she's, like, she knew the whole      1
                                                              Q.     What do you tell them?
 2
         thing.                                         2
                                                              A.     What do you mean what do I tell
 3
              She knew the whole thing. She             3
                                                          them?
 4
         knew about the tapes. She knew about           4
                                                                    Depends on what question they ask
 5
         everything way before. She's known             5
                                                            me.
 6
         everything about it since day one,             6
                                                                      I mean, do you want me to sit here
 7
         because she's my friend -- like my actual      7
                                                           and talk about -- I don't remember all of it.
 8
         friend. Our kids play together.                 8
                                                           Again, like the McDonald thing --
 9
              Okay. She knows about MEF and all          9
                                                                      MR. CARSON: You said you don't
10
         that stuff. And so it was not my               10
                                                                 remember all of it. Let's keep it
11
         decision for her to write that piece.          11
                                                                 moving.
12
              Don't you dare start assuming that        12
                                                                      THE DEPONENT: I don't know.
13
         that was on me. That was on you.               13
                                                           BY MR. CAVALIER:
14
   BY MR. CAVALIER:                                     14
                                                                 Q. Well, do you give them your
15
         Q. I wasn't assuming anything. I               15
                                                           interpretation of what's going on in the
16
   just asked if you've ever been a source for her      16
                                                           litigation?
17
   story.                                               17
                                                                 A. What other -- what other
18
         A. We know what you're doing.                  18
                                                           interpretation is there other than the facts?
19
   Please, sir.                                         19
                                                                 Q. Well, I'm assuming you don't
20
         Q. I'll ask the question again.                20
                                                           just -- don't hand them the complaint and say,
21
         A. No.                                         21
                                                           hear, read for yourself, right?
22
         Q. Have you ever been a source for             22
                                                                 A. There have been times where people
23
   Cassandra Fairbanks on a story?                      23
                                                           ask me and I said, look, it's online, if you want
24
         A. No.                                         24
                                                           to read it, go read it.
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 1
             There are other times where former       1
                                                                  People are concerned because they
 2
   employees from Middle East Forum -- I didn't tell 2        know that Greg's wrong.
 3
   them anything about it. They called me up and      3
                                                        BY MR. CAVALIER:
 4
   said, hey, I read the complaint. You need any      4
                                                              Q. So what did Grayson talk about
 5
   help? I would love to testify against them.        5
                                                        with you?
 6
   They did the same thing to me.                     6
                                                              A. Nothing. He just said, hey, they
 7
         Q. Who are those people?                     7
                                                        filed a RICO case. We talked about this earlier
 8
         A. Samantha Mandeles.                        8
                                                        today.
 9
         Q. Okay. That's one.                         9
                                                              Q. I'm asking if he said anything
10
         A. Grayson Levy.                            10
                                                        else. You said he reached out to you.
11
         Q. Okay. Anyone else?                       11
                                                              A. This is ridiculous.
12
         A. E.J. Kimbel. I mean, I could keep        12
                                                              Q. He just reached out to you and
13
   going. These people all contact me. They all      13
                                                        said, hey, head's up, they filed a RICO case and
14
   read the docket. They didn't get it from me.      14
                                                        that was it?
15
         Q. Yeah, I would like to know who all       15
                                                              A. He goes -- no, he said --
16
   the people are.                                   16
                                                                  MR. CARSON: We already did this
17
         A. I just told you who they are.            17
                                                              today. This is how we started.
18
         Q. Well, you told me three. And then        18
                                                                  THE DEPONENT: He's like, Lis,
19
   you said you could keep going.                    19
                                                              they did -- they're filing a RICO case
20
             I'd like you to keep going.             20
                                                              against you. Did you know that? And I
21
         A. Yeah, so Grayson -- Grayson, E.J.,       21
                                                              was, like, what? He said, it was filed
22
   I believe Cliff.                                  22
                                                              four days ago. Whatever day that was.
23
             Who else did I just say?                23
                                                                  And I was like, well, I haven't
24
   Cassandra read the docket. What's her face?       24
                                                              been served. I haven't heard anything
                                             Page 457                                                       Page 459
 1
   Samantha Mandeles, Benjamin Baird.                   1
                                                                about it. He said, well, read it online.
 2
              And I can't remember all of them,          2
                                                                And I think he sent me the link to it.
 3
   but all these people have said, I saw the             3
                                                                     And I was like -- and he's like,
 4
   complaints about you. Ahman Patel.                    4
                                                                they're insane. And I said, I know. I
 5
              A bunch of people.                         5
                                                                said, do you still work there? He said,
 6
         Q. Okay. Your testimony is that they            6
                                                                kind of.
 7
   all reached out to you offering to help?              7
                                                           BY MR. CAVALIER:
 8
              MR. CARSON: Objection. That                8
                                                                Q. Did he tell you anything about
 9
         wasn't her testimony.                           9
                                                           what he thought of the case other than that it's
10
              You can answer.                           10
                                                           ridiculous?
11
              THE DEPONENT: My thing is that            11
                                                                A. No.
12
         they reach out to me. Most of them said,       12
                                                                     MR. CARSON: Ridiculous is a
13
         I'm so sorry, if you need anything, you        13
                                                                pretty good descriptor, don't you think,
14
         want us to testify about how Greg Roman        14
                                                                for the RICO case?
15
         was, let us know. And most of all of           15
                                                                     MR. CAVALIER: Do you have any
16
         them said it.                                  16
                                                                idea how bad you look on a transcript,
17
              Now, Grayson didn't say that              17
                                                                Seth?
18
         and -- Grayson didn't say that and             18
                                                                     THE DEPONENT: Who cares?
19
         neither did Benji.                             19
                                                                     MR. CARSON: You want to tell me
20
              But Benji was, like, I'm sorry.           20
                                                                what your opinion is? Go ahead.
21
         Benjamin was the one that said, hey,           21
                                                                     All right. We are at 7:01. We've
22
         Lisa, weird stuff is going on with Greg's      22
                                                                been on the record for 11 hours -- I'm
23
         access and all, like, your husband's           23
                                                                sorry, for nine hours.
24
         stuff in the LexusNexus program.               24
                                                                     THE DEPONENT: We already talked
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                                              Page 460                                                       Page 462
 1
         about this.                                     1
                                                            BY MR. CAVALIER:
 2
              MR. CARSON: We've been here since           2
                                                                 Q. I'm answering your counsel.
 3
         10. Sorry.                                       3
                                                                 A. You keep on one upping everybody.
 4
              MR. CAVALIER: I'll let your                 4
                                                                      MR. CAVALIER: We're going until
 5
         counsel finish.                                  5
                                                                 I'm done.
 6
              MR. CARSON: Currently, let's just           6
                                                                      MR. CARSON: We're gonna go
 7
         take a recount. Okay?                            7
                                                                 until -- we are not going to go until
 8
              It is 7:01. We started at 10. So            8
                                                                 you're done.
 9
         that's nine hours.                               9
                                                            BY MR. CAVALIER:
10
              The reason why we're still here is         10
                                                                 Q. Have you ever spoken to any
11
         because of all these breaks that we took        11
                                                            reporter about this case?
12
         today, so that you could get organized,         12
                                                                 A. A lot of reporters reached out to
13
         which we accommodated you on.                   13
                                                            me. I think I said -- I responded to one in the
14
              If you have any other questions,           14
                                                            Daily Mail. He didn't give me a chance to
15
         besides insulting me, insulting my              15
                                                            answer.
16
         client, threatening my client, we'll give       16
                                                                      I do not -- I think my exact words
17
         you another five minutes.                       17
                                                            were, I did not know, I do not know and I still
18
              But, you know, you've got to wrap          18
                                                            do not know about any misappropriated funds.
19
         this up.                                        19
                                                            That's the only thing I've ever said.
20
              MR. CAVALIER: Can the court                20
                                                                 Q. What reporters reached out to you?
21
         reporter please let us know how much time       21
                                                                 A. The Daily Mail, the Times, the
22
         remains in the seven hours for this             22
                                                            Sun, an affiliate for one of the English ones
23
         deposition?                                     23
                                                            here in -- based in LA. A bunch. A ton.
24
              THE VIDEOGRAPHER: The last break           24
                                                                 Q. When did that start?
                                              Page 461                                                       Page 463
 1
         we were at five hours and 55 minutes.      1
                                                            A. December 21st, 22nd, I think.
 2
              So if we go to 7:17, like you had     2
                                                      Maybe earlier.
 3
         mentioned, that would be seven hours.      3
                                                            Q. When was the last time it
 4
              THE DEPONENT: That's 15 minutes       4
                                                      happened?
 5
         in case anybody needed the math.           5
                                                            A. Well, recently I believe.
 6
              MR. CARSON: The last break you        6
                                                            Q. And you said you only said to
 7
         promised would be five minutes and it was  7
                                                      them --
 8
         12 minutes and it was so that you could    8
                                                            A. That one thing.
 9
         get yourself organized. So I think that    9
                                                                I said, you didn't let -- you
10
         time should count.                        10
                                                      didn't give me an opportunity to respond --
11
              MR. CAVALIER: You're just wasting 11 because apparently, like, they at Twitter
12
         more time, Seth. And believe me, do not   12
                                                      messaged me to get -- to ask me something.
13
         have a debate with me about coming back   13
                                                                And I -- like the way Twitter
14
         from breaks late or showing up for        14
                                                      works, that if they're not already your friend,
15
         depositions late.                         15
                                                      it goes into, like, a message request.
16
              MR. CARSON: That gives you three     16
                                                                And I'm hardly on Twitter. And I
17
         minutes.                                  17
                                                      certainly don't check my message requests like
18
              THE DEPONENT: You guys are all       18
                                                      that.
19
         wasting time now.                         19
                                                                So I think one of their things
20
              MR. CAVALIER: I'm telling you, if    20
                                                      was, like, -- they sent me the thing like a
21
         your counsel hadn't been speechifying all 21
                                                      couple days before they published the article.
22
         day, we would have been well done.        22
                                                      And they never, like, even waited for a response
23
              THE DEPONENT: You're speechifying    23
                                                      from me.
24
         right this minute.                        24
                                                                So I said, you never even got --
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 1
   you never even waited to hear from me, I said.     1
                                                        bad that I had my husband read it and just give
 2
   But in any event, I don't know anything about      2
                                                        me the synopsis, because it hurt me to hear
 3
   misappropriated funds. I didn't then. And I        3
                                                        anything, lies like that, printed about me in
 4
   still do not today. That's all I said.             4
                                                        black and white.
 5
             But I will say what's funny is           5
                                                                   I'm not good at that.
 6
   that private pictures that turned up in the        6
                                                              Q. Have you reviewed --
 7
   telegraph, private pictures of me and Danny Tioro  7
                                                              A. Painful to relive this. I have to
 8
   that turned up in Telegraph that only we have in   8
                                                        relive this all the time. It's painful to think
 9
   deposition. It was me, my lawyer and you guys.     9
                                                        about it.
10
             I've never put them on social           10
                                                                   This is a very painful process.
11
   media. Isn't it funny how that turned up in       11
                                                        And the fact that you are -- the way that you try
12
   there?                                            12
                                                        to undermine things and to twist things and to
13
             Isn't it funny that they have a         13
                                                        make it worse, and then to see the things that
14
   quote from Daniel Pipes in the Times article?     14
                                                        you lie and make up about me, it's very, very
15
   And isn't it funny that they started talking      15
                                                        painful.
16
   about their relationship with Danny Tomo and      16
                                                                   I'm sorry that you don't like that
17
   whatever happened to it, but they specifically    17
                                                        answer. But that's the truth.
18
   reference in there that they haven't had a        18
                                                                   And so I'm not reading everything
19
   comment from Danny Tomo or Jasmine Bishop.        19
                                                        that you guys write about me, because I can't.
20
             So where did they get their             20
                                                        It hurts too much. It's an effective cognitive
21
   information from the story from? Certainly not    21
                                                        dissonance.
22
   me. Certainly not from my legal counsel.          22
                                                              Q. Have you read the counterclaim
23
   Certainly not from Danny Tomo or Jasmine Bishop,  23
                                                        exhibits in the case?
24
   because they quoted it.                           24
                                                              A. No.
                                              Page 465                                                       Page 467
 1
              But there is a quote in there from    1
                                                             Q. Are you still seeing your
 2
   Daniel Pipes. And there is stuff from our        2
                                                      psychiatrist?
 3
   private depositions that are in that hearing --  3
                                                             A. Kind of. I'm still -- I'm in
 4
   or, I mean, in that article. Two days before     4
                                                      between,    because she is helping me find a new one
 5
   Christmas. And they put my boss' picture in      5
                                                      that -- you know, she's not supposed to be -- my
 6
   there.                                           6
                                                      one was not supposed to be long-term, and --
 7
              MR. CARSON: For the record, those 7 Stephanie.
 8
         pictures were turned over subject to a     8
                                                                  And she's helping me find a new
 9
         protective order.                          9
                                                      one   that is gonna be able to, like, take me on
10
              THE DEPONENT: They were.             10
                                                      long time.
11
   BY MR. CAVALIER:                                11
                                                                  It's very hard to get a therapist
12
         Q. Have you read the counterclaims in 12 for long-term thing.
13
   this case?                                      13
                                                             Q. Why -- I'm not following you. Why
14
         A. Again --                               14
                                                      isn't  she supposed to be long-term?
15
         Q. I asked you this earlier in your       15
                                                             A. My therapist is part of a, like,
16
   deposition and you said no. So between that     16
                                                      med management program through Mindula. And
17
   deposition and now, have you read the           17
                                                      they're not meant to be for extended periods of
18
   counterclaims?                                  18
                                                      time. That's just not what they -- they're like,
19
         A. No, I told you, I'm not reading        19
                                                      if you're making progress and you're getting
20
   this stuff.                                     20
                                                      better, that's their goal and then they move on.
21
              I talk to my attorney. I don't       21
                                                                  But since I'm pretty much, like,
22
   have time to read, you know, 70 pages of stuff. 22 hovering in the same area with ups and downs, she
23
              As a matter of fact, the one time    23
                                                      recommended that -- and she got a promotion. She
24
   you guys made a counterclaim, I heard it was so recommended that I go to somebody else.
                                                   24

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 1
              She did not love the trauma                1
                                                           your treatment collectively?
 2
   therapist that I was working with that I              2
                                                                 A. No, she gives her -- she's not
 3
   originally went to, Joanne Kim. She didn't love       3
                                                           like a -- she's like an intake -- I don't know
 4
   her too much because she didn't really give           4
                                                           how to explain what she is.
 5
   structure.                                            5
                                                                      She goes over the stuff that she
 6
              And so we have been working on             6
                                                           talks about with me. She talks to a
 7
   finding a new one. So that's what we're gonna         7
                                                           psychiatrist. They speak about recommending
 8
   do.                                                   8
                                                           medication.
 9
         Q. When was the last time you saw               9
                                                                      Then they give what their
10
   Stephanie?                                           10
                                                           recommendations are to my doctor and he actually
11
         A. I don't remember. It's all a                11
                                                           prescribes it.
12
   blur.                                                12
                                                                 Q. Okay. Have you -- so I'm a little
13
              I've been hovering with doctor            13
                                                           unclear.
14
   appointments. I was just in the ER last Thursday     14
                                                                 A. I'm sill taking medicine, if
15
   for another kidney stone, a kidney infection.        15
                                                           that's what you're asking.
16
              I have follow-up appointments             16
                                                                 Q. Okay. What medicine are you still
17
   through there. Podiatry appointments.                17
                                                           taking?
18
              My kids have had COVID. It's been         18
                                                                 A. I'm taking Zoloft 50-milligram and
19
   like -- and the Capitol was raided. Like, it's       19
                                                           Adderall.
20
   been a while.                                        20
                                                                 Q. Okay. And those are long-term
21
              And not due to not needing to go          21
                                                           meds, correct?
22
   to her. If anything, I still need to go to her.      22
                                                                 A. Uh-huh.
23
              But it's just been a legit role.          23
                                                                 Q. Do you remember meeting with a Dr.
24
   My mom was just in the hospital for her kidney       24
                                                           Barbara Ziv?
                                             Page 469                                                       Page 471
 1
   stones and had a surgery.                             1
                                                                A.   Yeah.
 2
              I am doing a million things on top         2
                                                                Q.   You say that with a chuckle.
 3
   of all these lawsuits and, you know, sometimes        3
                                                                   Why do you do that?
 4
   I'm the last priority. And my kids come first.        4
                                                                   MR. CARSON: Objection. I didn't
 5
         Q. Okay. And I respect the fact that            5
                                                              hear any chuckle.
 6
   you can't give me an exact date as to the last        6
                                                                   THE DEPONENT: Barbara Ziv, I
 7
   time you saw Stephanie.                               7
                                                              didn't read her report, but I heard that
 8
              But can you give me a ballpark?            8
                                                              she -- I don't know.
 9
   Was it in fall? Was it in summer?                     9
                                                                   I don't think I've ever seen her
10
         A. No, it was like a month or so ago.          10
                                                              report. But I heard that she had
11
         Q. Okay. That's why I'm asking.                11
                                                              fabricated some stuff about another
12
              Are you planing to see Stephanie          12
                                                              patient of hers, so...
13
   again?                                               13
                                                           BY MR. CAVALIER:
14
         A. Stephanie and I are communicating           14
                                                              Q. What did you hear?
15
   via e-mail. And I have to, like, find another        15
                                                                   MR. CARSON: Objection. Don't
16
   one and she reports to my doctor, Dr. Max            16
                                                              answer the question. It's
17
   O'Shalim.                                            17
                                                              attorney/client privilege.
18
         Q. You said he's your doctor. What             18
                                                           BY MR. CAVALIER:
19
   kind of doctor is he?                                19
                                                              Q. You're claiming privilege?
20
         A. My regular primary care. That's             20
                                                                   MR. CARSON: I'm not going to tell
21
   how I got her in the first place.                    21
                                                              you what I told her. Yeah. I'm claiming
22
         Q. Okay. So her reports go to your             22
                                                              privilege.
23
   primary care.                                        23
                                                                   Next question.
24
              Does your primary care then manage        24

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 1
               THE DEPONENT: He is right to          1
                                                                 Did you not just hear me say that?
 2
         claim privilege. Trust me.                  2
                                                            Q. When did you get it?
 3
   BY MR. CAVALIER:                                  3
                                                                 MR. CARSON: Objection.
 4
         Q. Oh, I think the Court might have         4
                                                                 THE DEPONENT: I don't know.
 5
   to figure that out.                               5
                                                                 MR. CARSON: What does it matter?
 6
               MR. CARSON: They will. All            6
                                                            What are we talking about here? I mean,
 7
         right. They will figure it out.             7
                                                            whatever.
 8
               Due to attorney/client privilege,     8
                                                                 If you want to spend the last
 9
         she's not going to answer the next          9
                                                            minute or two asking about the report, go
10
         question.                                  10
                                                            ahead.
11
   BY MR. CAVALIER:                                 11
                                                                 MR. CAVALIER: I'll take your
12
         Q. Other than Mr. Carson, do you have      12
                                                            suggestion. Let's do that.
13
   any information that Dr. Barbara Ziv fabricated 13            THE DEPONENT: Is this her report?
14
   information about a patient?                     14
                                                       BY MR. CAVALIER:
15
         A. I don't.                                15
                                                            Q. Yes. The report that you haven't
16
               MR. CARSON: Objection. The only      16
                                                       read, right?
17
         way that she could answer that question    17
                                                                 You've never seen this before?
18
         is if she's violating attorney/client      18
                                                                 MR. CARSON: Take your time and
19
         privilege.                                 19
                                                            read the whole thing before you answer
20
   BY MR. CAVALIER:                                 20
                                                            any questions.
21
         Q. The question is other than              21
                                                                 THE DEPONENT: I absolutely will.
22
   anything she spoke with you about, does she have 22           MR. CAVALIER: I would love it if
23
   any information or evidence?                     23
                                                            you read the whole thing.
24
               MR. CARSON: The only information 24               THE DEPONENT: Go ahead. Keep
                                            Page 473                                                       Page 475
 1
       that she has related to Dr. Ziv and her          1
                                                             going.
 2
       fabricated report came through me.               2
                                                                   Okay.
 3
             THE DEPONENT: I have --                    3
                                                                   MR. CARSON: Can you scroll back
 4
             MR. CARSON: You can answer the             4
                                                             up a little? I wasn't done that last
 5
       question.                                        5
                                                             paragraph.
 6
             THE DEPONENT: I have asked to see          6
                                                                   THE DEPONENT: Please go back up.
 7
       her report, which I haven't had the              7
                                                                   MR. CARSON: Go back up a little
 8
       opportunity to have or review at the             8
                                                             bit, please?
 9
       moment.                                          9
                                                                   Thank you.
10
             But I would like -- I -- that             10
                                                                   THE DEPONENT: Okay. I don't
11
       woman had said some kind things to me           11
                                                             know.
12
       during that -- that thing.                      12
                                                                   You can move on.
13
             She said that how I was feeling           13
                                                                   MR. CARSON: All right. You can
14
       was understandable even at a point. So          14
                                                             go to the next page.
15
       I'm very curious to read that. And I            15
                                                                   Whoa, you went too far.
16
       would love to read it.                          16
                                                                   MR. CAVALIER: So you guys are
17
             But until I read that report that         17
                                                             aware, if you're going to read this,
18
       she wrote on me, I don't have anything to       18
                                                             you're going to read the whole thing.
19
       discuss with you about Barbara Ziv.             19
                                                             It's 33 pages long and I'm gonna ask one
20
   BY MR. CAVALIER:                                    20
                                                             question about it when we're done.
21
       Q. Is there any reason that you                 21
                                                                   THE DEPONENT: Just ask the
22
   haven't read it yet? Just too busy?                 22
                                                             question, because I remember what I said
23
       A. I just haven't had the                       23
                                                             to her. I'll read it later.
24
   opportunity.                                        24
                                                                   MR. CARSON: Well, I don't want
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 1
        her really answering questions --               1
                                                                true.
 2
             THE DEPONENT: Well, let's see               2
                                                                      MR. CARSON: I mean, if you gave
 3
        what the question is and see if I need           3
                                                                her an opportunity --
 4
        the context of the whole thing to read           4
                                                                      THE DEPONENT: Mrs. Barbounis'
 5
        it.                                              5
                                                                life is little changed from her life when
 6
             Probably get this over with. We             6
                                                                she was working at MEF.
 7
        got one minute. I don't want to have to          7
                                                                      Really? Because I live in a
 8
        come back.                                       8
                                                                different state. I don't live in the
 9
             MR. CARSON: We're not coming                9
                                                                same building with my kids.
10
        back.                                           10
                                                                      I don't live in the same -- my
11
   BY MR. CAVALIER:                                     11
                                                                kids go to two different schools. I work
12
        Q. I would like you to read the                 12
                                                                at a completely different job.
13
   conclusions.                                         13
                                                                      So that line right there is a
14
             Actually, I'd like you to first            14
                                                                hundred percent false.
15
   read this paragraph and then review the              15
                                                           BY MR. CAVALIER:
16
   conclusions.                                         16
                                                                Q. My question was, do you agree that
17
        A. She's hired by you to give the               17
                                                           you do not display any psychiatric symptoms that
18
   report that you want. Anyway, I'll read it.          18
                                                           can be attributed to your tenure at Middle East
19
        Q. Let me know when you're done                 19
                                                           Forum?
20
   reading the highlighted portion.                     20
                                                                      MR. CARSON: I put an objection on
21
        A. That is not true at all. This is             21
                                                                the record that you're asking her to make
22
   so crazy. This is crazy. I'm done.                   22
                                                                a medical diagnosis.
23
        Q. Do you agree that you do not                 23
                                                                      To the extent she can, she can try
24
   display any psychiatric symptoms that can be         24
                                                                to answer.
                                             Page 477                                                       Page 479
 1
   attributed to your tenure at the Middle East         1
                                                                      THE DEPONENT: I do not agree with
 2
   Forum?                                                2
                                                                 that statement, because for the 10
 3
              MR. CARSON: Objection. Wait.               3
                                                                 years -- the 10 years prior to working at
 4
         Wait. I'm gonna put an objection on the         4
                                                                 MEF, I did not need psychiatric
 5
         record. Okay?                                   5
                                                                 evaluations.
 6
              So the objection is you're asking          6
                                                                      I was wonderful at my job. I had
 7
         her to make a medical diagnosis of              7
                                                                 none of this up and down nonsense.
 8
         herself. I object to the form of the            8
                                                                      When I worked in Congress for --
 9
         question.                                       9
                                                           BY MR. CAVALIER:
10
              You can answer if you                     10
                                                                 Q. I'm gonna cut you off --
11
         understand --                                  11
                                                                 A. Excuse me. For Gerlach before
12
              THE DEPONENT: I'll tell you               12
                                                           then, no.
13
         exactly --                                     13
                                                                      You don't get to cut me off. I'm
14
              MR. CARSON: -- what the actual            14
                                                           sorry, sir.
15
         symptoms are.                                  15
                                                                 Q. I'm going to ask the last question
16
              THE DEPONENT: I'll tell you               16
                                                           here.
17
         exactly what I disagree with in her.           17
                                                                      MR. CARSON: She wasn't done her
18
              Okay. Mrs. Barbounis' life                18
                                                                 answer. You've got to let her finish her
19
         currently is little changed from her life      19
                                                                 answer.
20
         when she was working at Middle East            20
                                                                      THE DEPONENT: I'll let you have
21
         Forum. False. False. It is un -- it is         21
                                                                 your extra time to ask me one more
22
         remarkably different. It is remarkably         22
                                                                 question. Let me finish my --
23
         different.                                     23
                                                                      MR. CARSON: No, I don't agree to
24
              So that line right there, not             24
                                                                 that. It's 7:17.
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 1
              The deposition --                   1
                                                                  THE VIDEOGRAPHER: This closes the
 2
              THE DEPONENT: So let me finish my 2             deposition. 7:17.
 3
         answer and you can have your one more    3
 4
         question.                                4
 5
              MR. CARSON: No.                     5
 6
              MR. CAVALIER: I agree to that.      6
 7
         Go ahead.                                7
 8
              MR. CARSON: No more questions.      8
 9
              You can finish your answer. But     9
10
         we're done after that.                  10
11
              MR. CAVALIER: No, I'm lthe         11
12
         witness' invitation. You're welcome to  12
13
         --                                      13
14
              MR. CARSON: No. No. No. We are 14
15
         done. 7:17. You got your seven hours.   15
16
         We're done.                             16
17
   BY MR. CAVALIER:                              17
18
         Q. Ma'am, you're welcome to finish      18
19
   your answer if you want to. If you choose not 19
20
   to, that's fine, too.                         20
21
         A. I don't even remember where we       21
22
   were now.                                     22
23
              MR. CARSON: All right.             23
24                                                      24
                                             Page 481
 1
   BY MR. CAVALIER:
 2
        Q. Do you agree that you have
 3
   problems related to self-esteem and emotional
 4
   regulation and unrelated to and not exacerbated
 5
   by events of the Middle East Forum?
 6
        A. They were certainly exacerbated by
 7
   --
 8
             MR. CARSON: Wait. Wait. Wait.
 9
        Wait. Yeah. I'm gonna object to the
10
        question, in that once again you're
11
        calling for her to make medical
12
        diagnoses. She's not an expert. She's
13
        is not here to give her opinion. She is
14
        here to talk about facts. It's a yes or
15
        no question.
16
             Do you agree with line number two?
17
             THE DEPONENT: No.
18
             MR. CARSON: Okay. We're all
19
        done.
20
             MR. CAVALIER: We're done.
21
             THE REPORTER: Mr. Carson, would
22
   you like a copy?
23
             MR. CARSON: Yeah. I'll take a
24
        copy.
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   1      COUNTY OF LANCASTER         :
                                      : SS
   2      COMMONWEALTH OF PENNSYLVANIA:
   3                           I, Joyce A. Wise, RMR, Court Reporter
   4      and Notary Public, do hereby certify that LISA
   5      REYNOLDS BARBOUNIS, the witness, personally
   6      appeared before me, being first duly sworn or
   7      affirmed to testify to the truth, the whole
   8      truth, and nothing but the truth, in answer to
   9      the oral questions propounded to him by the
 10       attorneys for the respective parties, testified
 11       as set forth in the foregoing deposition.
 12                            I further certify that before taking of
 13       said deposition, the above witness was duly sworn
 14       or affirmed, that the questions and answers were
 15       taken down stenographically by the said Joyce A.
 16       Wise, RMR, approved and agreed to, and afterwards
 17       reduced to print by means of computer-aided
 18       transcription under the direction of the
 19       aforesaid Reporter.
 20                            In testimony whereof, I have hereunto
 21       subscribed my hand this 15th day of February
 22       2021.
 23                                                    ________________________
                                                             Joyce A. Wise, RMR
 24                                                          Notary Public
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 Court (26)                    dare (1)                   demonstration (1)              directing (2)
 courtesy (1)                  data (4)                   demos (1)                      direction (5)
 courtroom (2)                 date (29)                  denied (4)                     directive (5)
 courts (1)                    DATE/TIME (1)              denying (1)                    directives (6)
 Court's (1)                   dated (6)                  depend (3)                     directly (12)
 cover (1)                     dates (4)                  Depends (1)                    director (47)
 covered (2)                   dating (5)                 DEPONENT (290)                 directors (13)
 covering (1)                  daughter (3)               deposed (4)                    disagree (4)
 COVID (2)                     day (45)                   DEPOSITION (63)                disagreed (5)
 co-workers (2)                days (9)                   depositions (10)               disagreement (8)
 Coyne (2)                     dead (1)                   DEREK (1)                      disagreements (6)
 COZEN (2)                     deal (9)                   derive (1)                     disagrees (1)
 crap (3)                      dealing (1)                derived (1)                    disappear (1)
 crazy (14)                    dealings (1)               derogatory (1)                 disciplinary (1)
 create (2)                    death (1)                  describe (7)                   discipline (1)
 created (1)                   debate (1)                 described (7)                  disciplined (3)
 credentials (3)               debt (5)                   describing (1)                 disclosed (1)
 credibility (3)               December (13)              description (3)                disclosure (1)
 credit (2)                    decide (7)                 descriptor (1)                 disclosures (1)
 criminal (11)                 decided (9)                designation (2)                Discourse (1)
 crop (1)                      decides (1)                designed (18)                  discovery (7)
 crossed (1)                   decision (13)              desire (1)                     discrimination (2)
 crowd (1)                     decision-making (1)        desk (1)                       discuss (13)
 crush (6)                     decisions (25)             despite (2)                    discussed (7)
 crushy (1)                    deep (2)                   destroy (1)                    discussing (1)
 cry (1)                       defend (1)                 details (2)                    discussion (8)
 crying (6)                    Defendant (6)              detective (10)                 discussions (6)
 curiosity (3)                 defendants (4)             determination (1)              disenfranchised (1)
 curious (6)                   defendant's (1)            determine (1)                  disgusting (2)
 current (17)                  define (3)                 determined (3)                 dismiss (1)
 currently (4)                 defined (1)                development (1)                disparage (1)
 cursor (1)                    defines (1)                device (7)                     display (2)
 curve (1)                     defini (1)                 devices (3)                    displayed (1)
 cut (7)                       definitely (11)            devoted (1)                    dispute (2)
 cute (1)                      definition (8)             diagnoses (1)                  disputes (1)
                               Delaney (45)               diagnosis (4)                  disrespect (1)
 <D>                           Delaney's (4)              Diaz (1)                       dissonance (1)
 D.C (15)                      Delany (1)                 DiBianca (1)                   distinction (15)
 D.C.'s (1)                    delete (11)                dick (4)                       DISTRICT (4)
 dad (1)                       deleted (4)                difference (3)                 DNC (2)
 Daily (2)                     delve (1)                  differences (1)                docket (3)
 damaged (1)                   demand (1)                 different (22)                 doctor (5)
 damages (1)                   demanded (1)               difficult (4)                  document (47)
 D'Ambra (1)                   demanding (3)              difficulty (1)                 documentary (1)
 D'Ambria (1)                  demands (1)                digital (1)                    documentation (1)
 Daniel (149)                  DeMarco (1)                diminished (1)                 documents (17)
 Daniel's (3)                  demo (1)                   dinner (3)                     document's (1)
 Danny (87)                    demonstrate (3)            direct (9)                     doing (85)
 Danny's (4)                   demonstrates (2)           directed (1)                   dollar (2)


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 Donald (2)                    easy (3)                   enduring (1)                   evidence (46)
 donation (3)                  eaten (1)                  engage (6)                     Evidence-based (1)
 donations (1)                 eating (1)                 engaged (11)                   exacerbated (2)
 donor (7)                     ECF (1)                    engaging (1)                   exact (12)
 donors (1)                    edgewise (1)               England (13)                   exactly (19)
 doors (3)                     edit (4)                   England's (1)                  exaggerate (1)
 double (1)                    edited (1)                 English (1)                    exam (1)
 doubly (1)                    editing (3)                enjoy (1)                      EXAMINATION (3)
 doubt (4)                     editor (3)                 enlarge (1)                    example (18)
 download (2)                  edits (1)                  Enrique (6)                    examples (2)
 downs (1)                     Educate (1)                enter (2)                      exception (1)
 downward (1)                  education (1)              entering (1)                   exceptions (1)
 DP (1)                        educations (1)             entire (8)                     excitable (1)
 Dr (5)                        effect (1)                 entirely (5)                   excited (4)
 draft (4)                     effective (3)              entitled (3)                   exclusive (1)
 drafts (1)                    effectively (1)            entrenched (1)                 Excuse (8)
 draining (1)                  effort (3)                 environment (2)                execute (1)
 drama (1)                     Egler (5)                  equal (2)                      executive (1)
 draw (3)                      eight (3)                  equals (4)                     ex-girlfriend (1)
 drawing (3)                   eight-and-a-half (1)       equated (1)                    exhausting (4)
 drawn (1)                     either (12)                equating (1)                   Exhibit (28)
 dream (1)                     El (1)                     equipment (1)                  EXHIBITS (3)
 dressed (1)                   election (4)               equivalent (1)                 existed (2)
 drew (2)                      elements (1)               ER (1)                         existence (2)
 drinking (3)                  Eleven (1)                 erase (4)                      exists (2)
 Drive (7)                     Elipse (1)                 erased (1)                     expand (2)
 driven (1)                    e-mail (44)                Erica (1)                      expanding (1)
 drop (5)                      e-mails (11)               erroneous (1)                  expect (5)
 dropped (2)                   embarrass (13)             escaping (1)                   expectation (1)
 dropping (1)                  embarrassing (2)           escrow (2)                     expectations (1)
 drunk (2)                     emogis (1)                 especially (4)                 expected (2)
 DuBai (3)                     emoji (3)                  Esquire (4)                    expenses (1)
 ducking (1)                   emotional (3)              established (7)                experience (10)
 due (2)                       employ (1)                 estate (6)                     experienced (3)
 duly (3)                      employed (2)               Estranimkis (1)                expert (2)
 duties (2)                    employee (30)              E-S-T-R-A-N-I-M-K-I-           experts (2)
 duty (11)                     employee/employer          S (1)                          expired (1)
 dying (2)                      (2)                       et (3)                         Explain (13)
                               employees (6)              Europe (2)                     explained (10)
 <E>                           employer (8)               European (1)                   explaining (1)
 E.J (2)                       employer/employee          evaluations (1)                explanation (2)
 earlier (21)                   (1)                       Eve (1)                        exponentially (1)
 early (2)                     employers (5)              evening (1)                    expound (1)
 ease (1)                      employment (8)             event (14)                     expressed (1)
 easier (3)                    employor/employee          events (5)                     extended (1)
 easiest (1)                    (1)                       Everest (2)                    extensive (1)
 easily (2)                    encouraged (1)             everybody (16)                 extent (35)
 East (126)                    ended (1)                  everybody's (1)                external (1)
 EASTERN (5)                   ends (2)                   everything's (1)               externally (4)


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 extort (3)                    feet (1)                   floundering (1)                frivolous (14)
 extorted (1)                  fellow (8)                 flowed (1)                     front (9)
 extortion (3)                 fellows (5)                flowers (5)                    fruition (1)
 extra (8)                     fellowship (1)             Fly (1)                        frustrated (1)
 extraordinarily (1)           felt (4)                   follow (3)                     fuck (2)
 extraordinary (1)             female (1)                 followed (1)                   fucking (3)
 extremely (1)                 fiancee (1)                following (6)                  full (3)
 eye (2)                       fiduciary (7)              follows (1)                    full-time (5)
 eyes (5)                      fight (3)                  follow-up (3)                  fully (4)
                               fighting (2)               fond (1)                       fun (7)
 <F>                           figurative (3)             Foods (1)                      function (1)
 fabricate (1)                 figure (15)                footage (5)                    fundraising (3)
 fabricated (4)                figured (1)                forced (5)                     funds (3)
 face (8)                      file (9)                   forcing (1)                    funny (10)
 Facebook (17)                 filed (33)                 foregoing (1)                  fun-type-of-deal (1)
 Facetime (1)                  files (1)                  Foreign (1)                    furious (1)
 fact (52)                     filing (2)                 forever (6)                    furniture (1)
 factor (1)                    film (1)                   Forget (11)                    further (13)
 factory (1)                   filming (3)                forgetting (1)                 future (5)
 facts (21)                    filtered (1)               forgive (1)
 factual (2)                   final (1)                  forgot (1)                     <G>
 fair (43)                     finalized (1)              form (63)                      gained (2)
 Fairbanks (4)                 finally (1)                format (1)                     Gala (5)
 fairness (1)                  finances (1)               former (1)                     Gary (25)
 faith (1)                     financial (3)              forth (8)                      gas (1)
 fake (5)                      find (13)                  Fortunately (1)                gather (1)
 fall (1)                      finding (3)                Forum (154)                    Gavin (2)
 falling (1)                   fine (28)                  Forum's (6)                    gay (1)
 false (17)                    fines (1)                  forward (3)                    geez (1)
 falsely (7)                   finish (17)                forwarded (1)                  general (8)
 falsification (1)             finished (5)               forwarding (2)                 generally (4)
 familiar (5)                  Fink (8)                   found (11)                     genuineness (1)
 family (6)                    fire (12)                  foundation (3)                 George (14)
 fancy (1)                     fired (31)                 Four (6)                       Gerlach (1)
 fantasy (1)                   firing (6)                 Fox (3)                        Germany (1)
 far (9)                       firm (1)                   frame (11)                     getting (19)
 fast (5)                      first (39)                 France (1)                     gigabytes (1)
 father (2)                    fit (1)                    franking (1)                   girl (12)
 favor (4)                     five (12)                  Frankly (1)                    girls (2)
 favorable (1)                 five-minute (3)            freakin (3)                    girl's (1)
 favorably (2)                 fix (1)                    freaking (3)                   give (60)
 FBI (4)                       flag (1)                   Fred (1)                       given (16)
 February (3)                  fleeting (1)               free (3)                       gives (3)
 Federal (2)                   flew (1)                   frequently (3)                 giving (13)
 feed (3)                      flight (1)                 friend (17)                    glad (2)
 feel (23)                     flights (1)                friendly (1)                   glass (1)
 feeling (5)                   flippant (2)               friends (20)                   go (141)
 feelings (1)                  floating (1)               friendship (4)                 goal (4)
 feels (4)                     Florida (4)                friendships (1)                goals (2)


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 God (3)                       half (4)                   helped (10)                    Huh-uh (1)
 goes (10)                     half-assed (1)             helpful (4)                    Human (7)
 going (174)                   half-dressed (2)           helping (15)                   Hundred (8)
 GOLD (17)                     hand (4)                   helpless (1)                   hung (3)
 gonna (95)                    handed (2)                 helps (1)                      Hurry (1)
 Good (62)                     handle (3)                 hereunto (1)                   hurt (9)
 Goodrob (2)                   handled (1)                hey (15)                       hurting (1)
 goof (1)                      hands (2)                  hierarchy (9)                  hurts (1)
 Google (7)                    hang (3)                   higher (3)                     husband (8)
 Googles (1)                   hanging (2)                highlight (1)                  husband's (3)
 GOS (1)                       happen (11)                highlighted (2)                hyperbole (1)
 gotten (6)                    happened (34)              highlighting (2)               hypothetical (17)
 government (2)                happening (16)             highly (1)                     Hypothetically (4)
 governments (1)               happens (4)                hilarious (1)
 grab (1)                      happily (4)                Hill (3)                       <I>
 grad (1)                      happy (6)                  hinge (1)                      iCloud (27)
 granny (1)                    harass (16)                hire (5)                       idea (21)
 grant (7)                     harassed (2)               hired (16)                     ideas (1)
 Granted (2)                   harassing (4)              hiring (2)                     identified (1)
 grantee (1)                   harassment (19)            history (4)                    identifies (1)
 grass (1)                     harassments (1)            hit (5)                        identify (15)
 grassroots (1)                hard (20)                  hits (2)                       identifying (1)
 gray (1)                      harder (2)                 hitting (1)                    idle (1)
 Grayson (11)                  hardest (1)                Hold (9)                       ignored (4)
 great (14)                    harm (13)                  holding (1)                    Ill (1)
 greater (1)                   harmful (1)                hole (3)                       illegal (1)
 Greek (5)                     Harry (2)                  Holiday (1)                    IMG_4311.HEIC (1)
 Greg (200)                    hash (1)                   hollow (1)                     immediate (2)
 Greg's (16)                   hate (4)                   home (7)                       immediately (2)
 grew (3)                      hates (1)                  honest (2)                     immersed (1)
 gross (2)                     hazy (1)                   honestly (17)                  impeachment (3)
 grounds (3)                   HDML (1)                   hope (4)                       implement (1)
 GROUP (4)                     head (8)                   hoped (1)                      implication (1)
 groups (2)                    header (1)                 hopefully (3)                  implied (2)
 grow (1)                      head's (1)                 horrific (2)                   implying (1)
 guarantee (1)                 health (1)                 horrified (1)                  importance (2)
 guaranteed (2)                healthy (1)                hospital (1)                   important (6)
 guess (35)                    hear (26)                  host (1)                       importantly (1)
 guessing (2)                  heard (19)                 hot (4)                        impossible (1)
 guidance (1)                  hearing (8)                hotel (9)                      impression (1)
 guilty (1)                    heart (2)                  hour (6)                       improper (9)
 gut (2)                       hearts (1)                 hourly (2)                     improvement (1)
 guy (11)                      heatedly (1)               hours (16)                     inappropriate (7)
 guys (42)                     hectic (1)                 House (17)                     incident (3)
                               he'd (1)                   hovering (2)                   incite (1)
 <H>                           held (6)                   How's (3)                      incitement (1)
 ha (4)                        hell (6)                   hub (1)                        inciting (1)
 hacker (4)                    Hello (1)                  huge (5)                       include (3)
 hair (1)                      help (33)                  Huh (1)                        included (5)


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 including (6)                 instructing (8)            invitation (1)                 journalism (1)
 income (2)                    instruction (11)           invite (1)                     journalist (1)
 inconsequential (1)           instructional (1)          involve (2)                    Joyce (5)
 inconsistent (1)              instructions (3)           involved (9)                   Juan (1)
 incorrect (11)                instructs (1)              involvement (4)                Judge (45)
 increase (1)                  insubordinate (1)          iPad (21)                      Judge's (2)
 incredibly (1)                insulted (1)               iPhone (1)                     Judy (1)
 INDEX (2)                     insulting (4)              irate (1)                      July (1)
 indicate (2)                  insults (2)                Ireland (1)                    jump (1)
 indicates (1)                 insurance (1)              irrelevant (2)                 June (11)
 indication (1)                insurrection (3)           irrepairable (1)               Juneish (1)
 individual (1)                insurrectionists (1)       irreparable (1)                jury (4)
 individuals (1)               intake (1)                 Islam (1)                      just-for-fun-type (2)
 industry (1)                  integral (1)               Islamism (1)                   Justice (11)
 ineffective (1)               intended (1)               isolated (1)                   justified (2)
 infallible (1)                intense (1)                Israel (1)                     justify (1)
 infection (1)                 intent (3)                 issue (17)
 inference (2)                 intention (3)              issued (6)                     <K>
 influencing (1)               intentionally (1)          issues (5)                     Kasam (3)
 Influential (1)               intents (3)                issuing (1)                    Katrina (2)
 info (2)                      interact (3)               Italy (1)                      keep (41)
 inform (2)                    interaction (4)            its (10)                       Keepers (1)
 informant (1)                 interest (5)               Ivy (1)                        Kep (2)
 information (71)              interested (10)            IW (8)                         kept (3)
 infuriated (1)                interesting (2)                                           Kevin (1)
 In-house (1)                  interests (1)              <J>                            key (1)
 initial (2)                   intern (5)                 Jack (1)                       kicked (3)
 initials (1)                  internal (2)               jacket (1)                     kid (4)
 injunction (3)                internally (2)             jail (1)                       kidding (1)
 inner (1)                     international (1)          James (4)                      kidney (4)
 innocent (1)                  internet (2)               Jan (9)                        kids (31)
 innocuous (1)                 internship (2)             Janice (1)                     kill (1)
 input (8)                     interpret (1)              January (13)                   killed (1)
 inquire (1)                   interpretation (3)         Jasmine (33)                   killers (1)
 insane (6)                    interrupt (2)              Jasmine's (1)                  killing (2)
 inside (2)                    interview (22)             Jason (1)                      Kim (1)
 insignificant (1)             interviewed (2)            Jaz (10)                       Kimbel (1)
 insinuate (1)                 interviewing (5)           jcavalier@cozen.com            kind (25)
 insinuates (1)                interviews (9)              (1)                           kinds (10)
 insinuating (3)               intimate (1)               jealous (1)                    kiss (1)
 insistent (1)                 introduce (1)              Jerusalem (2)                  kissed (2)
 Instagram (4)                 introductory (1)           Joanne (1)                     knee (1)
 instance (5)                  intuition (1)              job (71)                       knew (38)
 instances (5)                 inventing (1)              jobs (7)                       knocks (1)
 instant (1)                   invested (2)               jog (1)                        know (570)
 institution (1)               investigate (2)            John (7)                       knowing (3)
 institutional (1)             investigating (1)          joke (5)                       knowledge (12)
 instruct (10)                 investigation (2)          Jonathan (1)                   known (7)
 instructed (5)                investigator (7)           Journal (11)                   knows (12)


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 Kyle (1)                      lesson (2)                 lodged (1)                     manage (6)
                               letter (1)                 lofty (1)                      managed (2)
 <L>                           letters (2)                log (7)                        management (1)
 LA (1)                        letting (5)                logged (2)                     manager (1)
 labeled (3)                   level (8)                  log-in (3)                     managing (4)
 Lack (6)                      levied (1)                 log-ins (1)                    mandated (1)
 lady (1)                      Levy (7)                   LOL (1)                        Mandeles (2)
 Lafave (1)                    LexusNexus (1)             London (13)                    manipulated (1)
 laid (2)                      liar (4)                   long (38)                      manipulator (1)
 LANCASTER (1)                 Liberty (1)                longer (3)                     manufacture (1)
 language (1)                  license (4)                long-term (4)                  manufactured (4)
 laptop (1)                    lie (3)                    long-time (2)                  manufacturing (1)
 largely (1)                   lied (3)                   long-winded (1)                marble (1)
 late (2)                      lies (2)                   look (39)                      March (11)
 latest (1)                    life (32)                  looked (5)                     marched (1)
 laugh (2)                     life's (1)                 looking (16)                   Mario (1)
 laughed (1)                   lifestyle (1)              looks (18)                     Mark (12)
 laughing (1)                  light (6)                  loose (1)                      marked (10)
 launching (1)                 lighter (1)                loosely (1)                    Market (5)
 LAW (4)                       liked (10)                 loser (1)                      Marnie (29)
 Lawrence (1)                  likelihood (11)            lost (1)                       married (1)
 laws (4)                      likes (1)                  lot (32)                       master (1)
 lawsuit (44)                  limit (1)                  lots (6)                       Master's (1)
 lawsuits (5)                  limited (4)                loud (1)                       match (1)
 lawyer (10)                   line (12)                  love (25)                      math (1)
 lawyers (2)                   lines (2)                  love/hate (1)                  Matt (5)
 layering (1)                  link (3)                   loved (3)                      matter (26)
 lead (3)                      Lis (3)                    lovely (1)                     matters (4)
 leader (4)                    LISA (54)                  lowest (2)                     Matthew (3)
 leading (1)                   Lisa's (1)                 loyalty (3)                    Max (1)
 league (1)                    list (13)                  lthe (1)                       McDonald (1)
 Leah (5)                      listed (2)                 ludicrous (1)                  McDonald's (1)
 learn (3)                     listen (11)                lunch (3)                      McGuiness (1)
 learned (3)                   listing (1)                lying (5)                      McMichael (2)
 learning (3)                  lists (1)                                                 McNulty (31)
 leave (10)                    literal (1)                <M>                            M-E (1)
 leaving (2)                   literally (5)              Ma'am (2)                      Meal (1)
 Lee (4)                       litigation (3)             machine (1)                    mean (159)
 leering (1)                   Litman (1)                 mad (2)                        Meaning (2)
 left (35)                     little (42)                magically (1)                  means (14)
 left-hand (2)                 live (14)                  mail (3)                       meant (12)
 legal (44)                    lived (2)                  main (1)                       mechanism (1)
 legally (2)                   Lives (2)                  Mainen (1)                     Meckenberg (3)
 legislation (2)               living (7)                 maintain (3)                   Meckleberg (4)
 legit (4)                     loathed (1)                maintained (5)                 med (1)
 legitimate (4)                lobbing (1)                major (4)                      media (12)
 legitimately (1)              lobby (1)                  maker (1)                      medical (3)
 Leigh (1)                     locally (4)                making (26)                    medication (2)
 lent (2)                      location (1)               man (4)                        medicine (2)


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 meds (2)                      missed (2)                 National (5)                   notify (1)
 meet (5)                      missing (4)                natural (2)                    notion (1)
 meeting (14)                  mission (4)                nature (1)                     November (32)
 meetings (1)                  mission-oriented (1)       NDA (12)                       Number (23)
 MEF (106)                     missions (1)               near (3)                       numbers (9)
 MEF's (2)                     misstating (2)             neat (1)                       numerous (6)
 member (1)                    mistaken (1)               necessarily (2)                nuts (1)
 members (6)                   mistakes (1)               necessary (1)
 memory (2)                    misunderstanding (1)       neck (1)                       <O>
 men (1)                       mob (2)                    need (52)                      oath (3)
 mended (2)                    Mohammed (2)               needed (11)                    object (96)
 mental (2)                    Molly (1)                  needing (1)                    objected (2)
 mentality (2)                 mom (3)                    needs (4)                      objecting (2)
 mentally (1)                  moment (3)                 nefarious (3)                  objection (180)
 mention (1)                   mom's (1)                  negated (1)                    objectionable (2)
 mentioned (7)                 Monday (2)                 Negative (7)                   objections (16)
 mentioning (1)                Monday.com (3)             neglect (1)                    objectives (2)
 merits (4)                    Monetarily (2)             negotiations (1)               obligated (2)
 mess (1)                      monetary (1)               Neil (2)                       obligation (3)
 message (30)                  money (52)                 Neither (3)                    observe (3)
 messaged (3)                  Money's (1)                nervous (1)                    observed (2)
 messages (33)                 monies (1)                 Network (1)                    observing (1)
 messaging (2)                 month (10)                 networking (1)                 obsessed (1)
 messy (1)                     months (20)                never (90)                     obtain (1)
 met (19)                      mooning (1)                nevertheless (3)               obtained (1)
 Meyer (9)                     moral (2)                  new (26)                       obvious (3)
 Meyers (1)                    morning (5)                news (10)                      obviously (2)
 Middle (132)                  mother (7)                 newsletters (1)                Occasionally (3)
 middleman (1)                 mother-in-law (1)          Newsmax (3)                    occasions (10)
 midnight (1)                  motion (6)                 nice (4)                       occupies (1)
 miffed (1)                    motivation (1)             night (5)                      occur (3)
 Mike (3)                      motives (3)                nightmare (1)                  occurred (5)
 million (7)                   mouth (2)                  nights (1)                     O'CONNOR (2)
 mind (13)                     move (19)                  nine (5)                       October (7)
 Mindula (1)                   moved (7)                  nod (1)                        OD (1)
 mine (5)                      movement (1)               nominal (3)                    offensive (2)
 minute (15)                   Moving (2)                 non-attorneys (1)              offer (2)
 minutes (21)                  multiple (19)              nonsense (4)                   offered (1)
 misappropriated (5)           Murville (4)               non-stop (3)                   offering (1)
 misappropriation (1)          mutual (4)                 Nope (3)                       offers (1)
 misbehavior (1)               Myers (1)                  normal (8)                     office (27)
 Mischaracterization                                      normally (2)                   Officer (2)
 (2)                           <N>                        Notary (3)                     official (6)
 mischaracterize (1)           name (27)                  note (7)                       officials (1)
 mischaracterized (3)          named (6)                  noted (2)                      Oh (40)
 mischaracterizing (6)         names (5)                  notepad (1)                    Ohio (2)
 mislead (1)                   Nancy (1)                  nother (1)                     Okay (377)
 misleading (3)                narcotics (1)              Nothing's (2)                  old (8)
 misreading (1)                narrow (1)                 notified (1)                   Oliva (1)


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 omission (1)                                             PENNSYLVANIA (6)               places (1)
 once (8)                      <P>                        penny (1)                      placing (1)
 one-minute (1)                p.m (13)                   people (126)                   Plaintiff (4)
 ones (3)                      PA (4)                     peoples (1)                    plaintiffs (2)
 one-time (1)                  packages (1)               percent (8)                    plaintiff's (2)
 ongoing (2)                   PAGE (9)                   perfect (2)                    plan (2)
 online (6)                    pages (7)                  perform (1)                    plane (2)
 oOo (1)                       paid (16)                  performance (5)                planing (1)
 opened (2)                    pain (2)                   perimeter (1)                  planned (3)
 opening (6)                   Painful (4)                period (16)                    plate (1)
 operate (2)                   panel (5)                  periods (2)                    platform (2)
 operates (2)                  panorama (1)               permission (3)                 platforms (2)
 operating (2)                 pants (1)                  permitted (1)                  play (3)
 operations (1)                paper (2)                  person (43)                    player (1)
 opinion (13)                  papers (4)                 personal (27)                  players (2)
 opinions (2)                  paperwork (3)              Personally (3)                 playing (3)
 opportunities (1)             paragraph (7)              personnel (2)                  please (16)
 opportunity (8)               paragraphs (1)             person's (2)                   plenty (7)
 opposed (2)                   Pardon (3)                 perspective (2)                PLLC (1)
 opposite (1)                  Paris (2)                  pertaining (2)                 Plus (3)
 option (2)                    Parliament (1)             pertake (1)                    Podiatry (1)
 oral (1)                      part (48)                  petitioned (1)                 point (73)
 order (34)                    Partially (1)              phase (1)                      pointed (1)
 ordered (1)                   participate (1)            Philadelphia (6)               pointing (1)
 orders (3)                    particular (7)             Philly (4)                     points (3)
 ordinary (1)                  particularly (1)           phone (42)                     Police (2)
 Oren (2)                      parties (3)                phones (2)                     policies (1)
 organization (13)             parts (2)                  Photo (6)                      policy (7)
 organizational (2)            party (6)                  photograph (14)                political (10)
 organizations (1)             passed (1)                 photos (1)                     politically (1)
 organize (1)                  passing (1)                physical (3)                   poor (7)
 organized (4)                 passion (2)                physically (4)                 poorly (2)
 organizer (1)                 password (4)               pick (1)                       pop (1)
 original (2)                  passwords (4)              picking (1)                    popping (1)
 originally (7)                Patel (2)                  pics (5)                       portion (2)
 O'Shalim (1)                  patient (2)                picture (24)                   position (16)
 outcome (3)                   Patricia (25)              pictured (1)                   positions (1)
 outlet (3)                    Patrick (2)                pictures (16)                  positive (1)
 outlets (2)                   pattern (1)                piece (7)                      positively (1)
 outmanned (1)                 Paul (2)                   pieces (2)                     possession (2)
 output (1)                    pay (17)                   pile (1)                       possibility (1)
 outside (14)                  paycheck (3)               pipe (1)                       possible (3)
 outward (2)                   paying (5)                 Pipes (106)                    possibly (2)
 overlap (1)                   payment (1)                Pipe's (1)                     post (6)
 overreach (1)                 Paypal (2)                 Pipes's (1)                    posted (2)
 overreacted (2)               PC (1)                     pitch (1)                      posting (1)
 overseeing (1)                Pelosi's (1)               placard (1)                    posts (1)
 Ovi (9)                       pending (3)                PLACE (14)                     potential (4)
 owns (1)                      Penn (1)                   placed (6)                     potentially (2)


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 pounds (2)                    Procedure (2)              publicly-filed (1)             rally (1)
 power (3)                     procedures (1)             published (1)                  Ramen (1)
 powerful (1)                  proceed (5)                Puerto (7)                     ran (2)
 PR (1)                        proceeding (1)             pull (4)                       random (1)
 pray (1)                      process (2)                pulled (1)                     Randy (3)
 pre (1)                       proclivities (2)           pulling (1)                    ranges (1)
 precisely (1)                 produce (8)                pulp (1)                       Rape (11)
 preclude (1)                  produced (14)              punished (3)                   raped (12)
 predatory (1)                 producing (1)              purchase (1)                   rapey (1)
 predicated (1)                product (2)                purely (2)                     rapist (10)
 preempted (1)                 production (4)             purpose (3)                    Rare (1)
 prefer (1)                    professional (1)           purposeful (1)                 ratting (2)
 preliminary (3)               profile (1)                purposefully (1)               reach (5)
 prepare (1)                   program (4)                purposes (4)                   reached (10)
 pre-planned (2)               programs (1)               pursuant (1)                   reaching (4)
 prerogative (1)               progress (2)               pursuing (3)                   react (1)
 prescribes (1)                progression (1)            push (1)                       reaction (6)
 PRESENT (4)                   prohibit (1)               put (49)                       read (100)
 presented (4)                 project (16)               puts (3)                       readily (1)
 president (6)                 promise (1)                putting (7)                    reading (3)
 presidential (1)              promised (1)               pyramid (1)                    reads (1)
 press (16)                    promising (2)                                             ready (5)
 pressure (2)                  promotion (1)              <Q>                            real (15)
 pressured (2)                 prompted (1)               qualifications (1)             reality (1)
 pressures (1)                 proof (6)                  qualified (1)                  realize (3)
 presume (1)                   proper (7)                 qualify (2)                    really (60)
 pretty (19)                   proposal (3)               Quarterly (1)                  realm (1)
 prevails (2)                  propounded (1)             question (248)                 reapplied (1)
 prevent (2)                   prospective (1)            questioned (3)                 re-ask (1)
 previous (3)                  Prosperity (1)             questioning (5)                reason (46)
 Previously (2)                Prosser (1)                questions (46)                 reasonable (11)
 pride (2)                     protect (2)                question's (1)                 reasonably (2)
 priests (1)                   protected (3)              quick (6)                      reasoning (2)
 primary (3)                   protecting (1)             quicker (1)                    reasons (3)
 principle (1)                 protection (1)             quickly (6)                    recall (12)
 principles (1)                protective (1)             quit (8)                       receive (1)
 print (1)                     protest (1)                quite (4)                      received (7)
 printed (1)                   protests (2)               quitting (2)                   receiving (1)
 prior (22)                    proud (21)                 quote (11)                     Recess (4)
 priority (1)                  prove (4)                  quoted (1)                     recognize (4)
 prison (3)                    proven (1)                 quoting (2)                    recognized (3)
 private (25)                  provide (2)                                               recollection (4)
 privilege (9)                 provided (5)               <R>                            recommend (1)
 privy (1)                     psychiatric (3)            racketeering (2)               recommendations (1)
 probably (42)                 psychiatrist (2)           radio (6)                      recommended (2)
 probation (1)                 Public (11)                Rahiem (4)                     recommending (1)
 probationary (1)              publication (2)            raided (1)                     record (85)
 problem (17)                  publicize (1)              raise (2)                      recorded (5)
 problems (4)                  publicly (4)               raising (1)                    recording (13)


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 recordings (3)                relying (1)                resistent (1)                  ring (1)
 record's (1)                  remainder (1)              resolution (5)                 ringing (2)
 recount (1)                   remaining (1)              resolve (1)                    riot (2)
 recourse (4)                  remains (1)                resolved (3)                   riots (1)
 recourses (1)                 remarkably (2)             resort (2)                     rises (1)
 red (1)                       remember (143)             Resources (6)                  RMR (4)
 reduced (5)                   remembered (2)             respect (10)                   RNC (2)
 reducing (2)                  remembering (1)            respective (1)                 Robinson (35)
 refer (5)                     remotely (1)               respond (6)                    Robinson's (6)
 reference (7)                 remove (8)                 responded (10)                 role (5)
 referenced (3)                removed (5)                responds (3)                   rolling (1)
 references (2)                removing (1)               response (7)                   Roman (77)
 referencing (4)               renewed (1)                responses (1)                  Roman's (6)
 referred (3)                  rent (1)                   responsibilities (11)          romantic (2)
 referring (12)                re-open (3)                responsibility (5)             romantically (2)
 refrain (1)                   repeat (6)                 responsible (5)                room (12)
 refreshing (1)                repeated (1)               rest (3)                       Rothlinson (1)
 refused (1)                   rephrase (1)               restate (1)                    rough (1)
 regarding (2)                 replied (1)                restore (1)                    routine (1)
 regardless (8)                re-populates (1)           restrict (1)                   routinely (1)
 regret (1)                    report (19)                restrictions (1)               RSS (1)
 regular (3)                   reported (15)              restroom (1)                   rule (2)
 regularly (1)                 REPORTER (19)              result (4)                     ruled (4)
 regulate (1)                  reporters (2)              Resume (37)                    rules (3)
 regulation (1)                reporter's (2)             resumes (2)                    ruling (3)
 rehash (1)                    Reporting (21)             retained (1)                   rulings (1)
 rehired (1)                   reports (4)                retaliate (2)                  rumor (2)
 relapsed (1)                  represent (13)             retaliating (2)                rumors (3)
 related (7)                   representation (5)         retaliation (21)               run (6)
 relates (2)                   Representatives (4)        retaliations (1)               running (2)
 relating (4)                  represented (3)            retaliatory (9)                runs (2)
 relation (3)                  representing (2)           retracted (2)                  Ryan (1)
 relationship (45)             reprimand (9)              retroactively (1)
 relationships (3)             reprimanded (1)            return (2)                     <S>
 relative (1)                  reprimanding (1)           returned (1)                   sad (6)
 relax (1)                     Republican (1)             retweets (1)                   safe (4)
 relaxing (1)                  Republicans (1)            review (14)                    saga (1)
 release (1)                   Republican's (1)           reviewed (3)                   sake (4)
 released (1)                  reputation (4)             revised (1)                    salary (7)
 releases (1)                  request (6)                revisions (1)                  Sallavanti (1)
 relevance (4)                 requested (3)              rewarded (1)                   Salman (2)
 relevant (8)                  requests (4)               REYNOLDS (4)                   Sam (5)
 relevantly (1)                require (1)                rhetoric (1)                   Samantha (2)
 relief (1)                    requirement (1)            RICO (24)                      San (1)
 relieve (1)                   requirements (1)           rid (5)                        Sanchez (28)
 relive (2)                    requires (1)               ridicule (2)                   Sanchez's (2)
 re-live (1)                   research (1)               ridiculous (8)                 Sandman (2)
 reluctant (5)                 resign (1)                 Rieser (1)                     sanities (1)
 rely (1)                      resigned (2)               right (200)                    Santa (1)


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 sappy (1)                     self-validation (1)        shotted (1)                    soliloquies (1)
 sat (2)                       send (23)                  show (21)                      soliloquy (2)
 satisfy (1)                   sending (12)               showed (7)                     solitary (1)
 Saturday (1)                  sends (2)                  showing (6)                    solve (2)
 Saudi (1)                     seniority (1)              shown (1)                      somebody (25)
 save (4)                      sense (10)                 shows (1)                      somebody's (1)
 saved (1)                     sensitive (1)              shut (2)                       somewhat (2)
 saw (19)                      sent (41)                  shutdown (1)                   sorry (40)
 saying (58)                   sentence (4)               Sid (1)                        sort (10)
 says (56)                     sentenced (1)              side (9)                       sorting (1)
 scalp (1)                     separate (3)               SIDNEY (6)                     sound (4)
 scattered (1)                 separated (1)              sign (11)                      sounds (3)
 school (11)                   separately (1)             signed (9)                     source (6)
 schools (1)                   September (1)              signify (1)                    sources (1)
 scorned (1)                   serious (4)                signing (3)                    Southern (1)
 scour (1)                     served (10)                silence (1)                    space (1)
 scoured (1)                   services (1)               sill (1)                       speak (22)
 scratch (1)                   set (24)                   silly (1)                      speaker (2)
 screaming (1)                 Seth (26)                  simple (8)                     speaking (26)
 Screen (19)                   seth@DerekSmithLaw         simply (3)                     speaks (13)
 screenshot (1)                .com (1)                   single (4)                     special (1)
 screenshots (1)               setting (3)                sir (15)                       Specialist (2)
 screw (1)                     settings (1)               sit (6)                        specific (8)
 scroll (11)                   settlement (5)             Sitnick (1)                    specifically (8)
 scrolling (3)                 seven (7)                  sitting (17)                   specifics (6)
 scuttle (4)                   seven-hour (1)             situation (13)                 specified (1)
 seal (4)                      seventh (1)                situations (1)                 speculate (2)
 search (8)                    severe (1)                 six (6)                        speculation (4)
 second (25)                   sex (18)                   skill (1)                      Speculative (1)
 secondary (2)                 sexual (42)                skills (5)                     speech (4)
 Secondly (3)                  sexually (3)               skips (1)                      speeches (3)
 seconds (3)                   sgold@discrimlaw.net       Sky (5)                        speechifying (2)
 secret (4)                     (1)                       sleep (6)                      spell (1)
 secretary (2)                 shape (1)                  sleeping (6)                   spelled (1)
 secrets (19)                  share (8)                  slept (2)                      spend (11)
 secret's (1)                  shared (2)                 slow (3)                       spending (1)
 section (1)                   sharp (1)                  slowly (1)                     spent (5)
 sections (1)                  shed (3)                   small (4)                      sphere (1)
 sector (1)                    she'd (1)                  smart (1)                      spinning (1)
 Secum (2)                     shell (2)                  SMITH (1)                      spiral (1)
 secure (1)                    Shield (3)                 Snapchat (1)                   split (2)
 security (1)                  shiny (1)                  sobbed (2)                     spoke (13)
 see (64)                      shirt (2)                  social (11)                    spoken (13)
 seeing (3)                    shit (1)                   society (2)                    spot (1)
 seeking (1)                   Shocked (5)                sold (1)                       spreading (1)
 seen (7)                      shop (1)                   sole (3)                       spreadsheet (1)
 sees (1)                      short (3)                  solely (1)                     SS (1)
 segments (1)                  shorter (1)                solid (2)                      stabbed (1)
 self-esteem (1)               Shot (10)                  solidify (1)                   Stacy (1)


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 staff (8)                     strange (2)                supervisors (1)                telegrams (1)
 stages (1)                    strategy (1)               supervisory (2)                telegraph (2)
 stamp (1)                     stream (1)                 supply (1)                     television (1)
 stamped (1)                   Street (21)                support (3)                    tell (99)
 stamps (1)                    streets (2)                supported (1)                  telling (31)
 stand (1)                     stress (1)                 supporter (1)                  tells (2)
 standard (2)                  stressful (2)              supports (1)                   tend (1)
 standing (4)                  strike (9)                 supposed (13)                  tenth (1)
 standpoint (1)                string (3)                 supposition (1)                tenure (2)
 stands (2)                    strong (1)                 sure (43)                      Terio (1)
 start (14)                    structure (2)              surgery (1)                    term (2)
 started (27)                  struggle (1)               surprise (2)                   terms (8)
 starting (2)                  struggling (1)             surprised (1)                  terrible (7)
 starts (3)                    studied (1)                surveillance (1)               terrorist (2)
 state (8)                     studies (3)                survive (1)                    terrorists (1)
 stated (3)                    stuff (52)                 suspicion (3)                  test (1)
 statement (10)                stupid (1)                 suspicions (6)                 testified (16)
 statements (10)               stupidest (1)              swear (2)                      testify (21)
 STATES (4)                    subject (11)               sweaty (1)                     testimony (43)
 stating (3)                   subjective (4)             sweet (3)                      Texas (12)
 Station (5)                   submit (2)                 swimming (1)                   Text (44)
 status (1)                    submitted (10)             sworn (4)                      textbook (1)
 stay (7)                      subordinate (1)            symptoms (3)                   texted (7)
 stayed (8)                    subscribed (1)             synopsis (1)                   texts (3)
 staying (3)                   substance (1)              system (5)                     Thank (6)
 stemmed (2)                   substantial (3)                                           Thanks (4)
 stenographic (1)              succeed (1)                <T>                            theft (2)
 stenographically (1)          success (6)                table (1)                      Thelma (2)
 step (1)                      successfully (1)           take (69)                      themself (1)
 Stephanie (6)                 suck (1)                   TAKEN (14)                     therapist (3)
 stepping (1)                  sued (1)                   takenI (1)                     thereof (1)
 Steve (2)                     suffered (1)               takes (3)                      thing (91)
 stick (1)                     sufficient (2)             talk (56)                      things (124)
 stole (7)                     suggest (6)                talked (53)                    think (230)
 stolen (4)                    suggesting (2)             talking (99)                   thinking (5)
 stone (2)                     suggestion (1)             talks (5)                      thinks (16)
 stones (1)                    suing (1)                  tapes (1)                      third (6)
 stop (12)                     Suite (4)                  tarnish (1)                    Thirteen (1)
 stopped (5)                   Sullivan (1)               tasks (3)                      Thomas (28)
 stopping (1)                  summary (1)                Taylor (1)                     thought (34)
 storage (3)                   summer (1)                 Taylor's (1)                   thousands (2)
 store (4)                     Sun (1)                    T-bone (2)                     thread (6)
 stored (6)                    superior (1)               teach (1)                      threat (4)
 stores (1)                    superiors (2)              team (3)                       threaten (2)
 stories (2)                   supervised (1)             tech (1)                       threatened (2)
 storing (3)                   supervising (4)            technical (1)                  threatening (4)
 story (6)                     supervisor (4)             technicalities (1)             threatens (3)
 straight (3)                  supervisor/supervisee      technically (2)                threats (1)
 straightforward (1)            (1)                       Telegram (3)                   three (25)


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 threes (1)                    transfer (1)               typo (2)                       upgrading (1)
 threw (1)                     transferring (1)           tyrant (1)                     uphill (1)
 throw (1)                     transition (1)                                            uploading (1)
 throwing (1)                  transitioning (1)          <U>                            upping (1)
 thrown (1)                    translate (1)              U.S (3)                        ups (1)
 throws (2)                    transmitted (1)            Uh-huh (27)                    upset (4)
 Thursday (3)                  transvestite (1)           ultimate (1)                   Upton's (3)
 ticket (1)                    trap (1)                   ultimately (5)                 use (19)
 tie (2)                       trauma (1)                 umbrellas (1)                  useful (1)
 tied (1)                      travel (1)                 un (1)                         user (1)
 tier (3)                      traveling (1)              unable (1)                     usually (2)
 Tiffany (4)                   treat (2)                  unaffiliated (1)               usurper (1)
 tight (1)                     treated (5)                unaware (1)                    usurpers (1)
 time (241)                    treatment (1)              unbelievable (1)               utter (1)
 times (60)                    trial (2)                  unclear (1)
 tiny (1)                      Tricia (21)                uncomfortable (7)              <V>
 Tioro (1)                     Tricia's (1)               uncontrollably (1)             vacation (5)
 tired (2)                     trick (2)                  underappreciated (1)           vacations (2)
 title (29)                    tried (6)                  undercover (3)                 vacillating (1)
 titled (1)                    trip (1)                   underground (1)                valid (1)
 today (55)                    triumph (1)                undermine (1)                  value (1)
 Today's (1)                   trouble (8)                underneath (2)                 various (2)
 told (69)                     troubled (1)               undershirt (1)                 Vasille (3)
 tolerate (1)                  true (39)                  understand (63)                veiled (1)
 Tommy (79)                    truly (1)                  understandable (1)             vendetta (1)
 Tommy's (3)                   Trump (8)                  understanding (12)             vendettas (2)
 Tomo (4)                      trust (5)                  understands (13)               vendors (1)
 tomorrow (1)                  truth (11)                 understood (3)                 venue (1)
 ton (4)                       truthful (5)               undertones (1)                 verbal (2)
 tone (1)                      truthfully (3)             unequivocal (1)                verbalize (1)
 tonight (1)                   try (21)                   unequivocally (1)              verbatim (1)
 tons (3)                      trying (67)                unfair (2)                     versus (4)
 toothed (1)                   Tuesday (1)                unfortunate (1)                victim (3)
 top (14)                      tumble (1)                 unfortunately (1)              Video (16)
 top-down (1)                  tunnels (2)                unhappy (3)                    Videoconference (1)
 topic (4)                     turn (2)                   unhealthy (1)                  VIDEOGRAPHER
 topics (2)                    turned (16)                union (1)                       (15)
 Toradol (2)                   turns (1)                  UNITED (2)                     videos (1)
 Torio (1)                     Tweet (1)                  universe (6)                   view (5)
 Toro (1)                      tweets (3)                 unnecessary (2)                views (3)
 totally (9)                   twice (5)                  unpaid (1)                     Vinny (13)
 touched (2)                   twist (2)                  unquote (1)                    violated (2)
 trade (23)                    twisted (3)                unrelated (5)                  violating (1)
 trafficking (5)               Twitter (5)                untrue (4)                     violation (2)
 tragic (1)                    two (45)                   untruthfully (1)               violence (3)
 train (2)                     two-and-a-half (1)         untruths (2)                   Virginia (1)
 training (1)                  type (5)                   updates (1)                    Virus (4)
 transcript (7)                types (4)                  updating (1)                   Visa (6)
 transcription (1)             typical (1)                upfront (1)                    vis-a-vis (1)


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 visit (1)                     welcome (6)                workings (1)
 visited (1)                   welcoming (1)              workload (1)
 voice (4)                     well (127)                 work-related (2)
 voiced (2)                    went (38)                  works (11)
 voices (1)                    We're (96)                 world (10)
 volunteer (1)                 Western (1)                worried (2)
 volunteered (1)               Westrout (1)               worries (1)
 voters (1)                    Westshop (1)               worry (6)
 vs (1)                        we've (11)                 worse (9)
                               whatsoever (3)             worst (1)
 <W>                           whereof (1)                worth (2)
 wait (50)                     wherewithal (1)            wound (1)
 waited (2)                    white (2)                  wrap (2)
 waiver (1)                    Whoa (8)                   wrapped (1)
 walk (3)                      whoas (1)                  wraps (1)
 walked (6)                    wife (4)                   wrath (1)
 walks (3)                     wifi (1)                   write (16)
 Wall (11)                     William (1)                writes (3)
 want (191)                    willing (3)                writing (7)
 wanted (48)                   Wilson (3)                 written (8)
 wanting (1)                   win (5)                    wrong (23)
 wants (8)                     window (2)                 wrongdoing (3)
 warn (1)                      winds (1)                  wrongfully (1)
 warned (1)                    Winfield (1)               wrote (19)
 Washington (5)                wing (2)
 was-ism (1)                   wink (1)                   <Y>
 waste (5)                     winning (1)                ya (1)
 wasting (3)                   wipe (4)                   Yeah (153)
 watch (1)                     Wisconsin (6)              year (9)
 watched (2)                   Wise (5)                   years (10)
 water (1)                     wish (4)                   Year's (1)
 Watson (1)                    wished (1)                 Yep (8)
 wave (1)                      wishes (1)                 yesterday (2)
 way (67)                      withdraw (3)               yikes (1)
 ways (2)                      witness (12)               yo (1)
 wearing (4)                   witnessed (3)              Yoder (2)
 weather (1)                   witnesses (2)              Yoncheck (1)
 web (1)                       Wolf's (1)                 Yonchek (16)
 Weber (6)                     woman (7)                  young (6)
 Weber's (1)                   women (3)                  younger (1)
 website (22)                  won (1)                    YouTube (2)
 websites (3)                  wonderful (2)
 wedding (1)                   wondering (1)              <Z>
 week (10)                     word (14)                  zero (3)
 weekend (1)                   worded (1)                 Ziv (5)
 weekends (1)                  words (22)                 Zoloft (1)
 weeks (4)                     work (103)                 Zoom (4)
 Weinstein (2)                 worked (18)
 weird (5)                     working (25)


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